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 9
                                  UNITED STATES DISTRICT COURT
10
                                 CENTRAL DISTRICT OF CALIFORNIA
11
12      MUSSO & FRANK GRILL CO., INC., a                Case No.:
13      California corporation,
                                                        COMPLAINT AND DEMAND FOR
14
                    Plaintiff,                          JURY TRIAL
15
             vs.                                        1. BREACH OF THE IMPLIED
16
                                                           COVENANT OF GOOD FAITH AND
17      MITSUI SUMITOMO INSURANCE USA                      FAIR DEALING
18      INC., a New York corporation,
                                                        2. BREACH OF CONTRACT
19
                    Defendant.
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 1                                                 I.
 2                                        INTRODUCTION
 3           1.     Business Interruption coverage is an optional insurance benefit available
 4    to businesses to minimize their risk and sustain them when a suspension of business
 5    operations causes a loss of business income. This coverage allows businesses to pay
 6    continuing operating expenses, additional expenses incurred because of the suspension,
 7    and supplement their lost business income.
 8           2.     As California Insurance Commissioner Ricardo Lara stated in a notice on
 9    April 14, 2020 to all admitted and non‐admitted insurance companies in California,
10    “Many small and large California businesses purchase Business Interruption insurance
11    to protect against the loss of income and other losses caused by an interruption to the
12    normal operations of the business” (Exhibit 1).
13           3.     Defendant Mitsui Sumitomo Insurance USA Inc. (“Mitsui”) advertises to
14    the American public that it “offer[s] the tools, resources and expertise [that] businesses
15    need[] to keep moving forward” (http://www.msigusa.com/about‐us/, last accessed
16    April 17, 2020). Mitsui promises that its products will “help minimize [the insureds’]
17    risk [to] remain successful in the event of a loss” (rotating banner at
18    http://www.msigusa.com, last accessed on April 17, 2020). It goes on to promise that it
19    “has established a clear, consistent process for each type of claim” and assures potential
20    insureds that its “primary goal is to ensure the early and equitable adjustment of all
21    claims” (http://www.msigusa.com/claims/claims‐solutions/, last accessed April 17,
22    2020). Regrettably for Plaintiff Musso & Frank Grill Co., Inc. (“Musso & Frank”), those
23    promises were not the reality.
24           4.     For over 100 years, Musso & Frank has been, and continues to be, an
25    iconic Hollywood institution combining unparalleled service and ambience with
26    gourmet cuisine. Indeed, it is the first restaurant ever to have its own star on the
27    Hollywood Walk of Fame. Musso & Frank’s patrons have for decades included
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 1    entertainment celebrities and insiders, as well as devoted locals from throughout
 2    Southern California.
 3           5.     Musso & Frank purchased, timely paid all premiums for and performed
 4    all duties required of it to be performed under an “All Risk” commercial property and
 5    general liability insurance policy issued by Mitsui, Policy No. PKG 3127372 (the
 6    “Policy”). Under an “All Risk” policy, all risks of physical loss or damage are covered
 7    unless specifically and unambiguously excluded. Stated differently, all non‐excluded
 8    perils are covered.
 9           6.     The Policy included “Business Income (and Extra Expense)” coverage in
10    the event there is a “loss of Business Income … sustain[ed] due to the necessary
11    ‘suspension’ of [Musso & Frank’s] ‘operations’” and/or “necessary expenses …
12    incur[red] … that [Musso & Frank] would not have incurred if there had been no direct
13    physical loss or damage to property caused by or resulting from a Covered Cause of
14    Loss” (Exhibit 3, p. EX03‐051).
15           7.     The Coronavirus (“COVID‐19”) originated in China in late 2019, spread to
16    Europe, and eventually came to the United States. Although COVID‐19 was present in
17    California by late January 2020, all businesses and restaurants, including Musso &
18    Frank, were allowed to remain open throughout February and the first half of March.
19    On January 30, 2020 the World Health Organization (the “W.H.O.”) declared a public
20    health emergency of international concern. Six weeks later, on March 11, 2020, the
21    W.H.O. made the assessment that COVID‐19 could be characterized as a pandemic.
22           8.     On March 15, 2020, Los Angeles Mayor Eric Garcetti acted to protect the
23    public health and limit social interactions by issuing a “Public Order under City of Los
24    Angeles Emergency Authority” (the “Order”) effective at midnight that evening that,
25    among other things, prohibited restaurants from serving food on their premises and
26    prohibited bars from serving alcohol (Exhibit 2).
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 1           9.     This Order effectively closed Musso & Frank by excluding all on‐premises
 2    dining and caused a suspension of its operations, resulting in an immediate loss of
 3    business income.
 4           10.    As a direct result of the Order, on March 19, 2020, Musso & Frank
 5    promptly submitted a claim for its business income loss to its insurer Mitsui.
 6           11.    Engaging in the business of insurance in California imposes upon insurers
 7    the legal obligation to promptly conduct fair, balanced and thorough investigations of
 8    all bases of claims for benefits made by their insureds, with a view toward honoring the
 9    claims. As part of these obligations, an insurance company is obligated to diligently
10    search for and consider evidence that supports coverage of the claimed loss, and in
11    doing so must give at least as much consideration to the interests of its insured as it
12    gives to its own interests.
13           12.    During the COVID‐19 Pandemic, Commissioner Lara issued a notice after
14    the California Department of Insurance “ha[d] received numerous complaints from
15    businesses, public officials, and other stakeholders asserting that certain insurers,
16    agents, brokers, and insurance company representatives [we]re attempting to dissuade
17    policyholders from filing a notice of claim under its Business Interruption insurance
18    coverage, or refusing to open and investigate these claims upon receipt of a notice of
19    claim” (Exhibit 1, p. 1, emphasis added).
20           13.    The Commissioner’s notice reminded insurers facing these claims of the
21    importance of complying with their obligations, citing the California Fair Claims
22    Settlement Practices Regulations (Cal. Code Regs., tit. 10, §§ 2695.1 et seq.
23    (“Regulations”)). His notice went on to state, “Therefore, Insurance Commissioner
24    Ricardo Lara finds it necessary to issue this Notice to ensure that all agents, brokers,
25    insurance companies, and other licensees accept, forward, acknowledge, and fairly
26    investigate all business interruption insurance claims submitted by businesses”
27    (Exhibit 1, p. 1‐2, emphasis added). The Commissioner stated that “every insurer is
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 1    required to conduct and diligently pursue a thorough, fair, and objective investigation
 2    of the reported claim” (Id. at 2).
 3           14.    Amongst other information provided to insurers, the Commissioner
 4    further reminded them that “[i]f the claim is denied in whole or in part, the insurer is
 5    required to communicate the denial in writing to the policyholder listing all the legal
 6    and factual bases for such denial. (Regulations, § 2695.7(b)(1).) Where the denial of a
 7    first party claim is based on a specific statute, applicable law or policy provision,
 8    condition, or exclusion, the written denial must include reference to and provide an
 9    explanation of the application of the statute, applicable law, or policy provisions,
10    condition, or exclusion to the claim…Regulations, § 2695.7(b)(1)” (Exhibit 1, p. 3,
11    emphasis added).
12           15.    Consistent with all of these well‐established and non‐controversial
13    California insurance claims handling standards, Musso & Frank had the right to rely on
14    Mitsui to handle its insurance claim for business interruption losses in a manner
15    consistent with these standards of good faith and fair dealing. Unfortunately for Musso
16    & Frank, Mitsui failed in all respects and abruptly, unreasonably and with a callous
17    disregard for the interests of its insured, denied the claim in its entirety.
18           16.    In order to obtain the benefits promised under its Policy and required by
19    California law, Musso & Frank was compelled to institute this lawsuit to pursue all
20    available legal and equitable remedies available to it.
21
22                                                  II.
23                                  JURISDICTION AND VENUE
24           17.    This Court has diversity jurisdiction over this action pursuant to 28 U.S.C.
25    § 1332(a) because the matter in controversy exceeds the sum or value of $75,000,
26    exclusive of interests and costs, and is between citizens of different States.
27           18.    Additionally, venue is proper in this District pursuant to 28 U.S.C. § 1391
28    (b)(2) because it is where a substantial part of the events or omissions giving rise to the

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 1    claim occurred and where the insured restaurant that is the subject of the action is
 2    situated.
 3
 4                                                III.
 5                                              PARTIES
 6           19.    Plaintiff Musso & Frank is, and at all relevant times was, a California
 7    corporation, with its principal place of business in Los Angeles, California.
 8           20.    Defendant Mitsui is, and at all relevant times was, conducting business in
 9    the State of California as an insurer.
10
11                                                IV.
12                                             INSURANCE
13           21.    The Policy provided Musso & Frank coverage from June 30, 2019 to June
14    30, 2020 (Exhibit 3, p. EX03‐003).
15           22.    Musso & Frank timely paid all premiums that were due under the Policy.
16    The premiums for one year of coverage totaled $46,919.15 (Id.).
17           23.    In exchange for payment of the premiums, Mitsui agreed to provide the
18    insurance coverage described in the Policy.
19           24.    The “Business Income (and Extra Expense) Coverage Form” is one of the
20    coverage forms stated in the commercial property insurance portion of the Policy
21    (Exhibit 3, p. EX03‐051).
22           25.    The Policy provides “All Risk” coverage for Business Income (Extra
23    Expense) coverage through the following provisions:
24                  “A.    Coverage
25                  …
26                  We [Mitsui] will pay for the actual loss of Business Income you sustain
27                  due to the necessary ‘suspension’ of your ‘operations’ during the ’period
28                  of restoration’. The ‘suspension’ must be caused by direct physical loss of

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 1                  or damage to property at premises which are described in the Declarations
 2                  and for which a Business Income Limit of Insurance is shown in the
 3                  Declarations. The loss or damage must be caused by or result from a
 4                  Covered Cause of Loss” (Id.).
 5
 6           26.    All terms in the Policy which appear in quotation marks are defined terms
 7    in the Policy. Notably, Mitsui chose not to define the term “direct physical loss.”
 8           27.    “Business Income” is defined in the Policy as follows:
 9                  “Business Income means the:
10                         a. Net Income (Net Profit or Loss before income taxes) that would
11                         have been earned or incurred; and
12                         b. Continuing normal operating expenses incurred, including
13                         payroll” (Id.).
14
15           28.    “Suspension” is defined in the Policy as follows:
16                         “a.    The slowdown or cessation of your business activities; or
17                         b.     That a part or all of the described premises is rendered
18                                untenantable, if coverage for Business Income Including
19                                ‘Rental Value’ or ‘Rental Value’ applies” (Exhibit 3, p. EX03‐
20                                059).
21
22           29.    “Operations” is defined in the Policy as follows:
23                         “a.    Your business activities occurring at the described premises;
24                                and
25                         b.     The tenantability of the described premises, if coverage for
26                                Business Income Including ‘Rental Value’ or ‘Rental Value’
27                                applies” (Id.).
28

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 1           30.    “Period of restoration” is defined in the Policy as follows:
 2                  “3.    ‘Period of restoration’ means the period of time that:
 3                         a.      Begins:
 4                                 (1)     72 hours after the time of direct physical loss or
 5                                         damage for Business Income Coverage; or
 6                                 (2)     Immediately after the time of direct physical loss or
 7                                         damage for Extra Expense Coverage;
 8                                 caused by or resulting from any Covered Cause of Loss at
 9                                 the described premises; and
10                         b.      Ends on the earlier of:
11                                 (1)     The date when the property at the described should
12                                         be repaired, rebuilt or replaced with reasonable speed
13                                         and similar quality; or
14                                 (2)     The date when business is resumed at a new
15                                         permanent location.
16                  …
17                  The expiration date of this policy will not cut short the ‘period of
18                  restoration’” (Id.).
19           31.    When defining “Covered Causes of Loss, Exclusions and Limitations” in
20    the Business Income (Extra Expense) portion of the Policy, the insured is directed to
21    “See applicable Causes Of Loss form as shown in the Declarations” (Id. at EX03‐052).
22    The Declarations makes the following “Cause of Loss” form part of the Policy: “MS
23    5202 12‐12 CAUSES OF LOSS – ENHANCED FORM” (Id. at EX03‐012). That form
24    states, “When Enhanced is shown in the Declarations, Covered Causes of Loss means
25    direct physical loss unless the loss is excluded or limited in this policy” (Id. at EX03‐
26    065, emphasis added).
27           32.    The Policy, as amended by an endorsement, also provides additional
28    coverage for Civil Authority. This Civil Authority coverage states:

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 1                “Civil Authority
 2                      In this Additional Coverage, Civil Authority, the described
 3                      premises are premises to which this Coverage Form applies, as
 4                      shown in the Declarations.
 5
 6                      When a Covered Cause of Loss causes damage to property other
 7                      than property at the described premises and the BUSINESS
 8                      INCOME (AND EXTRA EXPENSE) COVERAGE FORM or the
 9                      BUSINESS INCOME (WITHOUT EXTRA EXPENSE) COVERAGE
10                      FORM is a part of this policy, we will pay for the actual loss of
11                      Business Income you sustain caused by action of civil authority that
12                      prohibits access to the described premises.
13
14                      When a Covered Cause of Loss causes damage to property other
15                      than property at the described premises and the BUSINESS
16                      INCOME (AND EXTRA EXPENSE) COVERAGE FORM or the
17                      EXTRA EXPENSE COVERAGE FORM is a part of this policy, we
18                      will pay for the actual and necessary Extra Expense you incur
19                      caused by action of civil authority that prohibits access to the
20                      described premises.
21
22                      We will pay for the actual loss of Business Income you sustain
23                      and/or actual and necessary Extra Expense you incur under this
24                      Additional Coverage, Civil Authority, provided that both of the
25                      following apply:
26                         (1) Access to the area immediately surrounding the damaged
27                             property is prohibited by civil authority as a result of the
28

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   1                                  damage, and the described premises are within that area but
   2                                  are not more than one mile from the damaged property; and
   3                            (2) The action of civil authority is taken in response to
   4                                  dangerous physical conditions resulting from the damage or
   5                                  continuation of the Covered Cause of Loss that caused the
   6                                  damage, or the action is taken to enable a civil authority to
   7                                  have unimpeded access to the damaged property.
   8
   9                         Civil Authority Coverage for Business Income will begin 72 hours
  10                         after the time of the first action of civil authority that prohibits
  11                         access to the described premises and will apply for a period of up
  12                         to 30 consecutive days from the date on which such coverage
  13                         began.
  14
  15                         Civil Authority Coverage for Extra Expense will begin immediately
  16                         after the time of the first action of civil authority that prohibits
  17                         access to the described premises and will end:
  18                            (1) 30 consecutive days after the date of that action; or
  19                            (2) When your Civil Authority Coverage for Business Income
  20                                  ends;
  21                         whichever is later (Id. at EX03‐101, emphasis in original).
  22
  23          33.    An endorsement to the Policy entitled “Business Income Changes – Time
  24   Period” reduces the 72‐hour time frame in the additional coverage for Civil Authority to
  25   24 hours. It states as follows:
  26                 “This endorsement modifies insurance provided under the following:
  27                 BUSINESS INCOME (AND EXTRA EXPENSE) COVERAGE FORM
  28                 BUSINESS INCOME (WITHOUT EXTRA EXPENSE) COVERAGE FORM

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   1
   2                 For insurance provided under the BUSINESS INCOME (AND EXTRA
   3                 EXPENSE) COVERAGE FORM or the BUSINESS INCOME (WITHOUT
   4                 EXTRA EXPENSE) COVERAGE FORM, the following applies:
   5                 1. The 72‐hour time period in the definition of ‘period of restoration’ is
   6                       replaced by 24 hours.
   7                 2. The 72‐hour time period in the Civil Authority Additional Coverage is
   8                       replaced by 24 hours” (Id. at EX03‐83).
   9
  10          34.    One of the exclusions in the Policy is for “Government Action.” But the
  11   scope of the “Government Action” exclusion is expressly limited to governmental
  12   orders regarding the “seizure or destruction of property” (Id. at EX03‐066). Specifically,
  13   the “Government Action” exclusion reads as follows:
  14                 “c.      Government Action
  15                 Seizure or destruction of property by order of government authority.
  16
  17                 But we will pay for loss or damage caused by or resulting from acts of
  18                 destruction ordered by governmental authority and taken at the time of a
  19                 fire to prevent its spread, if the fire would be covered under this Coverage
  20                 Part” (Id., emphasis in original).
  21
  22          35.    The Policy also states an “Exclusion Of Loss Due To Virus Or Bacteria.”
  23   (“Virus Exclusion”). Specifically, the Virus Exclusion in the Policy provides the
  24   following:
  25                 “We will not pay for loss or damage caused by or resulting from any
  26                 virus, bacterium or other micro‐organism that induces or is capable of
  27                 inducing physical distress, illness or disease” (Id. at EX03‐078).
  28

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   1                                                 V.
   2                                  FACTUAL BACKGROUND
   3   A.       History of the Musso & Frank Restaurant
   4            36.   Frank Toulet opened ”Frank’s Francois Cafe” on September 27, 1919. In
   5   1923, Joseph Musso partnered with Toulet and they renamed the restaurant “The
   6   Musso & Frank Grill.”
   7            37.   In 1928, Musso and Toulet incorporated the business as “The Musso &
   8   Frank Grill Company, Inc.” and sold the business to John Mosso and Joseph Carissimi,
   9   who maintained the restaurant’s name because of its already established goodwill and
  10   reputation. In 2019, the Mosso family bought out the Carissimi family and Musso &
  11   Frank is now owned by the families of the three granddaughters of Mosso. The
  12   restaurant is now run by the third and fourth generation of the Mosso descendants.
  13            38.   Musso & Frank has also served as a backdrop for television shows and
  14   movies. Movies such as Once Upon a Time in Hollywood, Ed Wood and Ocean’s Eleven;
  15   and, television shows such as Mad Men and The Kominsky Method have been filmed
  16   there.
  17            39.   The iconic Musso & Frank restaurant was frequented by a literal “Who’s
  18   Who” from the Golden Age of Hollywood. Charlie Chaplin, Humphrey Bogart,
  19   Douglas Fairbanks, Mary Pickford, Frank Sinatra and Marilyn Monroe are amongst the
  20   many celebrities that dined at Musso & Frank. To this day, Musso & Frank remains a
  21   popular gathering point for many well‐known celebrities. But, it also caters to local
  22   customers from a demographic cross‐section of California.
  23            40.   Musso & Frank recently celebrated its 100‐year anniversary. During that
  24   time, it always lived up to its motto, “we treat locals like celebrities and celebrities like
  25   locals.” It has been a constant, reliable fixture that has linked the Golden Era of
  26   Hollywood to the present‐day entertainment industry.
  27            41.   When all of this was brought to a sudden halt by the mandated shut
  28   down, Musso & Frank made a legitimate claim to its insurance company for the help

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   1   and protection it had been promised only to have it rejected without even the slightest
   2   of an investigation of its claim and a complete and utter violation of California
   3   insurance law, regulations and standards.
   4
   5   B.     The COVID‐19 Pandemic
   6          42.    It has been widely reported that COVID‐19 has its origins in Wuhan,
   7   China. The first public reports were on December 31, 2019 of an “outbreak of
   8   respiratory illness.”
   9          43.    By January 8, 2020, the United States Centers for Disease Control and
  10   Prevention (“CDC”) issued warnings to American travelers going to China for a
  11   “pneumonia of unknown etiology” (https://emergency.cdc.gov/han/han00424.asp, last
  12   accessed April 17, 2020).
  13          44.    Starting January 17, 2020, the CDC and the United States Department of
  14   Homeland Security’s Customs and Border Protection implemented enhanced health
  15   screenings for passengers who came from or connected through Wuhan, China
  16   (https://www.cdc.gov/media/releases/2020/p0117‐coronavirus‐screening.html, last
  17   accessed April 17, 2020).
  18          45.    On January 20, 2020, the W.H.O. reported the first confirmed cases outside
  19   mainland China in Japan, South Korea and Thailand (https://www.nytimes.com/article/
  20   coronavirus‐timeline.html, last accessed April 17, 2020). The following day, on January
  21   21, 2020, the first American COVID‐19 case was confirmed in the State of Washington
  22   (https://www.cdc.gov/media/releases/2020/p0121‐novel‐coronavirus‐travel‐case.html,
  23   last accessed April 17, 2020).
  24          46.    According to news reports, shortly thereafter, by January 26, 2020, the
  25   CDC confirmed the first COVID‐19 case in California (https://web.archive.org/web/
  26   20200128205456/https://www.cdph.ca.gov/Programs/CID/DCDC/Pages/Immunization/
  27   ncov2019.aspx, last accessed April 17, 2020).
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   1          47.    On January 30, 2020, the W.H.O declared a “public health emergency of
   2   international concern. The following day, on January 31, 2020, all travel from China to
   3   the United States was blocked.
   4          48.    During February, COVID‐19 began spreading rapidly throughout Europe,
   5   with Italy initially becoming the most impacted country. That same month, an
   6   increasing number of cases were being reported in the United States, with the largest
   7   concentration of cases in the Seattle area of Washington State. The first cluster of
   8   COVID‐19 cases was reported at a nursing home in Kirkland, Washington in late
   9   February, where the first COVID‐19 death was announced on February 28, 2020.
  10          49.    COVID‐19 also continued to spread throughout California during
  11   February 2020. In early February, several COVID‐19 cases were announced in Northern
  12   California. During February, the number of reported COVID‐19 cases in California
  13   increased. On February 26, 2020, the CDC announced the first reported California
  14   COVID‐19 case resulting from community spread (https://www.cdc.gov/media/
  15   releases/2020/s0226‐Covid‐19‐spread.html, last accessed April 17, 2020).
  16          50.    On March 4, 2020, the first COVID‐19 fatality was reported in California.
  17          51.    As COVID‐19 cases continued to increase in certain areas of the United
  18   States, on March 4, 2020 Congress passed emergency funding of $8.3 billion to aid in the
  19   immediate health response to COVID‐19.
  20          52.    On March 11, 2020, travel from Europe to the United States was restricted,
  21   and the W.H.O. declared COVID‐19 a pandemic. The term “pandemic” does not appear
  22   anywhere as an excluded peril in this “All Risk” Policy.
  23          53.    On March 13, 2020, the President of the United States declared a national
  24   emergency.
  25          54.    Yet, throughout this entire period from December 2019 until March 15,
  26   2020, Musso & Frank had not suffered an interruption of its thriving business.
  27
  28

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   1   C.     The March 15, 2020 Public Order by Los Angeles Mayor Eric Garcetti (the
              “Order”) causes Musso & Frank to close its doors, resulting in an interruption
   2          of business.
   3          55.    More than ten weeks after the first reported COVID‐19 case, on March 15,
   4   2020, Mayor Garcetti issued the Order based on a public health crisis. It mandated that
   5   restaurants close by midnight of that date:
   6                 “3.    All restaurants and retail food facilities in the City of Los Angeles
   7                 shall be prohibited from serving food for consumption on premises.
   8                 Restaurants and retail food facilities may continue to operate for purposes
   9                 of preparing and offering food to customers via delivery service, to be
  10                 picked up or for drive‐thru. For those establishments offering food pick‐
  11                 up options, proprietors are directed to establish social distancing practices
  12                 for those patrons in the queue for pick‐up (Exhibit 2).
  13
  14          56.    Musso & Frank has never prepared or offered food to customers via
  15   delivery service, to be picked up or for drive‐thru. Accordingly, the Order effectively
  16   forced Musso & Frank to shut its doors, resulting in a loss of functional use of its
  17   premises and an interruption of its business. The Order was the predominant cause of
  18   the suspension of Musso & Frank’s operation.
  19          57.    As of the date of the Order, March 15, 2020, Musso & Frank was not aware
  20   of the presence of any COVID‐19 virus on its premises, and no employee or customer
  21   had reported a COVID‐19 infection.
  22          58.    Four days later, on March 19, 2020, Mayor Garcetti issued a “safer at
  23   home” order where citizens were ordered to remain in their homes except for “essential
  24   activities or infrastructure,” and all public and private gatherings were prohibited
  25   (Exhibit 4). This order referenced the prior emergency orders prohibiting, among other
  26   things, restaurants from serving to dine‐in customers and continued to prevent this
  27   activity. This “safer at home” order was extended to May 15, 2020 by Mayor Garcetti in
  28

                                                  ‐ 15 ‐
                                   COMPLAINT AND DEMAND FOR JURY TRIAL
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   1   another order on April 10, 2020 (Exhibit 5). These further orders constitute a continuing
   2   predominant cause of Musso & Frank’s losses.
   3
   4   D.     After initially promising an investigation, Mitsui suddenly denies the claim
              with none whatsoever.
   5
              59.     On March 19, 2020, Musso & Frank submitted a Property Loss Notice to
   6
       Mitsui. The description of the loss stated “Business Income Loss/Civil Authority”
   7
       (Exhibit 6).
   8
              60.     On March 20, 2020, Jeff Kinkead, a Property Claims Specialist at Mitsui
   9
       sent an e‐mail purporting to conduct an investigation:
  10
                      “We have assigned the independent adjusting firm of Engle Martin and
  11
                      Associates to contact you to begin our investigation into this matter.
  12
                      Someone from Engle Martin will contact you shortly.
  13
  14
                      Please provide us with the following:
  15
                            A brief description of what happened and or loss or damage, if any.
  16
                            What was the location: 6663‐6667 Hollywood Blvd., Los Angeles,
  17
                             CA or 6715 Hollywood Blvd, Ste. 201, Los Angeles CA.
  18
                            A brief description of the nature of your business at the above
  19
                             locate[i]on.
  20
                            Are there any other locations involved.
  21
                            A copy of any supporting documents for the business loss related
  22
                             to COVID‐19.
  23
                            The total amount for which you are making claim.
  24
                      The above should not be considered totally inclusive as we may request
  25
                      additional information once we review the above” (Exhibit 7, emphasis
  26
                      added).
  27
  28

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                                    COMPLAINT AND DEMAND FOR JURY TRIAL
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   1          61.    Contrary to the promise by Mitsui, no one at Engle Martin ever contacted
   2   Musso & Frank to investigate the claim.
   3          62.    Instead, only one week later and without any further contact to Musso &
   4   Frank, on March 27, 2020, Mr. Kinkead sent a second e‐mail, this time indicating that
   5   Engle Martin would not be investigating the loss and that he would be doing so
   6   himself: “I called you today and left a voicemail message in follow‐up to my email
   7   below. I will be investigating this loss and Engle Martin will not be contacting you”
   8   (Exhibit 8, emphasis added).
   9          63.    And then, on April 1, 2020, without any further contact or investigation
  10   whatsoever, Mitsui denied the claim as follows:
  11                 “The MSI Policy does not provide coverage for the Policyholder’s Claim
  12                 because COVID‐19 is not a covered cause of loss…. Here, the MSI Policy
  13                 specifically excludes coverage for ‘loss or damage caused by or resulting
  14                 from any virus, bacterium or other microorganism that induces or is
  15                 capable of inducing physical distress, illness or disease’ (the “Virus
  16                 Exclusion”). (Form CP 01 40 07 06 ‐ Exclusion Of Loss Due To Virus Or
  17                 Bacteria) (emphasis added). Based on the information provided to date, it
  18                 appears that the Policyholder’s Claim arises out of a virus – COVID‐19 –
  19                 and thus is excluded under the Policy. MSI, therefore, respectfully
  20                 declines coverage for the Claim under the Virus Exclusion” (Exhibit 9, p.
  21                 2, emphasis in original, footnote removed).
  22
  23          64.    In the same April 1, 2020 denial letter, Mitsui also stated that COVID‐19
  24   did not cause the property to suffer “‘direct physical loss of or damage’ to insured
  25   property” (Id.).
  26          65.    Pursuant to § 2695.7(b)(1) of the Regulations, Mitsui was required to state
  27   in its April 1, 2020 denial letter all the factual, contractual, and legal grounds for
  28

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                                    COMPLAINT AND DEMAND FOR JURY TRIAL
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   1   denying the claim (see, e.g., Exhibit 1, p. 3), thus forfeiting the right to raise additional
   2   grounds to attempt to justify its denial of Musso & Frank’s claim.
   3          66.     As a result of Mitsui’s wrongful denial of the claim, at a time when the
   4   government action required Musso & Frank to suspend all business operations, Musso
   5   & Frank has been compelled to retain counsel and pursue this litigation in order to
   6   obtain the benefits promised under the Policy.
   7
   8                                   FIRST CAUSE OF ACTION
   9                (Breach of the Implied Covenant of Good Faith and Fair Dealing)
  10          PLAINTIFF MUSSO & FRANK GRILL, INC. FOR A FIRST CAUSE OF ACTION
  11   AGAINST DEFENDANT MITSUI SUMITOMO INSURANCE USA INC. FOR BREACH
  12   OF THE IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING ALLEGES:
  13          67.     Musso & Frank incorporates by reference all paragraphs above as if set
  14   forth in full in this cause of action.
  15          68.     Mitsui has breached its duty of good faith and fair dealing owed to Musso
  16   & Frank in the following respects:
  17                  a. Unreasonably acting or failing to act in a manner that deprives Musso
  18                      & Frank of the benefits of the Policy;
  19                  b. Unreasonably engaging in a pattern and practice of acting or failing to
  20                      act in a manner that deprives its insureds of the benefits of policies it
  21                      issues;
  22                  c. Unreasonably failing to conduct a prompt, fair, balanced and thorough
  23                      investigation of all of the bases of Musso & Frank’s claim;
  24                  d. Unreasonably engaging in a pattern and practice of failing to conduct a
  25                      prompt, fair, balanced and thorough investigation of all of the bases of
  26                      claims made under policies it issues;
  27                  e. Unreasonably failing to diligently search for and consider evidence
  28                      that supports coverage of Musso & Frank’s claim;

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                                     COMPLAINT AND DEMAND FOR JURY TRIAL
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   1                f. Unreasonably engaging in a pattern and practice of failing of failing to
   2                     diligently search for and consider evidence that supports coverage of
   3                     claims;
   4                g. Unreasonably failing to conduct an investigation to determine the
   5                     efficient proximate cause (predominant cause) of Musso & Frank’s
   6                     loss;
   7                h. Unreasonably engaging in a pattern and practice of failing to conduct
   8                     an investigation to determine the efficient proximate cause
   9                     (predominant cause) on claims made by insureds;
  10                i. Unreasonably failing to give at least as much consideration to the
  11                     interests of Musso & Frank as it gives to its own interests;
  12                j.   Unreasonably engaging in a pattern and practice of failing to give at
  13                     least as much consideration to the interests of its insureds as it gives to
  14                     its own interests;
  15                k. Unreasonably placing its own financial interests above the interests of
  16                     Musso & Frank;
  17                l. Unreasonably engaging in a pattern and practice of placing its own
  18                     financial interests above the interests of its insureds;
  19                m. Unreasonably failing to comply with the Regulations, including
  20                     § 2695.7(b)(1);
  21                n. Unreasonably failing to apply the Policy’s definitions and terms to
  22                     determine whether Musso & Frank’s claim was covered; and
  23                o. Unreasonably compelling Musso & Frank to institute this action to
  24                     obtain benefits due under the Policy.
  25
  26         69.    Musso & Frank is informed and believes, and thereon alleges, that the
  27   foregoing unreasonable, malicious, oppressive and/or fraudulent misconduct was not
  28   limited to Mitsui’s evaluation of this particular claim, but represents an ongoing pattern

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                                    COMPLAINT AND DEMAND FOR JURY TRIAL
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   1   and practice, which it applies to all of its policyholders, that is specifically designed by
   2   Mitsui to earn illicit profits at the expense of its policyholders’ rights. This ongoing
   3   pattern of conduct constitutes institutional bad faith.
   4           70.   Mitsui’s institutional bad faith constitutes reprehensible conduct because
   5   it is part of a repeated pattern of unfair practices and not an isolated occurrence. The
   6   pattern of unfair practices constitutes a conscious course of wrongful conduct that is
   7   firmly grounded in Mitsui’s established company policies and practices. Musso & Frank
   8   is informed and believes and thereon alleges that Mitsui has engaged in similar
   9   wrongful conduct as to other insureds and that it has substantially increased its profits
  10   as a result of causing similar harm to others.
  11           71.   As a proximate result of the aforementioned conduct of Mitsui, Musso &
  12   Frank has suffered, and will continue to suffer in the future, damages under the Policy,
  13   plus interest and other economic and consequential damages, for a total amount to be
  14   shown at the time of trial.
  15           72.   As a further proximate result of the aforementioned unreasonable conduct
  16   of Mitsui, Musso & Frank was compelled to retain legal counsel to obtain the benefits
  17   due under the Policy. Therefore, Mitsui is liable to Musso & Frank for the attorneys’
  18   fees reasonably necessary and incurred by Musso & Frank in order to obtain the Policy
  19   benefits. (Brandt v. Superior Court (1985) 37 Cal.3d 812; Cassim v. Allstate (2004) 33 Cal.4th
  20   780.)
  21           73.   The conduct of Mitsui was intended by it to cause injury to Musso &
  22   Frank; and/or was despicable conduct carried on by Mitsui with a willful and conscious
  23   disregard of Musso & Frank’s rights, subjected Musso & Frank to cruel and unjust
  24   hardship in conscious disregard of its rights; and/or constituted an intentional
  25   misrepresentation or concealment of a material fact known to Mitsui with the intention
  26   to deprive Musso & Frank of property or legal rights or to otherwise cause injury, such
  27   as to constitute malice, oppression or fraud under California Civil Code, § 3294. Musso
  28

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                                     COMPLAINT AND DEMAND FOR JURY TRIAL
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   1   & Frank is therefore entitled to an award of punitive damages in an amount appropriate
   2   to punish and set an example for other similarly situated insurers.
   3          74.     Mitsui’s conduct was undertaken by its corporate officers, directors or
   4   managing agents who were responsible for claims supervision and operations,
   5   underwriting, communications, and/or decisions; and/or this conduct was authorized
   6   by one or more of Mitsui’s officers, directors or managing agents; and/or one or more of
   7   Mitsui’s officers, directors or managing agents knew of the actions and adopted or
   8   approved that conduct after it occurred. This conduct was, therefore, undertaken on
   9   behalf of Mitsui.
  10
  11                                   SECOND CAUSE OF ACTION
  12                                         (Breach of Contract)
  13          PLAINTIFF MUSSO & FRANK GRILL, INC. FOR A SECOND CAUSE OF
  14   ACTION AGAINST DEFENDANT MITSUI SUMITOMO INSURANCE USA INC. FOR
  15   BREACH OF CONTRACT ALLEGES:
  16          75.     Musso & Frank incorporates by reference all paragraphs above as if set
  17   forth in full in this cause of action.
  18          76.     Musso & Frank entered into a contract, the Policy, with Mitsui. Mitsui
  19   owed duties and obligations to Musso & Frank under the Policy.
  20          77.     Musso & Frank did all, or substantially all, of the significant things that
  21   the Policy required it to do.
  22          78.     Mitsui’s denial of Musso & Frank’s claim is not in accordance with the
  23   terms of the Policy and California law.
  24          79.     As a direct and proximate result of Mitsui’s conduct and breach of its
  25   contractual obligations, Musso & Frank has suffered damages under the Policy in an
  26   amount to be determined according to proof at the time of trial, plus pre‐judgment
  27   interest pursuant to California Civil Code, § 3289(b), and other foreseeable and
  28

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   1   consequential damages according to proof and in amounts to be determined at the time
   2   of trial.
   3
   4                                     PRAYER FOR RELIEF
   5           WHEREFORE, Musso & Frank prays for judgment against Mitsui as follows:
   6           AS TO THE FIRST CAUSE OF ACTION AGAINST DEFENDANT MITSUI
   7   SUMITOMO INSURANCE USA INC. FOR BREACH OF THE IMPLIED
   8   COVENANT OF GOOD FAITH AND FAIR DEALING:
   9           1.    For damages for failure to pay benefits owed under the Policy, plus
  10   interest, in a sum to be determined at the time of trial;
  11           2.    For prejudgment interest on all damages awarded to Musso & Frank in
  12   accordance with California Civil Code, § 3287;
  13           3.    For attorneysʹ fees, witness fees, and costs of litigation incurred by Musso
  14   & Frank to obtain the Policy benefits in an amount to be determined at the time of trial;
  15           4.    For economic and consequential damages arising out of Mitsui’s
  16   unreasonable failure to pay benefits owed under the Policy;
  17           5.    For punitive and exemplary damages in an amount appropriate to punish
  18   or set an example of Mitsui;
  19           6.    For costs of suit herein; and
  20           7.    For such other relief as the Court deems just and proper.
  21
  22           AS TO THE SECOND CAUSE OF ACTION AGAINST DEFENDANT
  23   MITSUI SUMITOMO INSURANCE USA INC. FOR BREACH OF CONTRACT:
  24           1.    Economic and consequential damages, in an amount to be determined
  25   according to proof at the time of trial;
  26           2.    For prejudgment interest on all damages awarded to Musso & Frank in
  27   accordance with California Civil Code, § 3289(b);
  28           3.    For costs of suit incurred herein; and

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   1         4.     For such other and further relief as the Court deems just and proper.
   2
   3   Dated: April 21, 2020                    SHERNOFF BIDART ECHEVERRIA LLP
   4
                                                By:       /s/ Michael J. Bidart
   5
                                                          MICHAEL J. BIDART
   6                                                      RICARDO ECHEVERRIA
   7                                                      Attorneys for Plaintiff

   8
                                          JURY DEMAND
   9
             Plaintiff hereby demands a jury trial.
  10
  11   Dated: April 21, 2020                    SHERNOFF BIDART ECHEVERRIA LLP

  12
                                                By:       /s/ Michael J. Bidart
  13
                                                          MICHAEL J. BIDART
  14                                                      RICARDO ECHEVERRIA
  15                                                      Attorneys for Plaintiff

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                                  COMPLAINT AND DEMAND FOR JURY TRIAL
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       EXHIBIT 1
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                                  RICARDO LARA
                                  CALIFORNIA INSURANCE COMMISSIONER



                                         NOTICE
 TO:         All Admitted and Non-Admitted Insurance Companies, All Licensed
             Insurance Adjusters and Producers, and Other Licensees and
             Interested Parties

 FROM:       Insurance Commissioner Ricardo Lara

 DATE:       April 14, 2020

 RE:         Requirement to Accept, Forward, Acknowledge, and Fairly Investigate
             All Business Interruption Insurance Claims Caused by the COVID-19
             Pandemic


 To help combat the spread of the COVID-19 virus, various federal, state, and local
 government officials have issued emergency public health orders and “shelter-in-place”
 directives. The COVID-19 pandemic has severely curtailed activities of policyholders in
 both personal and commercial lines, causing significant and widespread economic loss
 in California.

 Business Interruption insurance is an optional coverage that may be purchased as part
 of a comprehensive multi-peril commercial policy, business owners’ policy, or on a stand-
 alone basis. Many small and large California businesses purchase Business Interruption
 insurance to protect against the loss of income and other losses caused by an interruption
 to the normal operations of the business.

 The California Department of Insurance (Department) continues to encourage
 businesses to review their policies, including policy exclusions, coverage limits, and
 applicable deductibles, and contact their insurance companies to determine what their
 policies cover as each insurance policy is different and the coverage varies. However,
 despite the Department’s on-going guidance to businesses statewide during the COVID-
 19 pandemic, it has received numerous complaints from businesses, public officials, and
 other stakeholders asserting that certain insurers, agents, brokers, and insurance
 company representatives are attempting to dissuade policyholders from filing a notice of
 claim under its Business Interruption insurance coverage, or refusing to open and
 investigate these claims upon receipt of a notice of claim.

 Therefore, Insurance Commissioner Ricardo Lara finds it necessary to issue this Notice
 to ensure that all agents, brokers, insurance companies, and other licensees accept,
                              CALIFORNIA DEPARTMENT OF INSURANCE
                                 PROTECT • PREVENT • PRESERVE
                                     300 Capitol Mall, 17th Floor
                                    Sacramento, California 95814
                                          (916) 492-3500
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 Notice on Requirement to Accept, Forward, Acknowledge, and Fairly Investigate All Business Interruption
 Insurance Claims Caused by the COVID-19 Pandemic

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 forward, acknowledge, and fairly investigate all business interruption insurance claims
 submitted by businesses.

 Commissioner Lara hereby notifies all agents, brokers, insurance companies, and other
 Department licensees that they are required to comply with their contractual, statutory,
 regulatory, and other legal obligations, including but not limited to, the obligations set
 forth in the California Fair Claims Settlement Practices Regulations (Cal. Code Regs. tit.
 10; sections 2695.1 et seq.) (the “Regulations”) in connection with all California insurance
 claims including, but not limited to, Business Interruption insurance claims, event
 cancellation claims, and other related claims filed by California businesses.

 The Regulations require, among other things, that all insurers, insurance agents, brokers,
 insurance company representatives, and other Department licensees accept any
 communication from the policyholder or its representative indicating that the policyholder
 desires to make a claim against a policy that reasonably suggests that a response is
 expected as a notice of claim. (Regulations, section 2695.5(b).) Upon receipt of a notice
 of claim, every Department licensee is required to transmit such notice of claim to the
 insurer immediately. (Regulations, section 2695.5(d).)

 Upon receipt of a notice of claim, subject to certain exceptions, every insurer is required
 to acknowledge the notice of claim immediately, but in no event more than 15 calendar
 days after receipt of the notice of claim. (Regulations, section 2695.5(e).) If the
 acknowledgment of a claim is not in writing, a written acknowledgment of the receipt and
 date of the notice of claim must be made in the claim file of the insurer. (Regulations,
 section 2695.5(e)(1).) Failure of an insurance agent or claims agent to transmit a notice
 of claim to the insurer promptly will be imputed to the insurer, except where the subject
 policy was issued pursuant to the California Automobile Assigned Risk Program.
 (Regulations, section 2695.5(e)(1).)

 Upon receipt of a notice of claim, the insurer is required to provide the policyholder with
 the necessary forms, instructions, and reasonable assistance, including but not limited
 to, specifying the information the policyholder must provide in connection with the proof
 of claim and begin any necessary investigation of the claim. (Regulations, section
 2695.5(e)(2).) Thereafter, every insurer is required to conduct and diligently pursue a
 thorough, fair, and objective investigation of the reported claim, and is prohibited from
 seeking information not reasonably required for or material to the resolution of a claim
 dispute before determining whether the claim will be accepted or denied, in whole or in
 part. (Regulations, section 2695.7(d).)

 After conducting a thorough, fair, and objective investigation of the claim, the insurer must
 accept or deny the claim, in whole or in part, immediately, but in no event more than 40
 days after receipt of the proof of claim. The amount of the claim accepted or denied by
 the insurer must be clearly documented in the claim file unless the claim has been denied
 in its entirety. (Regulations, section 2695.7(b).)
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 Notice on Requirement to Accept, Forward, Acknowledge, and Fairly Investigate All Business Interruption
 Insurance Claims Caused by the COVID-19 Pandemic

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 If the claim is denied in whole or in part, the insurer is required to communicate the denial
 in writing to the policyholder listing all the legal and factual bases for such denial.
 (Regulations, section 2695.7(b)(1).) Where the denial of a first party claim is based on a
 specific statute, applicable law or policy provision, condition, or exclusion, the written
 denial must include reference to and provide an explanation of the application of the
 statute, applicable law, or policy provision, condition, or exclusion to the claim. Lastly,
 every insurer that denies or rejects a third party claim, in whole or in part, or disputes
 liability or damages must do so in writing. (Regulations, section 2695.7(b)(1).)

 Based on the foregoing, every insurer, insurance agent, broker, insurance company
 representative, and other Department licensees is required to comply with their
 contractual, statutory, regulatory, and other legal obligations in connection with all
 California insurance claims, including but not limited to, Business Interruption insurance
 claims, event cancellation claims, and other related claims filed by California businesses.
 Additionally, no insurer, insurance agent, broker, insurance company representative, or
 other Department licensee shall dissuade policyholders from filing a notice of claim under
 its Business Interruption insurance coverage, or refuse to open and investigate such
 claims upon receipt of a notice of claim.
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       EXHIBIT 2
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        Public Order Under City of Los Angeles Emergency Authority

                             Issue Date: March 15, 2020

 Subject:      New City Measures to Address COVID-19

 On March 4, 2020, I declared a local emergency in relation to the arrival of the
 COVID-19 virus in our community, and on March 12, 2020, I ordered a number of
 measures to be taken across the City to protect members of the public and City workers
 from an undue risk of contracting the COVID-19 virus. Our precautions over the past
 weeks and what we do over the next few days and weeks will determine how well we
 weather this emergency.

 On March 11, 2020, the World Health Organization characterized COVID-19 as a
 pandemic. The Centers for Disease Control and Prevention advises us that COVID-19
 spreads easily from person to person and has issued guidelines recommending that the
 public adopt policies and routines to enable social distancing wherever possible.

 Here in the City of Los Angeles, we must redouble our efforts to maintain hand hygiene,
 respiratory etiquette, and social distancing. It is absolutely critical that we as a City do
 everything we can to slow the pace of community spread and avoid unnecessary strain
 on our medical system. To aid in our efforts, under the emergency authorities vested in
 my office under the laws of the City of Los Angeles, today I am ordering that a series of
 temporary restrictions be placed on certain establishments throughout our City in which
 large numbers of people tend to gather and remain in close proximity. By virtue of
 authority vested in me as Mayor of the City of Los Angeles pursuant to the provisions of
 the Los Angeles Administrative Code, Chapter 3, Section 8.29 to promulgate, issue, and
 enforce rules, regulations, orders, and directives, I hereby declare the following orders
 to be necessary for the protection of life and property and I hereby order, effective at
 11:59 p.m. tonight, until March 31, 2020 at 12:00 p.m., that:

 1.    All bars and nightclubs in the City of Los Angeles that do not serve food shall be
 closed to the public.
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 2.     Any bars or nightclubs in the City of Los Angeles that serve food may remain
 open only for purposes of continuing to prepare and offer food to customers via delivery
 service or to be picked up. Dine-in food service is prohibited.

 3.       All restaurants and retail food facilities in the City of Los Angeles shall be
 prohibited from serving food for consumption on premises. Restaurants and retail food
 facilities may continue to operate for purposes of preparing and offering food to
 customers via delivery service, to be picked up or for drive-thru. For those
 establishments offering food pick-up options, proprietors are directed to establish social
 distancing practices for those patrons in the queue for pick-up.

 4.     The following are exempt from this Order:

           A. Cafeterias, commissaries, and restaurants located within hospitals,
              nursing homes, or similar facilities
           B. Grocery stores
           C. Pharmacies
           D. Food banks
           E. Los Angeles World Airports concessionaires

 5.     Trucks and other vehicles engaged in the delivery of grocery items to grocery
 stores, when such items are to be made available for sale to the public, are hereby
 exempt from having to comply with any City rules and regulations that limit the hours for
 such deliveries, including, without limitation, Los Angeles Municipal Code Section 12.22
 A.23(b)(3) and Los Angeles Municipal Code Section 114.03.

 6.    All movie theaters, live performance venues, bowling alleys and arcades shall be
 closed to the public.

 7.     All gyms and fitness centers shall be closed to the public.

 Any violation of the above prohibitions may be referred to the Office of the City Attorney
 for prosecution under Los Angeles Administrative Code Section 8.77, which provides for
 fines not to exceed $1,000 or imprisonment not to exceed six months. Each individual
 officer should use their discretion in enforcing this order and always keep the intent of
 the order in mind.

 In addition, I hereby issue guidance to the leaders of the City’s houses of worship and
 urge them, in the strongest possible terms, to limit gatherings on their premises and to
 explore and implement ways to practice their respective faiths while observing social
 distancing practices.

 Finally, I hereby order that no landlord shall evict a residential tenant in the City of Los
 Angeles during this local emergency period if the tenant is able to show an inability to
 pay rent due to circumstances related to the COVID-19 pandemic. These
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 circumstances include loss of income due to a COVID-19 related workplace closure,
 child care expenditures due to school closures, health care expenses related to being ill
 with COVID-19 or caring for a member of the tenant’s household who is ill with
 COVID-19, or reasonable expenditures that stem from government-ordered emergency
 measures. Nothing in this subsection shall be construed to mean that the tenant will not
 still be obligated to pay lawfully charged rent. Tenants will have up to six months
 following the expiration of the local emergency period to repay any back due rent.
 Tenants may use the protections afforded in this subsection as an affirmative defense in
 an unlawful detainer action. This subsection shall remain in effect during the pendency
 of the local emergency period.

 This order may be extended prior to March 31, 2020.
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       EXHIBIT 3
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                                                                                        Policy Number
                                                                                        PKG3127372
                            DISCLOSURE NOTICE
                  TERRORISM RISK INSURANCE ACT OF 2002 –
                               (AS AMENDED)
                    REJECTION OF OUR OFFER OF COVERAGE


 Named Insured     MUSSO & FRANK GRILL CO., INC. KEEGAL IR                                      Effective Date:     06/30/2019
                                                                                                12:01 A.M., Standard Time


 Agent Name         HUB INTERNATIONAL                                                           Agent No.         0099580




      You have rejected our offer of coverage for certified acts of terrorism, as defined in and certified under
      the Terrorism Risk Insurance Act of 2002, as amended. Therefore, this policy does not provide such
      coverage. This policy contains one or more exclusions that apply to certified acts of terrorism.

      If you were not made aware of our offer of coverage for certified acts of terrorism, or believe that this
      notice was included in this policy in error, please notify your agent or broker immediately.




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                                                                                                            EX03-001
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To report a new loss, use one of the following options:


        Internet                                        www.interactclaims.com
                                                    *REGISTRATION REQUIRED – CLICK HERE TO REGISTER




       Telephone                                             866-MSMMUSA
          24 hours/day
          365 days/year
                                                              (866-676-6872)
                                            *Interpreter Services available as needed or upon request



                                                             866-FAXMSMM
             Fax
                                                              (866-329-6766)


          E-Mail                                         NEWLOSS@MSIGUSA.COM



                                                 https://www.interactclaims.com/MSMM/newclaim.jsp
Auto Mobile Reporting


 Please contact our Customer Service Department for additional assistance or questions
         regarding previously reported claims - 866-MSMMCSC(866-676-6272).
                                                                                           CLM2004/22/2015
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                                                                                                      EX03-002
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                                                                                         Policy Number
                                                                                         PKG3127372
                                                     COMMON POLICY DECLARATIONS
                      Insurance is afforded by the company indicated below:

                           MITSUI SUMITOMO INSURANCE COMPANY OF AMERICA
                     X     MITSUI SUMITOMO INSURANCE USA INC.


                                            (each of the above being a capital stock corporation)

   Item 1.   Named Insured and Mailing Address                           Agent Name and Address
   MUSSO & FRANK GRILL CO., INC.                                         HUB INTERNATIONAL
   (SEE NAMED INSURED ENDORSEMENT)                                       6701 CENTER DRIVE WEST
   6715 HOLLYWOOD BLVD.                                                  SUITE 1500
   LOS ANGELES CA 90028                                                  LOS ANGELES CA 90045
                                                                         Agent No. 0099580
   Item 2. Policy Period       From: 06-30-2019               To: 06-30-2020

                             at 12:01 A.M., Standard Time at your mailing address shown above.

   Item 3.   Business Description: RESTAURANT
             Form of Business: CORPORATION

   Item 4.     In return for the payment of the premium, and subject to all the terms of this policy, we agree with you to provide the
               insurance as stated in this policy.
   This policy consists of the following coverage parts for which a premium is indicated. Where no premium is shown, there is no
   coverage. This premium may be subject to adjustment.

                                  Coverage Part(s)                                                             Premium

 Commercial Property Coverage Part                                                       $              12,041.00
 Commercial General Liability Coverage Part                                              $              34,438.00
 Commercial Crime and Fidelity Coverage Part                                             $                 440.00
 Commercial Inland Marine Coverage Part                                                               NOT COVERED
 Commercial Auto (Business or Truckers) Coverage Part                                                 NOT COVERED
 Commercial Garage Coverage Part                                                                      NOT COVERED
 Commercial Output Coverage Part (AAIS)                                                               NOT COVERED

 TAX, SURCHARGE OR FEE                                                                   $                           .15
                                                              Total Policy Premium       $               46,919.15
   Item 5.   Forms and Endorsements
   Form(s) and Endorsement(s) made a part of this policy at time of issue:
      See Schedule of Forms and Endorsements
   Countersigned:
    Date:                                                               By:
THIS COMMON POLICY DECLARATION AND THE SUPPLEMENTAL DECLARATION(S), TOGETHE R WITH THE COMMON POLICY CONDITIONS
COVE RAGE PART(S), COVE RAGE FORM(S) AND FORMS AND ENDORSEMENTS, IF ANY, COMPLETE THE ABOVE NUMBE RE D POLICY.




   MS 0001 09 13                                                                                                           Page 1 of 1
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                                                                                                                      EX03-003
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                                                                                          Policy Number
                                                                                         PKG3127372
                                 SCHEDULE OF NAMED INSURED(S)

Named Insured     MUSSO & FRANK GRILL CO., INC.                                   Effective Date:   06/30/2019
                  KEEGAL IRREVOCABLE TRUST DATED
                                                                                                     12:01 A.M., Standard Time
Producer Name     HUB INTERNATIONAL                                               Producer No.      0099580



MS 0001     (cont.)
THE NAMED INSURED ON FORM MS 0001 IS AMENDED TO READ:
                          MUSSO & FRANK GRILL CO., INC.
                          KEEGAL IRREVOCABLE TRUST DATED
                          12/29/1078 AS TO AN UNDIVIDED
                          3/4 INTEREST ANN JONES -
                          TRUSTEE; CATHLEEN CHEVERRIA -
                          TRUSTEE; KIRSTEN KOHLMEYE -
                          TRUSTEE
                          RONALD & PATRICIA CARISSIMI
                          FAMILY 1998 IRREVOCABLE TRUST
                          DATED 2/13/88, AS TO AN
                          UNDIVIDED 1/4 INTEREST RONALD
                          CARISSIMI-TRUSTEE; PATRICIA
                          DIANNE CARISSIMI-TRUSTEE
                          MARDEN MANAGEMENT CO., INC.




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                                                                                                       EX03-004
Case 2:20-cv-03667-PA-PVC Document 1 Filed 04/21/20 Page 37 of 243 Page ID #:37
 POLICY NUMBER: PKG3127372
                                                                                                   IL 09 85 01 15

     THIS ENDORSEMENT IS ATTACHED TO AND MADE PART OF YOUR POLICY IN
     RESPONSE TO THE DISCLOSURE REQUIREMENTS OF THE TERRORISM RISK
    INSURANCE ACT. THIS ENDORSEMENT DOES NOT GRANT ANY COVERAGE OR
   CHANGE THE TERMS AND CONDITIONS OF ANY COVERAGE UNDER THE POLICY.

           DISCLOSURE PURSUANT TO TERRORISM RISK
                       INSURANCE ACT
                                                   SCHEDULE

  SCHEDULE – PART I
  Terrorism Premium (Certified Acts) $1,407
  This premium is the total Certified Acts premium attributable to the following Coverage Part(s), Coverage
  Form(s) and/or Policy(ies):
  COMMERCIAL PROPERTY COVERAGE PART




  Additional information, if any, concerning the terrorism premium:
  FIRE FOLLOWING PREMIUM ONLY



  SCHEDULE – PART II
  Federal share of terrorism losses      81%       Year: 20        19
  (Refer to Paragraph B. in this endorsement.)

  Federal share of terrorism losses      80%       Year: 20        20
  (Refer to Paragraph B. in this endorsement.)

  Information required to complete this Schedule, if not shown above, will be shown in the Declarations.



 A. Disclosure Of Premium
    In accordance with the federal Terrorism Risk
    Insurance Act, we are required to provide you with
    a notice disclosing the portion of your premium, if
    any, attributable to coverage for terrorist acts
    certified under the Terrorism Risk Insurance Act.
    The portion of your premium attributable to such
    coverage is shown in the Schedule of this
    endorsement or in the policy Declarations.




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                                                                                                 EX03-005
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 B. Disclosure Of Federal Participation In Payment           C. Cap On Insurer Participation In Payment Of
    Of Terrorism Losses                                         Terrorism Losses
    The United States Government, Department of the             If aggregate insured losses attributable to terrorist
    Treasury, will pay a share of terrorism losses              acts certified under the Terrorism Risk Insurance
    insured under the federal program. The federal              Act exceed $100 billion in a calendar year and we
    share equals a percentage (as shown in Part II of           have met our insurer deductible under the
    the Schedule of this endorsement or in the policy           Terrorism Risk Insurance Act, we shall not be
    Declarations) of that portion of the amount of such         liable for the payment of any portion of the amount
    insured losses that exceeds the applicable insurer          of such losses that exceeds $100 billion, and in
    retention. However, if aggregate insured losses             such case insured losses up to that amount are
    attributable to terrorist acts certified under the          subject to pro rata allocation in accordance with
    Terrorism Risk Insurance Act exceed $100 billion            procedures established by the Secretary of the
    in a calendar year, the Treasury shall not make             Treasury.
    any payment for any portion of the amount of such
    losses that exceeds $100 billion.




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                                                                                                   EX03-006
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                                                                           Policy Number PKG3127372



                                         COMPANY SIGNATURE PAGE



                           MITSUI SUMITOMO INSURANCE COMPANY OF AMERICA
                                        (A New York Stock Company)

                                    MITSUI SUMITOMO INSURANCE USA INC.
                                          (A New York Stock Company)



                             Home Office:          560 Lexington Avenue, 20th Floor
                                                   New York, New York 10022
                                                   (212) 446-3600

                  Administrative Offices:          15 Independence Boulevard
                                                   Warren, New Jersey 07059
                                                   (800) 388-1802


                   Policyholders may use the telephone numbers shown above for any purpose.




IN WITNESS WHEREOF, the Company has caused this policy to be executed and attested. Except where prohibited by
law or regulation, this policy shall not be valid unless countersigned by a duly authorized representative of the Company.




        Kurao Onouchi                                                            Stephen P. Tasy
          President                                                                 Secretary

                                            MITSUI SUMITOMO INSURANCE COMPANY OF AMERICA
                                            MITSUI SUMITOMO INSURANCE USA INC.




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                                                                                                         EX03-007
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                 ENHANCED COMMON POLICY CONDITIONS

            I.   COMMON POLICY CONDITIONS                                 B. Changes

                 All Coverage Parts included in this                         This policy contains all the
                 policy are subject to the following                         agreements between you and us
                 conditions:                                                 concerning the insurance afforded.
                                                                             The first Named Insured shown in
                 A. Cancellation                                             the Declarations is authorized to
                                                                             make changes in the terms of this
                    1. The first Named Insured shown                         policy with our consent.        This
                       in the Declarations may cancel                        policy’s terms can be amended or
                       this policy by mailing or                             waived only by endorsement issued
                       delivering to us advance written                      by us and made a part of this policy.
                       notice of cancellation.
                                                                          C. Examination Of Your Books And
                    2. We may cancel this policy by                          Records
                       mailing or delivering to the first
                       Named Insured written notice of                       We may examine and audit your
                       cancellation at least:                                books and records as they relate to
                                                                             this policy at any time during the
                         (a) 10 days before the effective                    policy period and up to three years
                             date of cancellation if we                      afterward.
                             cancel for nonpayment of
                             premium; or                                  D. Inspections And Surveys

                         (b) 30 days before the effective                        We have the right to:
                             date of cancellation if we
                             cancel for any other reason.                            Make     inspections       and
                                                                                     surveys at any time;
                    3. We will mail or deliver our notice
                       to the first Named Insured’s last                             Give you reports on the
                       mailing address known to us.                                  conditions we find; and

                    4.   Notice of cancellation will state                           Recommend changes.
                         the effective date of cancellation.
                         The policy period will end on                           We are not obligated to make
                         that date.                                              any     inspections,    surveys,
                                                                                 reports or recommendations
                    5.   If this policy is cancelled we will                     and any such actions we do
                         send the first Named Insured                            undertake      relate  only   to
                         any premium refund due. If we                           insurability and the premiums to
                         cancel, the refund will be pro                          be charged. We do not make
                         rata. If the first Named Insured                        safety inspections. We do not
                         cancels, the refund may be less                         undertake to perform the duty of
                         than pro rata. The cancellation                         any person or organization to
                         will be effective even if we have                       provide for the health or safety
                         not made or offered a refund.                           of workers or the public. And
                                                                                 we do        not warrant that
                    6.   If notice is mailed, proof of                           conditions:
                         mailing will be sufficient proof of
                         notice.                                                     Be safe or healthful; or


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                                                                                                    EX03-008
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                            Comply       with     laws,                 COMMERCIAL PROPERTY
                            regulations,    codes    or                 CONDITIONS
                            standards.
                                                                        The Commercial Property Coverage
                        Paragraph 1. and 2. of this                     Part, if included in this policy, is subject
                        condition apply not only to us,                 to the following conditions, the Common
                        but also to any rating, advisory,               Policy Conditions and applicable Loss
                        rate    service     or    similar               Conditions and Additional Conditions in
                        organization    which     makes                 Commercial Property Coverage Forms.
                        insurance inspections, surveys,
                        reports or recommendations.                     A. Concealment, Misrepresentation or
                                                                           Fraud
                        Paragraph 2. of this condition
                        does     not apply       to any                     This Coverage Part is void in any
                        inspections, surveys, reports or                    case of fraud by you as it relates to
                        recommendations we may make                         this Coverage Part at any time. It is
                        relative to certification, under                    also void if you or any other
                        state or municipal statutes,                        insured, at any time, intentionally
                        ordinances or regulations, of                       conceal or misrepresent a material
                        boilers, pressure vessels or                        fact concerning:
                        elevators.
                                                                            1. This Coverage Part;
               E. Premiums
                                                                            2. The Covered Property;
                   The first Named Insured shown in
                   the Declarations:                                        3.   Your interest in the Covered
                                                                                 Property; or
                   1.   Is responsible for the payment
                        of all premiums; and                                4.   A claim under this Coverage
                                                                                 Part.
                   2. Will be the payee for any return
                      premiums we pay.                                  B. Control of Property

               F. Transfer Of Your Rights And Duties                        Any act or neglect of any person
                  Under This Policy                                         other than you beyond your
                                                                            direction or control will not affect
                   Your rights and duties under this                        this insurance.
                   policy may not be transferred
                   without our written consent except                       The breach of any condition of this
                   in the case of death of an individual                    Coverage Part at any one or more
                   named insured.                                           locations will not affect coverage at
                                                                            any location where, at the time of
                   If you die, your rights and duties will                  loss or damage, the breach of
                   be transferred to your legal                             condition does not exist.
                   representative but only while acting
                   within the scope of your duties as                   C. Insurance Under Two or             More
                   your legal representative. Until your                   Coverages
                   legal representative is appointed,
                   anyone having proper temporary                           If two or more of this policy’s
                   custody of your property will have                       coverages apply to the same loss or
                   your rights and duties but only with                     damage, we will not pay more than
                   respect to that property.                                the actual amount of the loss or
                                                                            damage.




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                                                                                                    EX03-009
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               D. Legal Action Against Us                                      that other insurance, whether
                                                                               you can collect on it or not. But
                   No one may bring a legal action                             we will not pay more than the
                   against us under this Coverage Part                         applicable Limit of Insurance.
                   unless:
                                                                      H. Policy Period, Coverage Territory
                   1. There has been full compliance
                      with all of the terms of this                        Under this Coverage Part:
                      Coverage Part; and
                                                                           1. We cover loss           or   damage
                   2. The action is brought within 2                          commencing:
                      years after the date on which the
                      direct physical loss or damage                               During the policy period
                      occurred.                                                    shown in the Declarations;
                                                                                   and
               E. Liberalization
                                                                                   Within       the        coverage
                   If we adopt any revision that would                             territory.
                   broaden the coverage under this
                   Coverage Part without additional                        2. The    coverage territory      is
                   premium within 45 days prior to or                         anywhere in and in transit within
                   during the policy period, the                              and between the United States
                   broadened coverage will immediately                        of   America   and     Canada,
                   apply to this Coverage Part.                               excluding:

               F. No Benefit to Bailee
                                                                                   intercoastal        waterborne
                                                                                   shipments;
                   No person or organization, other
                   than you, having custody of
                                                                                   waterborne shipments to
                   Covered Property will benefit from                              and from Alaska, Hawaii,
                   this insurance.
                                                                                   Puerto Rico and territories
                                                                                   or possessions of the
               G. Other Insurance
                                                                                   United States of America.
                   1.   You may have other insurance
                                                                           3. Wherever a Limit of Liability is
                        subject to the same plan, terms,
                                                                              shown under this Coverage Part
                        conditions and provisions as the
                                                                              as applicable to transit or to
                        insurance under this Coverage
                                                                              Covered Property in transit,
                        Part. If you do, we will pay our
                                                                              Exclusion A.2.i., Property Not
                        share of the covered loss or
                                                                              Covered, in the Building and
                        damage.      Our share is the
                                                                              Personal Property Coverage
                        proportion that the applicable
                                                                              form does not apply within this
                        Limit of Insurance under this
                                                                              coverage territory.
                        Coverage Part bears to the
                        Limits of Insurance of all
                                                                      I.   Transfer of Rights of Recovery
                        insurance covering on the same
                                                                           Against Others to Us
                        basis.
                                                                           If any person or organization to or
                   2.   If there is other insurance
                                                                           for whom we make payment under
                        covering the same loss or
                                                                           this Coverage Part has rights to
                        damage,    other   than   that
                                                                           recover damages from another,
                        described in 1. above, we will
                                                                           those rights are transferred to us to
                        pay only for the amount of
                                                                           the extent of our payment. That
                        covered loss or damage in
                                                                           person or organization must do
                        excess of the amount due from


            MS 0801 03 05                                                                              Page 3 of 4

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                                                                                                  EX03-010
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                   everything necessary to secure our                         1. We will notify the insured of any
                   rights and must do nothing after                              outstanding claims and suits
                   loss to impair them. But you may                              subject to that Limit; and
                   waive your rights against another
                   party in writing:                                          2. The insured will then arrange to
                                                                                 assume control of the defense
                   1.   Prior to a loss to your Covered                          of all such claims and suits
                        Property or Covered Income.                              against the insured or any other
                                                                                 insured when our right and duty
                   2.   After a loss to your Covered                             to defend an insured ends.
                        Property or Covered Income
                        only if, At time of loss, that party               B. We will assist the insured in the
                        is one of the following:                              transfer of control of the defense of
                                                                              claims and suits under Paragraph
                            Someone insured by this                           A.1. or A.2. above.        Until such
                            insurance;                                        arrangements are completed, we will
                                                                              take on behalf of any insured those
                            A business firm:                                  steps that we think appropriate:

                            (1) Owned or controlled by                        1. To avoid a default in any claim
                                you; or                                          or suit; or

                            (2) That owns or controls                         2. To the continued defense of a
                                you; or                                          claim or suit.

                            Your tenant.                                      The insured agrees that if we take
                                                                              such steps:
                   This will not restrict your insurance.
                                                                              3. We do not waive or give up any
               COMMERCIAL LIABILITY CONDITIONS                                   of our rights under this
                                                                                 insurance; and
               The    Commercial      General    Liability
               Coverage Part, if included in this policy,                     4. The insured will reimburse us
               is subject to the following conditions,                           for any defense expense that
               the Common Policy Conditions and all                              arises out of such steps if the
               other applicable conditions in the                                applicable Limit of Insurance
               Commercial General Liability Coverage                             available has been used up.
               Forms.
                                                                      All other terms and conditions remain
               A. Defense of Claims or Suits Provision                unchanged.

                   As soon as practicable after we
                   become aware that a Limit of
                   Insurance available is used up:




            MS 0801 03 05                                                                              Page 4 of 4

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                                                                                                    EX03-011
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                                                           PKG3127372



              MUSSO & FRANK GRILL CO., INC.                          06-30-19
              KEEGAL IRREVOCABLE TRUST DATED
              HUB INTERNATIONAL                                         0099580


 COMMON POLICY FORMS AND ENDORSEMENTS
 MS 0612                  01-15    DISC NOTIC TRIA 2002 AS AMEND REJ OF COV
 MS 0001                  09-13    COMMON POLICY DECLARATIONS
 MS 0103                  01-16    SCHEDULE OF NAMED INSURED(S)
 IL 09 85                 01-15    DISCLOSURE PURSUANT/TERROR RISK INS ACT
 MS 0002                  01-16    COMPANY SIGNATURE PAGE
 MS 0801                  03-05    ENHANCED COMMON POLICY CONDITIONS
 MS 0101                  01-16    SCHEDULE OF FORMS AND ENDORSEMENTS
 MS 0104                  01-16    SCHEDULE OF TAXES, SURCHARGES OR FEES
 IL 00 17                 11-98    COMMON POLICY CONDITIONS
 IL 00 21                 07-02    NUCLEAR ENERGY LIABILITY EXCLUSION ENDT
 MS 0102                  01-16    SCHEDULE OF LOCATIONS
 IL 01 04                 09-07    CALIFORNIA CHANGES
 IL 02 70                 11-04    CA CHANGES - CANCELLATION & NONRENEWAL
 IL 00 03                 09-08    CALCULATION OF PREMIUM
 IL 09 35                 07-02    EXCL OF CERTAIN COMPUTER- RELATED LOSSES
 IL 09 53                 01-15    EXCL/CERT ACTS-TERROR; COV/FIRE LOSSES
 MS 0501                  01-02    EXCLUSION - ASBESTOS
 MS 0504                  01-16    EXCLUSION-US ECONOMIC OR TRADE SANCTIONS
 MS 0810                  01-16    CONFORMANCE WITH LAW/SEVERABILITY
 MS 5509                  02-16    EXCLUSION-FOREIGN TERRORISM
 MS 6564                  02-16    EXCLUSION-FOREIGN TERRORISM
 6671                     10-02    EQUIPMENT BREAKDOWN COVERAGE FORM
 DFB CCDEC                10-02    SCHEDULE OF ENDORSEMENTS
 DFBEBCDEC                10-02    EQUIPMENT BREAKDOWN COVERAGE DECLARATION
 EFBSCHLOCS               01-98    SCHEDULE OF LOCATIONS
 PROPERTY FORMS AND ENDORSEMENTS
 CP   00 10               10-12    BUILDING & PERSONAL PROPERTY COVERAGE
 CP   00 30               10-12    BUSINESS INCOME COVERAGE (&/EX EXP)
 CP   00 90               07-88    COMMERCIAL PROPERTY CONDITIONS
 CP   15 31               10-12    ORDINANCE/LAW-INCR PERIOD OF RESTORATION
 MS   5003                12-12    COMMERCIAL PROPERTY COV PART SUPPL DEC
 MS   5004                12-12    COMM PROP COV PRT EXTEN OF SUPP DEC
 MS   5202                12-12    CAUSES OF LOSS - ENHANCED FORM
 CP   01 40               07-06    EXCL OF LOSS DUE TO VIRUS OR BACTERIA
 CP   04 46               10-12    CALIFORNIA - ORDINANCE OR LAW COVERAGE
 CP   15 55               06-95    BUSINESS INCOME CHANGES - TIME PERIOD
 CP   15 56               06-07    BUS INC CHNGS-BEGIN PERIOD/RESTORATION
 MS   5401                12-12    ENHANCED BLDG & PER PROP COV FORM END’T
 MS   5402                12-12    ENHANCED BUSINESS INCOME ENDORSEMENT
 GENERAL LIABILITY FORMS AND ENDORSEMENTS
 MS   6401                05-15    ENHANCED COMMERCIAL GL COVERAGE ENDT
 MS   6001                05-15    CGL COVERAGE PART SUPPLEMENTAL DEC
 MS   6002                05-15    LIQUOR LIABILITY COVERAGE PART DEC
 MS   6102                05-15    COMM GENERAL LIABILITY COVERAGE SCHEDULE
 MS   6345                01-10    CA-FUNGI,BACTERIA OR PROTISTS EXCLUSION
 CG   00 01               04-13    COMMERCIAL GENERAL LIABILITY COV FORM
 CG   00 33               04-13    LIQUOR LIABILITY COV FORM (OCCURRENCE)
 CG   32 34               01-05    CALIFORNIA CHANGES
 CG   04 35               12-07    EMPLOYEE BENEFITS LIABILITY COVERAGE


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                                                                    EX03-012
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                                                           PKG3127372



              MUSSO & FRANK GRILL CO., INC.                          06-30-19
              KEEGAL IRREVOCABLE TRUST DATED
              HUB INTERNATIONAL                                         0099580

 CG   21 06               05-14    EXCL-ACC/DISCL OF CONFI OR PERSONAL INFO
 CG   21 47               12-07    EMPLOYMENT-RELATED PRACTICES EXCLUSION
 CG   21 55               09-99    TOTAL POLLUTION EXCL. WITH HOSTILE FIRE
 CG   21 73               01-15    EXCLUSION OF CERTIFIED ACTS OF TERRORISM
 CG   21 96               03-05    SILICA OR SILICA-RELATED DUST EXCLUSION
 CG   24 07               01-96    PROD/COMPLETED OPERATIONS HAZARD REDEFIN
 MS   6302                05-15    EMPLOYERS LIABILITY EXCLUSION - CA
 MS   6303                05-15    DEFENSE OF CLAIMS OR SUITS IN CA ENDT
 MS   6304                05-15    BINDING ARBITRATION ENDORSEMENT
 MS   64108               05-15    PRIMARY & NON-CONTRIB INS FOR ADDL INDS
 CRIME FORMS AND ENDORSEMENTS
 CR DS 01                 08-13    CRIME & FIDELITY DEC (COMRCL ENTITIES)
 CI-SCHED                 08-13    COMMERCIAL CRIME COVERAGE SCHEDULE
 CR 00 21                 11-15    COMM’L CRIME COV FORM (LOSS SUSTAINED)
 CR 03 10                 08-17    CALIFORNIA CHANGES-PREMIUM
 CR 07 30                 03-06    EXCLUSION OF TERRORISM
 CR 20 20                 07-02    CALCULATION OF PREMIUM
 CR 01 50                 03-00    CALIFORNIA CHANGES - ESCROW AGENT




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                                                         PKG3127372


                MUSSO & FRANK GRILL CO., INC.                      06/30/2019
                KEEGAL IRREVOCABLE TRUST DATED

               HUB INTERNATIONAL                                      0099580

   MS 0001 (cont.)
              TAXES, SURCHARGES OR FEES DETAILED BREAKDOWN :
              CA Seismic Safety Fee                            $           .15
                                                                 -------------
              TOTAL TAXES, SURCHARGES OR FEES                  $           .15




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                                                                      EX03-014
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                                                                                                                     IL 00 17 11 98



                                       COMMON POLICY CONDITIONS

 All Coverage Parts included in this policy are subject to the following conditions.

 A. Cancellation                                                                     b.   Give you reports on the conditions we find;
     1.   The first Named Insured shown in the Declara-                                   and
          tions may cancel this policy by mailing or de-                             c. Recommend changes.
          livering to us advance written notice of cancel-                      2.   We are not obligated to make any inspections,
          lation.                                                                    surveys, reports or recommendations and any
     2.   We may cancel this policy by mailing or deliv-                             such actions we do undertake relate only to in-
          ering to the first Named Insured written notice                            surability and the premiums to be charged. We
          of cancellation at least:                                                  do not make safety inspections. We do not un-
          a. 10 days before the effective date of cancel-                            dertake to perform the duty of any person or
               lation if we cancel for nonpayment of pre-                            organization to provide for the health or safety
               mium; or                                                              of workers or the public. And we do not war-
                                                                                     rant that conditions:
          b. 30 days before the effective date of cancel-
               lation if we cancel for any other reason.                             a. Are safe or healthful; or
                                                                                     b. Comply with laws, regulations, codes or
     3.We will mail or deliver our notice to the first
       Named Insured’s last mailing address known to                                     standards.
       us.                                                                      3. Paragraphs 1. and 2. of this condition apply not
    4. Notice of cancellation will state the effective                             only to us, but also to any rating, advisory, rate
       date of cancellation. The policy period will end                           service or similar organization which makes in-
       on that date.                                                              surance inspections, surveys, reports or recom-
                                                                                   mendations.
    5. If this policy is cancelled, we will send the first
       Named Insured any premium refund due. If we                             4. Paragraph 2. of this condition does not apply to
       cancel, the refund will be pro rata. If the first                           any inspections, surveys, reports or recommen-
       Named Insured cancels, the refund may be less                               dations we may make relative to certification,
       than pro rata. The cancellation will be effective                           under state or municipal statutes, ordinances or
       even if we have not made or offered a refund.                               regulations, of boilers, pressure vessels or ele-
                                                                                  vators.
    6. If notice is mailed, proof of mailing will be suf-
       ficient proof of notice.                                             E. Premiums
 B. Changes                                                                    The first Named Insured shown in the Declarations:
                                                                               1. Is responsible for the payment of all premiums;
    This policy contains all the agreements between
                                                                                   and
    you and us concerning the insurance afforded. The
    first Named Insured shown in the Declarations is                            2.  Will be the payee for any return premiums we
    authorized to make changes in the terms of this                                 pay.
    policy with our consent. This policy’s terms can be                     F. Transfer Of Your Rights And Duties Under This
    amended or waived only by endorsement issued by                            Policy
    us and made a part of this policy.
                                                                               Your rights and duties under this policy may not be
 C. Examination Of Your Books And Records                                      transferred without our written consent except in
    We may examine and audit your books and records                            the case of death of an individual named insured.
    as they relate to this policy at any time during the                       If you die, your rights and duties will be transferred
    policy period and up to three years afterward.                             to your legal representative but only while acting
 D. Inspections And Surveys                                                    within the scope of duties as your legal representa-
    1. We have the right to:                                                   tive. Until your legal representative is appointed,
                                                                               anyone having proper temporary custody of your
         a. Make inspections and surveys at any time;                          property will have your rights and duties but only
                                                                               with respect to that property.




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                                                                                                               EX03-015
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                                                                                                            IL 00 21 07 02

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 NUCLEAR ENERGY LIABILITY EXCLUSION
                           ENDORSEMENT
                                                    (Broad Form)


This endorsement modifies insurance provided under the following:

   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/ COMPLETED OPERATIONS LIABILITY COVERAGE PART
   PROFESSIONAL LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY

 1. The insurance does not apply:                                    B. Under any Medical Payments coverage, to
    A. Under any Liability Coverage, to "bodily injury"                  expenses incurred with respect to "bodily in-
       or "property damage":                                             jury" resulting from the "hazardous properties"
                                                                         of "nuclear material" and arising out of the op-
      (1) With respect to which an "insured" under                       eration of a "nuclear facility" by any person or
          the policy is also an insured under a nu-                      organization.
          clear energy liability policy issued by Nu-
          clear Energy Liability Insurance Association,              C. Under any Liability Coverage, to "bodily injury"
          Mutual Atomic Energy Liability Underwrit-                      or "property damage" resulting from "hazardous
          ers, Nuclear Insurance Association of Can-                     properties" of "nuclear material", if:
          ada or any of their successors, or would be                   (1) The "nuclear material" (a) is at any "nuclear
          an insured under any such policy but for its                       facility" owned by, or operated by or on be-
          termination upon exhaustion of its limit of li-                    half of, an "insured" or (b) has been dis-
          ability; or                                                        charged or dispersed therefrom;
      (2) Resulting from the "hazardous properties"                     (2) The "nuclear material" is contained in "spent
          of "nuclear material" and with respect to                          fuel" or "waste" at any time possessed, han-
          which (a) any person or organization is re-                        dled, used, processed, stored, transported
          quired to maintain financial protection pur-                       or disposed of, by or on behalf of an "in-
          suant to the Atomic Energy Act of 1954, or                         sured"; or
          any law amendatory thereof, or (b) the "in-                   (3) The "bodily injury" or "property damage"
          sured" is, or had this policy not been issued                      arises out of the furnishing by an "insured"
          would be, entitled to indemnity from the                           of services, materials, parts or equipment in
          United States of America, or any agency                            connection with the planning, construction,
          thereof, under any agreement entered into
                                                                             maintenance, operation or use of any "nu-
          by the United States of America, or any                            clear facility", but if such facility is located
          agency thereof, with any person or organi-                         within the United States of America, its terri-
          zation.                                                            tories or possessions or Canada, this ex-
                                                                             clusion (3) applies only to "property dam-
                                                                             age" to such "nuclear facility" and any
                                                                             property thereat.




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                                                                                                          EX03-016
Case 2:20-cv-03667-PA-PVC Document 1 Filed 04/21/20 Page 49 of 243 Page ID #:49
2. As used in this endorsement:                                      (c) Any equipment or device used for the proc-
   "Hazardous properties" includes radioactive, toxic                    essing, fabricating or alloying of "special
   or explosive properties.                                              nuclear material" if at any time the total
                                                                         amount of such material in the custody of
   "Nuclear material" means "source material", "Special                  the "insured" at the premises where such
   nuclear material" or "by-product material".                           equipment or device is located consists of
   "Source material", "special nuclear material", and                    or contains more than 25 grams of pluto-
   "by-product material" have the meanings given                         nium or uranium 233 or any combination
   them in the Atomic Energy Act of 1954 or in any                       thereof, or more than 250 grams of uranium
   law amendatory thereof.                                               235;
   "Spent fuel" means any fuel element or fuel com-                  (d) Any structure, basin, excavation, premises
   ponent, solid or liquid, which has been used or                       or place prepared or used for the storage or
   exposed to radiation in a "nuclear reactor".                          disposal of "waste";
   "Waste" means any waste material (a) containing                 and includes the site on which any of the forego-
   "by-product material" other than the tailings or                ing is located, all operations conducted on such
   wastes produced by the extraction or concentra-                 site and all premises used for such operations.
   tion of uranium or thorium from any ore processed               "Nuclear reactor" means any apparatus designed
   primarily for its "source material" content, and (b)            or used to sustain nuclear fission in a self-
   resulting from the operation by any person or or-               supporting chain reaction or to contain a critical
   ganization of any "nuclear facility" included under             mass of fissionable material.
   the first two paragraphs of the definition of "nu-
   clear facility".                                                "Property damage" includes all forms of radioactive
                                                                   contamination of property.
   "Nuclear facility" means:
     (a) Any "nuclear reactor";
     (b) Any equipment or device designed or used
         for (1) separating the isotopes of uranium
         or plutonium, (2) processing or utilizing
         "spent fuel", or (3) handling, processing or
         packaging "waste";




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                                                                                                    EX03-017
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                                                           PKG3127372



            MUSSO & FRANK GRILL CO., INC.                          06-30-19
            KEEGAL IRREVOCABLE TRUST DATED
            HUB INTERNATIONAL                                      0099580



001   001 6663-6667 HOLLYWOOD BLVD, LOS ANGELES, CA
          90028

002   001 6715 HOLLYWOOD BLVD, STE 201, LOS ANGELES, CA
          90028




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                                                                    EX03-018
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                                                                                                           IL 01 04 09 07

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                  CALIFORNIA CHANGES
This endorsement modifies insurance provided under the following:

   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   EQUIPMENT BREAKDOWN COVERAGE PART
   FARM COVERAGE PART --- FARM PROPERTY ---- OTHER FARM PROVISIONS FORM ---- ADDITIONAL
   COVERAGES, CONDITIONS, DEFINITIONS
   FARM COVERAGE PART --- LIVESTOCK COVERAGE FORM
   FARM COVERAGE PART --- MOBILE AGRICULTURAL MACHINERY AND EQUIPMENT COVERAGE FORM
   STANDARD PROPERTY POLICY

A. When this endorsement is attached to the Stan-                4. A claim under this Coverage Part or Coverage
   dard Property Policy CP 00 99 the term Coverage                  Form.
   Part in this endorsement is replaced by the term          D. Except as provided in E., the Appraisal Condition
   Policy.                                                      is replaced by the following:
B. The Concealment, Misrepresentation Or Fraud                  If we and you disagree on the value of the prop-
   Condition is replaced by the following with respect          erty or the amount of loss ("loss"), either may make
   to loss ("loss") or damage caused by fire:                   written request for an appraisal of the loss ("loss").
   We do not provide coverage to the insured ("in-              If the request is accepted, each party will select a
   sured") who, whether before or after a loss                  competent and impartial appraiser. Each party
   ("loss"), has committed fraud or intentionally con-          shall notify the other of the appraiser selected
   cealed or misrepresented any material fact or cir-           within 20 days of the request. The two appraisers
   cumstance concerning:                                        will select an umpire. If they cannot agree within 15
   1. This Coverage Part;                                       days, either may request that selection be made by
                                                                a judge of a court having jurisdiction. The apprais-
   2. The Covered Property;                                     ers will state separately the value of the property
   3. That insured’s ("insured’s") interest in the Cov-         and amount of loss ("loss"). If they fail to agree,
      ered Property; or                                         they will submit their differences to the umpire. A
   4. A claim under this Coverage Part or Coverage              decision agreed to by any two will be binding.
      Form.                                                     Each party will:
                                                                 1. Pay its chosen appraiser; and
C. The Concealment, Misrepresentation Or Fraud
   Condition is replaced by the following with respect              2. Bear the other expenses of the appraisal and
   to loss ("loss") or damage caused by a Covered                       umpire equally.
   Cause of Loss other than fire:                                   If there is an appraisal, we will still retain our right
   This Coverage Part is void if any insured ("in-                  to deny the claim.
   sured"), whether before or after a loss ("loss"), has     E. The Appraisal Condition in:
   committed fraud or intentionally concealed or mis-
   represented any material fact or circumstance con-           1. Business Income (And Extra Expense) Cover-
   cerning:                                                        age Form CP 00 30; and
   1. This Coverage Part;                                       2. Business Income (Without Extra Expense)
                                                                   Coverage Form CP 00 32;
   2. The Covered Property;
   3. An insured’s ("insured’s") interest in the Cov-
      ered Property; or




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                                                                                                         EX03-019
Case 2:20-cv-03667-PA-PVC Document 1 Filed 04/21/20 Page 52 of 243 Page ID #:52
   is replaced by the following:
   If we and you disagree on the amount of Net In-
   come and operating expense or the amount of
   loss, either may make written request for an ap-
   praisal of the loss. If the request is accepted, each
   party will select a competent and impartial ap-
   praiser. Each party shall notify the other of the ap-
   praiser selected within 20 days of the request. The
   two appraisers will select an umpire. If they cannot
   agree within 15 days, either may request that selec-
   tion be made by a judge of a court having jurisdic-
   tion. The appraisers will state separately the
   amount of Net Income and operating expense or
   amount of loss. If they fail to agree, they will sub-
   mit their differences to the umpire. A decision
   agreed to by any two will be binding. Each party
   will:
   a. Pay its chosen appraiser; and
   b. Bear the other expenses of the appraisal and
       umpire equally.
   If there is an appraisal, we will still retain our right
   to deny the claim.




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                                                                              EX03-020
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                                                                                                       IL 02 70 11 04

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 CALIFORNIA CHANGES --- CANCELLATION
                          AND NONRENEWAL
This endorsement modifies insurance provided under the following:

   BOILER AND MACHINERY COVERAGE PART
   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/ COMPLETED OPERATIONS LIABILITY COVERAGE PART
   PROFESSIONAL LIABILITY COVERAGE PART


A. Paragraphs 2. and 3. of the Cancellation Common                  3. All Policies In Effect For More Than 60 Days
   Policy Condition are replaced by the following:
                                                                       a. If this policy has been in effect for more
   2. All Policies In Effect For 60 Days Or Less                          than 60 days, or is a renewal of a policy we
      If this policy has been in effect for 60 days or                    issued, we may cancel this policy only upon
      less, and is not a renewal of a policy we have                      the occurrence, after the effective date of
      previously issued, we may cancel this policy by                     the policy, of one or more of the following:
      mailing or delivering to the first Named Insured                   (1) Nonpayment of premium, including
      at the mailing address shown in the policy and                         payment due on a prior policy we issued
      to the producer of record, advance written no-                         and due during the current policy term
      tice of cancellation, stating the reason for can-                      covering the same risks.
      cellation, at least:                                               (2) Discovery of fraud or material misrepre-
       a. 10 days before the effective date of cancella-                     sentation by:
          tion if we cancel for:                                             (a) Any insured or his or her representa-
         (1) Nonpayment of premium; or                                           tive in obtaining this insurance; or
         (2) Discovery of fraud by:                                          (b) You or your representative in pursu-
             (a) Any insured or his or her representa-                           ing a claim under this policy.
                 tive in obtaining this insurance; or                    (3) A judgment by a court or an administra-
            (b) You or your representative in pursu-                         tive tribunal that you have violated a
                 ing a claim under this policy.                              California or Federal law, having as one
                                                                             of its necessary elements an act which
      b. 30 days before the effective date of cancella-                      materially increases any of the risks in-
         tion if we cancel for any other reason.                             sured against.




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                                                                                                     EX03-021
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         (4) Discovery of willful or grossly negligent         B. The following provision is added to the Cancella-
             acts or omissions, or of any violations of           tion Common Policy Condition:
             state laws or regulations establishing               7. Residential Property
             safety standards, by you or your repre-
             sentative, which materially increase any                 This provision applies to coverage on real
             of the risks insured against.                            property which is used predominantly for resi-
                                                                      dential purposes and consisting of not more
         (5) Failure by you or your representative to                 than four dwelling units, and to coverage on
             implement reasonable loss control re-                    tenants’ household personal property in a resi-
             quirements, agreed to by you as a con-                   dential unit, if such coverage is written under
             dition of policy issuance, or which were                 one of the following:
             conditions precedent to our use of a
             particular rate or rating plan, if that fail-            Commercial Property Coverage Part
             ure materially increases any of the risks                Farm Coverage Part ---- Farm Property ---- Farm
             insured against.                                         Dwellings, Appurtenant Structures And House-
         (6) A determination by the Commissioner of                   hold Personal Property Coverage Form
              Insurance that the:                                     a. If such coverage has been in effect for 60
             (a) Loss of, or changes in, our reinsur-                    days or less, and is not a renewal of cover-
                 ance covering all or part of the risk                   age we previously issued, we may cancel
                 would threaten our financial integrity                  this coverage for any reason, except as
                 or solvency; or                                         provided in b. and c. below.
            (b) Continuation of the policy coverage                   b. We may not cancel this policy solely be-
                 would:                                                   cause the first Named Insured has:
                 (i) Place us in violation of California                 (1) Accepted an offer of earthquake cover-
                     law or the laws of the state where                      age; or
                     we are domiciled; or                                (2) Cancelled or did not renew a policy
                (ii) Threaten our solvency.                                    issued by the California Earthquake Au-
                                                                              thority (CEA) that included an earth-
         (7) A change by you or your representative                            quake policy premium surcharge.
             in the activities or property of the com-
             mercial or industrial enterprise, which                      However, we shall cancel this policy if the
             results in a materially added, increased                     first Named Insured has accepted a new or
             or changed risk, unless the added, in-                       renewal policy issued by the CEA that in-
             creased or changed risk is included in                       cludes an earthquake policy premium sur-
             the policy.                                                  charge but fails to pay the earthquake pol-
                                                                          icy premium surcharge authorized by the
      b. We will mail or deliver advance written no-                      CEA.
          tice of cancellation, stating the reason for
          cancellation, to the first Named Insured, at                c. We may not cancel such coverage solely
          the mailing address shown in the policy,                        because corrosive soil conditions exist on
          and to the producer of record, at least:                        the premises. This Restriction (c.) applies
                                                                          only if coverage is subject to one of the fol-
         (1) 10 days before the effective date of                         lowing, which exclude loss or damage
              cancellation if we cancel for nonpayment                    caused by or resulting from corrosive soil
              of premium or discovery of fraud; or                        conditions:
         (2) 30 days before the effective date of                        (1) Capital Assets Program Coverage Form
              cancellation if we cancel for any other                          (Output Policy);
              reason listed in Paragraph 3.a.
                                                                         (2) Commercial Property Coverage Part ----
                                                                               Causes Of Loss -- Special Form; or
                                                                        (3) Farm Coverage Part ---- Causes Of Loss
                                                                            Form ---- Farm Property, Paragraph D.
                                                                            Covered Causes Of Loss ---- Special.




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                                                                                                     EX03-022
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C. The following is added and supersedes any provi-                         (2) The Commissioner of Insurance finds
   sions to the contrary:                                                       that the exposure to potential losses will
   NONRENEWAL                                                                   threaten our solvency or place us in a
                                                                                hazardous condition. A hazardous con-
   1. Subject to the provisions of Paragraphs C.2.                              dition includes, but is not limited to, a
      and C.3. below, if we elect not to renew this                             condition in which we make claims pay-
      policy, we will mail or deliver written notice stat-                      ments for losses resulting from an
      ing the reason for nonrenewal to the first                                earthquake that occurred within the pre-
      Named Insured shown in the Declarations and                               ceding two years and that required a re-
      to the producer of record, at least 60 days, but                          duction in policyholder surplus of at
      not more than 120 days, before the expiration                             least 25% for payment of those claims;
      or anniversary date.                                                      or
      We will mail or deliver our notice to the first                       (3) We have:
      Named Insured, and to the producer of record,
      at the mailing address shown in the policy.                              (a) Lost or experienced a substantial
                                                                                    reduction in the availability or scope
   2. Residential Property                                                          of reinsurance coverage; or
      This provision applies to coverage on real                               (b) Experienced a substantial increase in
      property used predominantly for residential                                   the premium charged for reinsurance
      purposes and consisting of not more than four                                 coverage of our residential property
      dwelling units, and to coverage on tenants’                                   insurance policies; and
      household property contained in a residential
      unit, if such coverage is written under one of                            the Commissioner has approved a plan
      the following:                                                            for the nonrenewals that is fair and equi-
                                                                                table, and that is responsive to the
      Capital Assets Program (Output Policy) Cover-                             changes in our reinsurance position.
      age Part
                                                                         c. We will not refuse to renew such coverage
       Commercial Property Coverage Part                                     solely because the first Named Insured has
       Farm Coverage Part ---- Farm Property ---- Farm                       cancelled or did not renew a policy, issued
       Dwellings, Appurtenant Structures And House-                          by the California Earthquake Authority that
       hold Personal Property Coverage Form                                  included an earthquake policy premium sur-
                                                                             charge.
       a. We may elect not to renew such coverage
          for any reason, except as provided in b., c.                   d. We will not refuse to renew such coverage
          and d. below:                                                      solely because corrosive soil conditions ex-
       b. We will not refuse to renew such coverage                          ist on the premises. This Restriction (d.)
          solely because the first Named Insured has                         applies only if coverage is subject to one of
          accepted an offer of earthquake coverage.                          the following, which exclude loss or dam-
                                                                             age caused by or resulting from corrosive
          However, the following applies only to in-                         soil conditions:
          surers who are associate participating in-
                                                                            (1) Capital Assets Program Coverage Form
          surers as established by Cal. Ins. Code
                                                                                 (Output Policy);
          Section 10089.16. We may elect not to re-
          new such coverage after the first Named In-                       (2) Commercial Property Coverage Part ----
          sured has accepted an offer of earthquake                             Causes Of Loss -- Special Form; or
          coverage, if one or more of the following                         (3) Farm Coverage Part ---- Causes Of Loss
          reasons applies:                                                      Form ---- Farm Property, Paragraph D.
          (1) The nonrenewal is based on sound                                  Covered Causes Of Loss ---- Special.
              underwriting principles that relate to the              3. We are not required to send notice of nonre-
              coverages provided by this policy and                      newal in the following situations:
              that are consistent with the approved
              rating plan and related documents filed                    a. If the transfer or renewal of a policy, without
              with the Department of Insurance as re-                       any changes in terms, conditions, or rates,
              quired by existing law;                                       is between us and a member of our insur-
                                                                            ance group.




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                                                                                                         EX03-023
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      b. If the policy has been extended for 90 days               e. If the first Named Insured requests a
         or less, provided that notice has been given                 change in the terms or conditions or risks
         in accordance with Paragraph C.1.                            covered by the policy within 60 days of the
      c. If you have obtained replacement coverage,                   end of the policy period.
         or if the first Named Insured has agreed, in              f. If we have made a written offer to the first
         writing, within 60 days of the termination of                Named Insured, in accordance with the
         the policy, to obtain that coverage.                         timeframes shown in Paragraph C.1., to re-
      d. If the policy is for a period of no more than                new the policy under changed terms or
         60 days and you are notified at the time of                  conditions or at an increased premium rate,
         issuance that it will not be renewed.                        when the increase exceeds 25%.




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                                                                                                EX03-024
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                                                                          IL 00 03 09 08

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                           CALCULATION OF PREMIUM
This endorsement modifies insurance provided under the following:

   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
   EQUIPMENT BREAKDOWN COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/ COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART


The following is added:
The premium shown in the Declarations was com-
puted based on rates in effect at the time the policy
was issued. On each renewal, continuation, or anni-
versary of the effective date of this policy, we will
compute the premium in accordance with our rates
and rules then in effect.




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                                                                         EX03-025
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                                                                                                          IL 09 35 07 02

         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

 EXCLUSION OF CERTAIN COMPUTER-RELATED LOSSES
 This endorsement modifies insurance provided under the following:

    COMMERCIAL INLAND MARINE COVERAGE PART
    COMMERCIAL PROPERTY COVERAGE PART
    CRIME AND FIDELITY COVERAGE PART
    STANDARD PROPERTY POLICY

 A. We will not pay for loss ("loss") or damage caused            2. Any advice, consultation, design, evaluation,
    directly or indirectly by the following. Such loss                inspection, installation, maintenance, repair,
    ("loss") or damage is excluded regardless of any                  replacement or supervision provided or done
    other cause or event that contributes concurrently                by you or for you to determine, rectify or test
    or in any sequence to the loss ("loss") or damage.                for, any potential or actual problems described
    1. The failure, malfunction or inadequacy of:                     in Paragraph A.1. of this endorsement.
        a. Any of the following, whether belonging to          B. If an excluded Cause of Loss as described in
            any insured or to others:                             Paragraph A. of this endorsement results:

          (1) Computer hardware, including micro-                     1. In a Covered Cause of Loss under the Crime
              processors;                                                and Fidelity Coverage Part, the Commercial In-
                                                                         land Marine Coverage Part or the Standard
          (2) Computer application software;                             Property Policy; or
          (3) Computer operating systems and related                  2. Under the Commercial Property Coverage Part:
              software;
                                                                          a. In a "Specified Cause of Loss", or in eleva-
          (4) Computer networks;                                             tor collision resulting from mechanical
          (5) Microprocessors (computer chips) not                           breakdown, under the Causes of Loss -
                part of any computer system; or                              Special Form; or
          (6) Any other computerized or electronic                       b. In a Covered Cause of Loss under the
                equipment or components; or                                  Causes Of Loss - Basic Form or the
                                                                             Causes Of Loss - Broad Form;
       b. Any other products, and any services, data
           or functions that directly or indirectly use or            we will pay only for the loss ("loss") or damage
           rely upon, in any manner, any of the items                 caused by such "Specified Cause of Loss", eleva-
           listed in Paragraph A.1.a. of this endorse-                tor collision, or Covered Cause of Loss.
           ment;                                               C. We will not pay for repair, replacement or modifica-
       due to the inability to correctly recognize, pro-          tion of any items in Paragraphs A.1.a. and A.1.b.
       cess, distinguish, interpret or accept one or              of this endorsement to correct any deficiencies or
       more dates or times. An example is the inability           change any features.
       of computer software to recognize the year
       2000.




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                                                                                                      EX03-026
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 POLICY NUMBER: PKG3127372                                                                                  IL 09 53 01 15

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        EXCLUSION OF CERTIFIED ACTS OF TERRORISM
 This endorsement modifies insurance provided under the following:

    BOILER AND MACHINERY COVERAGE PART
    COMMERCIAL INLAND MARINE COVERAGE PART
    COMMERCIAL PROPERTY COVERAGE PART
    CRIME AND FIDELITY COVERAGE PART
    EQUIPMENT BREAKDOWN COVERAGE PART
    FARM COVERAGE PART
    STANDARD PROPERTY POLICY

                                                     SCHEDULE

 The Exception Covering Certain Fire Losses (Paragraph C) applies to property located in the following state(s),
 if covered under the indicated Coverage Form, Coverage Part or Policy:


                         State(s)                                    Coverage Form, Coverage Part Or Policy
 CALIFORNIA                                                 PKG3127372




 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


 A. The following definition is added with respect to          B. The following exclusion is added:
    the provisions of this endorsement:                           CERTIFIED ACT OF TERRORISM EXCLUSION
    "Certified act of terrorism" means an act that is             We will not pay for loss or damage caused directly
    certified by the Secretary of the Treasury, in                or indirectly by a "certified act of terrorism". Such
    accordance with the provisions of the federal                 loss or damage is excluded regardless of any
    Terrorism Risk Insurance Act, to be an act of                 other cause or event that contributes concurrently
    terrorism pursuant to such Act. The criteria                  or in any sequence to the loss.
    contained in the Terrorism Risk Insurance Act for
    a "certified act of terrorism" include the following:      C. Exception Covering Certain Fire Losses
    1. The act resulted in insured losses in excess of               The following exception to the exclusion in
       $5 million in the aggregate, attributable to all              Paragraph B. applies only if indicated and as
       types of insurance subject to the Terrorism                   indicated in the Schedule of this endorsement.
       Risk Insurance Act; and                                       If a "certified act of terrorism" results in fire, we will
    2. The act is a violent act or an act that is                    pay for the loss or damage caused by that fire.
       dangerous to human life, property or                          Such coverage for fire applies only to direct loss or
       infrastructure and is committed by an individual              damage by fire to Covered Property. Therefore, for
       or individuals as part of an effort to coerce the             example, the coverage does not apply to
       civilian population of the United States or to                insurance provided under Business Income and/or
       influence the policy or affect the conduct of the             Extra Expense coverage forms or endorsements
       United States Government by coercion.                         which apply to those forms, or to the Legal Liability
                                                                     Coverage Form or the Leasehold Interest
                                                                     Coverage Form.




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                                                                                                          EX03-027
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    If aggregate insured losses attributable to terrorist      D. Application Of Other Exclusions
    acts certified under the Terrorism Risk Insurance                The terms and limitations of any terrorism
    Act exceed $100 billion in a calendar year and we                exclusion, or the inapplicability or omission of a
    have met our insurer deductible under the                        terrorism exclusion, do not serve to create
    Terrorism Risk Insurance Act, we shall not be                    coverage for any loss which would otherwise be
    liable for the payment of any portion of the amount              excluded under this Coverage Part or Policy, such
    of such losses that exceeds $100 billion, and in                 as losses excluded by the Nuclear Hazard
    such case insured losses up to that amount are                   Exclusion or the War And Military Action
    subject to pro rata allocation in accordance with                Exclusion.
    procedures established by the Secretary of the
    Treasury.




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                                                                                                     EX03-028
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                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                       EXCLUSION - ASBESTOS

        This endorsement modifies Insurance provided under the following:

            COMMERCIAL GENERAL LIABILITY COVERAGE PART
            COMMERCIAL AUTO COVERAGE PART
            GARAGE COVERAGE PART
            TRUCKERS COVERAGE PART
            PRODUCTS AND COMPLETED OPERATIONS COVERAGE PART
            OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
            RAILROAD PROTECTIVE LIABILITY COVERAGE PART
            LIQUOR LIABILITY COVERAGE PART
            POLLUTION LIABILITY COVERAGE PART

        This insurance does not apply to "bodily injury," "property damage," or "personal and advertising injury"
        arising out of or related in any way to asbestos or asbestos-containing materials.

        We shall not have the duty to defend any such claim or "suit."




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                                                                                                           EX03-029
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                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                          EXCLUSION – U.S. ECONOMIC OR
                               TRADE SANCTIONS

       This endorsement modifies Insurance provided under all Coverage Parts included in this policy.



       This insurance does not apply under any coverage part to “bodily injury”, “property damage” or loss in
       whole or in part:

       A. when the United States of America has imposed any trade or economic sanction or embargo
          prohibiting the insurance of such “bodily injury”, “property damage” or loss; or

       B. occuring in any jurisdiction that is the subject of any trade or economic sanction or embargo imposed
          by the United States of America.

       All other terms and conditions remain unchanged.




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                                                                                                  EX03-030
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                 THIS ENDORSEMENT CHANGES YOUR POLICY. PLEASE READ IT CAREFULLY.


                 CONFORMANCE WITH LAW/SEVERABILITY
       This endorsement modifies insurance provided under all Coverage Parts included in this policy.




       It is agreed that the Policy is amended as follows:

       The following Clause is added:

       Conformance With Law/Severability

       a. Any terms or conditions of the Policy which are in conflict with the applicable statutes, laws or
          regulations of the jurisdiction in which the Policy is delivered are amended to conform to such
          statutes, laws or regulations.

       b. If any provision of the Policy is invalid or unenforceable under any applicable statute, regulation or
          rule of law, then it will be enforced to the extent permissible and the enforceability of the other
          provisions of the Policy will not be affected.


       All other terms and conditions remain unchanged.




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                                                                                                    EX03-031
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   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                       EXCLUSION – FOREIGN TERRORISM

      This endorsement modifies insurance provided under the following:

         COMMERCIAL CRIME COVERAGE FORM
         COMMERCIAL INLAND MARINE COVERAGE PART
         COMMERCIAL PROPERTY COVERAGE PART
         EQUIPMENT BREAKDOWN PROTECTION COVERAGE FORM
         COMMERCIAL OUTPUT PROGRAM

      A. The following exclusion is added:

         FOREIGN TERRORISM

         We will not pay for loss or damage caused directly or indirectly by “foreign terrorism”,
         including action in hindering or defending against an actual or expected incident of “foreign
         terrorism”. Such loss or damage is excluded regardless of any other cause or event that
         contributes concurrently or in any sequence to the loss or damage.

      B. The following definition is added:

         “Foreign terrorism” means activities against persons, organizations or property of any nature
         committed outside of the United States of America and not subject to the Terrorism Risk Insurance Act
         of 2002, as amended:

         1. That involve the following or preparation for the following:

             a. Use or threat of force or violence; or

             b. Commission or threat of a dangerous act; or

             c. Commission or threat of an act that interferes with or disrupts an electronic, communication,
                information, or mechanical system; and

          2. When one or both of the following applies:

             a. The effect is to intimidate or coerce a government or the civilian population or any segment
                thereof, or to disrupt any segment of the economy; or

             b. It appears that the intent is to intimidate or coerce a government, or to further political,
                ideological, religious, social or economic objectives or to express (or express opposition to) a
                philosophy or ideology.


      All other terms and conditions remain unchanged.


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                                                                                                                   EX03-032
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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                      EXCLUSION - FOREIGN TERRORISM

 This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART
    LIQUOR LIABILITY COVERAGE PART
    OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
    POLLUTION LIABILITY COVERAGE PART
    PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
    RAILROAD PROTECTIVE LIABILITY COVERAGE PART
    UNDERGROUND STORAGE TANK POLICY
    ELECTRONIC DATA LIABILITY COVERAGE PART
    COMMERCIAL EXCESS/UMBRELLA LIABILITY COVERAGE
    COMMERCIAL EXCESS LIABILITY POLICY

 A. The following exclusion is added:

    FOREIGN TERRORISM

    We will not pay for "any injury or damage" or any other loss, cost, defense fee, expense, injury, damage,
    claim, dispute or suit caused directly or indirectly by "foreign terrorism", including action in hindering or
    defending against an actual or expected incident of "foreign terrorism". "Any injury or damage" is excluded
    regardless of any other cause or event that contributes concurrently or in any sequence to such injury or
    damage.

 B. The following definitions are added:

    1. "Any injury or damage" means any injury or damage covered under any Coverage Part or Policy to which
       this endorsement is applicable, and includes but is not limited to "bodily injury", "property damage",
       "personal and advertising injury", "injury" or "environmental damage" as may be defined in any applicable
       Coverage Part or Policy.

    2. “Foreign terrorism” means activities against persons, organizations or property of any nature committed
       outside of the United States of America and not subject to the Terrorism Risk Insurance Act of 2002, as
       amended:

       a. That involve the following or preparation for the following:

          (1) Use or threat of force or violence; or

          (2) Commission or threat of a dangerous act; or

          (3) Commission or threat of an act that interferes with or disrupts an electronic, communication,
              information, or mechanical system; and

       b. When one or both of the following applies:

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                                                                                                                  EX03-033
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          (1)   The effect is to intimidate or coerce a government or the civilian population or any segment thereof,
                or to disrupt any segment of the economy; or

          (2)   It appears that the intent is to intimidate or coerce a government, or to further political, ideological,
                religious, social or economic objectives or to express (or express opposition to) a philosophy or
                ideology.

 C. In the event of any incident of “foreign terrorism” that is not subject to this exclusion, coverage does not apply
    to “any injury or damage” or any other loss, cost, defense fee, expense, injury, damage, claim, dispute or suit
    that is otherwise excluded under this Coverage Part or Policy.




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                                                                                                                   EX03-034
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                                                                                          COMMERCIAL PROPERTY
                                                                                                  CP 00 10 10 12

                   BUILDING AND PERSONAL PROPERTY
                           COVERAGE FORM
Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights, duties and
what is and is not covered.
Throughout this policy, the words "you" and "your" refer to the Named Insured shown in the Declarations. The
words "we", "us" and "our" refer to the company providing this insurance.
Other words and phrases that appear in quotation marks have special meaning. Refer to Section H. Definitions.

A. Coverage                                                          b. Your     Business      Personal      Property
   We will pay for direct physical loss of or damage to                 consists of the following property located in
   Covered Property at the premises described in the                    or on the building or structure described in
   Declarations caused by or resulting from any                         the Declarations or in the open (or in a
   Covered Cause of Loss.                                               vehicle) within 100 feet of the building or
                                                                        structure or within 100 feet of the premises
   1. Covered Property                                                  described in the Declarations, whichever
      Covered Property, as used in this Coverage                        distance is greater:
      Part, means the type of property described in                    (1) Furniture and fixtures;
      this section, A.1., and limited in A.2. Property
      Not Covered, if a Limit Of Insurance is shown                    (2) Machinery and equipment;
      in the Declarations for that type of property.                   (3) "Stock";
       a. Building, meaning the building or structure                  (4) All other personal property owned by
           described in the Declarations, including:                       you and used in your business;
          (1) Completed additions;                                     (5) Labor, materials or services furnished or
          (2) Fixtures, including outdoor fixtures;                        arranged by you on personal property of
                                                                           others;
         (3) Permanently installed:
                                                                       (6) Your use interest as tenant in
             (a) Machinery; and                                            improvements        and      betterments.
            (b) Equipment;                                                 Improvements and betterments are
                                                                           fixtures, alterations, installations or
         (4) Personal property owned by you that is
                                                                           additions:
              used to maintain or service the building
              or structure or its premises, including:                    (a) Made a part of the building or
             (a) Fire-extinguishing equipment;                                structure you occupy but do not
                                                                              own; and
             (b) Outdoor furniture;                                       (b) You acquired or made at your
             (c) Floor coverings; and                                         expense but cannot legally remove;
            (d) Appliances used for refrigerating,                      (7) Leased personal property for which you
                 ventilating, cooking, dishwashing or                       have a contractual responsibility to
                 laundering;                                                insure, unless otherwise provided for
         (5) If not covered by other insurance:                             under Personal Property Of Others.
             (a) Additions      under     construction,              c. Personal Property Of Others that is:
                 alterations and repairs to the building                (1) In your care, custody or control; and
                 or structure;
                                                                        (2) Located in or on the building or
            (b) Materials, equipment, supplies and                          structure described in the Declarations
                 temporary structures, on or within                         or in the open (or in a vehicle) within 100
                 100 feet of the described premises,                        feet of the building or structure or within
                 used      for    making      additions,                    100 feet of the premises described in the
                 alterations or repairs to the building                     Declarations, whichever distance is
                 or structure.                                              greater.




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          However, our payment for loss of or                         n. Electronic data, except as provided under
          damage to personal property of others will                      the Additional Coverage, Electronic Data.
          only be for the account of the owner of the                     Electronic data means information, facts or
          property.                                                       computer programs stored as or on,
    2. Property Not Covered                                               created or used on, or transmitted to or
                                                                          from computer software (including systems
       Covered Property does not include:                                 and applications software), on hard or
       a. Accounts, bills, currency, food stamps or                       floppy disks, CD-ROMs, tapes, drives, cells,
          other evidences of debt, money, notes or                        data processing devices or any other
          securities. Lottery tickets held for sale are                   repositories of computer software which are
          not securities;                                                 used      with     electronically    controlled
                                                                          equipment. The term computer programs,
       b. Animals, unless owned by others and
                                                                          referred to in the foregoing description of
          boarded by you, or if owned by you, only                        electronic data, means a set of related
          as "stock" while inside of buildings;
                                                                          electronic instructions which direct the
       c. Automobiles held for sale;                                      operations and functions of a computer or
       d. Bridges, roadways, walks, patios or other                       device connected to it, which enable the
            paved surfaces;                                               computer or device to receive, process,
                                                                          store, retrieve or send data. This paragraph,
       e. Contraband, or property in the course of                        n., does not apply to your "stock" of
            illegal transportation or trade;
                                                                          prepackaged software, or to electronic data
        f. The cost of excavations, grading, backfilling                  which is integrated in and operates or
            or filling;                                                   controls the building’s elevator, lighting,
       g. Foundations of buildings, structures,                           heating, ventilation, air conditioning or
            machinery or boilers if their foundations are                 security system;
            below:                                                    o. The cost to replace or restore the
           (1) The lowest basement floor; or                              information on valuable papers and
                                                                          records, including those which exist as
           (2) The surface of the ground, if there is no                  electronic data. Valuable papers and
                 basement;                                                records include but are not limited to
       h. Land (including land on which the property                      proprietary information, books of account,
            is located), water, growing crops or lawns                    deeds, manuscripts, abstracts, drawings
            (other than lawns which are part of a                         and card index systems. Refer to the
            vegetated roof);                                              Coverage Extension for Valuable Papers
        i. Personal property while airborne or                            And Records (Other Than Electronic Data)
            waterborne;                                                   for limited coverage for valuable papers and
                                                                          records other than those which exist as
        j. Bulkheads, pilings, piers, wharves or                          electronic data;
            docks;
                                                                      p. Vehicles      or    self-propelled     machines
       k. Property that is covered under another                          (including aircraft or watercraft) that:
          coverage form of this or any other policy in
          which it is more specifically described,                       (1) Are licensed for use on public roads; or
          except for the excess of the amount due                        (2) Are operated principally away from the
          (whether you can collect on it or not) from                         described premises.
          that other insurance;                                           This paragraph does not apply to:
        l. Retaining walls that are not part of a                            (a) Vehicles or self-propelled machines
           building;                                                              or autos you manufacture, process
       m. Underground pipes, flues or drains;                                     or warehouse;




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             (b) Vehicles or self-propelled machines,                     (d) Remove property of others of a type
                 other than autos, you hold for sale;                         that would not be Covered Property
             (c) Rowboats or canoes out of water at                           under this Coverage Form;
                 the described premises; or                                (e) Remove deposits of mud or earth
             (d) Trailers, but only to the extent                               from the grounds of the described
                 provided for in the Coverage                                   premises;
                 Extension for Non-owned Detached                           (f) Extract "pollutants" from land or
                 Trailers; or                                                   water; or
       q. The following property while outside of                         (g) Remove, restore or replace polluted
          buildings:                                                          land or water.
          (1) Grain, hay, straw or other crops;                        (3) Subject to the exceptions in Paragraph
          (2) Fences, radio or television antennas                         (4), the following provisions apply:
              (including satellite dishes) and their lead-                 (a) The most we will pay for the total of
              in wiring, masts or towers, trees, shrubs                         direct physical loss or damage plus
              or plants (other than trees, shrubs or                            debris removal expense is the Limit
              plants which are "stock" or are part of a                         of Insurance applicable to the
              vegetated roof), all except as provided in                        Covered Property that has sustained
              the Coverage Extensions.                                          loss or damage.
    3. Covered Causes Of Loss                                             (b) Subject to (a) above, the amount we
       See applicable Causes Of Loss form as shown                              will pay for debris removal expense is
       in the Declarations.                                                     limited to 25% of the sum of the
                                                                                deductible plus the amount that we
    4. Additional Coverages                                                     pay for direct physical loss or
       a. Debris Removal                                                        damage to the Covered Property that
                                                                                has sustained loss or damage.
          (1) Subject to Paragraphs (2) , (3) and (4),
                                                                                However, if no Covered Property has
               we will pay your expense to remove                               sustained direct physical loss or
               debris of Covered Property and other
               debris that is on the described premises,                        damage, the most we will pay for
               when such debris is caused by or                                 removal of debris of other property
               results from a Covered Cause of Loss                             (if such removal is covered under
               that occurs during the policy period. The                        this Additional Coverage) is $5,000 at
               expenses will be paid only if they are                           each location.
               reported to us in writing within 180 days               (4) We will pay up to an additional $25,000
               of the date of direct physical loss or                       for debris removal expense, for each
               damage.                                                      location, in any one occurrence of
          (2) Debris Removal does not apply to costs                        physical loss or damage to Covered
                                                                            Property, if one or both of the following
               to:
                                                                            circumstances apply:
              (a) Remove debris of property of yours
                   that is not insured under this policy,                  (a) The total of the actual debris removal
                   or property in your possession that                          expense plus the amount we pay for
                   is not Covered Property;                                     direct physical loss or damage
                                                                                exceeds the Limit of Insurance on the
             (b) Remove debris of property owned by                             Covered Property that has sustained
                 or leased to the landlord of the                               loss or damage.
                 building where your described                            (b) The actual debris removal expense
                 premises are located, unless you
                                                                                exceeds 25% of the sum of the
                 have a contractual responsibility to
                 insure such property and it is                                 deductible plus the amount that we
                                                                                pay for direct physical loss or
                 insured under this policy;
                                                                                damage to the Covered Property that
             (c) Remove any property that is                                    has sustained loss or damage.
                 Property Not Covered, including
                 property addressed under the
                 Outdoor      Property      Coverage
                 Extension;




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                Therefore, if (4)(a) and /or (4)(b) applies,      The additional amount payable for debris removal
                our total payment for direct physical loss        expense is provided in accordance with the terms of
                or damage and debris removal expense              Paragraph (4), because the debris removal expense
                may reach but will never exceed the Limit         ($40,000) exceeds 25% of the loss payable plus the
                of Insurance on the Covered Property              deductible ($40,000 is 50% of $80,000), and because
                that has sustained loss or damage, plus           the sum of the loss payable and debris removal
                $25,000.                                          expense ($79,500 + $40,000 = $119,500) would
          (5) Examples                                            exceed the Limit of Insurance ($90,000). The
                                                                  additional amount of covered debris removal expense
                The following examples assume that                is $25,000, the maximum payable under Paragraph
                there is no Coinsurance penalty.                  (4). Thus, the total payable for debris removal
 Example 1                                                        expense in this example is $35,500; $4,500 of the
                                                                  debris removal expense is not covered.
 Limit of Insurance:                             $ 90,000
                                                                         b. Preservation Of Property
 Amount of Deductible:                           $        500
                                                                             If it is necessary to move Covered Property
 Amount of Loss:                                 $ 50,000
                                                                             from the described premises to preserve it
 Amount of Loss Payable:                         $ 49,500                    from loss or damage by a Covered Cause
                                          ($50,000 ---- $500)                of Loss, we will pay for any direct physical
 Debris Removal Expense:                         $ 10,000                    loss or damage to that property:
 Debris Removal Expense Payable:                 $ 10,000                   (1) While it is being moved or while
                                                                                  temporarily stored at another location;
 ($10,000 is 20% of $50,000.)                                                     and
 The debris removal expense is less than 25% of the                         (2) Only if the loss or damage occurs within
 sum of the loss payable plus the deductible. The sum                             30 days after the property is first moved.
 of the loss payable and the debris removal expense
 ($49,500 + $10,000 = $59,500) is less than the Limit of                 c. Fire Department Service Charge
 Insurance. Therefore, the full amount of debris                             When the fire department is called to save
 removal expense is payable in accordance with the                           or protect Covered Property from a
 terms of Paragraph (3).                                                     Covered Cause of Loss, we will pay up to
                                                                             $1,000 for service at each premises
 Example 2                                                                   described in the Declarations, unless a
 Limit of Insurance:                            $ 90,000                     higher limit is shown in the Declarations.
                                                                             Such limit is the most we will pay regardless
 Amount of Deductible:                          $         500                of the number of responding fire
 Amount of Loss:                                $ 80,000                     departments or fire units, and regardless of
 Amount of Loss Payable:                        $ 79,500                     the number or type of services performed.
                                          ($80,000 ---- $500)                This Additional Coverage applies to your
 Debris Removal Expense:                        $ 40,000                     liability for fire department service charges:
 Debris Removal Expense Payable                                             (1) Assumed by contract or agreement prior
                                                                                  to loss; or
                       Basic Amount:        $ 10,500
                                                                            (2) Required by local ordinance.
                       Additional Amount: $ 25,000
 The basic amount payable for debris removal                                 No Deductible applies to this Additional
 expense under the terms of Paragraph (3) is                                 Coverage.
 calculated as follows: $80,000 ($79,500 + $500) x .25
 = $20,000, capped at $10,500. The cap applies
 because the sum of the loss payable ($79,500) and
 the basic amount payable for debris removal expense
 ($10,500) cannot exceed the Limit of Insurance
 ($90,000).




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       d. Pollutant Clean-up And Removal                              (5) Under this Additional Coverage, we will
          We will pay your expense to extract                             not pay for:
          "pollutants" from land or water at the                          (a) The enforcement of or compliance
          described premises if the discharge,                                with any ordinance or law which
          dispersal, seepage, migration, release or                           requires        demolition,     repair,
          escape of the "pollutants" is caused by or                          replacement,            reconstruction,
          results from a Covered Cause of Loss that                           remodeling      or    remediation of
          occurs during the policy period. The                                property due to contamination by
          expenses will be paid only if they are                              "pollutants" or due to the presence,
          reported to us in writing within 180 days of                        growth, proliferation, spread or any
          the date on which the Covered Cause of                              activity of "fungus", wet or dry rot or
          Loss occurs.                                                        bacteria; or
           This Additional Coverage does not apply to                    (b) Any costs associated with the
           costs to test for, monitor or assess the                            enforcement of or compliance with
           existence, concentration or effects of                              an ordinance or law which requires
           "pollutants". But we will pay for testing                           any insured or others to test for,
           which is performed in the course of                                 monitor, clean up, remove, contain,
           extracting the "pollutants" from the land or                        treat, detoxify or neutralize, or in any
           water.                                                              way respond to, or assess the effects
           The most we will pay under this Additional                          of "pollutants", "fungus", wet or dry
           Coverage for each described premises is                             rot or bacteria.
           $10,000 for the sum of all covered expenses                (6) The most we will pay under this
           arising out of Covered Causes of Loss                           Additional Coverage, for each described
           occurring during each separate 12-month                         building insured under this Coverage
           period of this policy.                                          Form, is $10,000 or 5% of the Limit of
       e. Increased Cost Of Construction                                   Insurance applicable to that building,
                                                                           whichever is less. If a damaged building
          (1) This Additional Coverage applies only to                     is covered under a blanket Limit of
               buildings to which the Replacement Cost                     Insurance which applies to more than
               Optional Coverage applies.                                  one building or item of property, then
         (2) In the event of damage by a Covered                           the most we will pay under this
              Cause of Loss to a building that is                          Additional Coverage, for that damaged
              Covered Property, we will pay the                            building, is the lesser of $10,000 or 5%
              increased costs incurred to comply with                      times the value of the damaged building
              the minimum standards of an ordinance                        as of the time of loss times the
              or law in the course of repair, rebuilding                   applicable Coinsurance percentage.
              or replacement of damaged parts of that                      The amount payable under this
              property, subject to the limitations stated                  Additional      Coverage is additional
              in e.(3) through e.(9) of this Additional                    insurance.
              Coverage.
                                                                      (7) With respect to this Additional Coverage:
         (3) The ordinance or law referred to in e.(2)
              of this Additional Coverage is an                           (a) We will not pay for the Increased
              ordinance or law that regulates the                              Cost of Construction:
              construction or repair of buildings or                           (i) Until the property is actually
              establishes zoning or land use                                       repaired or replaced at the same
              requirements at the described premises                               or another premises; and
              and is in force at the time of loss.                            (ii) Unless the repair or replacement
         (4) Under this Additional Coverage, we will                               is made as soon as reasonably
              not pay any costs due to an ordinance                                possible after the loss or
              or law that:                                                         damage, not to exceed two
             (a) You were required to comply with                                  years. We may extend this period
                  before the loss, even when the                                   in writing during the two years.
                  building was undamaged; and
            (b) You failed to comply with.




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                (b) If the building is repaired or replaced              (3) The Covered Causes of Loss applicable
                    at the same premises, or if you elect                    to Your Business Personal Property
                    to rebuild at another premises, the                      apply to this Additional Coverage,
                    most we will pay for the Increased                       Electronic Data, subject to the following:
                    Cost of Construction, subject to the                     (a) If the Causes Of Loss ---- Special Form
                    provisions of e.(6) of this Additional                       applies,     coverage      under    this
                    Coverage, is the increased cost of                           Additional Coverage, Electronic Data,
                    construction at the same premises.                           is limited to the "specified causes of
              (c) If the ordinance or law requires                               loss" as defined in that form and
                   relocation to another premises, the                           Collapse as set forth in that form.
                   most we will pay for the Increased                       (b) If the Causes Of Loss ---- Broad Form
                   Cost of Construction, subject to the                         applies,    coverage      under   this
                   provisions of e.(6) of this Additional                       Additional Coverage, Electronic Data,
                   Coverage, is the increased cost of                           includes Collapse as set forth in that
                   construction at the new premises.                            form.
          (8) This Additional Coverage is not subject                       (c) If the Causes Of Loss form is
               to the terms of the Ordinance Or Law                             endorsed to add a Covered Cause of
               Exclusion to the extent that such                                Loss, the additional Covered Cause
               Exclusion would conflict with the                                of Loss does not apply to the
               provisions of this Additional Coverage.                          coverage provided         under this
          (9) The costs addressed in the Loss                                   Additional Coverage, Electronic Data.
               Payment and Valuation Conditions and                         (d) The Covered Causes of Loss include
               the     Replacement      Cost    Optional                        a virus, harmful code or similar
               Coverage, in this Coverage Form, do                              instruction    introduced into      or
               not include       the increased cost                             enacted on a computer system
               attributable to enforcement of or                                (including electronic data) or a
               compliance with an ordinance or law.                             network to which it is connected,
               The amount payable under this                                    designed to damage or destroy any
               Additional Coverage, as stated in e.(6) of                       part of the system or disrupt its
               this Additional Coverage, is not subject                         normal operation. But there is no
               to such limitation.                                              coverage for loss or damage caused
        f. Electronic Data                                                      by or resulting from manipulation of
           (1) Under      this    Additional   Coverage,                        a computer system (including
               electronic data has the meaning                                  electronic data) by any employee,
               described under Property Not Covered,                            including a temporary or leased
               Electronic      Data.    This    Additional                      employee, or by an entity retained by
               Coverage does not apply to your "stock"                          you or for you to inspect, design,
               of prepackaged software, or to                                   install, modify, maintain, repair or
               electronic data which is integrated in and                       replace that system.
               operates or controls the building’s
               elevator, lighting, heating, ventilation, air
               conditioning or security system.
           (2) Subject to the provisions of this
               Additional Coverage, we will pay for the
               cost to replace or restore electronic data
               which has been destroyed or corrupted
               by a Covered Cause of Loss. To the
               extent that electronic data is not
               replaced or restored, the loss will be
               valued at the cost of replacement of the
               media on which the electronic data was
               stored, with blank media of substantially
               identical type.




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           (4) The most we will pay under this                        (2) Your Business Personal Property
               Additional Coverage, Electronic Data, is                   (a) If this policy covers Your Business
               $2,500 (unless a higher limit is shown in                      Personal Property, you may extend
               the Declarations) for all loss or damage                       that insurance to apply to:
               sustained in any one policy year,
               regardless of the number of occurrences                           (i) Business    personal     property,
               of loss or damage or the number of                                    including such property that you
               premises,    locations     or    computer                             newly acquire, at any location you
               systems involved. If loss payment on the                              acquire other than at fairs, trade
               first occurrence does not exhaust this                                shows or exhibitions; or
               amount, then the balance is available for                     (ii) Business     personal     property,
               subsequent loss or damage sustained in                             including such property that you
               but not after that policy year. With                               newly acquire, located at your
               respect to an occurrence which begins                              newly constructed or acquired
               in one policy year and continues or                                buildings    at    the     location
               results in additional loss or damage in a                          described in the Declarations.
               subsequent policy year(s), all loss or
                                                                               The most we will pay for loss or
               damage is deemed to be sustained in the                         damage under this Extension is
               policy year in which the occurrence
                                                                               $100,000 at each building.
               began.
                                                                         (b) This Extension does not apply to:
    5. Coverage Extensions
                                                                               (i) Personal property of others that
       Except as otherwise provided, the following                                 is temporarily in your possession
       Extensions apply to property located in or on                               in the course of installing or
       the building described in the Declarations or in                            performing     work    on   such
       the open (or in a vehicle) within 100 feet of the                           property; or
       described premises.
                                                                              (ii) Personal property of others that
       If a Coinsurance percentage of 80% or more,
                                                                                   is temporarily in your possession
       or a Value Reporting period symbol, is shown
                                                                                   in     the   course     of   your
       in the Declarations, you may extend the
       insurance provided by this Coverage Part as                                 manufacturing or wholesaling
       follows:                                                                    activities.
                                                                      (3) Period Of Coverage
       a. Newly Acquired Or Constructed Property
                                                                           With respect to insurance provided
          (1) Buildings
                                                                           under this Coverage Extension for
               If this policy covers Building, you may                     Newly      Acquired     Or    Constructed
               extend that insurance to apply to:                          Property, coverage will end when any of
              (a) Your new buildings while being built                     the following first occurs:
                   on the described premises; and                         (a) This policy expires;
             (b) Buildings you acquire at locations,                     (b) 30 days expire after you acquire the
                   other than the described premises,                          property or begin construction of
                   intended for:                                               that part of the building that would
                   (i) Similar use as the building                             qualify as covered property; or
                       described in the Declarations; or                  (c) You report values to us.
                  (ii) Use as a warehouse.                                 We will charge you additional premium
              The most we will pay for loss or damage                      for values reported from the date you
              under this Extension is $250,000 at                          acquire    the    property    or   begin
              each building.                                               construction of that part of the building
                                                                           that would qualify as covered property.




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       b. Personal Effects And Property Of Others                      d. Property Off-premises
          You may extend the insurance that applies                      (1) You may extend the insurance provided
          to Your Business Personal Property to                              by this Coverage Form to apply to your
          apply to:                                                          Covered Property while it is away from
          (1) Personal effects owned by you, your                            the described premises, if it is:
              officers, your partners or members, your                       (a) Temporarily at a location you do not
              managers or your employees. This                                   own, lease or operate;
              Extension does not apply to loss or                           (b) In storage at a location you lease,
              damage by theft.                                                  provided the lease was executed
          (2) Personal property of others in your care,                         after the beginning of the current
              custody or control.                                               policy term; or
           The most we will pay for loss or damage                           (c) At any fair, trade show or exhibition.
           under this Extension is $2,500 at each                        (2) This Extension does          not apply to
           described premises. Our payment for loss                          property:
           of or damage to personal property of others
           will only be for the account of the owner of                      (a) In or on a vehicle; or
           the property.                                                    (b) In the care, custody or control of
       c. Valuable Papers And Records (Other Than                               your salespersons, unless the
           Electronic Data)                                                     property is in such care, custody or
                                                                                control at a fair, trade show or
          (1) You may extend the insurance that                                 exhibition.
               applies to Your Business Personal
               Property to apply to the cost to replace                  (3) The most we will pay for loss or damage
               or restore the lost information on                            under this Extension is $10,000.
               valuable papers and records for which                   e. Outdoor Property
               duplicates do not exist. But this
                                                                           You may extend the insurance provided by
               Extension does not apply to valuable
               papers and records which exist as                           this Coverage Form to apply to your
                                                                           outdoor fences, radio and television
               electronic data. Electronic data has the                    antennas (including satellite dishes), trees,
               meaning described under Property Not                        shrubs and plants (other than trees, shrubs
               Covered, Electronic Data.                                   or plants which are "stock" or are part of a
          (2) If the Causes Of Loss ---- Special Form                      vegetated roof), including debris removal
               applies, coverage under this Extension                      expense, caused by or resulting from any of
               is limited to the "specified causes of loss"                the following causes of loss if they are
               as defined in that form and Collapse as                     Covered Causes of Loss:
               set forth in that form.                                    (1) Fire;
          (3) If the Causes Of Loss ---- Broad Form                       (2) Lightning;
               applies, coverage under this Extension
               includes Collapse as set forth in that                     (3) Explosion;
               form.                                                     (4) Riot or Civil Commotion; or
          (4) Under this Extension, the most we will                     (5) Aircraft.
               pay to replace or restore the lost
               information is $2,500 at each described                    The most we will pay for loss or damage
               premises, unless a higher limit is shown                   under this Extension is $1,000, but not
               in the Declarations. Such amount is                        more than $250 for any one tree, shrub or
               additional insurance. We will also pay for                 plant. These limits apply to any one
               the cost of blank material for                             occurrence, regardless of the types or
                                                                          number of items lost or damaged in that
               reproducing the records (whether or not
               duplicates exist) and (when there is a                     occurrence.
               duplicate) for the cost of labor to
               transcribe or copy the records. The
               costs of blank material and labor are
               subject to the applicable Limit of
               Insurance on Your Business Personal
               Property and, therefore, coverage of
               such costs is not additional insurance.




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          Subject to all aforementioned terms and                           (2) If the applicable Covered Causes of
          limitations of coverage, this Coverage                                Loss form or endorsement contains a
          Extension includes the expense of                                     limitation or exclusion concerning loss
          removing from the described premises the                              or damage from sand, dust, sleet, snow,
          debris of trees, shrubs and plants which are                          ice or rain to property in a structure,
          the property of others, except in the                                 such limitation or exclusion also applies
          situation in which you are a tenant and                               to property in a portable storage unit.
          such property is owned by the landlord of                         (3) Coverage under this Extension:
          the described premises.
                                                                               (a) Will end 90 days after the business
        f. Non-owned Detached Trailers                                             personal property has been placed in
         (1) You may extend the insurance that                                     the storage unit;
              applies to Your Business Personal                                (b) Does not apply if the storage unit
              Property to apply to loss or damage to                                itself has been in use at the
              trailers that you do not own, provided                                described premises for more than 90
              that:                                                                 consecutive days, even if the
             (a) The trailer is used in your business;                              business personal property has been
            (b) The trailer is in your care, custody or                            stored there for 90 or fewer days as
                   control at the premises described in                            of the time of loss or damage.
                   the Declarations; and                                    (4) Under this Extension, the most we will
              (c) You have a contractual responsibility                         pay for the total of all loss or damage to
                   to pay for loss or damage to the                             business personal property is $10,000
                   trailer.                                                     (unless a higher limit is indicated in the
                                                                                Declarations for such Extension)
          (2) We will not pay for any loss or damage                            regardless of the number of storage
               that occurs:                                                     units. Such limit is part of, not in
              (a) While the trailer is attached to any                          addition to, the applicable Limit of
                   motor       vehicle   or     motorized                       Insurance on Your Business Personal
                   conveyance, whether or not the                               Property. Therefore, payment under this
                   motor       vehicle   or     motorized                       Extension will not increase the
                   conveyance is in motion;                                     applicable Limit of Insurance on Your
                                                                                Business Personal Property.
             (b) During hitching or            unhitching
                   operations, or when a trailer                        (5) This Extension does not apply to loss or
                   becomes accidentally unhitched from                      damage otherwise covered under this
                   a motor vehicle or motorized                             Coverage Form or any endorsement to
                   conveyance.                                              this Coverage Form or policy, and does
          (3) The most we will pay for loss or damage                       not apply to loss or damage to the
               under this Extension is $5,000, unless a                     storage unit itself.
               higher limit is shown in the Declarations.            Each of these Extensions is additional
          (4) This insurance is excess over the                      insurance unless otherwise indicated. The
                                                                     Additional Condition, Coinsurance, does not
               amount due (whether you can collect on
                                                                     apply to these Extensions.
               it or not) from any other insurance
               covering such property.                         B. Exclusions And Limitations
       g. Business Personal Property Temporarily In               See applicable Causes Of Loss form as shown in
           Portable Storage Units                                 the Declarations.
          (1) You may extend the insurance that                C. Limits Of Insurance
               applies to Your Business Personal                      The most we will pay for loss or damage in any
               Property to apply to such property while               one occurrence is the applicable Limit Of
               temporarily stored in a portable storage               Insurance shown in the Declarations.
               unit (including a detached trailer) located
               within 100 feet of the building or                     The most we will pay for loss or damage to
               structure described in the Declarations                outdoor signs, whether or not the sign is attached
               or within 100 feet of the premises                     to a building, is $2,500 per sign in any one
               described in the Declarations, whichever               occurrence.
               distance is greater.




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    The amounts of insurance stated in the following            Total amount of loss payable:
    Additional Coverages apply in accordance with the           $59,850 + $80,000 = $139,850
    terms of such coverages and are separate from the
    Limit(s) Of Insurance shown in the Declarations             Example 2
    for any other coverage:                                     (This example, too, assumes there is no Coinsurance
     1. Fire Department Service Charge;                         penalty.)
     2. Pollutant Clean-up And Removal;                         The Deductible and Limits of Insurance are the same
                                                                as those in Example 1.
     3. Increased Cost Of Construction; and
    4. Electronic Data.                                         Loss to Building 1:                       $ 70,000
    Payments under the Preservation Of Property                   (Exceeds Limit of Insurance plus Deductible)
    Additional Coverage will not increase the                   Loss to Building 2:                       $ 90,000
    applicable Limit of Insurance.                                (Exceeds Limit of Insurance plus Deductible)
 D. Deductible                                                  Loss Payable ---- Building 1:             $ 60,000
    In any one occurrence of loss or damage                       (Limit of Insurance)
    (hereinafter referred to as loss), we will first reduce     Loss Payable ---- Building 2:                    $   80,000
    the amount of loss if required by the Coinsurance
    Condition or the Agreed Value Optional Coverage.              (Limit of Insurance)
    If the adjusted amount of loss is less than or equal        Total amount of loss payable:                    $ 140,000
    to the Deductible, we will not pay for that loss. If
    the adjusted amount of loss exceeds the                     E. Loss Conditions
    Deductible, we will then subtract the Deductible               The following conditions apply in addition to the
    from the adjusted amount of loss and will pay the              Common Policy Conditions and the Commercial
    resulting amount or the Limit of Insurance,                    Property Conditions:
    whichever is less.                                             1. Abandonment
    When the occurrence involves loss to more than                    There can be no abandonment of any property
    one item of Covered Property and separate Limits                  to us.
    of Insurance apply, the losses will not be
    combined in determining application of the                         2. Appraisal
    Deductible. But the Deductible will be applied only                   If we and you disagree on the value of the
    once per occurrence.                                                  property or the amount of loss, either may
                                                                          make written demand for an appraisal of the
 Example 1                                                                loss. In this event, each party will select a
 (This example assumes there is no Coinsurance                            competent and impartial appraiser. The two
 penalty.)                                                                appraisers will select an umpire. If they cannot
                                                                          agree, either may request that selection be
 Deductible:                                   $       250                made by a judge of a court having jurisdiction.
 Limit of Insurance ---- Building 1:           $    60,000                The appraisers will state separately the value of
 Limit of Insurance ---- Building 2:           $    80,000                the property and amount of loss. If they fail to
                                                                          agree, they will submit their differences to the
 Loss to Building 1:                           $    60,100                umpire. A decision agreed to by any two will be
 Loss to Building 2:                           $    90,000                binding. Each party will:
 The amount of loss to Building 1 ($60,100) is less than                   a. Pay its chosen appraiser; and
 the sum ($60,250) of the Limit of Insurance applicable                   b. Bear the other expenses of the appraisal
 to Building 1 plus the Deductible.                                           and umpire equally.
 The Deductible will be subtracted from the amount of                     If there is an appraisal, we will still retain our
 loss in calculating the loss payable for Building 1:                     right to deny the claim.
     $ 60,100                                                          3. Duties In The Event Of Loss Or Damage
     ----   250                                                           a. You must see that the following are done in
     $ 59,850 Loss Payable ---- Building 1                                    the event of loss or damage to Covered
                                                                              Property:
 The Deductible applies once per occurrence and
 therefore is not subtracted in determining the amount                       (1) Notify the police if a law may have been
 of loss payable for Building 2. Loss payable for                                 broken.
 Building 2 is the Limit of Insurance of $80,000.




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         (2) Give us prompt notice of the loss or                    4. Loss Payment
             damage. Include a description of the                      a. In the event of loss or damage covered by
             property involved.                                           this Coverage Form, at our option, we will
          (3) As soon as possible, give us a                              either:
               description of how, when and where the                        (1) Pay the value of lost or damaged
               loss or damage occurred.                                          property;
          (4) Take all reasonable steps to protect the                       (2) Pay the cost of repairing or replacing the
               Covered Property from further damage,                             lost or damaged property, subject to b.
               and keep a record of your expenses                                below;
               necessary to protect the Covered
               Property, for consideration in the                            (3) Take all or any part of the property at an
               settlement of the claim. This will not                            agreed or appraised value; or
               increase the Limit of Insurance.                              (4) Repair, rebuild or replace the property
               However, we will not pay for any                                  with other property of like kind and
               subsequent loss or damage resulting                               quality, subject to b. below.
               from a cause of loss that is not a
                                                                             We will determine the value of lost or
               Covered Cause of Loss. Also, if feasible,
                                                                             damaged property, or the cost of its repair
               set the damaged property aside and in
                                                                             or replacement, in accordance with the
               the best possible order for examination.                      applicable terms of the Valuation Condition
          (5) At our request, give us complete                               in this Coverage Form or any applicable
               inventories of the damaged and                                provision which amends or supersedes the
               undamaged property. Include quantities,                       Valuation Condition.
               costs, values and amount of loss
                                                                       b.    The cost to repair, rebuild or replace does
               claimed.                                                      not include the increased cost attributable
          (6) As often as may be reasonably required,                        to enforcement of or compliance with any
               permit us to inspect the property                             ordinance       or     law   regulating   the
               proving the loss or damage and examine                        construction, use or repair of any property.
               your books and records.
                                                                       c.    We will give notice of our intentions within
               Also, permit us to take samples of                            30 days after we receive the sworn proof of
               damaged and undamaged property for                            loss.
               inspection, testing and analysis, and                   d.    We will not pay you more than your
               permit us to make copies from your                            financial interest in the Covered Property.
               books and records.
                                                                       e.    We may adjust losses with the owners of
          (7) Send us a signed, sworn proof of loss
                                                                             lost or damaged property if other than you.
               containing the information we request to                      If we pay the owners, such payments will
               investigate the claim. You must do this                       satisfy your claims against us for the
               within 60 days after our request. We will
                                                                             owners’ property. We will not pay the
               supply you with the necessary forms.                          owners more than their financial interest in
          (8) Cooperate with us in the investigation or                      the Covered Property.
               settlement of the claim.                                 f.   We may elect to defend you against suits
       b. We may examine any insured under oath,                             arising from claims of owners of property.
           while not in the presence of any other                            We will do this at our expense.
           insured and at such times as may be
                                                                       g. We will pay for covered loss or damage
           reasonably required, about any matter
                                                                           within 30 days after we receive the sworn
           relating to this insurance or the claim,
           including an insured’s books and records.                       proof of loss, if you have complied with all
           In the event of an examination, an insured’s                    of the terms of this Coverage Part, and:
           answers must be signed.                                        (1) We have reached agreement with you on
                                                                               the amount of loss; or
                                                                          (2) An appraisal award has been made.




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       h. A party wall is a wall that separates and is                         (b) When this policy is issued to the
           common to adjoining buildings that are                                  owner or general lessee of a
           owned by different parties. In settling                                 building, building means the entire
           covered losses involving a party wall, we                               building. Such building is vacant
           will pay a proportion of the loss to the party                          unless at least 31% of its total square
           wall based on your interest in the wall in                              footage is:
           proportion to the interest of the owner of                              (i) Rented to a lessee or sublessee
           the adjoining building. However, if you elect                               and used by the lessee or
           to repair or replace your building and the                                  sublessee   to    conduct     its
           owner of the adjoining building elects not to                               customary operations; and /or
           repair or replace that building, we will pay
           you the full value of the loss to the party                            (ii) Used by the building owner to
           wall, subject to all applicable policy                                      conduct customary operations.
           provisions including Limits of Insurance,                       (2) Buildings    under    construction    or
           the Valuation and Coinsurance Conditions                            renovation are not considered vacant.
           and all other provisions of this Loss
                                                                         b. Vacancy Provisions
           Payment Condition. Our payment under the
           provisions of this paragraph does not alter                      If the building where loss or damage occurs
           any right of subrogation we may have                             has been vacant for more than 60
           against any entity, including the owner or                       consecutive days before that loss or
           insurer of the adjoining building, and does                      damage occurs:
           not alter the terms of the Transfer Of Rights                   (1) We will not pay for any loss or damage
           Of Recovery Against Others To Us                                      caused by any of the following, even if
           Condition in this policy.                                             they are Covered Causes of Loss:
    5. Recovered Property                                                       (a) Vandalism;
       If either you or we recover any property after                          (b) Sprinkler leakage, unless you have
       loss settlement, that party must give the other                               protected   the    system against
       prompt notice. At your option, the property will                              freezing;
       be returned to you. You must then return to us
       the amount we paid to you for the property. We                           (c) Building glass breakage;
       will pay recovery expenses and the expenses                             (d) Water damage;
       to repair the recovered property, subject to the                         (e) Theft; or
       Limit of Insurance.
                                                                                 (f) Attempted theft.
    6. Vacancy
                                                                            (2) With respect to Covered Causes of Loss
       a. Description Of Terms                                                   other than those listed in b.(1)(a)
          (1) As used in this Vacancy Condition, the                             through b.(1)(f) above, we will reduce
               term building and the term vacant have                            the amount we would otherwise pay for
               the meanings set forth in (1)(a) and                              the loss or damage by 15%.
               (1)(b) below:                                          7. Valuation
              (a) When this policy is issued to a                        We will determine the value of Covered
                   tenant, and with respect to that                      Property in the event of loss or damage as
                   tenant’s interest in Covered Property,                follows:
                   building means the unit or suite
                   rented or leased to the tenant. Such                  a. At actual cash value as of the time of loss or
                   building is vacant when it does not                      damage, except as provided in b., c., d. and
                   contain enough business personal                         e. below.
                   property to conduct customary                         b. If the Limit of Insurance for Building
                   operations.                                              satisfies   the      Additional    Condition,
                                                                            Coinsurance, and the cost to repair or
                                                                            replace the damaged building property is
                                                                            $2,500 or less, we will pay the cost of
                                                                            building repairs or replacement.




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           The cost of building repairs or replacement                 Instead, we will determine the most we will
           does not include the increased cost                         pay using the following steps:
           attributable to enforcement of or compliance                (1) Multiply the value of Covered Property at
           with any ordinance or law regulating the                        the time of loss by the Coinsurance
           construction, use or repair of any property.                    percentage;
           However, the following property will be                     (2) Divide the Limit of Insurance of the
           valued at the actual cash value, even when                      property by the figure determined in
           attached to the building:                                       Step (1);
          (1) Awnings or floor coverings;                              (3) Multiply the total amount of loss, before
          (2) Appliances for refrigerating, ventilating,                   the application of any deductible, by the
              cooking, dishwashing or laundering; or                       figure determined in Step (2); and
          (3) Outdoor equipment or furniture.                          (4) Subtract the deductible from the figure
        c. "Stock" you have sold but not delivered at                      determined in Step (3).
           the selling price less discounts and                        We will pay the amount determined in Step
           expenses you otherwise would have had.                      (4) or the Limit of Insurance, whichever is
       d. Glass at the cost of replacement with safety-                less. For the remainder, you will either have
           glazing material if required by law.                        to rely on other insurance or absorb the
                                                                       loss yourself.
       e. Tenants’ Improvements and Betterments at:
                                                              Example 1 (Underinsurance)
          (1) Actual cash value of the lost or damaged
               property if you make repairs promptly.         When:    The value of the property is:       $ 250,000
          (2) A proportion of your original cost if you                The Coinsurance percentage
               do not make repairs promptly. We will                   for it is:                               80%
               determine the proportionate value as                    The Limit of Insurance for it is:   $ 100,000
               follows:
                                                                       The Deductible is:                  $     250
              (a) Multiply the original cost by the                    The amount of loss is:              $ 40,000
                   number of days from the loss or
                   damage to the expiration of the lease;     Step (1): $250,000 x 80% = $200,000
                   and                                                  (the minimum amount of insurance to meet
              (b) Divide the amount determined in (a)                   your Coinsurance requirements)
                   above by the number of days from           Step (2): $100,000 $200,000 = .50
                   the installation of improvements to
                   the expiration of the lease.               Step (3): $40,000 x .50 = $20,000
                                                              Step (4): $20,000 ---- $250 = $19,750
               If your lease contains a renewal option,
               the expiration of the renewal option           We will pay no more than $19,750. The remaining
               period will replace the expiration of the      $20,250 is not covered.
               lease in this procedure.                       Example 2 (Adequate Insurance)
          (3) Nothing if others pay for repairs or
               replacement.                                   When:    The value of the property is:       $ 250,000
                                                                       The Coinsurance percentage
 F. Additional Conditions
                                                                       for it is:                               80%
    The following conditions apply in addition to the
                                                                       The Limit of Insurance for it is:   $ 200,000
    Common Policy Conditions and the Commercial
    Property Conditions:                                               The Deductible is:                  $     250
    1. Coinsurance                                                     The amount of loss is:              $ 40,000
       If a Coinsurance percentage is shown in the            The minimum amount of insurance to meet your
       Declarations, the following condition applies:         Coinsurance requirement is $200,000 ($250,000 x
                                                              80%). Therefore, the Limit of Insurance in this
       a. We will not pay the full amount of any loss if      example is adequate, and no penalty applies. We will
           the value of Covered Property at the time of
                                                              pay no more than $39,750 ($40,000 amount of loss
           loss times the Coinsurance percentage
                                                              minus the deductible of $250).
           shown for it in the Declarations is greater
           than the Limit of Insurance for the property.




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         b. If one Limit of Insurance applies to two or                   (2) Submits a signed, sworn proof of loss
            more separate items, this condition will                          within 60 days after receiving notice from
            apply to the total of all property to which the                   us of your failure to do so; and
            limit applies.                                                (3) Has notified us of any change in
 Example 3                                                                    ownership, occupancy or substantial
                                                                              change in risk known to the
 When:      The value of the property is:                                     mortgageholder.
            Building at Location 1:             $ 75,000                   All of the terms of this Coverage Part will
            Building at Location 2:             $ 100,000                  then apply directly to the mortgageholder.
            Personal Property                                           e. If we pay the mortgageholder for any loss
            at Location 2:                      $   75,000                 or damage and deny payment to you
                                            $ 250,000                      because of your acts or because you have
                                                                           failed to comply with the terms of this
            The Coinsurance percentage
                                                                           Coverage Part:
            for it is:                           90%
                                                                          (1) The mortgageholder’s rights under the
            The Limit of Insurance for
                                                                               mortgage will be transferred to us to the
            Buildings and Personal Property
                                                                               extent of the amount we pay; and
            at Locations 1 and 2 is:        $ 180,000
            The Deductible is:              $   1,000                     (2) The mortgageholder’s right to recover
                                                                               the full amount of the mortgageholder’s
            The amount of loss is:                                             claim will not be impaired.
            Building at Location 2:             $   30,000                 At our option, we may pay to the
            Personal Property                                              mortgageholder the whole principal on the
            at Location 2:                      $   20,000                 mortgage plus any accrued interest. In this
                                                $   50,000                 event, your mortgage and note will be
                                                                           transferred to us and you will pay your
 Step (1): $250,000 x 90% = $225,000
                                                                           remaining mortgage debt to us.
           (the minimum amount of insurance to
           meet your Coinsurance requirements                            f. If we cancel this policy, we will give written
           and to avoid the penalty shown below)                             notice to the mortgageholder at least:
 Step (2): $180,000 $225,000 = .80                                          (1) 10 days before the effective date of
                                                                                 cancellation if we cancel for your
 Step (3): $50,000 x .80 = $40,000                                               nonpayment of premium; or
 Step (4): $40,000 ---- $1,000 = $39,000
                                                                            (2) 30 days before the effective date of
 We will pay no more than $39,000. The remaining                                 cancellation if we cancel for any other
 $11,000 is not covered.                                                         reason.
    2. Mortgageholders                                                  g. If we elect not to renew this policy, we will
       a. The term mortgageholder includes trustee.                          give written notice to the mortgageholder at
                                                                             least 10 days before the expiration date of
       b. We will pay for covered loss of or damage                          this policy.
           to buildings or structures to each
           mortgageholder shown in the Declarations              G. Optional Coverages
           in their order of precedence, as interests               If shown as applicable in the Declarations, the
           may appear.                                              following Optional Coverages apply separately to
       c. The mortgageholder has the right to receive               each item:
           loss payment even if the mortgageholder                  1. Agreed Value
           has started foreclosure or similar action on                  a. The Additional Condition, Coinsurance,
           the building or structure.                                        does not apply to Covered Property to
         d. If we deny your claim because of your acts                       which this Optional Coverage applies. We
             or because you have failed to comply with                       will pay no more for loss of or damage to
             the terms of this Coverage Part, the                            that property than the proportion that the
             mortgageholder will still have the right to                     Limit of Insurance under this Coverage Part
             receive loss payment if the mortgageholder:                     for the property bears to the Agreed Value
            (1) Pays any premium due under this                              shown for it in the Declarations.
                Coverage Part at our request if you
                have failed to do so;



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          b. If the expiration date for this Optional                    (4) "Stock", unless the Including "Stock"
             Coverage shown in the Declarations is not                       option is shown in the Declarations.
             extended,   the     Additional    Condition,                  Under the terms of this Replacement Cost
             Coinsurance, is reinstated and this Optional                  Optional Coverage, tenants’ improvements
             Coverage expires.                                             and betterments are not considered to be
          c. The terms of this Optional Coverage apply                     the personal property of others.
             only to loss or damage that occurs:                       c. You may make a claim for loss or damage
            (1) On or after the effective date of this                     covered by this insurance on an actual cash
                Optional Coverage; and                                     value basis instead of on a replacement
            (2) Before the Agreed Value expiration date                    cost basis. In the event you elect to have
                shown in the Declarations or the policy                    loss or damage settled on an actual cash
                expiration date, whichever occurs first.                   value basis, you may still make a claim for
                                                                           the additional coverage this Optional
       2. Inflation Guard                                                  Coverage provides if you notify us of your
          a. The Limit of Insurance for property to which                  intent to do so within 180 days after the loss
             this Optional Coverage applies will                           or damage.
             automatically increase by the annual                      d. We will not pay on a replacement cost basis
             percentage shown in the Declarations.                         for any loss or damage:
          b. The amount of increase will be:                              (1) Until the lost or damaged property is
            (1) The Limit of Insurance that applied on                         actually repaired or replaced; and
                the most recent of the policy inception                   (2) Unless the repair or replacement is made
                date, the policy anniversary date, or any                      as soon as reasonably possible after the
                other policy change amending the Limit                         loss or damage.
                of Insurance, times
                                                                           With respect to tenants’ improvements and
            (2) The percentage of annual increase                          betterments, the following also apply:
                shown in the Declarations, expressed as
                a decimal (example: 8% is .08), times                     (3) If the conditions in d.(1) and d.(2) above
                                                                               are not met, the value of tenants’
            (3) The number of days since the beginning                         improvements and betterments will be
                of the current policy year or the effective                    determined as a proportion of your
                date of the most recent policy change                          original cost, as set forth in the Valuation
                amending the Limit of Insurance, divided                       Loss Condition of this Coverage Form;
                by 365.                                                        and
 Example                                                                  (4) We will not pay for loss or damage to
 If:    The applicable Limit of Insurance is:   $ 100,000                      tenants’ improvements and betterments
                                                                               if others pay for repairs or replacement.
        The annual percentage increase is:            8%
                                                                       e. We will not pay more for loss or damage on
        The number of days since the                                       a replacement cost basis than the least of
        beginning of the policy year                                       (1), (2) or (3), subject to f. below:
        (or last policy change) is:                    146
                                                                          (1) The Limit of Insurance applicable to the
        The amount of increase is:
                                                                               lost or damaged property;
        $100,000 x .08 x 146 365 =              $    3,200
                                                                          (2) The cost to replace the lost or damaged
       3. Replacement Cost                                                     property with other property:
          a. Replacement Cost (without deduction for                          (a) Of comparable material and quality;
             depreciation) replaces Actual Cash Value in                          and
             the Valuation Loss Condition of this
                                                                             (b) Used for the same purpose; or
             Coverage Form.
                                                                         (3) The amount actually spent that is
          b. This Optional Coverage does not apply to:
                                                                               necessary to repair or replace the lost or
            (1) Personal property of others;                                   damaged property.
            (2) Contents of a residence;                                  If a building is rebuilt at a new premises, the
            (3) Works of art, antiques or rare articles,                  cost described in e.(2) above is limited to
                including etchings, pictures, statuary,                   the cost which would have been incurred if
                marbles, bronzes, porcelains and bric-a-                  the building had been rebuilt at the original
                brac; or                                                  premises.




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        f. The cost of repair or replacement does not        H. Definitions
           include the increased cost attributable to               1. "Fungus" means any type or form of fungus,
           enforcement of or compliance with any                       including mold or mildew, and any mycotoxins,
           ordinance     or    law     regulating   the                spores, scents or by-products produced or
           construction, use or repair of any property.                released by fungi.
    4. Extension Of Replacement Cost To Personal                    2. "Pollutants" means any solid, liquid, gaseous or
       Property Of Others                                              thermal irritant or contaminant, including
       a. If the Replacement Cost Optional Coverage                    smoke, vapor, soot, fumes, acids, alkalis,
          is shown as applicable in the Declarations,                  chemicals and waste. Waste includes materials
          then this Extension may also be shown as                     to be recycled, reconditioned or reclaimed.
          applicable. If the Declarations show this                 3. "Stock" means merchandise held in storage or
          Extension as applicable, then Paragraph                      for sale, raw materials and in-process or
          3.b.(1) of the Replacement Cost Optional                     finished goods, including supplies used in their
          Coverage is deleted and all other provisions                 packing or shipping.
          of the Replacement Cost Optional Coverage
          apply to replacement cost on personal
          property of others.
       b. With respect to replacement cost on the
          personal property of others, the following
          limitation applies:
          If an item(s) of personal property of others
          is subject to a written contract which
          governs your liability for loss or damage to
          that item(s), then valuation of that item(s)
          will be based on the amount for which you
          are liable under such contract, but not to
          exceed the lesser of the replacement cost of
          the property or the applicable Limit of
          Insurance.




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                                                                                           COMMERCIAL PROPERTY
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              BUSINESS INCOME (AND EXTRA EXPENSE)
                         COVERAGE FORM
Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights, duties and
what is and is not covered.
Throughout this policy, the words "you" and "your" refer to the Named Insured shown in the Declarations. The
words "we", "us" and "our" refer to the company providing this insurance.
Other words and phrases that appear in quotation marks have special meaning. Refer to Section F. Definitions.

A. Coverage                                                            With respect to the requirements set forth in
   1. Business Income                                                  the preceding paragraph, if you occupy only
                                                                       part of a building, your premises means:
       Business Income means the:
                                                                             (a) The portion of the building which
       a. Net Income (Net Profit or Loss before                                   you rent, lease or occupy;
          income taxes) that would have been earned
          or incurred; and                                                   (b) The area within 100 feet of the
                                                                                  building or within 100 feet of the
       b. Continuing normal operating expenses                                    premises      described    in   the
          incurred, including payroll.                                            Declarations, whichever distance is
       For manufacturing risks, Net Income includes                               greater (with respect to loss of or
       the net sales value of production.                                         damage to personal property in the
                                                                                  open or personal property in a
       Coverage is provided as described and limited
                                                                                  vehicle); and
       below for one or more of the following options
       for which a Limit Of Insurance is shown in the                        (c) Any area within the building or at the
       Declarations:                                                             described premises, if that area
                                                                                 services, or is used to gain access
          (1) Business Income Including "Rental
                                                                                 to, the portion of the building which
              Value".
                                                                                 you rent, lease or occupy.
         (2) Business Income Other Than "Rental
                                                                    2. Extra Expense
             Value".
                                                                       a. Extra Expense Coverage is provided at the
         (3) "Rental Value".
                                                                          premises described in the Declarations only
      If option (1) above is selected, the term                           if the Declarations show that Business
      Business Income will include "Rental Value". If                     Income Coverage applies at that premises.
      option (3) above is selected, the term Business
      Income will mean "Rental Value" only.                            b. Extra Expense means necessary expenses
                                                                          you incur during the "period of restoration"
      If Limits of Insurance are shown under more                         that you would not have incurred if there
      than one of the above options, the provisions                       had been no direct physical loss or damage
      of this Coverage Part apply separately to each.                     to property caused by or resulting from a
      We will pay for the actual loss of Business                         Covered Cause of Loss.
      Income you sustain due to the necessary                             We will pay Extra Expense (other than the
      "suspension" of your "operations" during the                        expense to repair or replace property) to:
      "period of restoration". The "suspension" must
      be caused by direct physical loss of or damage                     (1) Avoid or minimize the "suspension" of
      to property at premises which are described in                         business and to continue operations at
      the Declarations and for which a Business                              the    described     premises    or     at
                                                                             replacement premises or temporary
      Income Limit Of Insurance is shown in the
      Declarations. The loss or damage must be                               locations, including relocation expenses
      caused by or result from a Covered Cause of                            and costs to equip and operate the
                                                                             replacement location or temporary
      Loss. With respect to loss of or damage to
      personal property in the open or personal                              location.
      property in a vehicle, the described premises
      include the area within 100 feet of such
      premises.



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         (2) Minimize the "suspension" of business if               5. Additional Coverages
              you cannot continue "operations".                        a. Civil Authority
          We will also pay Extra Expense to repair or                     In this Additional Coverage, Civil Authority,
          replace property, but only to the extent it                     the described premises are premises to
          reduces the amount of loss that otherwise                       which this Coverage Form applies, as
          would have been payable under this                              shown in the Declarations.
          Coverage Form.
                                                                          When a Covered Cause of Loss causes
   3. Covered Causes Of Loss, Exclusions And                              damage to property other than property at
      Limitations                                                         the described premises, we will pay for the
      See applicable Causes Of Loss form as shown                         actual loss of Business Income you sustain
      in the Declarations.                                                and necessary Extra Expense caused by
   4. Additional Limitation -- Interruption Of                            action of civil authority that prohibits access
      Computer Operations                                                 to the described premises, provided that
                                                                          both of the following apply:
      a. Coverage for Business Income does not
          apply when a "suspension" of "operations"                      (1) Access to the area immediately
          is caused by destruction or corruption of                          surrounding the damaged property is
          electronic data, or any loss or damage to                          prohibited by civil authority as a result of
          electronic data, except as provided under                          the damage, and the described premises
          the Additional Coverage, Interruption Of                           are within that area but are not more
          Computer Operations.                                               than one mile from the damaged
                                                                             property; and
      b. Coverage for Extra Expense does not apply
          when action is taken to avoid or minimize a                    (2) The action of civil authority is taken in
          "suspension" of "operations" caused by                              response      to    dangerous      physical
          destruction or corruption of electronic data,                        conditions resulting from the damage or
          or any loss or damage to electronic data,                            continuation of the Covered Cause of
          except as provided under the Additional                              Loss that caused the damage, or the
          Coverage, Interruption Of Computer                                  action is taken to enable a civil authority
          Operations.                                                         to have unimpeded access to the
                                                                               damaged property.
      c. Electronic data means information, facts or
         computer programs stored as or on,                               Civil Authority Coverage for Business
         created or used on, or transmitted to or                         Income will begin 72 hours after the time of
                                                                          the first action of civil authority that
         from computer software (including systems
                                                                          prohibits access to the described premises
         and applications software), on hard or
         floppy disks, CD-ROMs, tapes, drives, cells,                     and will apply for a period of up to four
         data processing devices or any other                             consecutive weeks from the date on which
         repositories of computer software which are                      such coverage began.
         used      with     electronically   controlled                   Civil Authority Coverage for Extra Expense
         equipment. The term computer programs,                           will begin immediately after the time of the
         referred to in the foregoing description of                      first action of civil authority that prohibits
         electronic data, means a set of related                          access to the described premises and will
         electronic instructions which direct the                         end:
         operations and functions of a computer or                       (1) Four consecutive weeks after the date of
         device connected to it, which enable the                             that action; or
         computer or device to receive, process,
         store, retrieve or send data.                                   (2) When your Civil Authority Coverage for
                                                                               Business Income ends;
      d. This Additional Limitation does not apply
         when loss or damage to electronic data                           whichever is later.
         involves only electronic data which is
         integrated in and operates or controls a
         building’s elevator,       lighting, heating,
         ventilation, air conditioning or security
         system.




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      b. Alterations And New Buildings                                     However, Extended Business Income
          We will pay for the actual loss of Business                      does not apply to loss of Business
          Income you sustain and necessary Extra                           Income incurred as a result of
          Expense you incur due to direct physical                         unfavorable business conditions caused
          loss or damage at the described premises                         by the impact of the Covered Cause of
          caused by or resulting from any Covered                          Loss in the area where the described
          Cause of Loss to:                                                premises are located.
         (1) New buildings or structures, whether                           Loss of Business Income must be
              complete or under construction;                               caused by direct physical loss or
                                                                            damage at the described premises
         (2) Alterations or additions to existing                           caused by or resulting from any
              buildings or structures; and                                  Covered Cause of Loss.
         (3) Machinery, equipment, supplies or                         (2) "Rental Value"
              building materials located on or within
                                                                            If the necessary "suspension" of your
              100 feet of the described premises and:
                                                                            "operations" produces a "Rental Value"
             (a) Used in the construction, alterations                      loss payable under this policy, we will
                 or additions; or                                           pay for the actual loss of "Rental Value"
             (b) Incidental to the occupancy of new                         you incur during the period that:
                  buildings.                                               (a) Begins on the date property is
          If such direct physical loss or damage                                actually repaired, rebuilt or replaced
          delays the start of "operations", the "period                         and tenantability is restored; and
          of restoration" for Business Income                              (b) Ends on the earlier of:
          Coverage will begin on the date "operations"
          would have begun if the direct physical loss                         (i) The date you could restore tenant
          or damage had not occurred.                                              occupancy,     with   reasonable
                                                                                   speed, to the level which would
      c. Extended Business Income                                                  generate the "Rental Value" that
         (1) Business Income Other Than "Rental                                    would have existed if no direct
              Value"                                                               physical loss or damage had
                                                                                   occurred; or
            If the necessary "suspension" of your
            "operations" produces a Business                                  (ii) 60 consecutive days after the date
            Income loss payable under this policy,                                 determined in (2)(a) above.
            we will pay for the actual loss of                             However, Extended Business Income
            Business Income you incur during the                           does not apply to loss of "Rental Value"
            period that:                                                   incurred as a result of unfavorable
            (a) Begins on the date property (except                        business conditions caused by the
                 "finished stock") is actually repaired,                   impact of the Covered Cause of Loss in
                 rebuilt or replaced and "operations"                      the area where the described premises
                 are resumed; and                                          are located.
            (b) Ends on the earlier of:                                    Loss of "Rental Value" must be caused
                                                                           by direct physical loss or damage at the
                 (i) The date you could restore your
                      "operations", with reasonable                        described premises caused by or
                      speed, to the level which would                      resulting from any Covered Cause of
                                                                           Loss.
                      generate the business income
                     amount that would have existed if               d. Interruption Of Computer Operations
                      no direct physical loss or damage                 (1) Under     this   Additional  Coverage,
                      had occurred; or                                      electronic data has the meaning
                (ii) 60 consecutive days after the date                     described under Additional Limitation ----
                      determined in (1)(a) above.                           Interruption Of Computer Operations.




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         (2) Subject to all provisions of this                             (4) The most we will pay under this
             Additional Coverage, you may extend                               Additional Coverage, Interruption Of
             the insurance that applies to Business                            Computer Operations, is $2,500 (unless
             Income and Extra Expense to apply to a                            a higher limit is shown in the
             "suspension" of "operations" caused by                            Declarations) for all loss sustained and
             an interruption in computer operations                            expense incurred in any one policy year,
             due to destruction or corruption of                               regardless     of    the    number     of
             electronic data due to a Covered Cause                            interruptions or the number of premises,
             of Loss. However, we will not provide                             locations or computer systems involved.
             coverage under this Additional Coverage                           If loss payment relating to the first
             when the Additional Limitation ----                               interruption does not exhaust this
             Interruption Of Computer Operations                               amount, then the balance is available for
             does not apply based on Paragraph                                 loss or expense sustained or incurred as
             A.4.d. therein.                                                   a result of subsequent interruptions in
         (3) With respect to the coverage provided                             that policy year. A balance remaining at
             under this Additional Coverage, the                               the end of a policy year does not
             Covered Causes of Loss are subject to                             increase the amount of insurance in the
             the following:                                                    next policy year. With respect to any
                                                                               interruption which begins in one policy
              (a) If the Causes Of Loss ---- Special Form                      year and continues or results in
                  applies,     coverage      under    this                     additional loss or expense in a
                  Additional Coverage, Interruption Of                         subsequent policy year(s), all loss and
                  Computer Operations, is limited to                           expense is deemed to be sustained or
                  the "specified causes of loss" as                            incurred in the policy year in which the
                  defined in that form and Collapse as                         interruption began.
                  set forth in that form.
                                                                             (5) This Additional Coverage, Interruption
              (b) If the Causes Of Loss ---- Broad Form                          Of Computer Operations, does not
                  applies,   coverage       under     this                       apply to loss sustained or expense
                  Additional Coverage, Interruption Of                           incurred after the end of the "period of
                  Computer     Operations,       includes                        restoration", even if the amount of
                  Collapse as set forth in that form.                            insurance stated in (4) above has not
              (c) If the Causes Of Loss form is                                  been exhausted.
                  endorsed to add a Covered Cause of                  6. Coverage Extension
                  Loss, the additional Covered Cause
                  of Loss does not apply to the                          If a Coinsurance percentage of 50% or more is
                  coverage provided         under this                   shown in the Declarations, you may extend the
                  Additional Coverage, Interruption Of                   insurance provided by this Coverage Part as
                  Computer Operations.                                   follows:
              (d) The Covered Causes of Loss include                     Newly Acquired Locations
                  a virus, harmful code or similar                       a. You may extend your Business Income and
                  instruction    introduced into     or                     Extra Expense Coverages to apply to
                  enacted on a computer system                              property at any location you acquire other
                  (including electronic data) or a                          than fairs or exhibitions.
                  network to which it is connected,                      b. The most we will pay under this Extension,
                  designed to damage or destroy any                          for the sum of Business Income loss and
                  part of the system or disrupt its                          Extra Expense incurred, is $100,000 at each
                  normal operation. But there is no                          location, unless a higher limit is shown in
                  coverage for an interruption related                       the Declarations.
                  to manipulation of a computer
                  system (including electronic data) by                  c. Insurance under this Extension for each
                  any employee, including a temporary                        newly acquired location will end when any
                  or leased employee, or by an entity                        of the following first occurs:
                  retained by you or for you to inspect,                    (1) This policy expires;
                  design, install, maintain, repair or
                  replace that system.




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        (2) 30 days expire after you acquire or begin                2. Duties In The Event Of Loss
            to construct the property; or                               a. You must see that the following are done in
        (3) You report values to us.                                        the event of loss:
         We will charge you additional premium for                         (1) Notify the police if a law may have been
         values reported from the date you acquire                              broken.
         the property.                                                     (2) Give us prompt notice of the direct
       The Additional Condition, Coinsurance, does                              physical loss or damage. Include a
       not apply to this Extension.                                             description of the property involved.
B. Limits Of Insurance                                                     (3) As soon as possible, give us a
   The most we will pay for loss in any one                                     description of how, when and where the
                                                                                direct physical loss or damage occurred.
   occurrence is the applicable Limit Of Insurance
   shown in the Declarations.                                             (4) Take all reasonable steps to protect the
   Payments under the following coverages will not                            Covered Property from further damage,
   increase the applicable Limit of Insurance:                                and keep a record of your expenses
                                                                              necessary to protect the Covered
   1. Alterations And New Buildings;                                          Property, for consideration in the
   2. Civil Authority;                                                        settlement of the claim. This will not
   3. Extra Expense; or                                                       increase the Limit of Insurance.
                                                                              However, we will not pay for any
   4. Extended Business Income.                                               subsequent loss or damage resulting
   The amounts of insurance stated in the                                     from a cause of loss that is not a
   Interruption Of Computer Operations Additional                             Covered Cause of Loss. Also, if feasible,
   Coverage and the Newly Acquired Locations                                  set the damaged property aside and in
   Coverage Extension apply in accordance with the                            the best possible order for examination.
   terms of those coverages and are separate from                         (5) As often as may be reasonably required,
   the Limit(s) Of Insurance shown in the                                     permit us to inspect the property
   Declarations for any other coverage.                                       proving the loss or damage and examine
C. Loss Conditions                                                            your books and records.
   The following conditions apply in addition to the                           Also permit us to take samples of
   Common Policy Conditions and the Commercial                                 damaged and undamaged property for
   Property Conditions:                                                        inspection, testing and analysis, and
                                                                               permit us to make copies from your
   1. Appraisal
                                                                               books and records.
      If we and you disagree on the amount of Net
                                                                           (6) Send us a signed, sworn proof of loss
      Income and operating expense or the amount
                                                                                containing the information we request to
      of loss, either may make written demand for an
                                                                                investigate the claim. You must do this
      appraisal of the loss. In this event, each party
                                                                                within 60 days after our request. We will
      will select a competent and impartial appraiser.
                                                                                supply you with the necessary forms.
      The two appraisers will select an umpire. If they
                                                                           (7) Cooperate with us in the investigation or
      cannot agree, either may request that selection                           settlement of the claim.
      be made by a judge of a court having
      jurisdiction. The appraisers will state separately                   (8) If you intend to continue your business,
      the amount of Net Income and operating                                    you must resume all or part of your
      expense or amount of loss. If they fail to agree,                         "operations" as quickly as possible.
      they will submit their differences to the umpire.                 b. We may examine any insured under oath,
      A decision agreed to by any two will be                               while not in the presence of any other
      binding. Each party will:                                             insured and at such times as may be
      a. Pay its chosen appraiser; and                                      reasonably required, about any matter
                                                                            relating to this insurance or the claim,
      b. Bear the other expenses of the appraisal                           including an insured’s books and records.
          and umpire equally.                                               In the event of an examination, an insured’s
      If there is an appraisal, we will still retain our                    answers must be signed.
      right to deny the claim.




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   3. Loss Determination                                               c. Resumption Of Operations
      a. The amount of Business Income loss will be                        We will reduce the amount of your:
          determined based on:                                            (1) Business Income loss, other than Extra
         (1) The Net Income of the business before                            Expense, to the extent you can resume
             the direct physical loss or damage                               your "operations", in whole or in part, by
             occurred;                                                        using damaged or undamaged property
         (2) The likely Net Income of the business if                         (including merchandise or stock) at the
             no physical loss or damage had                                   described premises or elsewhere.
             occurred, but not including any Net                          (2) Extra Expense loss to the extent you
             Income that would likely have been                                can return "operations" to normal and
             earned as a result of an increase in the                          discontinue such Extra Expense.
             volume of business due to favorable                       d. If you do not resume "operations", or do not
             business conditions caused by the                             resume "operations" as quickly as possible,
             impact of the Covered Cause of Loss on
                                                                           we will pay based on the length of time it
             customers or on other businesses;                             would have taken to resume "operations" as
         (3) The operating expenses, including                             quickly as possible.
             payroll expenses, necessary to resume                  4. Loss Payment
             "operations" with the same quality of
             service that existed just before the direct               We will pay for covered loss within 30 days
             physical loss or damage; and                              after we receive the sworn proof of loss, if you
                                                                       have complied with all of the terms of this
         (4) Other relevant sources of information,                    Coverage Part, and:
              including:
                                                                       a. We have reached agreement with you on
             (a) Your      financial  records  and                         the amount of loss; or
                  accounting procedures;
                                                                       b. An appraisal award has been made.
              (b) Bills, invoices and other vouchers;
                  and                                        D. Additional Condition
              (c) Deeds, liens or contracts.                        COINSURANCE
      b. The amount of Extra Expense will be                        If a Coinsurance percentage is shown in the
          determined based on:                                      Declarations, the following condition applies in
                                                                    addition to the Common Policy Conditions and the
         (1) All expenses that exceed the normal                    Commercial Property Conditions.
              operating expenses that would have
              been incurred by "operations" during the              We will not pay the full amount of any Business
              "period of restoration" if no direct                  Income loss if the Limit of Insurance for Business
              physical loss or damage had occurred.                 Income is less than:
              We will deduct from the total of such                 1. The Coinsurance percentage shown for
              expenses:                                                Business Income in the Declarations; times
             (a) The salvage value that remains of                  2. The sum of:
                 any property bought for temporary
                                                                       a. The Net Income (Net Profit or Loss before
                 use     during    the    "period   of
                                                                          income taxes), and
                 restoration", once "operations" are
                 resumed; and                                          b. Operating expenses, including payroll
            (b) Any Extra Expense that is paid for by                      expenses,
                 other insurance, except for insurance                 that would have been earned or incurred (had
                 that is written subject to the same                   no loss occurred) by your "operations" at the
                 plan,     terms,    conditions    and                 described premises for the 12 months following
                 provisions as this insurance; and                     the inception, or last previous anniversary date,
                                                                       of this policy (whichever is later).
         (2) Necessary expenses that reduce the
             Business Income loss that otherwise
             would have been incurred.




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   Instead, we will determine the most we will pay            Example 1 (Underinsurance)
   using the following steps:
                                                              When:     The Net Income and operating
   Step (1): Multiply the Net Income and operating                      expenses for the 12 months
              expense for the 12 months following the                   following the inception, or last
              inception, or last previous anniversary                   previous anniversary date, of
              date, of this policy by the Coinsurance                   this policy at the described
              percentage;                                               premises would have been:        $ 400,000
   Step (2): Divide the Limit of Insurance for the                      The Coinsurance percentage is:        50%
              described premises by the figure
              determined in Step (1); and                               The Limit of Insurance is:       $ 150,000
   Step (3): Multiply the total amount of loss by the                   The amount of loss is:           $ 80,000
              figure determined in Step (2).                  Step (1): $400,000 x 50% = $200,000
   We will pay the amount determined in Step (3) or                     (the minimum amount of insurance to meet
   the limit of insurance, whichever is less. For the                   your Coinsurance requirements)
   remainder, you will either have to rely on other           Step (2): $150,000 $200,000 = .75
   insurance or absorb the loss yourself.                     Step (3): $80,000 x .75 = $60,000
   In determining operating expenses for the purpose
   of applying the Coinsurance condition, the                 We will pay no more than $60,000. The remaining
   following expenses, if applicable, shall be                $20,000 is not covered.
   deducted from the total of all operating expenses:         Example 2 (Adequate Insurance)
         (1) Prepaid freight ---- outgoing;
                                                              When:        The Net Income and operating
         (2) Returns and allowances;                                       expenses for the 12 months
         (3) Discounts;                                                    following the inception, or last
                                                                           previous anniversary date, of
         (4) Bad debts;                                                    this policy at the described
         (5) Collection expenses;                                          premises would have been:           $ 400,000
         (6) Cost of raw stock and factory supplies                        The Coinsurance percentage is:           50%
             consumed (including transportation                            The Limit of Insurance is:          $ 200,000
             charges);                                                     The amount of loss is:              $ 80,000
         (7) Cost of merchandise sold (including
             transportation charges);                         The minimum amount of insurance to meet your
                                                              Coinsurance requirement is $200,000 ($400,000 x
         (8) Cost of other supplies consumed                  50%). Therefore, the Limit of Insurance in this example
             (including transportation charges);              is adequate and no penalty applies. We will pay no
         (9) Cost of services purchased from                  more than $80,000 (amount of loss).
             outsiders (not employees) to resell, that        This condition does not apply to Extra Expense
             do not continue under contract;                  Coverage.
       (10) Power, heat and refrigeration expenses            E. Optional Coverages
            that do not continue under contract (if
            Form CP 15 11 is attached);                              If shown as applicable in the Declarations, the
                                                                     following Optional Coverages apply separately to
       (11) All payroll expenses or the amount of                    each item.
            payroll expense excluded (if Form CP 15
            10 is attached); and                                     1. Maximum Period Of Indemnity
       (12) Special deductions for mining properties                      a. The Additional Condition, Coinsurance,
            (royalties unless specifically included in                       does not apply to this Coverage Form at the
            coverage; actual depletion commonly                              described premises to which this Optional
                                                                             Coverage applies.
            known as unit or cost depletion ---- not
            percentage depletion; welfare and
            retirement fund charges based on
            tonnage; hired trucks).




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        b. The most we will pay for the total of                                (b) Estimated for the 12 months
           Business Income loss and Extra Expense is                                immediately following the inception of
           the lesser of:                                                           this Optional Coverage.
         (1) The amount of loss sustained and                                (2) The Declarations must indicate that the
             expenses incurred during the 120 days                                Business Income Agreed Value Optional
              immediately following the beginning of                              Coverage applies, and an Agreed Value
              the "period of restoration"; or                                     must be shown in the Declarations. The
         (2) The Limit Of Insurance shown in the                                  Agreed Value should be at least equal to:
              Declarations.                                                      (a) The Coinsurance percentage shown
   2. Monthly Limit Of Indemnity                                                     in the Declarations; multiplied by
      a. The Additional Condition, Coinsurance,                                 (b) The amount of Net Income and
          does not apply to this Coverage Form at the                                operating expenses for the following
          described premises to which this Optional                                  12 months you report on the Work
                                                                                     Sheet.
          Coverage applies.
      b. The most we will pay for loss of Business                        b. The Additional Condition, Coinsurance, is
          Income in each period of 30 consecutive                             suspended until:
          days after the beginning of the "period of                         (1) 12 months after the effective date of this
          restoration" is:                                                       Optional Coverage; or
          (1) The Limit of Insurance, multiplied by                           (2) The expiration date of this policy;
          (2) The fraction shown in the Declarations                           whichever occurs first.
              for this Optional Coverage.                                  c. We will reinstate the Additional Condition,
Example                                                                        Coinsurance, automatically if you do not
                                                                               submit a new Work Sheet and Agreed
When:     The Limit of Insurance is:           $   120,000                     Value:
          The fraction shown in the                                          (1) Within 12 months of the effective date of
          Declarations for this Optional                                         this Optional Coverage; or
          Coverage is:                                 1/ 4
                                                                             (2) When you request a change in your
          The most we will pay for loss in
                                                                                 Business Income Limit of Insurance.
          each period of 30 consecutive
          days is:                             $    30,000            d. If the Business Income Limit of Insurance is
          ($120,000 x 1/ 4 = $30,000)                                     less than the Agreed Value, we will not pay
                                                                          more of any loss than the amount of loss
          If, in this example, the actual                                 multiplied by:
          amount of loss is:
                                                                         (1) The Business Income Limit of Insurance;
          Days 1----30:                        $    40,000                    divided by
          Days 31----60:                       $    20,000
                                                                         (2) The Agreed Value.
          Days 61----90:                       $    30,000
                                                                 Example
                                               $    90,000
                                                                 When:     The Limit of Insurance is:           $ 100,000
          We will pay:
          Days 1----30:                  $          30,000                 The Agreed Value is:                 $ 200,000
          Days 31----60:                 $          20,000                 The amount of loss is:               $ 80,000
          Days 61----90:                 $          30,000       Step (1): $100,000 $200,000 = .50
                                         $          80,000       Step (2): .50 x $80,000 = $40,000
        The remaining $10,000 is not covered.                    We will pay $40,000. The remaining $40,000 is not
                                                                 covered.
   3. Business Income Agreed Value
        a. To activate this Optional Coverage:                          4. Extended Period Of Indemnity
           (1) A Business Income Report /Work Sheet                        Under Paragraph A.5.c., Extended Business
               must be submitted to us and must show                       Income, the number 60 in Subparagraphs
               financial data for your "operations":                       (1)(b) and (2)(b) is replaced by the number
                                                                           shown in the Declarations for this Optional
              (a) During the 12 months prior to the                        Coverage.
                  date of the Work Sheet; and



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F. Definitions                                                            (2) Requires any insured or others to test
   1. "Finished stock" means stock you have                                   for, monitor, clean up, remove, contain,
      manufactured.                                                           treat, detoxify or neutralize, or in any
                                                                              way respond to, or assess the effects of
      "Finished stock" also includes whiskey and                              "pollutants".
      alcoholic products being aged, unless there is
      a Coinsurance percentage shown for Business                       The expiration date of this policy will not cut
      Income in the Declarations.                                       short the "period of restoration".
      "Finished stock" does not include stock you                    4. "Pollutants" means any solid, liquid, gaseous or
      have manufactured that is held for sale on the                    thermal irritant or contaminant, including
      premises of any retail outlet insured under this                  smoke, vapor, soot, fumes, acids, alkalis,
      Coverage Part.                                                    chemicals and waste. Waste includes materials
                                                                        to be recycled, reconditioned or reclaimed.
   2. "Operations" means:
                                                                     5. "Rental Value" means Business Income that
      a. Your business activities occurring at the                      consists of:
         described premises; and
                                                                        a. Net Income (Net Profit or Loss before
      b. The tenantability of the described premises,                       income taxes) that would have been earned
         if coverage for Business Income Including                          or incurred as rental income from tenant
         "Rental Value" or "Rental Value" applies.                          occupancy of the premises described in the
   3. "Period of restoration" means the period of time                      Declarations as furnished and equipped by
      that:                                                                 you, including fair rental value of any
                                                                            portion of the described premises which is
       a. Begins:
                                                                            occupied by you; and
          (1) 72 hours after the time of direct physical
              loss or damage for Business Income                        b. Continuing normal operating expenses
              Coverage; or                                                  incurred in connection with that premises,
                                                                            including:
         (2) Immediately after the time of direct
                                                                           (1) Payroll; and
             physical loss or damage for Extra
             Expense Coverage;                                             (2) The amount of charges which are the
                                                                                legal obligation of the tenant(s) but
         caused by or resulting from any Covered
                                                                                would otherwise be your obligations.
         Cause of Loss at the described premises;
         and                                                         6. "Suspension" means:
      b. Ends on the earlier of:                                        a. The slowdown or cessation of your
                                                                           business activities; or
         (1) The date when the property at the
             described premises should be repaired,                     b. That a part or all of the described premises
             rebuilt or replaced with reasonable                           is rendered untenantable, if coverage for
             speed and similar quality; or                                 Business Income Including "Rental Value"
         (2) The date when business is resumed at a                        or "Rental Value" applies.
             new permanent location.
      "Period of restoration" does not include any
      increased period required due to the
      enforcement of or compliance with any
      ordinance or law that:
         (1) Regulates the construction, use or
             repair, or requires the tearing down, of
             any property; or




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                                                                                          COMMERCIAL PROPERTY


                 COMMERCIAL PROPERTY CONDITIONS
This Coverage Part is subject to the following conditions, the Common Policy Conditions and applicable Loss
Conditions and Additional Conditions in Commercial Property Coverage Forms.

A. CONCEALMENT,         MISREPRESENTATION           OR       F. NO BENEFIT TO BAILEE
   FRAUD                                                            No person or organization, other than you, having
   This Coverage Part is void in any case of fraud by               custody of Covered Property will benefit from this
   you as it relates to this Coverage Part at any time.             insurance.
   It is also void if you or any other insured, at any       G. OTHER INSURANCE
   time, intentionally conceal or misrepresent a mate-
   rial fact concerning:                                            1. You may have other insurance subject to the
                                                                       same plan, terms, conditions and provisions as
   1. This Coverage Part;                                              the insurance under this Coverage Part. If you
   2. The Covered Property;                                            do, we will pay our share of the covered loss or
   3. Your interest in the Covered Property; or                        damage. Our share is the proportion that the
                                                                       applicable Limit of Insurance under this Cover-
   4. A claim under this Coverage Part.                                age Part bears to the Limits of Insurance of all
B. CONTROL OF PROPERTY                                                 insurance covering on the same basis.
   Any act or neglect of any person other than you              2. If there is other insurance covering the same
   beyond your direction or control will not affect this           loss or damage, other than that described in 1.
   insurance.                                                      above, we will pay only for the amount of cov-
                                                                   ered loss or damage in excess of the amount
   The breach of any condition of this Coverage Part
                                                                   due from that other insurance, whether you
   at any one or more locations will not affect cover-
                                                                   can collect on it or not. But we will not pay
   age at any location where, at the time of loss or
                                                                   more than the applicable Limit of Insurance.
   damage, the breach of condition does not exist.
                                                             H. POLICY PERIOD, COVERAGE TERRITORY
C. INSURANCE        UNDER       TWO      OR      MORE
   COVERAGES                                                    Under this Coverage Part:
   If two or more of this policy’s coverages apply to               1. We cover loss or damage commencing:
   the same loss or damage, we will not pay more                       a. During the policy period shown in the Dec-
   than the actual amount of the loss or damage.                          larations; and
D. LEGAL ACTION AGAINST US                                             b. Within the coverage territory.
   No one may bring a legal action against us under                 2. The coverage territory is:
   this Coverage Part unless:
                                                                       a. The United States of America (including its
   1. There has been full compliance with all of the                      territories and possessions);
       terms of this Coverage Part; and
                                                                       b. Puerto Rico; and
   2. The action is brought within 2 years after the
       date on which the direct physical loss or dam-                  c. Canada.
       age occurred.
E. LIBERALIZATION
   If we adopt any revision that would broaden the
   coverage under this Coverage Part without addi-
   tional premium within 45 days prior to or during
   the policy period, the broadened coverage will im-
   mediately apply to this Coverage Part.




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                                                                                                      EX03-060
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 I. TRANSFER OF RIGHTS OF RECOVERY AGAINST                        1. Prior to a loss to your Covered Property or
    OTHERS TO US                                                     Covered Income.
    If any person or organization to or for whom we               2. After a loss to your Covered Property or Cov-
    make payment under this Coverage Part has rights                 ered Income only if, at time of loss, that party is
    to recover damages from another, those rights are                one of the following:
    transferred to us to the extent of our payment.                  a. Someone insured by this insurance;
    That person or organization must do everything
    necessary to secure our rights and must do noth-                 b. A business firm:
    ing after loss to impair them. But you may waive                    (1) Owned or controlled by you; or
    your rights against another party in writing:
                                                                        (2) That owns or controls you; or
                                                                      c. Your tenant.
                                                                  This will not restrict your insurance.




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                                                                                         COMMERCIAL PROPERTY
                                                                                                 CP 15 31 10 12

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

             ORDINANCE OR LAW --- INCREASED PERIOD
                      OF RESTORATION
This endorsement modifies insurance provided under the following:

   BUSINESS INCOME (AND EXTRA EXPENSE) COVERAGE FORM
   BUSINESS INCOME (WITHOUT EXTRA EXPENSE) COVERAGE FORM
   EXTRA EXPENSE COVERAGE FORM


A. If a Covered Cause of Loss occurs to property at                       (2) Immediately after the time of direct
   the premises described in the Declarations,                                physical loss or damage for Extra
   coverage is extended to include the amount of                              Expense coverage;
   actual and necessary loss you sustain during the                        caused by or resulting from any Covered
   increased period of "suspension" of "operations"                        Cause of Loss at the described premises;
   caused by or resulting from a requirement to                            and
   comply with any ordinance or law that:
                                                                    b. Ends on the earlier of:
   1. Regulates the construction or repair of any
       property;                                                       (1) The date when the property at the
                                                                           described premises should be repaired,
   2. Requires the tearing down of parts of any                            rebuilt or replaced with reasonable
      property not damaged by a Covered Cause of                           speed and similar quality; or
      Loss; and
                                                                       (2) The date when business is resumed at a
   3. Is in force at the time of loss.                                     new permanent location.
   However, coverage is not extended under this                     "Period of restoration" includes any increased
   endorsement to include loss caused by or                         period required to repair or reconstruct the
   resulting from the enforcement of or compliance                  property to comply with the minimum
   with any ordinance or law which requires:                        standards of any ordinance or law, in force at
   1. The      demolition,     repair,    replacement,              the time of loss, that regulates the construction
      reconstruction, remodeling or remediation of                  or repair, or requires the tearing down of any
       property due to contamination by "pollutants"                property.
      or due to the presence, growth, proliferation,                The expiration date of this policy will not cut
      spread or any activity of "fungus", wet or dry                short the "period of restoration".
      rot or bacteria; or
                                                              C. The following definition is added:
   2. Any insured or others to test for, monitor,
      clean up, remove, contain, treat, detoxify or                  "Fungus" means any type or form of fungus,
      neutralize, or in any way respond to, or assess                including mold or mildew, and any mycotoxins,
      the effects of "pollutants", "fungus", wet or dry              spores, scents or by-products produced or
      rot or bacteria.                                               released by fungi.
B. The period of restoration definition is replaced by
   the following:
   "Period of restoration" means the period of time
   that:
       a. Begins:
          (1) 72 hours after the time of direct physical
              loss or damage for Business Income
              coverage; or




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                                                                                                    EX03-062
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                                                                                                 Policy Number
                                                                                                 PKG3127372




                                                  COMMERCIAL PROPERTY COVERAGE PART
                                                     SUPPLEMENTAL DECLARATIONS

 Named Insured      MUSSO & FRANK GRILL CO., INC.                                                     Effective Date: 06-30-19
                   KEEGAL IRREVOCABLE TRUST DATED                                                                  12:01 A.M. Standard Time

 Agent Name       HUB INTERNATIONAL                                                                   Agent No. 0099580

 Item 1. Business Description:      RESTAURANT
 Item 2. Premises Described:
 See Schedule of Locations
 Item 3. $250 Deductible unless otherwise indicated.
  Item 4. Coverages Provided
  Loc.    Bldg.                                                                      Limit of                      Covered
   No.     No.                           Coverage                                   Insurance                    Causes of Loss                    Coinsurance
 001      001         BUILDING                                                                         ENHANCED                                     80
                      JOISTED MASONRY                                        $   3,482,300
                                                                    Other Provisions
     X    Agreed Value:    3482300                            Expires: 06/30/20              X        Replacement Cost
          Business Income Indemnity: Monthly Limit                         Period: Maximum                               Inflation Guard             %
         Reporting                                                                                  Extended:
 Exceptions:

 Deductible:      $    5,000                                    Earthquake - Volcanic Eruption: Deductible:                                %
                                                                  Minimum Deductible Amount (Per Occurrence):
  Loc.    Bldg.                                                                      Limit of                      Covered
   No.     No.                           Coverage                                   Insurance                    Causes of Loss                    Coinsurance
 001      001         BUSINESS PERS PROP                                     $       435,900 ENHANCED                                               80
                      JOISTED MASONRY
                                                                     Other Provisions
     X    Agreed Value:    435900                             Expires:   06/30/20            X        Replacement Cost
          Business Income Indemnity: Monthly Limit                         Period: Maximum                               Inflation Guard             %
         Reporting                                                                                  Extended:
 Exceptions:

 Deductible:      $    5,000                                    Earthquake - Volcanic Eruption: Deductible:                                    %
                                                                  Minimum Deductible Amount (Per Occurrence):
  Loc.    Bldg.                                                                      Limit of                      Covered
   No.     No.                           Coverage                                   Insurance                    Causes of Loss                    Coinsurance
                      BUSINESS INCOME
 001      001
                      JOISTED MASONRY                                        $   5,000,000 ENHANCED
                                                                    Other Provisions
     X    Agreed Value:    5000000                            Expires: 06/30/20                       Replacement Cost
     X    Business Income Indemnity: Monthly Limit                         Period: Maximum      X                        Inflation Guard             %

         Reporting                                                                                  Extended:
 Exceptions:

 Deductible:                                                    Earthquake - Volcanic Eruption: Deductible:                                %
   EXT/OPT:72-HR TIME CHG TO 24-HR.                               Minimum Deductible Amount (Per Occurrence):

 Item 5.   Forms and Endorsements
 Form(s) and Endorsement(s) made a part of this policy at time of issue:
 See Schedule of Forms and Endorsements
               THESE DECLARATIONS ARE PART OF THE POLICY DECLARATIONS CONTAINING THE NAME OF THE INSURED AND THE POLICY PERIOD.
MS 5003 12 12                                                                                                                                  Page 1 of 1
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                                                                                                                                  EX03-063
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                                                                                            Policy Number
                                                                                            PKG3127372




                                                COMMERCIAL PROPERTY COVERAGE PART
                                              EXTENSION OF SUPPLEMENTAL DECLARATIONS

 Named Insured        MUSSO & FRANK GRILL CO., INC.                                                Effective Date: 06-30-19
                                                                                                                 12:01 A.M. Standard Time
 Agent Name      HUB INTERNATIONAL                                                                 Agent No. 0099580

  Item 4. Coverages Provided (applies only when limit is shown below)
 Loc. No. Bldg. No.                     Coverage                              Limit of Insurance           Covered Causes of Loss               Coinsurance

 001      001         DEMOLITION COST                                     $        100,000
                                                                   Other Provisions
           Agreed Value:                                     Expires:                              Replacement Cost
          Business Income Indemnity: Monthly Limit                      Period: Maximum                               Inflation Guard             %
          Reporting                                                                            Extended:
 Exceptions:

 Deductible:                                                       Earthquake - Volcanic Eruption: Deductible:                          %
                                                                  Minimum Deductible Amount (Per Occurrence):
 Loc. No. Bldg. No.                     Coverage                           Limit of Insurance        Covered Causes of Loss                     Coinsurance

 001      001         INCREASED COST OF CONSTRUCTION
                                                                          $        100,000
                                                                   Other Provisions
          Agreed Value:                                      Expires:                              Replacement Cost
          Business Income Indemnity: Monthly Limit                     Period: Maximum                                Inflation Guard             %
          Reporting                                                                            Extended:
 Exceptions:

 Deductible:                                                       Earthquake - Volcanic Eruption: Deductible:                              %
                                                                  Minimum Deductible Amount (Per Occurrence):
 Loc. No. Bldg. No.                     Coverage                           Limit of Insurance        Covered Causes of Loss                     Coinsurance

 002      001         BUSINESS PERS PROP                                  $            8,900 ENHANCED                                            80
                      JOISTED MASONRY
                                                                   Other Provisions
     X     Agreed Value:   8900                              Expires: 06/30/20             X       Replacement Cost
          Business Income Indemnity: Monthly Limit                      Period: Maximum                               Inflation Guard             %
         Reporting                                                                             Extended:
 Exceptions:

 Deductible:     5000                                              Earthquake - Volcanic Eruption: Deductible:              %
                                                                   Minimum Deductible Amount (Per Occurrence):
 Loc. No. Bldg. No.                     Coverage                           Limit of Insurance        Covered Causes of Loss                     Coinsurance



                                                                   Other Provisions
           Agreed Value:                                     Expires:                              Replacement Cost
          Business Income Indemnity: Monthly Limit                      Period: Maximum                               Inflation Guard             %
         Reporting                                                                             Extended:
 Exceptions:

 Deductible:                                                       Earthquake - Volcanic Eruption: Deductible:                              %
                                                                  Minimum Deductible Amount (Per Occurrence):
               THESE DECLARATIONS ARE PART OF THE POLICY DECLARATIONS CONTAINING THE NAME OF THE INSURED AND THE POLICY PERIOD.

MS 5004 12 12                                                                                                                               Page 1 of 1
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                                                                                                                               EX03-064
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                          CAUSES OF LOSS --- ENHANCED FORM
            Word and phrases that appear in quotation marks have special meaning. Refer to Section F. ----
            Definitions.


            A. Covered Causes Of Loss                                                            is enforced even if the
                                                                                                 property has not been
                When Enhanced is shown in the                                                    damaged; or
                Declarations, Covered Causes of Loss
                means direct physical loss unless the                                            (b) The increased costs
                loss is excluded or limited in this policy.                                          incurred to comply with
                                                                                                     an ordinance or law in
                                                                                                     the course of
                1.   Excluded in Section B., Exclusions;                                             construction, repair,
                     or                                                                              renovation, remodeling
                                                                                                     or demolition of
                2.   Limited in Section C., Limitations;                                             property, or removal of
                                                                                                     its debris, following a
                that follow.                                                                         physical loss to that
                                                                                                     property.
            B. Exclusions
                                                                                       b. Earth Movement
                1. We will not pay for loss or damage
                   caused directly or indirectly by any                                     (1) Earthquake, including
                   of the following. Such loss or                                               tremors and aftershocks
                   damage is excluded regardless of                                             and any earth sinking, rising
                   any other cause or event that                                                or shifting related to such
                   contributes concurrently or in any                                           event;
                   sequence to the loss.
                                                                                            (2) Landslide, including any
                     a.   Ordinance Or Law                                                      earth sinking, rising or
                                                                                                shifting related to such
                          The enforcement of or                                                 event;
                          compliance with any ordinance
                          or law:                                                           (3) Mine subsidence, meaning
                                                                                                subsidence of a man-made
                          (1) Regulating the construction,                                      mine, whether or not mining
                              use or repair of any                                              activity has ceased;
                              property; or
                                                                                            (4) Earth sinking (other than
                          (2) Requiring the tearing down                                        sinkhole collapse), rising or
                              of any property, including                                        shifting including soil
                              the cost of removing its                                          conditions which cause
                              debris.                                                           settling, cracking or other
                                                                                                disarrangement of
                          This exclusion, Ordinance Or                                          foundations or other parts
                          Law, applies whether the loss                                         of realty. Soil conditions
                          results from:                                                         include contraction,
                          (a) An ordinance or law that                                          expansion, freezing,
                                                                                                thawing, erosion, improperly
            MS 5202 12 12                                                                                               Page 1 of 13

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                                                                                                                  EX03-065
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                           compacted soil and the
                           action of water under the                                     This exclusion applies
                           ground surface.                                               regardless of whether any of
                                                                                        the above, in Paragraphs (1)
                      But if Earth Movement, as                                         through (5), is caused by an act
                      described in b.(1) through (4)                                    of nature or is otherwise
                      above, results in a "specified                                    caused.
                      cause of loss", we will pay for
                      the loss or damage caused by                                c.    Governmental Action
                      that "specified cause of loss" or
                      any subsequent business                                           Seizure or destruction of
                      income or extra expense loss                                      property by order of
                      resulting from that "specified
                                                                                        governmental authority.
                      cause of loss".

                      (5) Volcanic eruption, explosion                                  But we will pay for loss or
                                                                                        damage caused by or resulting
                          or effusion. But if volcanic
                          eruption, explosion or                                        from acts of destruction
                          effusion results in fire,                                     ordered by governmental
                          building glass breakage or                                    authority and taken at the time
                          Volcanic Action, we will pay                                  of a fire to prevent its spread, if
                          for the loss or damage                                        the fire would be covered under
                          caused by that fire, building                                 this Coverage Part.
                          glass breakage or Volcanic
                          Action.                                                 d. Nuclear Hazard

                           Volcanic Action means                                        Nuclear reaction or radiation, or
                           direct loss or damage                                        radioactive contamination,
                           resulting from the eruption                                  however caused.
                           of a volcano when the loss
                                                                                        But if nuclear reaction or
                           or damage is caused by:
                                                                                        radiation, or radioactive
                           (a) Airborne volcanic blast                                  contamination, results in fire, we
                               or airborne shock                                        will pay for loss or damage
                               waves;                                                   caused by that fire.

                           (b) Ash, dust or particulate                           e.    Utility Services
                               matter; or
                                                                                        The failure of power,
                           (c) Lava flow.                                               communication, water or other
                                                                                        utility service supplied to the
                           With respect to coverage for                                 described premises, however
                           Volcanic Action as set forth                                 caused if the failure:
                           in (5)(a), (5)(b) and (5)(c),
                           all volcanic eruptions that                                  (1) Originates away from the
                           occur within any 168-hour                                        described premises; or
                           period will constitute a
                           single occurrence.                                           (2) Originates at the described
                                                                                            premises, but only if such
                           Volcanic Action does not                                         failure involves equipment
                           include the cost to remove                                       used to supply the utility
                           ash, dust or particulate                                         service to the described
                           matter that does not cause                                       premises from a source
                           direct physical loss or                                          away from the described
                           damage to the described                                          premises.
                           property.
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                                                                                                           EX03-066
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                       Failure of any utility service                                         driven by wind (including
                       includes lack of sufficient                                            storm surge);
                       capacity and reduction in
                       supply.                                                           (2) Mudslide or mudflow;
                       Loss or damage caused by a
                       surge of power is also excluded,                                  (3) Water under the ground
                       if the surge would not have                                           surface pressing on, or
                       occurred but for an event                                             flowing or seeping through;
                       causing a failure of power.
                                                                                              (a) Foundations walls,
                       But if the failure or surge of                                             floors or paved
                       power, or the failure of                                                   surfaces;
                       communication, water or other
                       utility service, results in a                                          (b) Basements, whether
                       Covered Cause of Loss, we will
                                                                                                  paved or not; or
                       pay for the loss or damage
                       caused by that Covered Cause
                       of Loss.                                                               (c) Doors, windows or
                                                                                                  other openings; or
                       Communication services include
                       but are not limited to service                                    (4) Waterborne material carried
                       relating to Internet access or                                        or otherwise moved by any
                       access to any electronic, cellular                                    of the water referred to in
                       or satellite network.                                                 Paragraph (1) or (3) , or
                                                                                             material carried or otherwise
                  f.   War And Military Action                                               moved by mudslide or
                                                                                             mudflow.
                       (1) War , including undeclared
                           or civil war;                                                 This exclusion applies
                                                                                         regardless of whether any of
                       (2) Warlike action by a military                                  the above, in Paragraphs (1)
                           force, including action in                                    through (4), is caused by an act
                           hindering or defending
                           against an actual or                                          of nature or is otherwise
                           expected attack, by any                                       caused. An example of a
                           government, sovereign or                                      situation to which this exclusion
                           other authority using military                                applies is the situation where a
                           personnel or other agents;                                    dam, levee, seawall or other
                           or                                                            boundry or containment system
                                                                                         fails in whole or in part, for any
                       (3) Insurrection, rebellion,                                      reason, to contain the water.
                           revolution, usurped power,
                           or action taken by                                            But if any of the above, in
                           governmental authority in                                     Paragraphs (1) through (4) ,
                           hindering or defending                                        results in fire, explosion or
                           against any of these.                                         sprinkler leakage, we will pay for
                                                                                         the loss or damage caused by
                  g. Water                                                               that fire, explosion or sprinkler
                                                                                         leakage (if sprinkler leakage is a
                       (1) Flood, surface water, waves
                                                                                         Covered Cause of Loss).
                           (including tidal wave and
                           tsunami), tides, tidal water,                           Exclusions B.1.a. through B.1.g.
                           overflow of any body of                                 apply whether or not the loss event
                           water, or spray from any of                             results in widespread damage or
                           these, all whether or not
                                                                                   affects a substantial area.
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                                                                                                            EX03-067
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               2. We will not pay for loss or damage                                      fine arts; salesperson samples;
                  caused by or resulting from any of                                      or property in transit.
                  the following:
                                                                                     b. Delay, loss of use or loss of
                                                                                        market.
                   a.   Artificially generated electrical,
                        magnetic or electromagnetic                                       But if delay, loss of use or loss
                        energy that damages, disturbs,                                    of market results in a "specified
                        disrupts or otherwise interferes                                  cause of loss", we will pay for
                        with any:                                                         the loss or damage caused by
                                                                                          that "specified cause of loss".
                        (1) Electrical or electronic wire,
                            device, appliance, system or                                  This exclusion does not apply to
                                                                                          loss or damage to valuable
                            network; or
                                                                                          papers and records (other than
                                                                                          electronic data); money and
                        (2) Device, appliance, system or
                            network utilizing cellular or                                 securities; accounts receivable;
                            satellite technology.                                         fine arts; electronic data
                                                                                          processing equipment and / or
                                                                                          electronic data or any
                        For the purpose of this
                                                                                          subsequent business income or
                        exclusion, electrical, magnetic or
                                                                                          extra expense loss resulting
                        electromagnetic energy includes
                                                                                          from the "specified cause of
                        but is not limited to:
                                                                                          loss".
                            (a) Electrical current,                                 c. Smoke, vapor or gas from
                                including arcing;                                      agricultural smudging or
                                                                                       industrial operations.
                            (b) Electrical charge
                                produced or conducted                               d. (1) Wear and tear;
                                by a magnetic or                                          (2) Rust or other corrosion,
                                electromagnetic field;                                        decay, deterioration, hidden
                                                                                              or latent defect or any
                            (c) Pulse of electromagnetic                                      quality in property that
                                energy; or                                                    causes it to damage or
                                                                                              destroy itself;
                            (d) Electromagnetic waves
                                or microwaves.                                            (3) Smog;
                                                                                          (4) Settling, cracking, shrinking
                        But if artificially generated                                         or expansion;
                        electrical, magnetic or
                        electromagnetic energy results                                    (5) Nesting or infestation, or
                        in a "specified cause of loss", we                                    discharge or release of
                        will pay for the loss or damage                                       waste products or
                        caused by that "specified cause                                       secretions, by insects,
                        of loss" or any subsequent                                            birds, rodents or other
                        business income or extra                                              animals;
                        expense loss resulting from that                                  (6) Mechanical breakdown,
                        "specified cause of loss".                                            including rupture or
                                                                                              bursting caused by
                        This exclusion does not apply to                                      centrifugal force. But if
                        loss or damage to valuable                                            mechanical breakdown
                        papers and records (other than                                        results in elevator collision,
                        electronic data); money and                                           we will pay for the loss or
                        securities; accounts receivable;                                      damage
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                                                                                                             EX03-068
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                            caused by that elevator                                      (except fire protective systems)
                            collision.                                                   caused by or resulting from
                                                                                         freezing, unless:
                        (7) The following causes of loss
                                                                                         (1) You do your best to
                            to personal property:
                                                                                             maintain heat in the building
                            (a) Dampness or dryness                                          or structure; or
                                of atmosphere;                                           (2) You drain the equipment
                                                                                             and shut off the supply if
                            (b) Changes in or extremes
                                                                                             the heat is not maintained.
                                of temperature; or
                                                                                   h. Dishonest or criminal act
                            (c) Marring or scratching.                                (including theft) by you, any of
                                                                                      your partners, members,
                            But if an excluded cause of                               officers, managers, employees
                            loss that is listed in 2.d.(1)                            (including temporary employees
                            through (7) results in a                                  and leased workers), directors,
                            "specified cause of loss" or                              trustees or authorized
                            building glass breakage, we                               representatives, whether acting
                            will pay for the loss or                                  alone or in collusion with each
                            damage caused by that                                     other or with any other party; or
                            "specified cause of loss" or                              theft by any person to whom
                            building glass breakage.                                  you entrust the property for any
                                                                                      purpose, whether acting alone
                   e.   Explosion of steam boliers,                                   or in collusion with any other
                        steam pipes, steam engines or                                 party.
                        steam turbines owned or leased
                        by you, or operated under your                                   This exclusion:
                        control. But if explosion of
                                                                                         (1) Applies whether or not an
                        steam boilers steam pipes,
                                                                                             act occurs during your
                        steam engines or steam turbines
                                                                                             normal hours of operation;
                        results in fire or combustion
                        explosion, we will pay for the                                   (2) Does not apply to acts of
                        loss or damage caused by that                                        destruction by your
                        fire or combustion explosion.                                        employees (including
                        We will also pay for loss or                                         temporary employees and
                        damage caused by or resulting                                        leased workers) or
                        from the explosion of gases or                                       authorized representatives;
                        fuel within the furnace of any                                       but theft by your employees
                        fired vessel or within the flues or                                  (including temporary
                        passages through which the                                           employees and leased
                        gases of combustion pass.                                            workers) or authorized
                   f.   Continuous or repeated                                               representatives is not
                        seepage or leakage of water, or                                      covered.
                        the presence or condensation of                            i.    Voluntary parting with any
                        humidity, moisture or vapor, that                                property by you or anyone else
                        occurs over a period of 14 days                                  to whom you have entrusted the
                        or more.                                                         property if induced to do so by
                                                                                         any fraudulent scheme, trick,
                   g. Water, other liquids, powder or                                    device or false pretense.
                      molten material that leaks or flows
                      from plumbing, heating, air                                  j.   Rain, snow, ice or sleet to
                      conditioning or other equipment                                   personal property in the open.

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                   k.   Collapse, including any of the                                    escape of "pollutants" results in
                        following conditions of property                                  a "specified cause of loss", we
                        or any part of the property:                                      will pay for the loss or damage
                                                                                          caused by that "specified cause
                        (1) An abrupt falling down or
                            caving in;                                                    of loss".

                        (2) Loss of structural integrity,                                 This Exclusion l., does not apply
                             including separation of parts                                to damage to glass caused by
                             of the property or property                                  chemicals applied to the glass.
                             in danger of falling down or
                             caving in; or                                          m. Neglect of an insured to use all
                        (3) Any cracking, bulging,                                     reasonable means to save and
                            sagging, bending, leaning,                                 preserve property from further
                            settling, shrinkage or                                     damage at and after the time of
                            expansion as such                                          loss.
                            condition relates to (1) or
                            (2) above.                                         3. We will not pay for loss or damage
                        But if collapse results in a                              caused by or resulting from any of
                        Covered Cause of Loss at the                              the following, 3.a. through 3.c. But
                        described premises, we will pay                           if an excluded cause of loss that is
                        for the loss or damage caused                             listed in 3.a. through 3.c. results in a
                        by that Covered Cause of Loss.                            Covered Cause of Loss, we will pay
                        This exclusion, k., does not                              for the loss or damage caused by
                        apply:                                                    that Covered Cause of Loss.

                        (a) To the extent that coverage                             a. Weather conditions. But this
                            is provided under the                                      exclusion only applies if weather
                            Additional Coverage ----                                   conditions contribute in any way
                            Collapse; or                                               with a cause or event excluded
                                                                                       in Paragraph 1. above to
                        (b) To collapse caused by one                                  produce the loss or damage.
                            or more of the following:
                                                                                     b. Acts or decisions, including the
                              (i) The "specified causes of                              failure to act or decide, of any
                                  loss";
                                                                                        person, group, organization or
                                                                                        governmental body.
                             (ii)Breakage of building
                                  glass;
                                                                                    c.    Faulty, inadequate or defective:
                            (iii) Weight of rain that
                                  collects on a roof; or                                  (1) Planning, zoning,
                                                                                              development, surveying,
                            (iv) Weight of people or                                          siting;
                                 personal property.
                                                                                          (2) Design, specifications,
                                                                                              workmanship, repair,
                   l.   Discharge, dispersal, seepage,                                        construction, renovation,
                        migration, release or escape of                                       remodeling, grading,
                        "pollutants" unless the                                               compaction;
                        discharge, dispersal, seepage,
                        migration, release or escape is                                   (3) Materials used in repair,
                        itself caused by any of the                                           construction, renovation or
                        "specified causes of loss". But if                                    remodeling; or
                        the discharge, dispersal,
                        seepage, migration, release or                                    (4) Maintenance;
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                                                                                                             EX03-070
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                         of part or all of any property on                                          cancellation is directly
                         or off the described premises.                                             caused by the
                                                                                                    "suspension" of
               4.   Special Exclusions                                                              "operations", we will
                    The following provisions apply only                                             cover such loss that
                    to the specified Coverage Forms:                                                affects your Business
                                                                                                    Income during the
                    a.   Business Income (And Extra                                                 "period of restoration"
                         Expense) Coverage Form,                                                    and any extension of
                         Business Income (Without Extra                                             the "period of
                         Expense) Coverage Form, or                                                 restoration" in
                         Extra Expense Coverage Form                                                accordance with the
                                                                                                    terms of the Extended
                         We will not pay for:                                                       Business Income
                                                                                                    Additional Coverage or
                         (1) Any loss caused by or                                                  any variation of these.
                             resulting from:
                                                                                          (4) Any Extra Expense caused
                             (a) Damage or destruction                                         by or resulting from
                                 of "finished stock"; or                                      suspension, lapse or
                                                                                              cancellation of any license,
                             (b) The time required to                                         lease or contract beyond the
                                 reproduce "finished                                          "period of restoration".
                                 stock".
                                                                                          (5) Any other consequential
                             This exclusion does not                                          loss.
                             apply to Extra Expense.
                                                                                     b. Leasehold Interest Coverage
                         (2) Any loss caused by or                                      Form
                             resulting from direct
                                                                                          (1) Paragraph B.1.a., Ordinance
                             physical loss or damage to
                                                                                              Or Law does not apply to
                             radio or television antennas
                                                                                              insurance under this
                             (including satellite dishes)
                                                                                              Coverage Form.
                             and their lead-in wiring,
                             masts or towers.                                             (2) We will not pay for any loss
                                                                                              caused by:
                         (3) Any increase of loss caused
                             by or resulting from:                                             (a) Your cancelling the
                                                                                                   lease;
                             (a) Delay in rebuilding,                                          (b) The suspension , lapse
                                 repairing or replacing                                            or cancellation of any
                                 the property or
                                                                                                   license; or
                                 resuming "operations",
                                 due to interference at                                        (c) Any other consequential
                                 the location of the                                               loss.
                                 rebuilding, repair or
                                 replacement by strikers                            c.    Legal Liability Coverage Form
                                 or other persons; or
                                                                                          (1) The following exclusions do
                             (b) Suspension, lapse or                                         not apply to insurance
                                 cancellation of any                                          under this Coverage Form:
                                 license, lease or
                                 contract. But if the                                          (a) Paragraph B.1.a.
                                 suspension, lapse or                                              Ordinance Or law;

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                            (b) Paragraph B.1.c.                                                   contamination, however
                                Governmental Action                                                caused.

                            (c) Paragraph B.1.d.                              5.   Additional Exclusion
                                Nuclear Hazard;
                                                                                   The following provisions apply only
                                                                                   to the specified property:
                            (d) Paragraph B.1.e. Utility
                                services; and                                      Loss Or Damage To Products
                                                                                   We will not pay for loss or damage
                            (e) Paragraph B.1.f. War                               to any merchandise, goods or other
                                and Military Action                                product caused by or resulting from
                       (2) The following additional                                error or omission by any person or
                           exclusions apply to                                     entity (including those having
                           insurance under this                                    possession under an arrangement
                                                                                   where work or a portion of the work
                           Coverage Form:                                          is outsourced) in any stage of the
                                                                                   development, production or use of
                            (a) Contractual Liability                              the product, including planning,
                                We will not defend any                             testing, processing, packaging,
                                claim or "suit", or pay                            installation, maintenance or repair.
                                damages that you are                               This exclusion applies to any effect
                                legally liable to pay,                             that compromises the form,
                                solely by reason of                                substance or quality of the product.
                                your assumption of                                 But if such error or omission results
                                liability in a contract or                         in a Covered Cause of Loss, we will
                                agreement. But this                                pay for the loss or damage caused
                                exclusion does not                                 by that Covered Cause of Loss.
                                apply to a written lease                 C. Limitations
                                agreement in which you
                                                                              The following limitations apply to all
                                have assumed liability
                                                                              policy forms and endorsements, unless
                                for building damage
                                                                              otherwise stated:
                                resulting from an actual
                                or attempted burglary or                      1. We will not pay for loss of or
                                robbery, provided that:                          damage to property, as described
                                                                                 and limited in this section. In
                                (i) Your assumption of                           addition, we will not pay for any loss
                                    liability was                                that is a consequence of loss or
                                    executed prior to                            damage as described and limited in
                                    the accident; and                            this section.
                                (ii) The building is                               a. Steam boilers, steam pipes,
                                     Covered Property
                                                                                      steam engines or steam turbines
                                     under this Coverage                              caused by or resulting from any
                                     Form.                                            condition or event inside such
                                                                                      equipment. But we will pay for
                            (b) Nuclear Hazard                                        loss of or damage to such
                                We will not defend any                                equipment caused by or
                                claim or "suit", or pay                               resulting from an explosion of
                                any damages, loss,                                    gases or fuel within the furnace
                                expense or obligation,                                of any fired vessel or within the
                                resulting from nuclear                                flues or passages through
                                reaction or radiation, or                             which the gases of combustion
                                radioactive                                           pass.
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                   b. Hot water boilers or other water                                   premises on the basis of
                      heating equipment caused by or                                     unauthorized instructions.
                      resulting from any condition or
                      event inside such boilers or                                 g. Lawns, trees, shrubs or plants
                      equipment, other than an                                        which are part of a vegetated
                                                                                      roof, caused by or resulting
                      explosion.
                                                                                      from:
                   c.   The interior of any building or
                        structure, or to personal                                        (1) Dampness or dryness of
                        property in the building or                                          atmosphere or of soil
                        structure, caused by or resulting                                    supporting the vegetation;
                        from rain, snow, sleet, ice, sand                                (2) Changes in or extremes of
                        or dust, whether driven by wind                                      temperature;
                        or not, unless:
                                                                                         (3) Disease;
                        (1) The building or structure
                            first sustains damage by a                                   (4) Frost or hail; or
                            Covered Cause of Loss to
                            its roof or walls through                                    (5) Rain, snow, ice or sleet.
                            which the rain, snow, sleet,
                            ice, sand or dust enters; or                      2. We will not pay for loss of or
                                                                                 damage to the following types of
                        (2) The loss or damage is                                property unless caused by the
                            caused by or results from                            "specified causes of loss" or
                            thawing of snow, sleet or ice                        building glass breakage:
                            on the building or structure.
                   d. Building materials and supplies                              a.    Animals, and then only if they
                      not attached as part of the                                        are killed or their destruction is
                      building or structure, caused by                                   made necessary.
                      or resulting from theft.
                                                                                    b. Fragile articles such as statuary,
                        However, this limitation does                                  marbles, chinaware and
                        not apply to:                                                  porcelains, if broken. This
                                                                                       restriction does not apply to:
                        (1) Building materials and
                            supplies held for sale by                                    (1) Glass; or
                            you, unless they are insured
                            under the Builders Risk                                      (2) Containers of property held
                            Coverage Form; or                                                for sale.
                        (2) Business Income Coverage
                                                                                   c.    Builders’ machinery, tools and
                            or Extra Expense Coverage
                                                                                         equipment owned by you or
                   e.   Property that is missing, where                                  entrusted to you, provided such
                        the only evidence of the loss or                                 property is Covered Property.
                        damage is a shortage disclosed
                        on taking inventory, or other                                    However, this limitation does not
                        instances where there is no                                      apply:
                        physical evidence to show what
                        happened to the property.                                        (1) If the property is located on
                                                                                             or within 100 feet of the
                   f.   Property that has been                                               described premises, unless
                        transferred to a person or to a                                      the premises is insured
                        place outside the described                                          under the Builders Risk
                                                                                             Coverage Form; or
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                         (2) To Business Income                                      a. Results in discharge of any
                             Coverage or to Extra                                       substance from an automatic fire
                             Expense Coverage.                                          protection system; or
                                                                                      b. Is directly caused by freezing.
               3.   The special limit shown for each
                    category, a. through c., is the total                            However, this limitation does not
                    limit for loss of or damage to all                               apply to Business Income Coverage
                    property in that category. The                                   or to Extra Expense Coverage.
                    special limit applies to any one                       D. Additional Coverage ---- Collapse
                    occurrence of theft, regardless of
                    the types or number of articles that                        The coverage provided under this
                    are lost or damaged in that                                 Additional Coverage - Collapse applies
                    occurrence. The special limits are                          only to an abrupt collapse as described
                    (unless a higher limit is shown in the                      and limited in D.1. through D.7.
                    Declarations):
                                                                                1.   For the purpose of this Additional
                                                                                     Coverage - Collapse, abrupt
                    a.   $10,000 for furs, fur garments                              collapse means an abrupt falling
                         and garments trimmed with fur,                              down or caving in of a building or
                         jewelry, watches, watch                                     any part of a building with the result
                         movements, jewels, pearls,                                  that the building or part of the
                         precious and semi-precious                                  building cannot be occupied for its
                         stones, bullion, gold, silver,                              intended purpose.
                         platinum and other precious
                                                                                2. We will pay for direct physical loss
                         alloys or metals. This limit does                         or damage to Covered Property,
                         not apply to jewelry and watches                          caused by abrupt collapse of a
                         worth $ 100 or less per item.                             building or any part of a building
                                                                                   that is insured under this Coverage
                    b. $2,500 for patterns, dies, molds                            Form or that contains Covered
                       and forms.                                                  Property insured under this
                                                                                   Coverage Form, if such collapse is
                    c.   $250 for stamps, tickets,                                 caused by one or more of the
                         including lottery tickets held for                        following:
                         sale, and letters of credit.
                                                                                     a.    Building decay that is hidden
                                                                                           from view, unless the presence
                         These special limits are part of,
                                                                                           of such decay is known to an
                         not in addition to, the Limit of
                                                                                           insured prior to collapse;
                         Insurance applicable to the
                         Covered Property.                                            b. Insect or vermin damage that is
                                                                                         hidden from view, unless the
                         This limitation, C.3., does not                                 presence of such damage is
                         apply to Business Income                                        known to an insured prior to
                         Coverage or to Extra Expense                                    collapse;
                         Coverage.
                                                                                     c.    Use of defective material or
               4. We will not pay the cost to repair                                       methods in construction,
                  any defect to a system or appliance                                      remodeling or renovation if the
                  from which water, other liquid,                                          abrupt collapse occurs during
                  powder or molten material escapes.                                       the course of the construction,
                  But we will pay the cost to repair or                                    remodeling or renovation.
                  replace damaged parts of fire-
                  extinguishing equipment if the                                     d. Use of defective material or
                  damage:                                                               methods in construction,

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                         remodeling or renovation if the                            f.    Piers, wharves and docks;
                         abrupt collapse occurs after the
                         construction, remodeling or                                g. Beach or diving platforms or
                         renovation is complete, but only                              appurtenances;
                         if the collapse is caused in part                          h. Retaining walls; and
                         by:
                                                                                    i.    Walks, roadways and other
                         (1) A cause of loss listed in 2.a.                               paved surfaces;
                             or 2.b.;
                                                                                    if an abrupt collapse is caused by a
                         (2) One or more of the                                     cause of loss listed in 2.a. through
                             "specified causes of loss";                            2.d., we will pay for loss or damage
                                                                                    to that property only if:
                         (3) Breakage of building glass;
                                                                                          (1) Such loss or damage is a
                         (4) Weight of people or
                             personal property; or                                            direct result of the abrupt
                                                                                              collapse of a building
                         (5) Weight of rain that collects                                     insured under this Coverage
                             on a roof.                                                       Form; and
                                                                                          (2) The property is Covered
               3.   This Additional Coverage ----
                                                                                              Property under this
                    Collapse does not apply to:
                                                                                              Coverage Form.
                    a.   A building or any part of a
                         building that is in danger of                         5.   If personal property abruptly falls
                         falling down or caving in;                                 down or caves in and such collapse
                                                                                    is not the result of abrupt collapse of
                    b. A part of a building that is                                 a building, we will pay for loss or
                       standing, even if it has                                     damage to Covered Property caused
                       separated from another part of                               by such collapse of personal
                       the building; or
                                                                                    property only if:
                    c.   A building that is standing or
                                                                                    a.    The collapse of personal
                         any part of a building that is
                                                                                          property was caused by a cause
                         standing, even if it shows
                                                                                          of loss listed in 2.a. through
                         evidence of cracking, bulging,
                                                                                          2.d.;
                         sagging, bending, leaning,
                         settling, shrinkage or expansion.
                                                                                     b. The personal property which
                                                                                        collapses is inside a building;
               4. With respect to the following
                                                                                        and
                  property:

                    a. Outdoor radio or television                                  c.    The property which collapses is
                       antennas (including satellite                                      not of a kind listed in 4.,
                       dishes) and their lead-in wiring,                                  regardless of whether that kind
                                                                                          of property is considered to be
                       masts or towers;
                                                                                          personal property or real
                    b. Awnings, gutters and                                               property.
                       downspouts;
                                                                                    The coverage stated in this
                    c.   Yard fixtures;                                             Paragraph 5. does not apply to
                                                                                    personal property if marring and /or
                                                                                    scratching is the only damage to
                    d. Outdoor swimming pools;
                                                                                    that personal property caused by
                    e.   Fences;                                                    the collapse.

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               6. This Additional Coverage - Collapse                                          your vehicle’s contact with
                  does not apply to personal property                                          the road bed.
                  that has not abruptly fallen down or
                  caved in, even if the personal                                          (3) Theft of an entire bale, case
                  property shows evidence of                                                  or package by forced entry
                  cracking, bulging, sagging, bending,                                        into a securely locked body
                  leaning, settling, shrinkage or                                             or compartment of the
                  expansion.                                                                  vehicle. There must be
                                                                                              visible marks of the forced
               7. This Additional Coverage - Collapse
                                                                                              entry.
                   will not increase the Limits of
                   Insurance provided in this Coverage                              c.    The most we will pay for loss or
                   Part.                                                                  damage under this Extension is
               8.   The term Covered Cause of Loss                                        $50,000.
                    includes the Additional Coverage -
                    Collapse as described and limited in                            This Coverage Extension is
                    D.1. through D.7.                                               additional insurance. The Additional
                                                                                    Condition, Coinsurance, does not
            E. Additional Coverage Extensions                                       apply to this Extension.

               1.   Property In Transit                                        2.   Water Damage, Other Liquids,
                    This Extension applies only to your                             Powder Or Molten Material Damage
                    personal property to which this form
                                                                                    If loss or damage caused by or
                    applies.
                                                                                    resulting from covered water or
                    a.   You may extend the insurance                               other liquid, powder or molten
                         provided by this Coverage Part                             material damage loss occurs, we will
                         to apply to your personal                                  also pay the cost to tear out and
                         property (other than property in                           replace any part of the building or
                         the care, custody or control of                            structure to repair damage to the
                         your salespersons), including                              system or appliance from which the
                         electronic data processing                                 water or other substance escapes.
                         equipment or electronic data, in
                                                                                    This Coverage Extension does not
                         transit more than 1000 feet from
                                                                                    increase the Limit of Insurance.
                         the described premises.
                         Property must be in or on a
                         motor vehicle you own, lease or                       3.   Glass
                         operate while between points in
                         the coverage territory.                                    a. We will pay for expenses
                                                                                       incurred to put up temporary
                    b. Loss or damage must be caused                                   plates or board up openings if
                       by or result from one of the                                    repair or replacement of
                       following causes of loss:                                       damaged glass is delayed.

                         (1) Fire, lightning, explosion,                             b. We will pay for expenses
                             windstorm or hail, riot or                                 incurred to remove or replace
                             civil commotion, or                                        obstructions when repairing or
                             vandalism.                                                 replacing glass that is part of a
                         (2) Vehicle collision, upset or                                building. This does not include
                             overturn. Collision means                                  removing or replacing window
                                                                                        displays.
                             accidental contact of your
                             vehicle with another vehicle                           This Coverage Extension, F.3., does
                             or object. It does not mean                            not increase the Limit of Insurance.

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            F. Definitions

               "Specified causes of loss" means the                                 (2) Accidental discharge or leakage
               following: fire; lightning; explosion;                                   of water or waterborne material
               windstorm or hail; smoke; aircraft or                                    as the direct result of the
               vehicles; riot or civil commotion;                                       breaking apart or cracking of a
               vandalism; leakage from fire-                                            water or sewer pipe that is
               extinguishing equipment; sinkhole                                        located off the described
               collapse; volcanic action; falling objects;                              premises and is part of a
               weight of snow, ice or sleet; water                                      municipal potable water supply
               damage.                                                                  system or municipal sanitary
                                                                                        sewer system, if the breakage or
               1. Sinkhole collapse means the sudden                                    cracking is caused by wear and
                  sinking or collapse of land into                                      tear.
                  underground empty spaces created
                  by the action of water on limestone                               But water damage does not include
                  or dolomite. This cause of loss does                              loss or damage otherwise excluded
                  not include:                                                      under the terms of the Water
                                                                                    Exclusion. Therefore, for example,
                    a.   The cost of filling sinkholes; or                          there is no coverage under this
                                                                                    policy in the situation in which
                    b. Sinking or collapse of land into                             discharge or leakage of water results
                       manmade underground cavities.                                from the breaking apart or cracking
                                                                                    of a pipe which was caused by or
               2.   Falling objects does not include loss                           related to weather-induced flooding,
                    or damage to:                                                   even if wear and tear contributed to
                                                                                    the breakage or cracking. As
                    a.   Personal property in the open;                             another example, and also in
                         or                                                         accordance with the terms of the
                                                                                    Water Exclusion, there is no
                    b. The interior of a building or                                coverage for loss or damage caused
                       structure, or property inside a                              by or related to weather-induced
                       building or structure, un-less the                           flooding which follows or is
                       roof or an outside wall of the                               exacerbated by pipe breakage or
                       building or structure is first                               cracking attributable to wear and
                       damaged by a falling object.                                 tear.

               3. Water damage means:                                               To the extent that accidental
                                                                                    discharge or leakage of water falls
                    (1) Accidental discharge or leakage                             within the criteria set forth in c.(1) or
                        of water or steam as the direct                             c.(2) of this definition of "specified
                        result of the breaking apart or                             causes of loss," such water is not
                        cracking of a plumbing, heating,                            subject to the provisions of the
                        air conditioning or other system                            Water Exclusion which preclude
                        or appliance (other than a sump                             coverage for surface water or water
                        system including its related                                under the surface of the ground.
                        equipment and parts), that is
                        located on the described
                        premises and contains water or
                        steam; and




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                                                                                        COMMERCIAL PROPERTY
                                                                                                CP 01 40 07 06

         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       EXCLUSION OF LOSS DUE TO VIRUS OR BACTERIA
 This endorsement modifies insurance provided under the following:

    COMMERCIAL PROPERTY COVERAGE PART
    STANDARD PROPERTY POLICY

 A. The exclusion set forth in Paragraph B. applies to       D. The following provisions in this Coverage Part or
    all coverage under all forms and endorsements               Policy are hereby amended to remove reference to
    that comprise this Coverage Part or Policy, includ-         bacteria:
    ing but not limited to forms or endorsements that           1. Exclusion of "Fungus", Wet Rot, Dry Rot And
    cover property damage to buildings or personal                 Bacteria; and
    property and forms or endorsements that cover
    business income, extra expense or action of civil           2. Additional Coverage ---- Limited Coverage for
    authority.                                                     "Fungus", Wet Rot, Dry Rot And Bacteria, in-
                                                                   cluding any endorsement increasing the scope
 B. We will not pay for loss or damage caused by or                or amount of coverage.
    resulting from any virus, bacterium or other micro-
    organism that induces or is capable of inducing          E. The terms of the exclusion in Paragraph B., or the
    physical distress, illness or disease.                      inapplicability of this exclusion to a particular loss,
                                                                do not serve to create coverage for any loss that
    However, this exclusion does not apply to loss or           would otherwise be excluded under this Coverage
    damage caused by or resulting from "fungus", wet            Part or Policy.
    rot or dry rot. Such loss or damage is addressed
    in a separate exclusion in this Coverage Part or
    Policy.
 C. With respect to any loss or damage subject to the
    exclusion in Paragraph B., such exclusion super-
    sedes any exclusion relating to "pollutants".




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                                                                                                     EX03-078
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 POLICY NUMBER: PKG3127372                                                                   COMMERCIAL PROPERTY
                                                                                                     CP 04 46 10 12

         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

          CALIFORNIA --- ORDINANCE OR LAW COVERAGE
 This endorsement modifies insurance provided under the following:

    BUILDING AND PERSONAL PROPERTY COVERAGE FORM
    CONDOMINIUM ASSOCIATION COVERAGE FORM
    STANDARD PROPERTY POLICY

                                                      SCHEDULE

                                                     Coverage B              Coverage C            Coverage B And C
   Building                                              Limit                   Limit              Combined Limit
   Number/               Coverage A                  Of Insurance            Of Insurance            Of Insurance
   Premises
   Number
  001/001                     X                  $      100,000 $               100,000                              *
                                                                                                                     *
                                                                                                                     *
 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
  *Do not enter a Combined Limit of Insurance if individual Limits of Insurance are selected for Coverages B and C,
 or if one of these Coverages is not applicable.


 A. Each Coverage ---- Coverage A, Coverage B and                       2.a. The building sustains direct physical dam-
    Coverage C ---- is provided under this endorsement                       age that is covered under this policy and as
    only if that Coverage(s) is chosen by entry in the                       a result of such damage, you are required
    above Schedule and then only with respect to the                         to comply with the ordinance or law; or
    building identified for that Coverage(s) in the                       b. The building sustains both direct physical
    Schedule.                                                                damage that is covered under this policy
 B. Application Of Coverage(s)                                               and direct physical damage that is not cov-
    The Coverage(s) provided by this endorsement                             ered under this policy, and as a result of the
    applies only if both B.1. and B.2. are satisfied and                     building damage in its entirety, you are re-
                                                                             quired to comply with the ordinance or law.
    are then subject to the qualifications set forth in
    B.3.                                                                  c. But if the building sustains direct physical
    1. The ordinance or law:                                                  damage that is not covered under this pol-
                                                                              icy, and such damage is the subject of the
        a. Regulates the demolition, construction or                          ordinance or law, then there is no coverage
            repair of buildings, or establishes zoning or                     under this endorsement even if the building
            land use requirements at the described                            has also sustained covered direct physical
            premises; and                                                     damage.
        b. Is in force at the time of loss.                            3. In the situation described in B.2.b. above, we
    But coverage under this endorsement applies only                      will not pay the full amount of loss otherwise
    in response to the minimum requirements of the                        payable under the terms of Coverages A, B,
    ordinance or law. Losses and costs incurred in                        and /or C of this endorsement. Instead, we will
    complying with recommended actions or stan-                           pay a proportion of such loss, meaning the
    dards that exceed actual requirements are not                         proportion that the covered direct physical
    covered under this endorsement.                                       damage bears to the total direct physical dam-
                                                                          age.



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                                                                                                         EX03-079
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       (Section H. of this endorsement provides an                    3. Coverage C ---- Increased Cost Of Construction
       example of this procedure.)                                       Coverage
       However, if the covered direct physical dam-                      a. With respect to the building that has sus-
       age, alone, would have resulted in a require-                         tained covered direct physical damage, we
       ment to comply with the ordinance or law, then                        will pay the increased cost to:
       we will pay the full amount of loss otherwise                        (1) Repair or reconstruct damaged portions
       payable under the terms of Coverages A, B                                 of that building; and /or
       and /or C of this endorsement.
                                                                            (2) Reconstruct or remodel undamaged
 C. We will not pay under Coverage A, B or C of this                              portions of that building, whether or not
    endorsement for:                                                             demolition is required;
    1. Enforcement of or compliance with any ordi-                           when the increased cost is a consequence
       nance or law which requires the demolition, re-                       of a requirement to comply with the mini-
       pair, replacement, reconstruction, remodeling                         mum standards of the ordinance or law.
       or remediation of property due to contamina-
       tion by "pollutants" or due to the presence,                          However:
       growth, proliferation, spread or any activity of                     (1) This coverage applies only if the re-
       "fungus", wet or dry rot or bacteria; or                                  stored or remodeled property is in-
    2. The costs associated with the enforcement of                              tended for similar occupancy as the cur-
       or compliance with any ordinance or law which                             rent property, unless such occupancy is
       requires any insured or others to test for, moni-                         not permitted by zoning or land use or-
       tor, clean up, remove, contain, treat, detoxify or                        dinance or law.
       neutralize, or in any way respond to, or assess                      (2) We will not pay for the increased cost of
       the effects of "pollutants", "fungus", wet or dry                         construction if the building is not re-
       rot or bacteria.                                                           paired, reconstructed or remodeled.
 D. Coverage                                                                The Coinsurance Additional Condition does
    1. Coverage A ---- Coverage For Loss To The                             not apply to Increased Cost of Construction
       Undamaged Portion Of The Building                                    Coverage.
       With respect to the building that has sustained                   b. When a building is damaged or destroyed
       covered direct physical damage, we will pay                           and Coverage C applies to that building in
       under Coverage A for the loss in value of the                         accordance with 3.a. above, coverage for
       undamaged portion of the building as a conse-                         the increased cost of construction also ap-
       quence of a requirement to comply with an or-                         plies to repair or reconstruction of the fol-
       dinance or law that requires demolition of un-                        lowing, subject to the same conditions
       damaged parts of the same building.                                   stated in 3.a.:
       Coverage A is included within the Limit Of In-                       (1) The cost of excavations, grading, back-
       surance shown in the Declarations as applica-                             filling and filling;
       ble to the covered building. Coverage A does                         (2) Foundation of the building;
       not increase the Limit of Insurance.                                 (3) Pilings; and
    2. Coverage B ---- Demolition Cost Coverage
                                                                            (4) Underground pipes, flues and drains.
       With respect to the building that has sustained
                                                                        The items listed in b.(1) through b.(4) above
       covered direct physical damage, we will pay the
       cost to demolish and clear the site of undam-                    are deleted from Property Not Covered, but
       aged parts of the same building, as a conse-                     only with respect to the coverage described
       quence of a requirement to comply with an or-                    in this provision, 3.b.
       dinance or law that requires demolition of such         E. Loss Payment
       undamaged property.                                            1. All following loss payment provisions, E.2.
       The Coinsurance Additional Condition does not                     through E.5., are subject to the apportionment
       apply to Demolition Cost Coverage.                                procedures set forth in Section B.3. of this en-
                                                                         dorsement.




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                                                                                                         EX03-080
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    2. When there is a loss in value of an undamaged                     b. If the building is repaired or replaced at the
       portion of a building to which Coverage A ap-                        same premises, or if you elect to rebuild at
       plies, the loss payment for that building, includ-                   another premises, the most we will pay un-
       ing damaged and undamaged portions, will be                          der Coverage C is the lesser of:
       determined as follows:                                               (1) The increased cost of construction at
       a. If the Replacement Cost Coverage Option                               the same premises; or
          applies and the property is being repaired                        (2) The applicable Limit of Insurance shown
          or replaced, on the same or another prem-                             for Coverage C in the Schedule above.
          ises, we will not pay more than the lesser
          of:                                                            c. If the ordinance or law requires relocation
                                                                             to another premises, the most we will pay
          (1) The amount you would actually spend to                         under Coverage C is the lesser of:
              repair, rebuild or reconstruct the build-
              ing, but not for more than the amount it                      (1) The increased cost of construction at
              would cost to restore the building on the                         the new premises; or
              same premises and to the same height,                         (2) The applicable Limit of Insurance shown
              floor area, style and comparable quality                          for Coverage C in the Schedule above.
              of the original property insured; or                    5. If a Combined Limit Of Insurance is shown for
          (2) The Limit Of Insurance shown in the                        Coverages B and C in the Schedule above,
              Declarations as applicable to the cov-                     Paragraphs E.3. and E.4. of this endorsement
              ered building.                                             do not apply with respect to the building that is
       b. If the Replacement Cost Coverage Option                        subject to the Combined Limit, and the follow-
           applies and the property is not repaired or                   ing loss payment provisions apply instead:
           replaced, or if the Replacement Cost Cover-                   The most we will pay, for the total of all covered
           age Option does not apply, we will not pay                    losses for Demolition Cost and Increased Cost
           more than the lesser of:                                      of Construction, is the Combined Limit Of In-
          (1) The actual cash value of the building at                   surance shown for Coverages B and C in the
              the time of loss; or                                       Schedule above. Subject to this Combined
                                                                         Limit of Insurance, the following loss payment
          (2) The Limit Of Insurance shown in the                        provisions apply:
               Declarations as applicable to the cov-
               ered building.                                            a. For Demolition Cost, we will not pay more
                                                                            than the amount you actually spend to de-
    3. Unless Paragraph E.5. applies, loss payment                          molish and clear the site of the described
       under Coverage B ---- Demolition Cost Coverage                       premises.
       will be determined as follows:
                                                                         b. With respect to the Increased Cost of Con-
       We will not pay more than the lesser of the fol-                      struction:
       lowing:
                                                                            (1) We will not pay for the increased cost of
       a. The amount you actually spend to demolish                              construction:
          and clear the site of the described premises;
          or                                                                   (a) Until the property is actually repaired
                                                                                   or replaced, at the same or another
       b. The applicable Limit Of Insurance shown for                              premises; and
           Coverage B in the Schedule above.
    4. Unless Paragraph E.5. applies, loss payment                             (b) Unless such repair or replacement is
       under Coverage C ---- Increased Cost of Con-                                made within two years after our pay-
       struction Coverage will be determined as fol-                               ment of the actual cash value of the
       lows:                                                                       property subject to the replacement
                                                                                   cost coverage, if any, unless we ex-
       a. We will not pay under Coverage C:                                        tend the time period for good cause.
          (1) Until the property is actually repaired or                    (2) If the building is repaired or replaced at
              replaced, at the same or another prem-                            the same premises, or if you elect to re-
              ises; and                                                         build at another premises, the most we
          (2) Unless such repair or replacement is                              will pay for the increased cost of con-
              made within two years after o ur pay-                             struction is the increased cost of con-
              ment of the actual cash value of the                              struction at the same premises.
              property subject to the replacement cost
              coverage, if any, unless we extend the
              time period for good cause.



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                                                                                                         EX03-081
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          (3) If the ordinance or law requires reloca-              Step 1:
              tion to another premises, the most we                    Determine the proportion that the covered di-
              will pay for the increased cost of con-                  rect physical damage bears to the total direct
              struction is the increased cost of con-                  physical damage.
              struction at the new premises.
                                                                           $30,000 $100,000 = .30
 F. The terms of this endorsement apply separately to
    each building to which this endorsement applies.                Step 2:
 G. Under this endorsement we will not pay for loss                    Apply that proportion to the Ordinance or Law
    due to any ordinance or law that:                                  loss.
    1. You were required to comply with before the                        $60,000 x .30 = $18,000
        loss, even if the building was undamaged; and            In this example, the most we will pay under this
    2. You failed to comply with.                                endorsement for the Coverage C loss is $18,000,
                                                                 subject to the applicable Limit of Insurance and
 H. Example of proportionate loss payment for Ordi-              any other applicable provisions.
    nance Or Law Coverage Losses (procedure as set
    forth in Section B.3. of this endorsement).                  Note: The same procedure applies to losses under
                                                                 Coverages A and B of this endorsement.
    Assume:
                                                              I. The following definition is added:
       Wind is a Covered Cause of Loss; Flood is an
       excluded Cause of Loss                                    "Fungus" means any type or form of fungus, in-
                                                                 cluding mold or mildew, and any mycotoxins,
       The building has a value of $200,000                      spores, scents or by-products produced or re-
       Total direct physical damage to        building:          leased by fungi.
       $100,000
       The ordinance or law in this jurisdiction is
       enforced when building damage equals or ex-
       ceeds 50% of the building’s value
       Portion of direct physical damage that is cov-
       ered (caused by wind): $30,000
       Portion of direct physical damage that is not
       covered (caused by flood): $70,000
       Loss under Ordinance Or Law Coverage C of
       this endorsement: $60,000




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                                                                                                    EX03-082
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                                                                                         COMMERCIAL PROPERTY
                                                                                                 CP 15 55 06 95

          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

             BUSINESS INCOME CHANGES --- TIME PERIOD
 This endorsement modifies insurance provided under the following:

     BUSINESS INCOME (AND EXTRA EXPENSE) COVERAGE FORM
     BUSINESS INCOME (WITHOUT EXTRA EXPENSE) COVERAGE FORM

 For insurance provided under the BUSINESS INCOME (AND EXTRA EXPENSE) COVERAGE FORM or the
 BUSINESS INCOME (WITHOUT EXTRA EXPENSE) COVERAGE FORM, the following applies:
  1. The 72-hour time period in the definition of "period of restoration" is replaced by 24 hours.
  2. The 72-hour time period in the Civil Authority Additional Coverage is replaced by 24 hours.




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                                                                                                     EX03-083
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 POLICY NUMBER: PKG3127372                                                                   COMMERCIAL PROPERTY
                                                                                                     CP 15 56 06 07

          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                  BUSINESS INCOME CHANGES ---
            BEGINNING OF THE PERIOD OF RESTORATION
 This endorsement modifies insurance provided under the following:

       BUSINESS INCOME (AND EXTRA EXPENSE) COVERAGE FORM
       BUSINESS INCOME (WITHOUT EXTRA EXPENSE) COVERAGE FORM



                                                         SCHEDULE


 Select Either A. Or B


 A.             72-Hour Time Period Is Replaced By 24 Hours


  B.            72-Hour Time Period Is Eliminated


 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.



 A. If the Schedule indicates that the 72-hour time               B. If the Schedule indicates that the 72-hour time
    period is replaced by 24 hours, then:                            period is eliminated, then:
    1. The 72-hour time period in the definition of                  1. The 72-hour time period in the definition of
        ‘‘period of restoration’’ is replaced by 24 hours.               ‘‘period of restoration’’ is deleted. Therefore, the
        Therefore, the period of restoration for Busi-                   period of restoration for Business Income Cov-
        ness Income Coverage begins 24 hours after                       erage begins at the time of direct physical loss
        the time of direct physical loss or damage, sub-                 or damage, subject to all other provisions of
        ject to all other provisions of the definition of                the definition of ‘‘period of restoration’’; and
        ‘‘period of restoration’’; and                               2. The 72-hour time period in the Civil Authority
    2. The 72-hour time period in the Civil Authority                    Additional Coverage is deleted. Therefore, cov-
        Additional Coverage is replaced by 24 hours.                     erage under the Additional Coverage ---- Civil
        Therefore, coverage under the Additional Cov-                    Authority begins at the time of action of civil au-
        erage ---- Civil Authority begins 24 hours after                 thority, subject to all other provisions of that
        the time of action of civil authority, subject to all            Additional Coverage.
        other provisions of that Additional Coverage.




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                                                                                                          EX03-084
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                   THIS ENDORSEMENT ENHANCES YOUR POLICY. PLEASE READ IT CAREFULLY.



           ENHANCED BUILDING AND PERSONAL PROPERTY
                COVERAGE FORM ENDORSEMENT

         This endorsement modifies insurance provided under the following:


         BUILDING AND PERSONAL PROPERTY COVERAGE FORM


         This endorsement modifies coverage and provides increased limits of insurance to enhance your
         insurance program. The Limits Of Insurance stated below are granted by us as enhancements to your
         insurance program and are subject to the terms and conditions of this endorsement and the above
         Coverage Form. These Limits Of Insurance described below, apply separately to Covered Property at
         each premises described in the Declarations.

         If these Limits Of Insurance are not sufficient, you may purchase additional Limits Of Insurance for one or
         more Coverages at any premises. The premium charge will be based on the additional Limits Of
         Insurance you purchase. When you purchase additional Limits Of Insurance for any Covered Property,
         the Limit Of Insurance stated in the Declaration will be in addition to any Limit Of Insurance we have
         granted below.

         The Blanket Limit Of Insurance shown below applies to any one occurrence and collectively to all Blanket
         Limit ---- Coverages shown below. This Blanket Limit Of Insurance applies only to Covered Property
         located at premises described in the Declarations and in excess of the applicable Property Deductible also
         shown in the Declarations.

         At the time of loss or damage, the first Named Insured may elect to allocate the Blanket Limit Of Insurance
         to one or any combination of the Blanket Limit - Coverages. When a specific Limit Of Insurance is
         purchased for any of these Blanket Limit Coverages, such specific Limit Of Insurance will apply in addition
         to whatever amount of the Blanket Limit Of Insurance the first Named Insured allocates to that coverage at
         time of loss.


         SUMMARY OF COVERAGE                                                                         LIMITS OF INSURANCE
                                                                                                     (PER LOCATION)

         Blanket Limit Of Insurance                                                                  $500,000 or the total of the
                                                                                                     Building and Your Business
                                                                                                     Personal Property limits
                                                                                                     shown in the Declarations,
                                                                                                     whichever is less

         Blanket Limit - Coverages

          - Accounts Receivable
          - Electronic Data
          - Electronic Data Processing Equipment
          - Fine Arts
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                                                                                                                     EX03-085
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          - Fire Department Service Charge
          - Fire Protection Device Recharge
          - Leasehold Interest - (Bonus Payment, Prepaid Rent, Sublease Profit, Tenants’ Lease Interest)
          - Leasehold Interest ---- (Undamaged Tenants’ Improvements And Betterments)
          - Non Owned Detached Trailers
          - Outdoor Property
          - Consequential Loss to Undamaged Personal Property
          - Personal Effects and Property of Others
          - Valuable Papers and Records (Other Than Electronic Data)

            Additional Coverages:

           Debris Removal


                   Covered Property (Other Than Electronic Data                                            $35,000
                   Processing Equipment and Electronic Data)
                   Electronic Data Processing Equipment and Electronic                                     Unlimited
                   Data

          Pollutant Clean Up and Removal                                                                   $25,000
          Increased Cost Of Construction                                                                   $25,000
          Extra Expense                                                                                    $50,000
          Consequential Damage                                                                             $10,000
          Deferred Payments                                                                                $25,000
          Claim Expenses                                                                                   $25,000

           Coverage Extensions:

           Newly Acquired or Constructed Property Increased Limit

                   Building                                                                                $1,000,000 (each bldg.)
                                                                                                           (180 Days)
                   Personal Property (Other Than Electronic Data                                           $500,000 (each bldg.) (180
                   Processing Equipment and Electronic Data)                                               Days)

                    Electronic Data Processing Equipment and Electronic                                    $50,000 (excluding virus)
                    Data, including duplicates
                    or
                    Electronic Data, including data duplicates                                             $2,500 (including virus)
          Property Off-Premises                                                                            $50,000
          Money and Securities                                                                             $10,000
          Brand and Label                                                                                  $25,000
          Installation                                                                                     $25,000
          Salesperson’s Samples                                                                            $1,000
          Outdoor Signs (Detached Or Attached To Building)                                                 $10,000
          Arson Reward                                                                                     $25,000
          Exhibitions                                                                                      $50,000

         Loss Conditions

         Manufacturer’s Selling Price ---- Valuation ---- Finished "Stock" Only                Included



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            The Blanket Limit - Coverages shown below                                  (ii)       Adjust that total for any normal
            and in the Summary Of Coverage of this                                                fluctuations in the amount of
            endorsement are subject to the Blanket Limit Of                                       accounts receivable for the
            Insurance also shown in the Summary Of                                                month in which the loss or
            Coverage.                                                                             damage occurred or for any
                                                                                                  demonstrated variance from
            Blanket Limit - Coverages                                                             the average for that month.

            Accounts Receivable                                              (3) The following will be deducted from the
                                                                                 total amounts of accounts receivable,
            (1) If this policy covers Your Business                              however that amount is established:
                Personal Property, under this Blanket Limit
                Coverage we will pay for loss or damage to                        (a) The amount of the accounts for which
                your records of accounts receivable caused                            there is no loss or damage;
                by or resulting from a Covered Cause of
                Loss including:                                                   (b) The amount of the accounts that you
                                                                                      are able to re-establish or collect;
                (a) All amounts due from your customers
                    that you are unable to collect;                               (c) An amount to allow for probable bad
                                                                                      debts that you are normally unable to
                (b) Interest charges on any loan required                             collect; and
                    to offset amounts you are unable to
                    collect pending our payment of these                          (d) All unearned interest and service
                    amounts;                                                          charges.

                (c) Collection expenses in excess of your                    (4) You will pay us the amount of all recoveries
                    normal collection expenses that are                          you receive for loss or damage paid by us.
                    made necessary by the loss or damage;                        But any recoveries in excess of the amount
                    and                                                          we have paid belong to you.

                (d) Other reasonable expenses that you                       (5) Paragraph a. of A.2. Property Not Covered
                    incur to re-establish your records of                        does not apply to accounts receivable.
                    accounts receivable.
                                                                             Electronic Data
            (2) We will determine the amount of accounts
                receivable using one of the following                        (1) Under this Blanket Limit Coverage,
                methods:                                                         electronic data has the meaning described
                                                                                 under Property Not Covered, Electronic
                (a)      The actual amount of accounts                           Data. This Blanket Limit Coverage does not
                      receivable outstanding as of the time of                   apply to your "stock" or prepackaged
                      loss or damage; or                                         software, or to electronic data which is
                                                                                 integrated in and operates or controls the
                (b)     If you can not accurately establish                      building’s elevator, lighting, heating,
                      the amount of accounts receivable                          ventilation, air conditioning or security
                      outstanding as of the time of loss or                      system.
                      damage, we will:
                                                                                  The first sentence of Paragraph n. in A.2.
                      (i)    Determine the total of the                           Property Not Covered is replaced by the
                             average monthly amounts of                           following:
                             accounts receivable for the 12
                             months immediately preceding                         Electronic Data, except as provided under
                             the month in which the loss or                       the Blanket Limit Coverage, Electronic Data.
                             damage occurs; and
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            (2) Subject to the provisions of this Blanket                        With respect to an occurrence which
                Limit Coverage, Electronic Data, we will pay                     begins in one policy year and continues or
                for the cost to replace or restore electronic                    results in additional loss or damage in a
                data which has been destroyed or                                 subsequent policy year(s), all loss or
                corrupted by a Covered Cause of Loss. To                         damage is deemed to be sustained in the
                the extent that electronic data is not                           policy year in which the occurrence began.
                replaced or restored, the loss will be valued
                at the cost of replacement of the media on
                                                                            (5) This Blanket Limit Coverage does not apply
                which the electronic data was stored, with
                                                                                to Electronic Data that is covered elsewhere
                blank media of substantially identical type.
                                                                                under this policy or any other policy.
            (3) The Covered Causes of Loss applicable to
                Your Business Personal Property apply to                    Electronic Data Processing Equipment
                this Blanket Limit Coverage, subject to the
                following:                                                  (1) If this policy covers Your Business
                                                                                Personal Property, under this
                (a) Coverage is limited to the     "specified                   Blanket Limit Coverage we will pay for loss
                    causes of loss" as defined in the                           or damage to electronic data processing
                    Causes of Loss ---- Enhanced Form, and                      equipment caused by or resulting from a
                    Collapse as set forth in that form.                         Covered Cause of Loss at the premises
                                                                                described in the Declarations.
                (b) If the Causes of Loss -- Enhanced
                    Form is endorsed to add a Covered                       (2) As used in this endorsement, electronic
                    Cause of Loss, the additional Covered                       data processing equipment means data
                    Cause of Loss does not apply to the                         processing systems including equipment,
                    coverage provided under this Blanket                        component parts and related peripheral
                    Limit Coverage.                                             equipment including air conditioning and
                                                                                fire protective equipment used solely for
                (c) The Covered Causes of Loss include a                        data processing operations. This does not
                    virus, harmful code or similar                              include equipment held for sale or
                    instruction introduced into or enacted                      distribution and in the course of
                    on a computer system (including                             manufacture.
                    electronic data) or a network to which it
                    is connected, designed to damage or                     (3) This Blanket Limit Coverage does not apply
                    destroy any part of the system or                           to electronic data processing equipment
                    disrupt its normal operation. But there                     that is covered under a Coverage
                    is no coverage for loss or damage                           Extension within this endorsement.
                    caused by or resulting from
                    manipulation of a computer system                       (4) We will determine the value of electronic
                    (including electronic data) by any                          data processing equipment at the cost to
                    employee, including a temporary or                          replace the damaged equipment.
                    leased employee, or by an entity
                    retained by you or for you to inspect,                  Fine Arts
                    design, install, modify, maintain, repair
                    or replace that system.                                 (1) If this policy covers Your Business
                                                                                Personal Property, under this Blanket Limit
            (4) We will pay under this Blanket Limit
                                                                                Coverage we will pay for direct physical
                Coverage, for loss or damage sustained in
                                                                                loss or damage to your "fine arts" and "fine
                any one policy year, regardless of the
                                                                                arts" of others that are in your care,
                number of occurrences of loss or damage
                                                                                custody or control caused by or resulting
                or the number of premises, locations or
                                                                                from a Covered Cause of Loss.
                computer systems involved. If loss
                payment on the first occurrence does not
                                                                                 As used in this endorsement, "fine arts"
                exhaust this amount, then the balance is
                                                                                 means vis ual art considered to have been
                available for subsequent loss or damage
                                                                                 created primarily f or aest hetic pur poses
                sustained in but not after that policy year.
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                and judged for its beauty and                               For service at each premises described in the
                meaningfulness.                                             Declarations regardless of the number of
                                                                            responding fire departments or fire units, and
            (2) We will not pay for loss or damage to:                      regardless of the number or type of services
                                                                            performed.
                (a) "Fine arts" while on exhibition at fair
                    grounds or on the premises of any                       No Deductible applies to this Blanket Limit
                                                                            Coverage.
                    national or international exposition; or
                                                                            Fire Protection Device Recharge
                (b) Contraband or "fine arts" in the course
                    of illegal transportation or trade.
                                                                            Under this Blanket Limit Coverage we will pay
                                                                            to recharge or refill fire protection devices.
            (3) We will determine the value of "fine arts"
                under this Coverage, in the event of loss or
                                                                            This Blanket Limit Coverage applies to your fire
                damage, as follows:
                                                                            protection devices that are permanently
                                                                            installed in buildings at the described premises.
                (a) At the market value at the time of loss
                                                                            Coverage applies only when such devices have
                    or damage.
                                                                            been discharged while being used to protect
                                                                            Covered Property from loss or damage caused
                (b) With respect to pairs or sets:
                                                                            by fire.
                    (i) In the event of total loss of any
                                                                            Leasehold Interest -- (Bonus Payment, Prepaid
                        items that are part of a pair or set,
                        we will pay for that pair or set. You               Rent, Sublease Profit, Tenants’ Lease Interest)
                        will surrender to us the remaining
                                                                            Under this Blanket Limit Coverage we will pay
                        items of the pair or set.
                                                                            for the loss you incur directly resulting from the
                                                                            cancellation of your written lease for the
                    (ii) In the case of loss or damage to
                                                                            premises shown in the Declarations for:
                         any part of a pair or set, we may;
                                                                            (1) "Bonus Payment";
                         (aa) Repair or replace any part to
                              restore the pair or set to its
                                                                            (2) "Prepaid Rent";
                              value before the loss or
                              damage; or
                                                                            (3) "Sublease Profit"; or
                         (bb) Pay the difference between
                                                                            (4) "Tenants’ Lease Interest".
                              the value of the pair or set
                              before and after the loss or
                                                                            Cancellation of the lease must be:
                              damage.

            Fire Department Service Charge                                  (1) By the lessor;

            Under this Blanket Limit Coverage, when the                     (2) By a valid condition of your lease; and
            fire department is called to save or protect
            Covered Property from a Covered Cause of                        (3) Due to direct physical loss or damage to a
            Loss, we will pay for your liability for fire                       building caused by or resulting from a
            department service charges:                                         Covered Cause of Loss not otherwise
                                                                                excluded at the premises shown in the
            (1) Assumed by contract or agreement prior to                       Declarations.
                loss; or
                                                                            As used in this Blanket Limit Coverage:
            (2) Required by local ordinance
                                                                            (1) "Bonus payments" means that portion of
                                                                                any cash bonus you paid based on the

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                percentage of your lease remaining at the
                time of direct physical loss or damage.                     (1) By the Lessor;
                "Bonus payments" does not mean rent,
                                                                            (2) By a valid condition of your lease; and
                securities or cash bonuses refunded to
                you, even if you prepaid the rent or
                                                                            (3) Due to direct physical loss or damage to
                security.                                                       building or personal property caused by or
            (2) "Prepaid rent" means that portion of any                        resulting from a Covered Cause of Loss not
                prepaid rent you paid based on the                              otherwise excluded at the premises shown
                percentage of your lease remaining at the                       in the Declarations.
                time of direct physical loss or damage.
                "Prepaid rent" does not mean the                            As used in this Blanket Limit Coverage,
                customary rent due at the beginning of any                  "tenant’s improvements and betterments"
                rental period.                                              means fixtures, alterations, installations or
                                                                            additions:
            (3) "Sublease profit" means the net profit you
                earn through subleasing the building or                     (1)              You make a part of a building
                portion of the building that you rent for the                     you occupy but do not own; and
                unexpired term of the canceled lease or
                sublease, whichever would expire first.                     (2)              You acquire or make at your
                This amount is discounted based on the                            expense but cannot legally remove.
                prime rate of interest at the time of direct
                physical loss or damage for the unexpired                   "Tenant’s improvements and betterments" does
                term of the canceled lease of sublease.                     not mean:
            (4) "Tenants’ lease interest" means the                         (1)               Land, water or air, either inside
                difference between the appraised rental                           or outside of a structure;
                value of the leased premises at the time of
                direct physical loss or damage for the                      (2)                  Paved or concrete surfaces;
                unexpired term of the lease and the actual
                rent due for the same period, discounted                    (3)                  Retaining walls;
                by the prime rate of interest at the time of
                direct physical loss or damage, for the                     (4)               Foundations or supports below
                unexpired term of the canceled lease; or                          the surface of the lowest floor or basement;
                The difference between the rent due for the                 (5)                  Outdoor trees, shrubs, plants
                unexpired term of the canceled lease and                          or lawns; or
                the rent due under the new lease for that
                same time period, not to exceed the                         (6)       Growing crops.
                difference between the actual rent due for
                the unexpired term of the canceled lease                    Non-owned Detached Trailers
                and the appraised rental value of the leased
                premises for that same period. This                         (1) If this policy covers Your Business
                difference is discounted by the prime rate                      Personal Property, under this Blanket Limit
                of interest at the time of direct physical loss                 Coverage we will pay for direct physical
                or damage for the unexpired term of the                         loss or damage to trailers that you do not
                canceled lease.                                                 own caused by or resulting from a Covered
                                                                                Cause of Loss, provided that:
            Leasehold Interest -- (Undamaged
            Tenants’ Improvements And Betterments)                                (a) The trailer is used in your business;
            Under this Blanket limit Coverage, we will pay
                                                                                  (b) The trailer is in your care, custody or
            for the value of undamaged "tenant’s
                                                                                      control at the premises described in the
            improvements and betterments" when your                                   Declarations; and
            lease is cancelled:
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                (c) You have a contractual responsibility to                  trees, shrubs and plants which are the property
                    pay for loss or damage to the trailer.                    of others, except in the situation in which you
                                                                              are a tenant and such property is owned by the
            (2) We will not pay for any loss or damage that                   landlord of the described premises.
                occurs:
                                                                              Consequential Loss to Undamaged Personal
                (a) While the trailer is attached to any                      Property
                    motor vehicle or motorized
                    conveyance, whether or not t he
                                                                              If this policy covers Your Business Personal
                    motor vehicle or motorized
                                                                              Property, under this Blanket Limit Coverage we
                    conveyance is in motion;
                                                                              will pay for consequential loss to undamaged
                (b) During hitching or unhit ching                            personal property that is part of:
                    o perat ions, or when a trailer becomes
                    accidentally unhitched from a motor                       (1) Your product; or
                    vehicle or motorized conveyance.
           .                                                                  (2)               Any product in your care,
           (3) This insurance is excess over t he amo unt                           custody or control,
               due (whether yo u can collect on it or not)
               from any other insurance covering such                         which has become unmarketable as a complete
               pro perty.                                                     product, because of covered direct physical
                                                                              loss or damage to personal property which is
            Outdoor Property                                                  part of the same product.

            If this policy covers Yo ur Bus iness Personal                    Personal Effects and Property of Others
            Pro perty, under this Blanket Limit Coverage,
            we will pay for direct physical loss or damage                    If this policy covers Your Business Personal
            to yo ur o ut door fences, radio and television
                                                                              Property, under this Blanket Limit Coverage we
            antennas (including satellite dishes), trees,
                                                                              will pay for loss or damage to the following
            shrubs and plants (other than trees, shrubs or
                                                                              property at each described premises:
            plants which are "stock" or are part of a
            vegetated roo f), incl uding de bris r emo val
                                                                              (1)   Personal effects owned by you, your
            expense, ca used by or res ulting f rom an y
                                                                                    officers, your partners or members, your
            of th e f ollo wing ca uses of loss if they are
                                                                                    managers or your employees. This Blanket
            Covered Causes of Loss:
                                                                                    Limit Coverage does not apply to loss or
                                                                                    damage by theft.
            (1) Fire;
                                                                              (2)    Personal property of others in your care,
            (2) Ligh tning;                                                          custody or control.
            (3) Exp lo sion;                                                  (3)        Personal property of employees while
                                                                                    away from the insured’s premises for the
            (4) Riot or Civil Co mmo tion; or
                                                                                    purpose of performing duties relating to the
                                                                                    conduct of the insured’s business.
            (5) Aircraft .
                                                                                    The most we will pay for loss or damage for
            Under this Blanket Limit Coverage, we will                              personal property of employees while away
            pay , the Blanket Limit of Ins urance amo unt                           from the insured’s premises is $2,500 for
            allocated but not more than $250 for any one                            any one employee and $10,000 in any one
            tree, shrub or plant. This limit a pplies                               occurrence, regardless of the number of
            regardless of the ty pes or num ber of items                            employees.
            los t or damaged in any one occurrence.
                                                                              Our payment for loss or damage to personal
            Subject to all aforementioned terms and                           property of others will only be for the account
            limitations of coverage, t his Blanket Limit                      of the owner of the property.
            Coverage incl udes the expense of removing
            from the descri bed premises the de bris of
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                                                                               direct loss or damage caused by resulting
            Valuable Papers and Records (Other Than                            fire or explosion.
            Electronic Data)                                                Additional Coverages

            (1) If this policy covers Your Business                         Paragraph A.4. Additional Coverages is
                Personal Property, we will pay under this                   amended as follows:
                Blanket Limit Coverage the cost to replace
                or restore the lost information on "valuable                a.   Debris Removal
                papers and records" for which duplicates
                do not exist that are your property or                           Paragraphs (4) and (5) of a. Debris
                property of others in your care, custody or                      Removal are replaced by the following:
                control. But this Blanket Limit Coverage
                does not apply to valuable papers and                            (4) We will pay up to an additional $35,000
                records which exist as electronic data.                              for debris removal expense, for each
                Electronic data has the meaning described                            location, in any one occurrence of
                under Property Not Covered, Electronic                               physical loss or damage to Covered
                Data.                                                                Property, if one or both of the following
                                                                                     circumstances apply:
            (2) Coverage under this Blanket Limit
                Coverage is limited to the "specified causes                          (a) The total of the actual debris
                of loss" as defined in the Causes of Loss ----                            removal expense plus the amount
                Enhanced Form.                                                            we pay for direct physical loss or
                                                                                          damage exceeds the Limit of
            (3) Under this Blanket Limit Coverage, we will                                Insurance on the Covered Property
                pay to replace or restore the lost                                        that has sustained loss or damage.
                information at each described premises.
                Subject to the applicable Limit of Insurance                          (b) The actual debris removal expense
                on Your Business Personal Property, we                                    exceeds 25% of the sum of the
                will also pay for the cost of blank material                              deductible plus the amount that we
                for reproducing the records (whether or                                   pay for direct physical loss or
                not duplicates exist) and (when there is a                                damage to the Covered Property
                duplicate) for the cost of purchasing                                     that has sustained loss or damage.
                duplicates or the cost of labor to transcribe
                or copy the records. Such costs are not                               Therefore, if (4)(a) and /or (4)(b)
                additional insurance under this Blanket                               applies, our total payment for direct
                Limit Coverage.                                                       physical loss or damage and debris
                                                                                      removal expense may reach but will
            (4) As used in this Blanket Limit Coverage :                              never exceed the Limit of Insurance on
                                                                                      the Covered Property that has
                 "Valuable papers and records" means                                  sustained loss or damage, plus
                inscribed, printed or written documents,                              $35,000. However, with respect to
                manuscripts or records, including                                     Electronic Data Processing Equipment
                abstracts, books, deeds, drawings films,                              and Electronic Data, the Debris
                maps or mortgages.                                                    Removal Expense is unlimited.

                But, "valuable papers and records" does                          (5) Examples
                not include "money" and "securities",
                converted data, programs or instructions                              The following examples assume that
                used in your data processing operations,                              there is no Coinsurance penalty.
                including the materials on which the data is
                recorded.                                                 Example 1

            (5) We will not pay for errors or omissions in               Limit of Insurance                   $     90,000
                processing or copying. But we will pay for               Amount of Deductible                 $     500
                                                                         Amount of Loss                       $     50,000
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          Amount of Loss Payable           $    49,500                                 $4500 of the debris removal expense is
          ($50,000 - $500)                                                             not covered.
          Debris Removal Expense           $    10,000
          Debris Removal Expense           $    10,000                       c.   Fire Department Service Charge
          Payable
          ($10,000 is 20% of 50,000)                                              Paragraph c. Fire Department Service
                                                                                  Charge is deleted.
          The debris removal expense is less than 25% of
          the sum of the loss payable plus the deductible.                   d. Pollutant Clean up And Removal
          The sum of the loss payable and the debris
          removal expense ($49,500 + $10,000 = $59,500)                           The last paragraph of d. Pollutant Clean up
          is less than the Limit of Insurance. Therefore, the                     And Removal is replaced by the following:
          full amount of debris removal expense is payable
          in accordance with the terms of Paragraph (3).                          The most we will pay under this Additional
                                                                                  Coverage for each described premises is
          Example 2                                                               $25,000 for the sum of all covered
                                                                                  expenses arising out of Covered Causes of
          Limit of Insurance               $    90,000                            Loss occurring during each separate 12-
          Amount of Deductible             $    500                               month period of this policy.
          Amount of Loss                   $    80,000
          Amount of Loss Payable           $    79,500                       e.   Increased Cost Of Construction
          ($80,000 - $500)
          Debris Removal Expense           $    50,000                            Paragraph (6) of e. Increased Cost Of
          Debris Removal Expense                                                  Construction is replaced by the following:
          Payable
          Basic Amount                     $    10,500                            (6) The most we will pay under this
          Additional Amount                $    35,000                                Additional Coverage, for each
                                                                                      described building insured under this
          The basic amount payable for debris removal                                 Coverage Form, is $25,000 or 5% of the
          expense under the terms of Paragraph (3) is                                 Limit of Insurance applicable to that
          calculated as follows: $80,000 ($79,500 + $500)                             building, whichever is less. If a
          x .25 = $20,000; capped at $10,500. The cap                                 damaged building is covered under a
          applies because the sum of the loss payable                                 blanket Limit of Insurance which
          ($79,500) and the basic amount payable for                                  applies to more than one building or
          debris removal expense ($10,500) cannot exceed                              item of property, then the most we will
          the Limit of Insurance ($90,000).                                           pay under this Additional Coverage, for
                                                                                      that damaged building, is the lesser of
                      The additional amo unt payable for                              $25,000 or 5% times the value of the
                      debris removal expense is provided                              damaged building as of the time of loss
                      in accordance with the terms of                                 times the applicable Coinsurance
                      Paragraph (4), because the debris                               percentage.
                      removal expense ($50,000) exceeds
                      25% of the loss payable plus the                                 The amount payable under this
                      deductible ($50,000 is 62.5% of                                  Additional Coverage is additional
                      $80,000), and because the sum of the                             insurance.
                      loss payable and debris removal
                      ex pense ($79,500 + $50,000 =                          f.   Electronic Data
                      $129,500) wo uld exceed the Limit of
                      Insurance ($90,000). The additional                         Paragraph f. Electronic Data is deleted.
                      amo unt of covered debris removal
                      ex pense is $35,000, the maximum                       g. Extra Expense
                      payable under Paragraph (4). Thus,
                      the total payable for de bris removal                       The following is added:
                      ex pense in this example is $45,500;
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                Extra Expense                                                         (a) Begins with the date of direct
                                                                                          physical loss or damage caused by
                (1) We will pay up to $50,000 for the actual                              or resulting from any Covered
                    and necessary Extra Expense you                                       Cause of Loss at the described
                    sustain due to direct physical loss or                                premises; and
                    damage to property at the described
                    premises caused by or resulting from a                            (b) Ends on the earlier of:
                    Covered Cause of Loss. With respect
                    to loss or damage to personal property                                  (i) The date when the property at
                    in the open or personal property in a                                       the described premises would
                    vehicle, the described premises include                                     be repaired, rebuilt or replaced
                    the area within 1,000 feet of the site at                                   with reasonable speed and
                    which the described premises are                                            similar quality; or
                    located.
                                                                                            (ii) The date when business is
                (2) As used in this Additional Coverage,                                         resumed at a new permanent
                    Extra Expense means necessary                                                location.
                    expenses you incur during the "period
                    of restoration" that you would not have                           "Period of restoration" does not include
                    incurred if there had been no direct                              any increased period required due to
                    physical loss or damage to property                               the enforcement of any ordinance or
                    caused by or resulting from a Covered                             law that:
                    Cause of Loss. Coverage pertains to
                    expenses (other than the expense to                                     (i) Regulates the construction,
                    repair or replace property) which are                                       use or repair, or requires the
                    incurred to:                                                                tearing down of any property;
                                                                                                or
                    (a) Avoid or minimize the "suspension"
                        of business and to continue                                         (ii) Requires any insured or others
                        "operations" at the described                                            to test for, monitor, clean up,
                        premises or at replacement                                               remove, contain, treat, detoxify
                        premises or temporary locations,                                         or neutralize, or in any way
                        including relocation expenses and                                        respond to, or assess the
                        costs to equip and operate the                                           effects of "pollutants".
                        replacement location or temporary
                        location.                                                     The expiration date of this policy will
                                                                                      not cut short the "period of
                    (b) Minimize the "suspension" of                                  restoration".
                        business if you cannot continue
                        "operations".                                            (5) "Suspension" means the slowdown or
                                                                                     cessation of your business activities.
                    We will also pay Extra Expense to
                    repair or replace property, but only to                 h. Consequential Damage ---- "Stock"
                    the extent it reduces the amount of loss
                    that otherwise would have been                               The following is added:
                    payable under this Additional
                    Coverage.                                                    Consequential Damage ---- "Stock"
                                                                                 We will pay up to $10,000 for the reduction
                (3) "Operations" means your business                             in value of the remaining parts of "stock" in
                    activities occurring at the described                        process of manufacture, assembly and /or
                    premises.                                                    repackaging when the reduction is caused
                                                                                 by direct physical loss or damage from a
                (4) "Period of Restoration" means the
                                                                                 Covered Cause of Loss to other parts of
                    period of time that:                                         covered "stock" in process of manufacture,
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                 assembly and /or repackaging at the
                 described premises.                                              (1) In the event of loss or damage to
                                                                                      Covered Property, we will pay up to
            i.   Deferred Payments                                                    $25,000 for reasonable expenses you
                                                                                      incur, at our request, to investigate or
                 The following is added:                                              settle a claim.

                 Deferred Payments                                                (2) This Additional Coverage does not
                                                                                      apply to expenses;
                 (1) We will pay up to $25,000 to protect
                     your interest in personal property that                           (a)       Incurred by you for appraisals,
                     suffers direct physical loss or damage                                  examinations under oath or to
                     caused by or resulting from a Covered                                   prove the loss or damage;
                     Cause of Loss, and sold by you under
                     a conditional sale or trust agreement or                          (b)       Billed by and payable to
                     any installment or deferred payment                                     insurance adjusters or attorney’s;
                     plan after delivery to buyers.                                          or

                 (2) The coverage provided pursuant to this                            (c)      Any cost as provided in 2.
                     Additional Coverage will be valued as                                   Appraisal of E. Loss Conditions.
                     follows:
                                                                                  (3) No Deductible applies to this Additional
                     (a) In the event of total loss, we will                          Coverage.
                         pay the amount shown on your
                         books as due from the buyer.                             (4) The Additional Condition, Coinsurance,
                                                                                      does not apply to this Additional
                     (b) In the event of partial loss where                           Coverage.
                         the buyer refuses to continue
                         payment, forcing you to repossess,                  Coverage Extensions
                         coverage will be valued as follows:
                                                                             Paragraph A.5. Coverage Extensions is
                         (i) If the realized value of the                    amended as follows:
                             repossessed personal property
                             is greater than or equal to the                 The first paragraph is replaced by the following:
                             amount shown on your books                      Except as otherwise provided, the following
                             as due from the buyer, we will                  Extensions apply to property located in or on
                             make no payment; or                             the building described in the Declarations or in
                                                                             the open (or in a vehicle) within 1,000 feet of
                         (ii) If the realized value of the                   the described premises.
                              repossessed personal property
                              is less than the amount shown                  a.   Newly Acquired or Constructed Property
                              on your books as due from the
                              buyer, we will pay the                              Paragraphs (1), (2) and (3) of a. Newly
                              difference.                                         Acquired Or Constructed Property are
                                                                                  amended as follows:
                     (c) In the event of partial loss or
                         damage where the buyer continues                         (1) The last sentence under subparagraph
                         to pay you, we will not make any                             (1) Buildings is replaced by the
                         payment.                                                     following: The most we will pay for
                                                                                      loss or damage under this Extension is
            j.   Claim Expenses                                                       $1,000,000 at each building.
                 The following is added:
                                                                                  (2) The last sentence under subparagraph
                                                                                      (2)(a) Your Business Personal
                 Claim Expenses
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                    Property is replaced by the following:                           (b) 180 days expire after you acquire
                    The most we will pay for loss or                                     the property or begin construction
                    damage under this Extension is                                       of that part of the building that
                    $500,000 at each building.                                           would qualify as covered property;
                                                                                         or
                (3) The following is added to
                    subparagraph (2)(a) Your Business                      b. Personal Effects and Property of Others
                    Personal Property:
                                                                                Paragraph b. Personal Effects and Property
                    However, the following provisions                           of Others is deleted.
                    apply:
                                                                           c.   Valuable Papers and Records (Other Than
                    (a) For newly acquired electronic data
                                                                                Electronic Data)
                        processing equipment and
                        electronic data, including data
                        duplicates, excluding virus, the                        Paragraph c. Valuable Papers and Records
                        most we will pay for loss or                            (Other Than Electronic Data) is deleted.
                        damage under this Extension is
                        $50,000 at each described                          d. Property Off-premises
                        premises; or
                                                                                Paragraph (3) of d. Property Off-premises
                    (b) Coverage for virus to newly                             is replaced by the following:
                        acquired electronic data, including
                        data duplicates, as described under                     (3) The most we will pay for loss or
                        the Blanket Limit Coverage,                                 damage under this Extension is
                        Electronic Data, is limited to $2,500                       $50,000.
                        for all loss or damage sustained in
                        any one policy year, regardless of                 e.   Outdoor Property
                        the number of occurrences of loss
                        or damage or the number of
                                                                                Paragraph e. Outdoor Property is deleted.
                        premises, locations or computer
                        systems involved. If loss payment
                        on the first occurrence does not                   f.   Non-owned Detached Trailers
                        exhaust this amount, then the
                        balance is available for subsequent                     Paragraph f. Non-owned Detached Trailers
                        loss or damage sustained in but                         is deleted.
                        not after that policy year. With
                        respect to an occurrence which                     h. Money and Securities
                        begins in one policy year and
                        continues or results in additional                      The following is added:
                        loss or damage in a subsequent
                        policy year(s), all loss or damage is                   Money and Securities
                        deemed to be sustained in the
                        policy year in which the occurrence                     (1) Yo u may extend the ins urance that
                        began.
                                                                                    applies to Yo ur Business Personal
                                                                                    Pro perty to apply to loss of "Money"
                    This part of the Extension as it relates
                                                                                    and "securities" inside the premises or
                    to Electronic Data does not apply to
                    Electronic Data that is covered under                           ban king premises o r o u tside t he
                    another Coverage Extension within this                          premises in the care and c us tod y o f
                    endorsement.                                                    a messenger o r an armored motor
                                                                                    vehicle com pan y.
                (4) Subparagraph (b) of Paragraph (3)
                    Period of Coverage is replaced by the                            Howe ver, o ur payment for lo ss of
                    following:                                                       "money" and "securities" must result



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                       directly from "theft", disappearance or                           This Extension applies to loss or
                       destruction.                                                      damage by a Covered Cause of Loss to
                                                                                         Covered Property or personal property
                       The most we will pay for loss of                                  of others that is temporarily in your
                       "money" and "securities" in any one                               possession in the course of installation,
                       occurrence is $10,000.                                            fabrication or erection.

                   (2) Paragraph a. of A.2. Property Not                            (2) We will pay for direct physical loss or
                       Covered does not apply to this                                   damage to that property caused by a
                       Extension.                                                       Covered Cause of Loss while:

                 i. Brand and Label                                                      (a) At the job site awaiting installation,
                                                                                             fabrication or erection;
                   The following is added:
                                                                                         (b) In transit; or
                   Brand and Label
                                                                                         (c) At temporary storage locations
                   (1) You may extend the insurance that                                     awaiting installation, fabrication or
                       applies to Your Business Personal                                     erection.
                       Property to apply to brands and labels.
                       If branded or labeled merchandise that                       (3) The most we will pay for loss or
                       is Covered Property is damaged by a                              damage under this Extension is
                       Covered Cause of Loss, we may take                               $25,000.
                       all or part of the property at an agreed
                       or appraised value. If so, you may:                          (4) We will determine the value of loss or
                                                                                        damage to Covered Property in
                       (a) Stamp "salvage" on the                                       accordance with the applicable terms of
                           merchandise or its containers, if                            the Optional Coverages, Replacement
                           the stamp will not physically                                Cost.
                           damage the merchandise; or
                                                                                    (5) This Extension does not apply to:
                       (b) Remove the brands or labels, if
                           doing so will not physically damage                           (a) Property while airborne;
                           the merchandise. You must relabel
                           the merchandise or its containers                             (b) Buildings, structures or land,
                           to comply with the law.                                           however we will cover property that
                                                                                             you install, fabricate or erect in
                   (2) We will pay reasonable costs you incur                                connection with any building or
                       to perform the activity described in                                  structure;
                       (1)(a) or (1)(b) above. But the total we
                       pay under this Extension for these                                (c) Contraband or property in the
                       costs and the value of the damaged                                    course of illegal transportation or
                       property will not exceed $25,000.                                     trade;

            j.     Installation                                                          (d) Machinery, tools or equipment, or
                                                                                             similar property which will not
                   The following is added:                                                   become a permanent part of your
                                                                                             installation, fabrication or erection;
                   Installation                                                          (e) Accounts, bills, currency, food
                   (1) You may extend the insurance that                                     stamps or other evidences of debt,
                       applies to Your Business Personal                                     lottery tickets not held for sale,
                       Property to apply to installations,                                   "money", notes or "securities";
                       fabrications or erections designated to
                                                                                         (f) Trees, shrubs, plants and lawns; or
                       be permanent additions to property.
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                                                                                          concerning a fire loss to Covered
                       (g) Property while waterborne.                                     Property under this policy.

                 (6) Paragraph i. of A.2. Property Not                             (2) The most we will pay as a reward in
                     Covered does not apply to this                                    connection with any one fire under
                     Coverage Extension.                                               this Extension is $25,000, regardless
                                                                                       of the number of:
                 (7) Coverage ends the earlier of when:
                                                                                         (a) Arsonists;
                       (a) your interest in the personal
                           property ceases;                                              (b) Convictions; or

                       (b) the buyer accepts the personal                                (c) People providing information.
                           property; or
                                                                              n. Exhibitions
                       (c) this policy is terminated.
                                                                                   The following is added:
            k. Salespersons’ Samples
                                                                                   Exhibitions
                 The following is added:
                                                                                   You may extend the insurance that applies
                 Salespersons’ Samples                                             to Your Business Personal Property to
                                                                                   apply to property while temporarily on
                 (1) You may extend the insurance that                             display to the public at premises you do not
                     applies to Your Business Personal                             regularly occupy.
                     Property to apply to your personal
                     property in the care, custody or control                      The most we will pay for loss or damage
                     of your salespersons.
                                                                                   under this Extension is $50,000 per
                                                                                   occurrence for property at any one
                 (2)           The most we will pay for loss
                                                                                   Exhibition.
                       or damage under this Coverage
                       Extension is $1,000 per occurrence for
                                                                              Loss Conditions
                       property in the custody of any one
                       salesperson.
                                                                              Paragraph E. Loss Conditions is amended as
                                                                              follows:
            l.   Outdoor Signs ---- Detached Or Attached To
                 Building
                                                                              Manufacturer’s Selling Price ---- Valuation ----
                 The second paragraph of C. Limits Of                         "Stock" Only
                 Insurance is replaced by the following:
                                                                                   The following is added to 7. Valuation:
                 The most we will pay for loss or damage to
                 outdoor signs, whether or not the sign is                         We will determine the value of finished
                 attached to a building, is $10,000 per sign                       "stock" you fabricated or manufactured,
                 in any one occurrence.                                            including "stock" you have sold but not
                                                                                   delivered in the event of loss or damage, at:
            m. Arson Reward
                                                                                   a.   The selling price, as if no loss or
                 The following is added:                                                damage occurred;

                 Arson Reward                                                      b. Less discounts and expenses you
                                                                                      otherwise would have had.
                 (1) We will pay a reward for information
                     leading to a conviction for arson. The                        We will pay the reduction in value of the
                     reward is payable only for information                        remaining parts of "stock" when the
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                reduction is caused by direct physical loss
                or damage from a Covered Cause of Loss
                to other parts of "stock" at the described
                premises.

            Definitions

            The following is added to Paragraph H.
            Definitions:

             "Money" means:

            (1) Currency, coins and bank notes in current
                use and having a face value; and

            (2) Travelers checks, register checks and
                money orders held for sale to the public.

            "Securities" means negotiable and
            nonnegotiable instruments or contracts
            representing either "money" or property and
            includes:

            (1) Tokens, tickets, revenue and other stamps
                (whether represented by actual stamps or
                unused value in a meter) in current use;
                and

            (2) Evidences of debt issued in connection
                with credit or charge cards, which cards
                are not issued by you;

            but does not include "money".

            All other terms and conditions remain
            unchanged.




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                   THIS ENDORSEMENT ENHANCES YOUR POLICY. PLEASE READ IT CAREFULLY.



             ENHANCED BUSINESS INCOME ENDORSEMENT
            This endorsement modifies insurance provided under the following:


            BUSINESS INCOME (AND EXTRA EXPENSE) COVERAGE FORM
            BUSINESS INCOME (WITHOUT EXTRA EXPENSE) COVERAGE FORM
            EXTRA EXPENSE COVERAGE FORM


            This endorsement modifies coverage and provides increased limits of insurance to enhance your
            insurance program. The Limits Of Insurance stated below are granted by us as enhancements to
            your insurance program and are subject to the terms and conditions of this endorsement and the
            above Coverage Forms. These Limits Of Insurance apply separately at each of your premises
            scheduled on this policy.

            If these Limits Of Insurance are not sufficient, you may purchase additional Limits Of Insurance.
            The premium charge will be based on the additional Limits Of Insurance you purchase. When you
            purchase additional Limits Of Insurance for any coverage, the Limit Of Insurance stated in the
            Declaration will be in addition to any Limit Of Insurance we have granted below.


            SUMMARY OF COVERAGE                                                   LIMITS OF INSURANCE


            Civil Authority                                                         Up to 30 consecutive days after
                                                                                    coverage begins

             Utility Services                                                       $ 50,000

            Newly Acquired Locations Increased Limit and                            $ 250,000/ 180 days
            Time Period

            Extended Business Income                                                Within 24 months after the date of loss
                                                                                    to restore operations to previous levels

            Dependent Properties ---- Miscellaneous                                 $ 250,000
            Locations




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                The following modifies insurance                               We will pay for the actual loss of
                provided under the:                                            Business Income you sustain and /or
                                                                               actual and necessary Extra Expense you
                BUSINESS INCOME (AND EXTRA                                     incur under this Additional Coverage,
                EXPENSE) COVERAGE FORM;                                        Civil Authority, provided that both of the
                BUSINESS INCOME (WITHOUT EXTRA                                 following apply:
                EXPENSE) COVERAGE FORM; and
                EXTRA EXPENSE COVERAGE FORM                                    (1) Access to the area immediately
                                                                                   surrounding the damaged property
                                                                                   is prohibited by civil authority as a
                Your coverage for Business Income                                  result of the damage, and the
                and /or Extra Expense, as provided and                             described premises are within that
                limited in the applicable Coverage Form,                           area but are not more than one mile
                is modified as follows:                                            from the damaged property; and

                The Additional Coverage, Civil Authority,                      (2) The action of civil authority is taken
                is replaced by the following:                                      in response to dangerous physical
                                                                                   conditions resulting from the
                Civil Authority                                                    damage or continuation of the
                                                                                   Covered Cause of Loss that caused
                In this Additional Coverage, Civil                                 the damage, or the action is taken to
                Authority, the described premises are                              enable a civil authority to have
                premises to which this Coverage Form                               unimpeded access to the damaged
                                                                                   property.
                applies, as shown in the Declarations.
                                                                               Civil Authority Coverage for Business
                When a Covered Cause of Loss causes                            Income will begin 72 hours after the time
                damage to property other than property
                                                                               of the first action of civil authority that
                at the described premises and the
                                                                               prohibits access to the described
                BUSINESS INCOME (AND EXTRA
                                                                               premises and will apply for a period of
                EXPENSE) COVERAGE FORM or the
                BUSINESS INCOME (WITHOUT EXTRA                                 up to 30 consecutive days from the date
                EXPENSE) COVERAGE FORM is a part                               on which such coverage began.
                of this policy, we will pay for the actual
                loss of Business Income you sustain                            Civil Authority Coverage for Extra
                caused by action of civil authority that                       Expense will begin immediately after the
                prohibits access to the described                              time of the first action of civil authority
                premises.                                                      that prohibits access to the described
                                                                               premises and will end:
                When a Covered Cause of Loss causes
                damage to property other than property                         (1) 30 consecutive days after the date of
                at the described premises and the                                  that action; or
                BUSINESS INCOME (AND EXTRA
                EXPENSE) COVERAGE FORM or the                                  (2) When your Civil Authority Coverage
                EXTRA EXPENSE COVERAGE FORM is                                     for Business Income ends;
                a part of this policy, we will pay for the
                actual and necessary Extra Expense you                         whichever is later.
                incur caused by action of civil authority
                that prohibits access to the described                         The Additional Coverages section of A.
                premises.                                                      Coverage is amended to add the
                                                                               following:

                                                                               Utility Services

                                                                               (1) Your coverage for Business Income
                                                                                   and /or Extra Expense, as provided
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                    and limited in the applicable                                         Coverage under this Additional
                    Coverage Form, is extended to                                         Coverage does not apply to
                    apply to a "suspension" of                                            interruption in service caused by
                    "operations" at the described                                         or resulting from a discharge of
                    premises caused by an interruption                                    water or sewage due to heavy
                    in utility service to that premises.                                  rainfall or flooding.
                    The interruption in utility service
                    must result from direct physical loss
                                                                                    (c) Communication Supply
                    or damage by a Covered Cause of                                     Property, meaning property
                    Loss (as provided under the
                                                                                        supplying communication
                    applicable Causes of Loss Form
                                                                                        services, including telephone,
                    indicated in the Declarations) to                                   radio, microwave or television
                    property described in Paragraph (3)                                 services, to the described
                    and is located outside of a covered                                 premises, such as:
                    building described in the
                    Declarations.                                                         (i) Communication
                                                                                              transmission lines, including
                (2) Coverage under this Additional                                            optic fiber transmission
                    Coverage does not apply to                                                lines;
                    Business Income loss and /or Extra
                    Expense related to interruption in                                    (ii) Coaxial cables; and
                    utility service which causes loss or
                    damage to electronic data, including                                  (iii) Microwave radio relays
                    destruction or corruption of                                                except satellites.
                    electronic data. The term electronic
                    data has the meaning set forth in the                                 Communication Supply Property
                    Coverage Form to which this                                           does not include overhead
                    Additional Coverage applies.                                          transmission lines.

                (3) Utility Services:                                               (d) Power Supply Property,
                                                                                        meaning the following types of
                                                                                        property supplying electricity,
                    (a) Water Supply Property, meaning
                                                                                        steam or gas to the described
                        the following types of property
                                                                                        premises:
                        supplying water to the described
                        premises:                                                         (i) Utility generating plants;

                        (i) Pumping stations; and                                         (ii) Switching stations;

                        (ii) Water mains.                                                 (iii) Substations;

                    (b) Wastewater Removal Property,                                      (iv) Transformers; and
                        meaning a utility system for
                        removing wastewater and                                           (v) Transmission lines.
                        sewage from the described
                        premises, other than a system                                     Power Supply Property does
                        designed primarily for draining                                   not include overhead
                        storm water. The utility property                                 transmission lines.
                        includes sewer mains, pumping                          (4) As used in this Additional Coverage,
                        stations and similar equipment                             the term transmission lines includes
                        for moving the effluent to a                               all lines which serve to transmit
                        holding, treatment or disposal                             communication service or power,
                        facility, and includes such                                including lines which may be
                        facilities.                                                identified as distribution lines.

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                (5) We will only pay for Business                              Coverage, Extended Business Income,
                    Income loss you sustain and /or                            is replaced by the following:
                    Extra Expense you incur after the
                    first 12 hours following the direct                        (1) Business Income Other Than
                    physical loss or damage to the                                 "Rental Value"
                    property described in Paragraph (3)
                    above.                                                          If the necessary "suspension" of
                                                                                    your "operations" produces a
                (6) The most we will pay under this                                 Business Income loss payable under
                    Additional Coverage is $ 50,000 at                              this policy, we will pay for the actual
                    each described premises.                                        loss of Business Income you incur
                                                                                    that begins and is discovered by
                (7) The Coinsurance Additional                                      you after the "period of restoration"
                    Condition provided in the applicable                            (for property except "finished
                    Coverage Form does not apply to                                 stock") but within 24 months after
                    this Additional Coverage.                                       the date of loss. The coverage for
                                                                                    Business Income will apply through
                The Coverage Extension, Newly                                       the time it takes to restore your
                Acquired Locations, is amended as                                   "operations", with reasonable speed,
                follows:                                                            to the level which would generate
                                                                                    the business income amount that
                                                                                    would have existed if no direct
                Paragraph b. is replaced by the
                                                                                    physical loss or damage had
                following:
                                                                                    occurred.
                b. The most we will pay under this                                  Loss of Business Income must be
                   Extension for the sum of Business                                caused by direct physical loss or
                   Income loss and /or Extra Expense                                damage at the described premises
                   incurred is $250,000 at each                                     caused by or resulting from any
                   location, unless a higher limit is                               Covered Cause of Loss.
                   shown in the Declarations.
                                                                                    However, Extended Business
                Paragraph c.(2) is replaced by the                                  Income does not apply to loss of
                following:                                                          Business Income incurred as a
                                                                                    result of unfavorable business
                    (2) 180 days expire after you                                   conditions caused by the impact of
                        acquire or begin to construct                               the Covered Cause of Loss in the
                        the property; or                                            area where the described premises
                                                                                    are located.
                The following modifies insurance
                provided under the:                                                 The Extended Period of Indemnity
                                                                                    Optional Coverage does not apply
                BUSINESS INCOME (AND EXTRA                                          to the Business Income Other Than
                                                                                    "Rental Value" provision of the
                EXPENSE) COVERAGE FORM; and
                                                                                    Additional Coverage, Extended
                BUSINESS INCOME (WITHOUT EXTRA
                                                                                    Business Income.
                EXPENSE) COVERAGE FORM
                                                                                    "Period of restoration" with respect
                Your coverage for Business Income
                                                                                    to Business Income Other Than
                and /or Extra Expense, as provided and                              "Rental Value" under this Additional
                limited in the applicable Coverage Form,                            Coverage means that period of time
                is modified as follows:                                             that:

                Paragraph (1) Business Income Other                                 (a) Begins 72 hours after the time
                Than "Rental Value" of the Additional                                   of direct physical loss or

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                         damage caused by or resulting                              or compliance with any ordinance or
                         from any Covered Cause of                                  law that:
                         Loss at the described
                         premises; or                                                      (i) Regulates the construction,
                                                                                                use or repair, or requires
                    (b) Begins on the date "operations"                                         the tearing down of any
                        would have begun if the direct                                          property; or
                         physical loss or damage had
                        not occurred for loss or                                           (ii) Requires any insured or
                        damage to:                                                              others to test for, monitor,
                                                                                                clean up, remove, contain,
                         (i) New buildings or                                                   treat, detoxify or neutralize,
                             structures, whether                                                or in any way respond to,
                             complete or under                                                  or assess the effects of
                             construction;                                                      "pollutants".

                         (ii) Alterations or additions to                           The expiration date of this policy will
                              existing buildings or                                 not cut short the "period of
                              structures; and                                       restoration".

                         (iii) Machinery, equipment,                           The Additional Coverages section of A.
                               supplies or building                            Coverage is amended to add the
                               materials located on or                         following:
                               within 100 feet of the
                               described premises and;                         Dependent Properties - Miscellaneous
                                                                               Locations
                             (a) Use in the
                                 construction,                                 (1) We will pay the actual loss of
                                 alterations or                                    Business Income you sustain due to
                                 additions; or                                     the necessary "suspension" of your
                                                                                   "operations" during the "period of
                             (b) Incidental to the                                 restoration". The "suspension" must
                                 occupancy of new                                  be caused by direct physical loss of
                                 buildings                                         or damage to "dependent property"
                                                                                   at premises not described in the
                         if such direct physical loss or                           Declarations caused by or resulting
                         damage delays the start of                                from a Covered Cause of Loss.
                         "operations"; and                                         However, coverage under this
                                                                                   Additional Coverage does not apply
                    (c) Ends on the earlier of:                                    when the only loss to "dependent
                                                                                   property" is loss or damage to
                         (i) The date when the property                            electronic data, including
                             at the described premises                             destruction or corruption of
                             should be repaired, rebuilt                           electronic data. If the "dependent
                             or replaced with                                      property" sustains loss or damage
                              reasonable speed and                                 to electronic data and other
                             similar quality; or                                   property, coverage under this
                                                                                   Additional Coverage will not
                         (ii) The date when business is                            continue once the other property is
                               resumed at a new                                    repaired, rebuilt or replaced. The
                               permanent location.                                 term electronic data has the meaning
                                                                                   set forth in the Coverage Form to
                    "Period of restoration" does not                               which this Additional Coverage
                    include any increased period                                   applies.
                    required due to the enforcement of

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                (2) We will not pay more than .005 times                                    Loss at the premises of the
                    the Business Income Limit of                                            "dependent property"; and
                    Insurance shown in the Declarations
                    for each day’s "suspension" of                                    (b) Ends on the date when the
                    "operations" due to loss arising from                                 property at the premises of the
                    any one location. The most we will                                    "dependent property" should be
                    pay for all such loss is the lesser of                                repaired, rebuilt or replaced with
                    the Limit of Insurance stated in the                                  reasonable speed and similar
                    Declarations or $ 250,000.                                            quality.
                (3) As used in this Additional Coverage,                              "Period of restoration" does not
                    "Dependent Property" means                                        include any increased period
                    property operated by others whom
                                                                                      required due to the enforcement of
                    you depend on to:
                                                                                      or compliance with any ordinance or
                                                                                      law that:
                    (a) Deliver materials or services to
                        you, or to others for your
                        account (Contributing                                         (a) Regulates the construction, use
                        Locations). But any property                                      or repair, or requires the tearing
                        which delivers any of the                                         down of any property; or
                        following services is not a
                        Contributing Location with                                    (b) Requires any insured or others
                        respect to such services:                                         to test for, monitor, clean up,
                                                                                          remove, contain, treat, detoxify
                        (i)    Water supply services;                                     or neutralize, or in any way
                                                                                          respond to, or assess the
                        (ii)   Power supply services; or                                  effects of "pollutants".

                        (iii) Communication supply                                    The expiration date of this policy will
                              services, including services                            not cut short the "period of
                              related to internet access                              restoration".
                              or access to any electronic
                              network;
                                                                                 All other terms and conditions remain
                    (b) Accept your products or                                  unchanged.
                        services (Recipient Locations);

                    (c) Manufacture products for
                        delivery to your customers
                        under contract of sale
                        (Manufacturing Locations); or

                    (d) Attract customers to your
                        business (Leader Locations).

                (4) As used in this Additional Coverage,
                    "Period of Restoration" means the
                    period of time that:

                    (a) Begins 72 hours after the time of
                        direct physical loss or damage
                        for Business Income Coverage
                        ca used by or result ing from
                        any Covered Ca use of


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                THIS ENDORSEMENT CHANGES YOUR POLICY. PLEASE READ IT CAREFULLY.



             ENHANCED COMMERCIAL GENERAL LIABILITY
                 COVERAGE FORM ENDORSEMENT
       This endorsement modifies insurance provided under the following:

            COMMERCIAL GENERAL LIABILITY COVERAGE PART
            COMMON POLICY CONDITIONS


       This endorsement modifies coverage and provides increased limits of insurance to enhance your
       insurance program. The Limits of Insurance stated below are granted by us as enhancements to your
       insurance program and are subject to the terms and conditions of this endorsement and the
       COMMERCIAL GENERAL LIABILITY COVERAGE FORM and COMMON POLICY CONDITIONS.

       If these Limits of Insurance are not sufficient, you may purchase additional Limits of Insurance. The
       premium charge will be based on the additional Limits of Insurance you purchase. When you purchase
       additional Limits of Insurance for any coverage, the Limit of Insurance stated in the Declarations will be in
       addition to any Limit of Insurance we have granted below.

                                                   Summary Of Coverage

       1.   Broad Form Named Insured
       2.   Nonowned Watercraft
       3.   Property Damage – Property Loaned To You
       4.   Property Damage Liability - Elevators
       5.   Damage To Premises Rented To You
       6.   Personal and Advertising Injury Assumed By Contract
       7.   Medical Payments - Increased Period                                    3 Years
       8.   Supplementary Payments - Increased Limits
                 Cost of Bail Bonds                                                Up To $2,500
                 Loss of Earnings                                                  Up To $500 Per Day
       9.   Automatic Additional Insureds By Contract, Agreement Or Permit
      10.   Who Is An Insured Redefined - Fellow Employee Coverage and
            Incidental Medical Malpractice
      11.   Duties In The Event Of Occurrence, Claim Or Suit Redefined
      12.   Unintentional Failure To Disclose All Hazards
      13.   Waiver Of Transfer Of Rights Of Recovery Against Others To Us
      14.   Liberalization
      15.   Bodily Injury Redefined
      16.   Insured Contract Redefined
      17.   Mobile Equipment Redefined (This provision is not applicable in New York or Virginia)
      18.   Personal and Advertising Injury Redefined
      19.   Additional Definitions
      20.   Cancellation Condition                                                 90 Days

       The following OPTIONAL COVERAGE applies only if a YES is indicated next to the coverage below.

              Additional Insured – Broad Form Vendors




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        1. Broad Form Named Insured
                                                                            (a) Less than 75 feet long; and
           a. The second paragraph of the preamble
              of this Coverage Form is replaced by                          (b) Not being used to carry persons or
              the following:                                                    property for a charge;

               Throughout this policy the words "you"              3. Property Damage – Property Loaned To
               and "your" refer to the Named Insured                  You
               shown in the Declarations, any other
               person or organization qualifying as a                   Paragraph j.(3) of 2. Exclusions of Section
               Named Insured under this policy, and                     I – Coverage A Bodily Injury And
               any “controlled business entity”. The                    Property Damage Liability of the
               words “we”, “us” and “our” refer to the                  COMMERCIAL GENERAL LIABILITY
               company providing this insurance.                        COVERAGE FORM is amended by adding
                                                                        the following:
               As used in this endorsement, the term
               “controlled business entity” means any                   This exclusion j.(3) does not apply to
               business entity in which the Named                       property loaned to you, which is not being
               Insured owns an interest of more than                    used by you to perform “your work”.
               50 percent during the policy period and
               for which similar coverage is not                        Our obligation to pay for damages because
               otherwise more specifically provided.                    of such "property damage" is excess over
               However, we will not pay any sums such                   any valid and collectible insurance (including
               a “controlled business entity” must pay                  any deductible), whether primary, excess,
               as damages because of "bodily injury"                    contingent or on any other basis.
               or "property damage" to which this
               insurance applies caused by an                      4. Property Damage Liability - Elevators
               "occurrence" that occurred before the
               Named Insured acquired or formed the                     Exclusions j. and k. of Section I –
               “controlled business entity”, or because                 Coverage A Bodily Injury And Property
               of "personal and advertising injury" to                  Damage Liability of the COMMERCIAL
               which this insurance applies caused by                   GENERAL LIABILITY COVERAGE FORM
               an offense committed before the Named                    are amended as follows:
               Insured acquired or formed the
               "controlled business entity."                            a. Exclusion j. is amended to add the
               Notwithstanding the foregoing, we will                      following:
               not pay any sums or perform any acts or
               services on behalf of any person or                          Paragraphs (3), (4) and (6) of this
               organization for which coverage is                           exclusion j. do not apply to "property
               specifically excluded by endorsement.                        damage" arising out of the use of an
                                                                            elevator at premises you own, rent or
           b. Paragraph 3. of Section II – Who Is An                        occupy.
              Insured of the COMMERCIAL
              GENERAL LIABILITY COVERAGE                                b. Exclusion k. is amended to add the
              FORM is deleted in its entirety.                             following:

        2. Nonowned Watercraft                                              This exclusion k. does not apply to:

           Paragraph g.(2) of 2. Exclusions of                              (1) The use of elevators; or
           Section I – Coverage A Bodily Injury And
           Property Damage Liability of the                                 (2) Liability assumed under a sidetrack
           COMMERCIAL GENERAL LIABILITY                                         agreement.
           COVERAGE FORM is replaced by the
           following:                                                   Our obligation to pay sums for damages
                                                                        because of such "property damage" is
           (2) A watercraft you do not own that is:                     excess over any other valid and collectible

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           insurance (including any deductible),                              purpose of liability assumed in an
           whether primary, excess, contingent or on                          "insured contract", where the “personal
           any other basis.                                                   and advertising injury” arises out of an
                                                                              offense committed subsequent to the
        5. Damage To Premises Rented To You                                   execution of the “insured contract”,
                                                                              reasonable attorney fees and necessary
           Paragraph 6. of Section III – Limits Of                            litigation expenses incurred by or for a
           Insurance of the COMMERCIAL                                        party other than an insured are deemed
           GENERAL LIABILITY COVERAGE FORM                                    to be damages because of "personal
           is replaced by the following:                                      and advertising injury", provided that:

           a. Subject to Paragraph 5. above, the                              (a) Liability to such party for, or for the
              Damage To Premises Rented To You                                    cost of, that party's defense has
              Limit is the most we will pay under                                 also been assumed in the same
              Coverage A for damages because of                                   "insured contract"; and
              "property damage" to any one premises,
              while rented to you, or in the case of                          (b) Such attorney fees and litigation
              damage by fire, lightning, or "explosion",                          expenses are for defense of that
              while rented to you or temporarily                                  party against a civil or alternative
              occupied by you with permission of the                              dispute resolution proceeding in
              owner.                                                              which damages to which this
                                                                                  insurance applies are alleged.
           b. The most we will pay for Damage To
              Premises Rented To You will be the                     7. Medical Payments - Increased Period
              greater of:
                                                                          Paragraph a. of 1. Insuring Agreement of
               (1) $300,000; or                                           Section I – Coverage C Medical Payments
                                                                          of the COMMERCIAL GENERAL
               (2) The amount shown in the                                LIABILITY COVERAGE FORM is replaced
                   Declarations.                                          by the following:

        6. Personal and Advertising Injury                                a. We will pay medical expenses as
           Assumed by Contract                                               described below for "bodily injury"
                                                                             caused by an accident:
           Paragraph e. Contractual Liability of 2.
           Exclusions of Section I – Coverage B                               (1) On premises you own or rent;
           Personal And Advertising Injury Liability
           of the COMMERCIAL GENERAL                                          (2) On ways next to premises you own
           LIABILITY COVERAGE FORM is replaced                                    or rent; or
           by the following:
                                                                              (3) Because of your operations;
           "Personal and advertising injury" for which
           the insured has assumed liability in a                             provided that:
           contract or agreement. This exclusion does
           not apply to liability for damages:                                (a) The accident takes place in the
                                                                                  "coverage territory" and during the
           (1) That the insured would have in the                                 policy period;
               absence of the contract or agreement;
               or                                                             (b) The expenses are incurred and
                                                                                  reported to us within three years of
           (2) Assumed in an "insured contract",                                  the date of the accident; and
               provided the "personal and advertising
               injury" arises out of an offense                               (c) The injured person submits to
               committed subsequent to the execution                              examination, at our expense, by
               of the “insured contract”. Solely for the


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                     physicians of our choice as often as                    2. If coverage provided to the
                     we reasonably require.                                     additional insured is required by a
                                                                                written contract, agreement, or
        8.   Supplementary Payments - Increased                                 permit, the insurance afforded to
             Limits                                                             such additional insured will not be
                                                                                broader than that which you are
             Paragraphs 1.b. and 1.d. of Section I –                            required by the written contract,
             Supplementary Payments – Coverages A                               agreement, or permit, to provide for
             and B of the COMMERCIAL GENERAL                                    such additional insured.
             LIABILITY COVEAGE FORM are replaced
             by the following:                                            b. The following additional exclusions
                                                                             apply to the insurance afforded by
             b. Up to $2,500 for the cost of bail bonds                      Paragraph a. above.
                required because of accidents or traffic
                law violations arising out of the use of                     This insurance does not apply:
                any vehicle to which the Bodily Injury
                Liability Coverage applies. We do not                        (1) Unless the written contract,
                have to furnish these bonds.                                     agreement or permit has been
                                                                                 issued prior to the "bodily injury",
             d. All reasonable expenses incurred by the                          "property damage" or "personal and
                insured at our request to assist us in the                       advertising injury";
                investigation or defense of the claim or                     (2) To any person or organization
                "suit", including actual loss of earnings                        included as an insured by any other
                up to $500 a day because of time off                             endorsement issued by us and
                from work.                                                       made part of this Coverage Form;

        9. Automatic Additional Insureds By                                  (3) To any lessor of equipment:
           Contract, Agreement Or Permit
                                                                                 (a) After the equipment lease
                 a.     Paragraph 2. of Section II – Who                             expires; or
                 Is An Insured of the COMMERCIAL
                 GENERAL LIABILITY COVERAGE                                      (b) If the "bodily injury", "property
                 FORM is amended by adding the                                       damage" or "personal and
                 following:                                                          advertising injury" arises out of
                                                                                     the sole negligence of the
                   Any person or organization with whom                              lessor.
                 you agreed, in a written contract,
                 agreement or permit, to provide                             (4) To any engineer, architect or
                 insurance such as is afforded under this                        surveyor if the "bodily injury",
                 Coverage Form, but only with respect to                         "property damage" or "personal and
                 your operations, "your work" or facilities                      advertising injury" arises out of the
                 owned or occupied by, or rented or                              rendering or the failure to render
                 loaned to you.                                                  professional architectural,
                                                                                 engineering or surveying services
                 However:                                                        by or for you, including:

                 1. The insurance afforded to such                               (a) The preparing, approving or
                    additional insured only applies to the                           failing to prepare or approve
                    extent permitted by law; and                                     maps, shop drawings, opinions,
                                                                                     reports, surveys, field orders,
                                                                                     change orders, or drawings and
                                                                                     specifications; and




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                      (b) Supervisory, inspection,                             whichever is less.
                          architectural or engineering
                          activities.                                          This endorsement shall not increase the
                                                                               applicable Limits of Insurance shown in
                      This exclusion applies even if the                       the Declarations.
                      claims against any insured allege
                      negligence or other wrongdoing in               10. Who Is An Insured Redefined - Fellow
                      the supervision, hiring, employment,                Employee Coverage and Incidental
                      training or monitoring of others by                 Medical Malpractice
                      that insured, if the "occurrence"
                      which caused the "bodily injury" or                  Paragraph 2.a.(1) of Section II – Who Is An
                      "property damage", or the offense                    Insured of the COMMERCIAL GENERAL
                      which caused the "personal and                       LIABILITY COVERAGE FORM is replaced
                      advertising injury", involved the                    by the following:
                      rendering of or the failure to render
                      any professional services by or for                  (1) "Bodily injury" or "personal and
                      you.                                                     advertising injury":

               (5) To any:                                                     (a) To you, to your partners or
                                                                                   members (if you are a partnership or
                      (a) Owners or other interests from                           joint venture) or to your members (if
                          whom land has been leased; or                            you are a limited liability company);

                      (b) Managers or lessors of                               (b) For which there is an obligation to
                          premises                                                 share damages with or repay
               If:                                                                 someone else who must pay
                      (i) The "occurrence" takes                                   damages because of the injury
                          place after you cease to be a                            described in Paragraph (1)(a)
                          tenant of such land or premises;                         above; or
                          or
                                                                               (c) Arising out of his or her providing or
                      (ii) The "bodily injury",                                    failing to provide professional health
                           "property damage" or "personal                          care services. However, this
                           and advertising injury" arises                          exclusion does not apply to nurses,
                           out of structural alterations, new                      emergency medical technicians or
                           construction or demolition                              paramedics who are employed by
                           operations performed by or on                           you to provide medical or
                           behalf of the owner, manager or                         paramedical services.
                           lessor.
            c. With respect to the insurance afforded                 11. Duties In The Event Of Occurrence,
               to these additional insureds, the                          Offense, Claim, or Suit Redefined
               following is added to Section III –
               Limits Of Insurance:                                        Paragraph 2. Duties In The Event Of
               If coverage provided to the additional                      Occurrence, Offense, Claim or Suit of
               insured is required by a written contract,                  Section IV – Commercial General Liability
               agreement, or permit, the most we will                      Conditions of the COMMERCIAL
               pay on behalf of the additional insured is                  GENERAL LIABILITY COVERAGE FORM
               the amount of insurance:                                    is amended by adding the following::

               1. Required by the written contract,                        e. With respect to an "occurrence",
                  agreement, or permit; or                                    offense, claim or "suit":

               2. Available under the applicable                               (1) Knowledge of an "occurrence",
                  Limits of Insurance shown in the                                 offense, claim or "suit" by an agent,
                  Declarations;


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                   servant or "employee" of any                            provided by this Coverage Form, provided
                   insured, and receipt of any demand,                     such failure or omission was not intentional.
                   notice, summons or other legal                          However, this provision does not affect our
                   paper in connection with a claim or                     right to collect additional premium for any
                   "suit" by any agent, servant or                         such hazard or to exercise our right of
                   "employee" of any insured, shall not                    cancellation or nonrenewal
                   in itself constitute knowledge or
                   receipt of such information by you or              13. Waiver Of Transfer Of Rights Of
                   by an involved insured, unless and                     Recovery Against Others To Us
                   until you, or an "executive officer",
                   in-house or outside counsel, risk                       Paragraph 8. Transfer Of Rights Of
                   manager or "employee" assigned to                       Recovery Against Others To Us of
                   the risk management, insurance or                       Section IV – Conditions of the
                   safety department (other than                           COMMERCIAL GENERAL LIABILITY
                   clerical staff), or any other agent or                  COVERAGE FORM is amended by adding
                   “employee” designated to receive or                     the following:
                   handle notices of an “occurrence” or
                   offense which may result in a claim                     We waive any right of recovery we may
                   or “suit” shall have such knowledge                      have against a person or organization
                   or shall have received such                             because of payments we make for injury or
                   demand, notice, summons or legal                        damage arising out of your ongoing
                   paper from the agent, servant or                        operations or “your work” done under a
                   "employee."                                             contract with that person or organization and
                                                                           included in the “products-completed
               (2) Failure of any agent, servant or                        operations hazard”, if:
                   "employee" of any insured to notify
                   us of a known "occurrence",                             a. The waiver of such rights is required in a
                   offense, claim or "suit" shall not                         written contract or agreement with that
                   prejudice coverage afforded by this                        person or organization; and
                   policy, provided that we are notified
                   of the "occurrence", offense, claim                     b. You have assumed the liability of that
                   or "suit" once it is known to you, or                      person or organization in that same
                   to an "executive officer", in-house or                     contract, and it is an “insured contract”;
                   outside counsel, risk manager, or                          but,
                   "employee" assigned to the risk
                   management, insurance or safety                         these provisions only apply to the person or
                   department (other than clerical staff)                  organization addressed in a. and b. above,
                   or any other agent or "employee"                        and only if the injury or damage occurs after
                   designated to receive or handle                         the execution of the written contract of
                   notices of an "occurrence" or                           agreement.
                   offense which may result in a claim
                   or "suit."                                         14. Liberalization

        12. Unintentional Failure To Disclose All                          Section IV – Commercial General Liability
            Hazards                                                        Conditions of the COMMERCIAL
                                                                           GENERAL LIABILITY COVERAGE FORM
           Paragraph 6. Representations of Section                         is amended by adding the following:
           IV – Commercial General Liability
           Conditions of the COMMERCIAL                                    Liberalization
           GENERAL LIABILITY COVERAGE FORM
           is amended by adding the following:                             If we adopt a change in the insurance
                                                                           provided by this policy that would broaden
           Your failure to disclose hazards existing as                    the scope of insurance afforded to you
           of the inception date of this policy shall not                  without additional premium charge, then the
           prejudice you with respect to the insurance                     broader insurance will apply. It will apply


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           when the change becomes effective in your                           liability that would be imposed by law in
           state.                                                              the absence of any contract or
                                                                               agreement.

        15. Bodily Injury Redefined                                            Paragraph f. does not include that part
                                                                               of any contract or agreement:
           The definition of “bodily injury” in Paragraph
           3. of Section V – Definitions of the                                (1) That indemnifies an architect,
           COMMERCIAL GENERAL LIABILITY                                            engineer or surveyor for injury or
           COVERAGE FORM is replaced by the                                        damage arising out of:
           following:
                                                                                   (a) Preparing, approving, or failing
           3. "Bodily injury" means bodily injury,                                     to prepare or approve, maps,
              sickness, disease or "incidental medical                                 shop drawings, opinions,
              malpractice" sustained by a person,                                      reports, surveys, field orders,
              including mental anguish or injury,                                      change orders or drawings and
              humiliation, embarrassment, or death                                     specifications; or
              resulting from any of these at any time.
                                                                                   (b) Giving directions or instructions,
        16. Insured Contract Redefined                                                 or failing to give them, if that is
                                                                                       the primary cause of the injury
           The definition of " insured contract" in                                    or damage; or
           Paragraph 9. of Section V – Definitions of
           the COMMERCIAL GENERAL LIABILITY                                    (2) Under which the insured, if an
           COVERAGE FORM is amended as follows:                                    architect, engineer or surveyor,
                                                                                   assumes liability for an injury or
           Paragraph a. is replaced by the following:                              damage arising out of the insured's
                                                                                   rendering or failure to render
           a. A contract for a lease of premises.                                  professional services, including
              However, that portion of the contract for                            those listed in Paragraph (1) above
              a lease of premises that indemnifies any                             and supervisory, inspection,
              person or organization for damage by                                 architectural or engineering
              water, fire, lightning, explosion, or                                activities.
              smoke to premises while rented to you
              or temporarily occupied by you with                     17. Mobile Equipment Redefined - This
              permission of the owner is not an                           provision is not applicable in New York
              "insured contract";                                         or Virginia.

           Paragraph c. is replaced by the following:                      Paragraph f.(1) of the definition of "Mobile
                                                                           Equipment" in Paragraph 12. of Section V –
           c. Any easement or license agreement;                           Definitions of the COMMERCIAL
                                                                           GENERAL LIABILITY COVERAGE FORM
           Paragraph f. is replaced by the following:                      does not apply to self-propelled vehicles of
                                                                           less than 1,000 pounds gross vehicle
                                                                           weight, designed for use principally off
           f.   That part of any other contract or                         highways.
                agreement pertaining to your business
                (including an indemnification of a                    18. Personal and Advertising Injury
                municipality in connection with work                      Redefined
                performed for a municipality) under
                which you assume the tort liability of                     The definition of “Personal and Advertising
                another party to pay for "bodily injury,"                  Injury” in Paragraph 14. of Section V –
                "property damage" or "personal and                         Definitions of the COMMERCIAL
                advertising injury" to a third person or                   GENERAL LIABILITY COVERAGE FORM
                organization. Tort liability means a                       is amended by adding the following:


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           h. Discrimination or humiliation that results                      or leased by you, or operated under
              in injury to the feelings or reputation of a                    your control; or
              natural person, but only if such
              discrimination or humiliation is:                           d. Rupture or bursting caused by
              (1) Not done intentionally by or at the                        centrifugal force.
                   direction of;
                                                                     20. Cancellation Condition
                   (a) An insured; or
                                                                          Paragraph 2.b. of Section A. Cancellation
                   (b) Any "executive officer", director,                 of the COMMON POLICY CONDITIONS is
                       stockholder, partner or member                     replaced by the following:
                       of the insured; and
                                                                          a. 90 days before the effective date of
               (2) Not directly or indirectly related to                     cancellation if we cancel for any other
                   the employment, prospective                               reason.
                   employment or termination of
                   employment of any person or                       OPTIONAL COVERAGE
                   persons by any insured.
                                                                     The COMMERCIAL GENERAL LIABILITY
        19. Additional Definition                                    COVERAGE FORM is amended to provide the
                                                                     following Optional Coverage only if a YES is
           Section V – Definitions of the                            indicated next to Additional Insured – Broad
           COMMERCIAL GENERAL LIABILITY                              Form Vendors on the first page of this
           COVERAGE FORM is amended by adding                        endorsement.
           the following definitions:
                                                                     Additional Insured - Broad Form Vendors
           "Incidental medical malpractice" means
           injury arising out of the negligent rendering             1. Section II – Who Is An Insured is amended
           of, or failure to render medical or                          to include as an additional insured any
           paramedical services to persons by any                       person(s) or organization(s) (referred to
           physician, dentist, nurse, emergency                         below as vendor) with whom you have
           medical technician or paramedic who is                       agreed, in a written contract or written
           employed by you to provide such services                     agreement to provide insurance, but only
           provided you are not engaged in the                          with respect to "bodily injury" or "property
           business or occupation of providing any                      damage" arising out of "your product" which
           services referred to in this definition.                     is distributed or sold in the regular course of
                                                                        the vendor's business.
           "Explosion" means a sudden release of
           expanding pressure accompanied by a                            However:
           noise, a bursting forth of material and                        a. The insurance afforded to such vendor
           evidence of the scattering of debris to                           only applies to the extent permitted by
           locations further than would have resulted                        law; and
           by gravity alone.
                                                                          b. If coverage provided to the vendor is
            “Explosion” does not include any of the                          required by a contract or agreement, the
            following:                                                       insurance afforded to such vendor will not
                                                                             be broader than that which you are
           a. Artificially generated electrical current                      required by the contract or agreement to
              including electrical arcing, that disturbs                     provide for such vendor.
              electrical devices, appliances or wires;
                                                                     2. The insurance afforded by this paragraph
           b. Rupture or bursting of water pipes;                       does not apply to:

           c. Explosion of steam boilers, steam pipes,                    a. "Bodily Injury" or "property damage" for
              steam engines or steam turbines owned                          which the vendor is obligated to pay


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            damages by reason of the assumption                   3. This insurance does not apply to any insured
            of liability in a contract or agreement.                 person or organization, from whom you have
            This exclusion does not apply to liability               acquired such products or any ingredient,
            for damages that the vendor would have                   part or container, entering into,
            in the absence of the contract or                        accompanying or containing such products.
            agreement;
                                                                  4. With respect to the insurance afforded to
       b. Any express warranty unauthorized by                       these vendors, the following is added to
          you;                                                       Section III – Limits Of Insurance:

       c. Any physical or chemical change in                           If coverage provided to the vendor is
          "your product" made intentionally by the                     required by a contract or agreement, the
          vendor;                                                      most we will pay on behalf of the vendor is
                                                                       the amount of insurance:
       d. Repackaging, except when unpacked
          solely for the purpose of inspection,                        a. Required by the contract or agreement; or
          demonstration, testing, or the
          substitution or parts under instructions                     b. Available under the applicable Limits of
          from the manufacturer, and then                                 Insurance shown in the Declarations;
          repackaged in the original container;
                                                                       whichever is less.
       e. Any failure to make such inspections,
          adjustments, tests or servicing as the                       This endorsement shall not increase the
          vendor has agreed to make or normally                        applicable Limits of Insurance shown in the
          undertakes to make in connection with                        Declarations.
          the sale of "your product";
                                                                  All other terms and conditions remain
       f.   Demonstration, installation, servicing or             unchanged.
            repair operations, except such
            operations performed at the vendor's
            premises in connection with the sale of
            "your product"; or

       g. "Your product" which, after distribution
          or sale by you, has been labeled or
          relabeled or used as a container, part or
          ingredient of any other thing or
          substance by or for the vendor; or

       h. “Bodily injury” or “property damage”
          arising out of the sole negligence of the
          vendor for its own acts or omissions or
          those of its “employees” or anyone else
          acting on its behalf. However, this
          exclusion does not apply to:

            (1) The exceptions contained in
                Paragraphs d. or f. above; or

            (2) Such inspections, adjustments, tests
                or servicing as the vendor has
                agreed to make or normally
                undertakes to make in connection
                with the sale of “your product.”



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                                                      Policy Number PKG3127372


                               COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                     SUPPLEMENTAL DECLARATIONS

 Named Insured MUSSO & FRANK GRILL CO., INC.                                            Effective Date: 06-30-19
                                                                                            12:01 A.M., Standard Time
 Agent Name        HUB INTERNATIONAL                                                    Agent No.   0099580

Item 1. Business Description: RESTAURANT

Item 2. Limits of Insurance
                                                       Limit of Liability
Aggregate Limits                                                                 Products/Completed Operations
                                                               $2,000,000        Aggregate Limit
                                                               $2,000,000        General Aggregate Limit (other than
                                                                                 Products/Completed Operations)
(Coverage A)    Each Occurrence
                Limit                                                            subject to the Products/Completed
                                                               $1,000,000        Operations Aggregate Limit or the
                                                                                 General Aggregate Limit

                Damage To Premises                                               “property damage” to any one premises
                                                                  $300,000       subject to the Each Occurrence Limit
                Rented To You Limit

(Coverage B)    Personal and Advertising
                Injury Liability Limit                         $1,000,000        any one person or organization subject
                                                                                 to the General Aggregate Limit
(Coverage C)    Medical Expense Limit                                            any one person or organization subject to
                                                                   $10,000
                                                                                 the Each Occurrence Limit

Item 3. Retroactive Date
Coverage A of this Insurance does not apply to "bodily injury" or "property damage" which occurs before the
Retroactive Date, if any, shown here:
                                                    (Enter Date or "None" if no Retroactive Date applies)

Item 4. Form of Business and Location of Premises
Forms of Business: CORPORATION
Location of All Premises You Own, Rent or Occupy:
                                                        See Schedule of Locations

Item 5. Forms and Endorsements
Form(s) and Endorsement(s) made a part of this policy at time of issue:
                                                                            See Schedule of Forms and Endorsements

Item 6. Premiums
Coverage Part Premium:                                                              $34,438.00
Other Premium:
Total Premium:                                                                      $34,438.00



     These Declarations are part of the Policy Declarations containing the name of the insured and the policy period.

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                                                         Policy Number PKG3127372



                              LIQUOR LIABILITY COVERAGE PART DECLARATIONS


 Named Insured MUSSO & FRANK GRILL CO., INC.                                            Effective Date: 06/30/2019
                                                                                           12:01 A.M., Standard Time
 Agent Name        HUB INTERNATIONAL                                                     Agent No.  0099580


Item 1. Limits of Insurance
Aggregate Limit:                                                                    $1,000,000
Each Common Cause Limit:                                                            $1,000,000

Item 2. Retroactive Date (Applicable to CG 00 34 only)
Section I of this insurance does not apply to “injury” which occurs before the retroactive date, if any, shown here
(enter date or “none” if no retroactive date applies):

Item 3. Business Form and Description and Location of Premises

Form of Business: CORPORATION

Business Description: RESTAURANT

Location of all Premises You Own, Rent or Occupy:
                                           See Schedule of Locations

Item 4. Premium
Code No.                           Premium Basis
                                                                                    Premises/ Operations

Location                           Exposure                             Rate          Premium

Classification
                                                                               Products / Completed Operations
See Commercial General Liability Coverage Schedule
                                                                        Rate          Premium



Item 5. Schedule of Forms and Endorsements
Form(s) and Endorsement(s) made a part of this policy at time of issue:


See Schedule of Forms and Endorsements




                 THESE DECLARATIONS ARE PART OF THE POLICY DECLARATIONS CONTAINING THE NAME OF THE
                                          INSURED AND THE POLICY PERIOD.

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                                                                                                        EX03-116
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                                                                     Policy Number
                                                                     PKG3127372
                               COMMERCIAL GENERAL LIABILITY COVERAGE SCHEDULE


   Named Insured        MUSSO & FRANK GRILL CO., INC.                 Effective Date:        06-30-19
                        KEEGAL IRREVOCABLE TRUST DATED                         12:01 A.M., Standard Time
   Agent Name           HUB INTERNATIONAL                             Agent No.         0099580

  Item 5. Location of Premises
  Location of All Premises You Own, Rent or Occupy:
        See Schedule of Locations
  Code No.         Premium Basis
                                                                            Premises /Operations
   72000
  Location       ALL           Exposure                        25    Rate                     Premium
 Classification:                                                                        $            6.00
 Employee Benefits EO
                                                                     Products / Completed Operations

                                                                     Rate                     Premium


  Code No.         Premium Basis
                                                                            Premises /Operations
   72000
  Location       ALL           Exposure                        25    Rate                     Premium
 Classification:                                                                        $          294.00
 Employee Benefits EO Minimum Difference
                                                                     Products / Completed Operations

                                                                     Rate                     Premium


  Code No.         Premium Basis
                                                                            Premises /Operations
   16910           Gross Sales
  Location          001/001 Exposure      $9,000,000                 Rate                     Premium
 Classification:                                                            3.117       $     28,416.00
 RESTAURANTS - WITH SALE OF ALCOHOLIC
 BEVERAGES THAT ARE LESS THAN 30% OF THE
 ANNUAL RECEIPTS OF THE RESTAURANTS -                                Products / Completed Operations
 WITH TABLE SERVICE
                                                                     Rate                     Premium

                                                                             .202       $      1,818.00
  Code No.         Premium Basis
                                                                            Premises /Operations
   58161           Gross Sales
  Location          001/001 Exposure      $1,215,000                 Rate                     Premium
 Classification:                                                            3.113       $      3,782.00
 RESTAURANTS, TAVERNS, HOTELS, MOTELS,
 INCLUDING PACKAGE SALES                                             Products / Completed Operations

                                                                     Rate                     Premium



  MS 6102 05 15

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                                                                                            EX03-117
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                                                                     Policy Number
                                                                     PKG3127372
                               COMMERCIAL GENERAL LIABILITY COVERAGE SCHEDULE


   Named Insured        MUSSO & FRANK GRILL CO., INC.                 Effective Date:        06-30-19
                        KEEGAL IRREVOCABLE TRUST DATED                         12:01 A.M., Standard Time
   Agent Name           HUB INTERNATIONAL                             Agent No.         0099580

  Item 5. Location of Premises
  Location of All Premises You Own, Rent or Occupy:
        See Schedule of Locations
  Code No.         Premium Basis
                                                                            Premises /Operations
   61226           Square Feet
  Location          002/001 Exposure                         800     Rate                     Premium
 Classification:                                                       151.606          $          122.00
 BUILDINGS OR PREMISES - OFFICE - OTHER
 THAN NOT-FOR-PROFIT (PRODUCTS-COMPLETED
 OPERATIONS ARE SUBJECT TO THE GENERAL                               Products / Completed Operations
 AGGREGATE LIMIT)
                                                                     Rate                     Premium
                                                                                        INCL
  Code No.         Premium Basis
                                                                            Premises /Operations

  Location                     Exposure                              Rate                     Premium
 Classification:

                                                                     Products / Completed Operations

                                                                     Rate                     Premium


  Code No.         Premium Basis
                                                                            Premises /Operations

  Location                     Exposure                              Rate                     Premium
 Classification:

                                                                     Products / Completed Operations

                                                                     Rate                     Premium


  Code No.         Premium Basis
                                                                            Premises /Operations

  Location                     Exposure                              Rate                     Premium
 Classification:

                                                                     Products / Completed Operations

                                                                     Rate                     Premium



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                                                                                            EX03-118
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                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


             CALIFORNIA --- FUNGI, BACTERIA OR PROTISTS
                              EXCLUSION

        This endorsement modifies insurance provided under the following:

           COMMERCIAL GENERAL LIABILITY COVERAGE PART

        A. Paragraph 2. Exclusions of Section I ----                        GENERAL LIABILITY COVERAGE FORM is
           Coverage A Bodily Injury And Property                            amended by adding the following exclusion:
           Damage Liability of the COMMERCIAL
           GENERAL LIABILITY COVERAGE FORM                                  Fungi, Bacteria or Protists
           is amended by adding the following
           exclusion:                                                       (1) "Personal and advertising injury" which
                                                                                would not have taken place, in whole or
           Fungi, Bacteria or Protists                                          in part, but for the actual, alleged or
                                                                                threatened inhalation of, ingestion of,
           (1) "Bodily injury" or "property damage"                             contact with, exposure to, existence of,
               which would not have occurred, in                                or presence of any "fungi", bacteria, or
               whole or in part, but for the actual,                            protists including but not limited to algae
               alleged or threatened inhalation of,                             and slime mold on or within a building or
               ingestion of, contact with, exposure to,                         structure, including its contents,
               existence of, or presence of, any "fungi",                       regardless of whether any other cause,
               bacteria, or protists, including but not                         event, material or product contributed
               limited to algae and slime mold on or                            concurrently or in any sequence to such
               within a building or structure, including                        injury.
               its contents, regardless of whether any
               other cause, event, material or product                      (2) Any loss, cost or expense arising out of
               contributed concurrently or in any                               the abating, testing for, monitoring,
               sequence to such injury or damage.                               cleaning up, removing, containing,
                                                                                treating, detoxifying, neutralizing,
           (2) Any loss, cost or expenses arising out                           remediating or disposing of, or in any
               of the abating, testing for, monitoring,                         way responding to, or assessing the
               cleaning up, removing, containing,                               effects of, "fungi", bacteria or protists
               treating, detoxifying, neutralizing,                             including but not limited to algae and
               remediating or disposing of, or in any                           slime mold, by any insured or by any
               way responding to, or assessing the                              other person or entity.
               effects of, "fungi", bacteria or protists
               including but not limited to algae and                  C. Section V ---- Definitions of the COMMERCIAL
               slime mold, by any insured or by any                       GENERAL LIABILITY COVERAGE FORM is
               other person or entity.                                    amended by adding the following definition:

               This exclusion does not apply to any                         "Fungi" means any type or form of fungus,
               "fungi", bacteria or protists including but                  including mold or mildew and any
               not limited to algae and slime mold that                     mycotoxins, spores, scents or byproducts
               are, are on, or are contained in, a good                     produced or released by fungi.
               or product intended for consumption.
                                                                       All other terms and conditions remain
        B. Paragraph 2. Exclusions of Section I ----
                                                                       unchanged.
           Coverage B Personal And Advertising Injury
           Liability of the COMMERCIAL


        MS 6345 01 10                                                                                         Page 1 of 1

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                                                                                                          EX03-119
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                                                                                   COMMERCIAL GENERAL LIABILITY
                                                                                                  CG 00 01 04 13

     COMMERCIAL GENERAL LIABILITY COVERAGE FORM
 Various provisions in this policy restrict coverage.                 (2) The "bodily injury" or "property damage"
 Read the entire policy carefully to determine rights,                    occurs during the policy period; and
 duties and what is and is not covered.                               (3) Prior to the policy period, no insured listed
 Throughout this policy the words "you" and "your" refer                  under Paragraph 1. of Section II ---- Who Is An
 to the Named Insured shown in the Declarations, and                      Insured and no "employee" authorized by you
 any other person or organization qualifying as a Named                   to give or receive notice of an "occurrence" or
 Insured under this policy. The words "we", "us" and                      claim, knew that the "bodily injury" or
 "our" refer to the company providing this insurance.                     "property damage" had occurred, in whole or
 The word "insured" means any person or organization                      in part. If such a listed insured or authorized
 qualifying as such under Section II ---- Who Is An                       "employee" knew, prior to the policy period,
 Insured.                                                                 that the "bodily injury" or "property damage"
                                                                          occurred, then any continuation, change or
 Other words and phrases that appear in quotation                         resumption of such "bodily injury" or
 marks have special meaning. Refer to Section V ----                      "property damage" during or after the policy
 Definitions.                                                             period will be deemed to have been known
 SECTION I ---- COVERAGES                                                 prior to the policy period.
 COVERAGE A ---- BODILY INJURY AND PROPERTY                      c. "Bodily injury" or "property damage" which
 DAMAGE LIABILITY                                                   occurs during the policy period and was not,
                                                                    prior to the policy period, known to have
  1. Insuring Agreement
                                                                    occurred by any insured listed under Paragraph
     a. We will pay those sums that the insured becomes             1. of Section II ---- Who Is An Insured or any
         legally obligated to pay as damages because of             "employee" authorized by you to give or receive
         "bodily injury" or "property damage" to which this         notice of an "occurrence" or claim, includes any
         insurance applies. We will have the right and              continuation, change or resumption of that
         duty to defend the insured against any "suit"              "bodily injury" or "property damage" after the end
         seeking those damages. However, we will have               of the policy period.
         no duty to defend the insured against any "suit"
         seeking damages for "bodily injury" or "property        d. "Bodily injury" or "property damage" will be
         damage" to which this insurance does not apply.             deemed to have been known to have occurred at
         We may, at our discretion, investigate any                  the earliest time when any insured listed under
         "occurrence" and settle any claim or "suit" that            Paragraph 1. of Section II ---- Who Is An Insured
                                                                     or any "employee" authorized by you to give or
         may result. But:
                                                                     receive notice of an "occurrence" or claim:
        (1) The amount we will pay for damages is limited
                                                                    (1) Reports all, or any part, of the "bodily injury"
            as described in Section III ---- Limits Of
                                                                        or "property damage" to us or any other
            Insurance; and
                                                                        insurer;
        (2) Our right and duty to defend ends when we
                                                                    (2) Receives a written or verbal demand or claim
            have used up the applicable limit of insurance
            in the payment of judgments or settlements                  for damages because of the "bodily injury" or
                                                                        "property damage"; or
             under Coverages A or B or medical expenses
             under Coverage C.                                      (3) Becomes aware by any other means that
                                                                        "bodily injury" or "property damage" has
         No other obligation or liability to pay sums or                occurred or has begun to occur.
         perform acts or services is covered unless
         explicitly provided for under Supplementary             e. Damages because of "bodily injury" include
         Payments ---- Coverages A and B.                           damages claimed by any person or organization
     b. This insurance applies to "bodily injury" and               for    care, loss      of services       or death
                                                                    resulting at any time from the "bodily injury".
         "property damage" only if:
        (1) The "bodily injury" or "property damage" is
            caused by an "occurrence" that takes place
            in the "coverage territory";




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                                                                                                       EX03-120
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  2. Exclusions                                                        This exclusion applies even if the claims
     This insurance does not apply to:                                 against any insured allege negligence or other
                                                                       wrongdoing in:
     a. Expected Or Intended Injury
                                                                          (a) The supervision, hiring, employment,
         "Bodily injury" or "property damage" expected                         training or monitoring of others by that
         or intended from the standpoint of the insured.                       insured; or
         This exclusion does not apply to "bodily injury"
         resulting from the use of reasonable force to                    (b) Providing      or   failing   to     provide
         protect persons or property.                                          transportation with respect to any person
                                                                               that may be under the influence of alcohol;
     b. Contractual Liability
                                                                       if the "occurrence" which caused the "bodily
         "Bodily injury" or "property damage" for which the            injury" or "property damage", involved that which
         insured is obligated to pay damages by reason of              is described in Paragraph (1), (2) or (3) above.
         the assumption of liability in a contract or
         agreement. This exclusion does not apply to                 However, this exclusion applies only if you are in
         liability for damages:                                      the business of manufacturing, distributing,
                                                                     selling,    serving or       furnishing    alcoholic
        (1) That the insured would have in the absence               beverages. For the purposes of this exclusion,
             of the contract or agreement; or                        permitting a person to bring alcoholic beverages
        (2) Assumed in a contract or agreement that is               on your premises, for consumption on your
             an "insured contract", provided the "bodily             premises, whether or not a fee is charged or a
             injury" or "property damage" occurs                     license is required for such activity, is not by
             subsequent to the execution of the contract             itself considered the business of selling, serving
             or agreement. Solely for the purposes of                or furnishing alcoholic beverages.
             liability assumed in an "insured contract",          d. Workers Compensation And Similar Laws
             reasonable attorneys fees and necessary
             litigation expenses incurred by or for a party          Any obligation of the insured under a workers
             other than an insured are deemed to be                  compensation,        disability      benefits    or
             damages because of "bodily injury" or                   unemployment compensation law or any similar
             "property damage", provided:                            law.
            (a) Liability to such party for, or for the cost      e. Employer s Liability
                  of, that party s defense has also been             "Bodily injury" to:
                  assumed in the same "insured contract";              (1) An "employee" of the insured arising out of
                  and                                                       and in the course of:
            (b) Such attorneys fees and litigation                         (a) Employment by the insured; or
                  expenses are for defense of that party
                  against a civil or alternative dispute                  (b) Performing duties related to the conduct
                  resolution proceeding in which damages                      of the insured s business; or
                  to which this insurance applies are                  (2) The spouse, child, parent, brother or sister of
                  alleged.                                                 that "employee" as a consequence of
     c. Liquor Liability                                                   Paragraph (1) above.
         "Bodily injury" or "property damage" for which                This exclusion applies whether the insured may
         any insured may be held liable by reason of:                  be liable as an employer or in any other capacity
                                                                       and to any obligation to share damages with or
        (1) Causing or contributing to the intoxication of             repay someone else who must pay damages
            any person;                                                because of the injury.
        (2) The furnishing of alcoholic beverages to a                 This exclusion does not apply to liability
            person under the legal drinking age or under               assumed by the insured under an "insured
            the influence of alcohol; or                               contract".
        (3) Any statute, ordinance or regulation relating
            to the sale, gift, distribution or use of
            alcoholic beverages.




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                                                                                                        EX03-121
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    f. Pollution                                                        (d) At or from any premises, site or location
       (1) "Bodily injury" or "property damage" arising                      on which any insured or any contractors
            out of the actual, alleged or threatened                         or subcontractors working directly or
            discharge, dispersal, seepage, migration,                        indirectly on any insured s behalf are
            release or escape of "pollutants":                               performing operations if the "pollutants"
                                                                             are brought on or to the premises, site or
           (a) At or from any premises, site or location                     location in connection with such
                 which is or was at any time owned or                        operations by such insured, contractor or
                 occupied by, or rented or loaned to, any                    subcontractor.           However,        this
                 insured. However, this subparagraph                         subparagraph does not apply to:
                 does not apply to:
                                                                             (i) "Bodily injury" or "property damage"
                 (i) "Bodily injury" if sustained within a                       arising out of the escape of fuels,
                     building and caused by smoke, fumes,                        lubricants or other operating fluids
                     vapor or soot produced by or                                which are needed to perform the
                     originating from equipment that is used                     normal      electrical,   hydraulic    or
                     to heat, cool or dehumidify the                             mechanical functions necessary for the
                     building, or equipment that is used to                      operation of "mobile equipment" or its
                     heat water for personal use, by the                         parts, if such fuels, lubricants or other
                     building s occupants or their guests;                       operating fluids escape from a vehicle
                (ii) "Bodily injury" or "property damage" for                    part designed to hold, store or receive
                     which you may be held liable, if you                        them. This exception does not apply if
                     are a contractor and the owner or                           the "bodily injury" or "property damage"
                     lessee of such premises, site or                            arises out of the intentional discharge,
                     location has been added to your policy                      dispersal or release of the fuels,
                     as an additional insured with respect to                    lubricants or other operating fluids, or
                     your ongoing operations performed for                       if such fuels, lubricants or other
                     that additional insured at that                             operating fluids are brought on or to
                     premises, site or location and such                         the premises, site or location with the
                     premises, site or location is not and                       intent that they be discharged,
                     never was owned or occupied by, or                          dispersed or released as part of the
                     rented or loaned to, any insured, other                     operations being performed by such
                     than that additional insured; or                            insured, contractor or subcontractor;
             (iii) "Bodily injury" or "property damage"                     (ii) "Bodily injury" or "property damage"
                   arising out of heat, smoke or fumes                           sustained within a building and caused
                   from a "hostile fire";                                        by the release of gases, fumes or
                                                                                 vapors from materials brought into that
         (b) At or from any premises, site or location
                                                                                 building in connection with operations
              which is or was at any time used by or for
                                                                                 being performed by you or on your
              any insured or others for the handling,
                                                                                 behalf      by     a     contractor    or
              storage, disposal, processing or treatment
                                                                                 subcontractor; or
              of waste;
                                                                           (iii) "Bodily injury" or "property damage"
         (c) Which are or were at any time transported,
              handled, stored, treated, disposed of, or                          arising out of heat, smoke or fumes
                                                                                 from a "hostile fire".
              processed as waste by or for:
                                                                        (e) At or from any premises, site or location
              (i) Any insured; or
                                                                            on which any insured or any contractors
            (ii) Any person or organization for whom                        or subcontractors working directly or
                  you may be legally responsible; or                        indirectly on any insured s behalf are
                                                                             performing operations if the operations
                                                                            are to test for,          monitor, clean up,
                                                                            remove, contain, treat, detoxify or
                                                                            neutralize, or in any way respond to, or
                                                                            assess the effects of, "pollutants".




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                                                                                                       EX03-122
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      (2) Any loss, cost or expense arising out of                  (5) "Bodily injury" or "property damage" arising
           any:                                                          out of:
          (a) Request, demand, order or statutory or                    (a) The operation of machinery or equipment
              regulatory requirement that any insured or                    that is attached to, or part of, a land
              others test for, monitor, clean up, remove,                   vehicle that would qualify under the
              contain, treat, detoxify or neutralize, or in                 definition of "mobile equipment" if it were
              any way respond to, or assess the effects                     not subject to a compulsory or financial
              of, "pollutants"; or                                          responsibility law or other motor vehicle
         (b) Claim or suit by or on behalf of a                             insurance law where it is licensed or
              governmental authority for damages                            principally garaged; or
              because of testing for, monitoring,                      (b) The operation of any of the machinery or
              cleaning up, removing,           containing,                  equipment listed in Paragraph f.(2) or f.(3)
              treating, detoxifying or neutralizing, or in                  of the definition of "mobile equipment".
              any way responding to, or assessing the            h. Mobile Equipment
              effects of, "pollutants".
                                                                       "Bodily injury" or "property damage" arising out
           However, this paragraph does not apply to                   of:
           liability for damages because of "property
           damage" that the insured would have in the                 (1) The transportation of "mobile equipment" by
          absence of such request, demand, order or                        an "auto" owned or operated by or rented or
          statutory or regulatory requirement, or such                     loaned to any insured; or
           claim or "suit" by or on behalf of a                       (2) The use of "mobile equipment" in, or while in
           governmental authority.                                         practice for, or while being prepared for, any
    g. Aircraft, Auto Or Watercraft                                        prearranged racing, speed, demolition, or
                                                                           stunting activity.
       "Bodily injury" or "property damage" arising out of
       the ownership, maintenance, use or entrustment             i. War
       to others of any aircraft, "auto" or watercraft                "Bodily injury" or "property damage", however
       owned or operated by or rented or loaned to any                caused, arising, directly or indirectly, out of:
       insured. Use includes operation and "loading or
                                                                     (1) War, including undeclared or civil war;
       unloading".
                                                                      (2) Warlike action by a military force, including
       This exclusion applies even if the claims against
                                                                          action in hindering or defending against an
       any insured allege negligence or other
       wrongdoing       in    the supervision,      hiring,               actual or expected attack, by any
                                                                          government, sovereign or other authority
       employment, training or monitoring of others by
                                                                          using military personnel or other agents; or
       that insured, if the "occurrence" which caused
       the "bodily injury" or "property damage" involved            (3) Insurrection, rebellion, revolution, usurped
       the ownership, maintenance, use or entrustment                   power, or action taken by governmental
       to others of any aircraft, "auto" or watercraft that             authority in hindering or defending against
       is owned or operated by or rented or loaned to                   any of these.
       any insured.                                               j. Damage To Property
       This exclusion does not apply to:                               "Property damage" to:
      (1) A watercraft while ashore on premises you                   (1) Property you own, rent, or occupy, including
          own or rent;                                                    any costs or expenses incurred by you, or
      (2) A watercraft you do not own that is:                            any other person, organization or entity, for
                                                                          repair, replacement, enhancement, restoration
         (a) Less than 26 feet long; and
                                                                          or maintenance of such property for any
         (b) Not being used to carry persons or                           reason, including prevention of injury to a
             property for a charge;                                       person or damage to another s property;
      (3) Parking an "auto" on, or on the ways next to,               (2) Premises you sell, give away or abandon, if
          premises you own or rent, provided the "auto"                   the "property damage" arises out of any part
          is not owned by or rented or loaned to you or                   of those premises;
          the insured;
                                                                      (3) Property loaned to you;
      (4) Liability assumed under any "insured
          contract" for the ownership, maintenance or
          use of aircraft or watercraft; or



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      (4) Personal property in the care, custody or                   This exclusion does not apply to the loss of use
              control of the insured;                                 of other property arising out of sudden and
      (5) That particular part of real property on which              accidental physical injury to "your product" or
              you or any contractors or subcontractors                "your work" after it has been put to its intended
              working directly or indirectly on your behalf           use.
              are performing operations, if the "property        n. Recall Of Products, Work Or Impaired Property
              damage" arises out of those operations; or             Damages claimed for any loss, cost or expense
      (6) That particular part of any property that must             incurred by you or others for the loss of use,
               be restored, repaired or replaced because             withdrawal,     recall,    inspection,    repair,
              "your work" was incorrectly performed on it.           replacement, adjustment, removal or disposal of:
       Paragraphs (1), (3) and (4) of this exclusion do             (1) "Your product";
       not apply to "property damage" (other than                   (2) "Your work"; or
       damage by fire) to premises, including the
       contents of such premises, rented to you for a               (3) "Impaired property";
       period of seven or fewer consecutive days. A                  if such product, work, or property is withdrawn
       separate limit of insurance applies to Damage To              or recalled from the market or from use by any
       Premises Rented To You as described in Section                person or organization because of a known or
       III ---- Limits Of Insurance.                                 suspected defect, deficiency, inadequacy or
       Paragraph (2) of this exclusion does not apply if             dangerous condition in it.
       the premises are "your work" and were never               o. Personal And Advertising Injury
       occupied, rented or held for rental by you.
                                                                    "Bodily injury" arising out of "personal and
       Paragraphs (3), (4), (5) and (6) of this exclusion           advertising injury".
       do not apply to liability assumed under a                 p. Electronic Data
       sidetrack agreement.
                                                                      Damages arising out of the loss of, loss of use
       Paragraph (6) of this exclusion does not apply to
                                                                      of, damage to, corruption of, inability to access,
       "property damage" included in the "products-
                                                                      or inability to manipulate electronic data.
       completed operations hazard".
                                                                      However, this exclusion does not apply to liability
    k. Damage To Your Product
                                                                      for damages because of "bodily injury".
        "Property damage" to "your product" arising out
                                                                      As used in this exclusion, electronic data means
        of it or any part of it.                                      information, facts or programs stored as or on,
     l. Damage To Your Work                                           created or used on, or transmitted to or from
        "Property damage" to "your work" arising out of it            computer software, including systems and
        or any part of it and included in the "products-              applications software, hard or floppy disks, CD-
        completed operations hazard".                                 ROMs, tapes, drives, cells, data processing
                                                                      devices or any other media which are used with
        This exclusion does not apply if the damaged                  electronically controlled equipment.
        work or the work out of which the damage arises
        was performed on your behalf by a                        q. Recording And Distribution Of Material Or
        subcontractor.                                              Information In Violation Of Law
    m. Damage To Impaired Property Or Property Not                    "Bodily injury" or "property damage" arising
       Physically Injured                                             directly or indirectly out of any action or
                                                                      omission that violates or is alleged to violate:
       "Property damage" to "impaired property" or
       property that has not been physically injured,                 (1) The Telephone Consumer Protection Act
       arising out of:                                                    (TCPA), including any amendment of or
                                                                          addition to such law;
      (1) A    defect, deficiency,     inadequacy    or
          dangerous condition in "your product" or                    (2) The CAN-SPAM Act of 2003, including any
          "your work"; or                                                 amendment of or addition to such law;
      (2) A delay or failure by you or anyone acting on               (3) The Fair Credit Reporting Act (FCRA), and
          your behalf to perform a contract or                            any amendment of or addition to such law,
          agreement in accordance with its terms.                         including the Fair and Accurate Credit
                                                                          Transactions Act (FACTA); or




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        (4) Any federal, state or local statute, 2. Exclusions
             ordinance or regulation, other than the TCPA,     This insurance does not apply to:
             CAN-SPAM Act of 2003 or FCRA and their
             amendments and additions, that addresses,         a. Knowing Violation Of Rights Of Another
             prohibits, or limits the printing, dissemination,    "Personal and advertising injury" caused by or
             disposal, collecting, recording, sending,            at the direction of the insured with the knowledge
             transmitting, communicating or distribution of       that the act would violate the rights of another
             material or information.                             and would inflict "personal and advertising
    Exclusions c. through n. do not apply to damage by            injury".
    fire to premises while rented to you or temporarily        b. Material Published With Knowledge Of Falsity
    occupied by you with permission of the owner. A               "Personal and advertising injury" arising out of
    separate limit of insurance applies to this coverage
    as described in Section III ---- Limits Of Insurance.         oral   or written publication, in any manner, of
                                                                  material, if done by or at the direction of the
 COVERAGE B ---- PERSONAL AND ADVERTISING                         insured with knowledge of its falsity.
 INJURY LIABILITY
                                                               c. Material Published Prior To Policy Period
 1. Insuring Agreement                                            "Personal and advertising injury" arising out of
    a. We will pay those sums that the insured becomes            oral or written publication, in any manner, of
         legally obligated to pay as damages because of           material whose first publication took place before
         "personal and advertising injury" to which this          the beginning of the policy period.
         insurance applies. We will have the right and
                                                               d. Criminal Acts
         duty to defend the insured against any "suit"
         seeking those damages. However, we will have             "Personal and advertising injury" arising out of a
         no duty to defend the insured against any "suit"         criminal act committed by or at the direction of
         seeking damages for "personal and advertising            the insured.
         injury" to which this insurance does not apply.       e. Contractual Liability
         We may, at our discretion, investigate any
         offense and settle any claim or "suit" that may          "Personal and advertising injury" for which the
         result. But:                                             insured has assumed liability in a contract or
                                                                  agreement. This exclusion does not apply to
        (1) The amount we will pay for damages is limited         liability for damages that the insured would have
             as described in Section III ---- Limits Of           in the absence of the contract or agreement.
             Insurance; and
                                                               f. Breach Of Contract
        (2) Our right and duty to defend end when we
             have used up the applicable limit of insurance       "Personal and advertising injury" arising out of a
                                                                  breach of contract, except an implied contract to
             in the payment of judgments or settlements
                                                                  use      another s advertising idea in your
             under Coverages A or B or medical expenses
                                                                  "advertisement".
             under Coverage C.
                                                               g. Quality Or Performance Of Goods ---- Failure To
         No other obligation or liability to pay sums or
                                                                  Conform To Statements
         perform acts or services is covered unless
       explicitly provided for under Supplementary                  "Personal and advertising injury" arising out of
       Payments ---- Coverages A and B.                             the failure of goods, products or services to
                                                                    conform with any statement of quality or
    b. This insurance applies to "personal and
       advertising injury" caused by an offense arising             performance made in your "advertisement".
       out of your business but only if the offense was        h. Wrong Description Of Prices
       committed in the "coverage territory" during the           "Personal and advertising injury" arising out of
       policy period.                                             the wrong description of the price of goods,
                                                                  products    or services      stated    in  your
                                                                  "advertisement".




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     i. Infringement Of Copyright, Patent,                       n. Pollution-related
        Trademark Or Trade Secret                                    Any loss, cost or expense arising out of any:
        "Personal and advertising injury" arising out of            (1) Request, demand, order or statutory or
        the infringement of copyright, patent, trademark,               regulatory requirement that any insured or
        trade secret or other intellectual property rights.             others test for, monitor, clean up, remove,
        Under this exclusion, such other intellectual                   contain, treat, detoxify or neutralize, or in any
        property rights do not include the use of                       way respond to, or assess the effects of,
        another s     advertising      idea    in     your              "pollutants"; or
        "advertisement".
                                                                      (2) Claim or suit by or on behalf of a
        However, this exclusion does not apply to                         governmental authority for damages because
        infringement, in your "advertisement", of                         of testing for, monitoring, cleaning up,
        copyright, trade dress or slogan.                                 removing, containing, treating, detoxifying or
     j. Insureds In Media And Internet Type Businesses                    neutralizing, or in any way responding to, or
                                                                          assessing the effects of, "pollutants".
       "Personal and advertising injury" committed by
       an insured whose business is:                             o. War
      (1) Advertising, broadcasting, publishing or                   "Personal and advertising injury", however
           telecasting;                                              caused, arising, directly or indirectly, out of:
      (2) Designing or determining content of web                   (1) War, including undeclared or civil war;
          sites for others; or                                      (2) Warlike action by a military force, including
      (3) An Internet search, access, content or service                action in hindering or defending against an
           provider.                                                    actual or expected attack, by any
       However, this exclusion does not apply to                        government, sovereign or other authority
       Paragraphs 14.a., b. and c. of "personal and                     using military personnel or other agents; or
       advertising injury" under the Definitions section.           (3) Insurrection, rebellion, revolution, usurped
        For the purposes of this exclusion, the placing of              power, or action taken by governmental
        frames, borders or links, or advertising, for you               authority in hindering or defending against
        or others anywhere on the Internet, is not by                   any of these.
        itself, considered the business of advertising,          p. Recording And Distribution Of Material Or
        broadcasting, publishing or telecasting.                    Information In Violation Of Law
    k. Electronic Chatrooms Or Bulletin Boards                      "Personal and advertising injury" arising directly
        "Personal and advertising injury" arising out of an         or indirectly out of any action or omission that
        electronic chatroom or bulletin board the insured           violates or is alleged to violate:
        hosts, owns, or over which the insured exercises              (1) The Telephone Consumer Protection Act
        control.                                                          (TCPA), including any amendment of or
     l. Unauthorized Use Of Another s Name Or                             addition to such law;
        Product                                                       (2) The CAN-SPAM Act of 2003, including any
       "Personal and advertising injury" arising out of                   amendment of or addition to such law;
       the unauthorized use of another s name or                      (3) The Fair Credit Reporting Act (FCRA), and
       product in your e-mail address, domain name or                     any amendment of or addition to such law,
       metatag, or any other similar tactics to mislead                   including the Fair and Accurate Credit
       another s potential customers.                                     Transactions Act (FACTA); or
    m. Pollution                                                      (4) Any federal, state or local statute, ordinance
       "Personal and advertising injury" arising out of                   or regulation, other than the TCPA, CAN-
       the actual, alleged or threatened discharge,                       SPAM Act of 2003 or FCRA and their
       dispersal, seepage, migration, release or                          amendments        and      additions,       that
       escape of "pollutants" at any time.                                addresses, prohibits, or limits the printing,
                                                                          dissemination,        disposal,      collecting,
                                                                          recording,        sending,        transmitting,
                                                                          communicating or distribution of material or
                                                                          information.




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 COVERAGE C ---- MEDICAL PAYMENTS                                d. Workers Compensation And Similar Laws
 1. Insuring Agreement                                              To a person, whether or not an "employee" of
    a. We will pay medical expenses as described                    any insured, if benefits for the "bodily injury" are
       below for "bodily injury" caused by an accident:             payable or must be provided under a workers
                                                                    compensation or disability benefits law or a
       (1) On premises you own or rent;                             similar law.
       (2) On ways next to premises you own or rent;             e. Athletics Activities
           or
                                                                    To a person injured while practicing, instructing
       (3) Because of your operations;                              or participating in any physical exercises or
        provided that:                                              games, sports, or athletic contests.
          (a) The accident takes place in the "coverage          f. Products-Completed Operations Hazard
              territory" and during the policy period;              Included    within  the   "products-completed
          (b) The expenses are incurred and reported                operations hazard".
              to us within one year of the date of the           g. Coverage A Exclusions
              accident; and
                                                                    Excluded under Coverage A.
            (c) The      injured   person     submits    to
                examination, at our expense, by SUPPLEMENTARY PAYMENTS ---- COVERAGES A AND
                physicians of our choice as often as we B
                reasonably require.                         1. We will pay, with respect to any claim we investigate
     b. We will make these payments regardless of fault.       or settle, or any "suit" against an insured we defend:
         These payments will not exceed the applicable         a. All expenses we incur.
         limit of insurance. We will pay reasonable            b. Up to $250 for cost of bail bonds required
         expenses for:                                             because of accidents or traffic law violations
        (1) First aid administered at the time of an               arising out of the use of any vehicle to which the
             accident;                                             Bodily Injury Liability Coverage applies. We do
        (2) Necessary medical, surgical, X-ray and dental          not have to furnish these bonds.
             services, including prosthetic devices; and       c. The cost of bonds to release attachments, but
        (3) Necessary ambulance, hospital, professional            only for bond amounts within the applicable limit
             nursing and funeral services.                         of insurance. We do not have to furnish these
                                                                   bonds.
  2. Exclusions
                                                               d. All reasonable expenses incurred by the insured
     We will not pay expenses for "bodily injury":                 at our request to assist us in the investigation or
     a. Any Insured                                                defense of the claim or "suit", including actual
                                                                   loss of earnings up to $250 a day because of
         To any insured, except "volunteer workers".
                                                                   time off from work.
     b. Hired Person
                                                               e. All court costs taxed against the insured in the
         To a person hired to do work for or on behalf of          "suit". However, these payments do not include
         any insured or a tenant of any insured.                   attorneys fees or attorneys expenses taxed
     c. Injury On Normally Occupied Premises                       against the insured.
         To a person injured on that part of premises you       f. Prejudgment interest awarded against the
         own or rent that the person normally                      insured on that part of the judgment we pay. If
         occupies.                                                 we  make an offer to pay the applicable limit of
                                                                   insurance, we will not pay any prejudgment
                                                                   interest based on that period of time after the
                                                                   offer.




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     g. All interest on the full amount of any judgment            So long as the above conditions are met,
        that accrues after entry of the judgment and               attorneys fees incurred by us in the defense of that
        before we have paid, offered to pay, or deposited          indemnitee, necessary litigation expenses incurred
        in court the part of the judgment that is within the       by us and necessary litigation expenses incurred by
        applicable limit of insurance.                             the indemnitee at our request will be paid as
     These payments will not reduce the limits of                  Supplementary Payments. Notwithstanding the
     insurance.                                                    provisions of Paragraph 2.b.(2) of Section I ----
                                                                   Coverage A ---- Bodily Injury And Property Damage
  2. If we defend an insured against a "suit" and an               Liability, such payments will not be deemed to be
     indemnitee of the insured is also named as a party to         damages for "bodily injury" and "property damage"
     the "suit", we will defend that indemnitee if all of the      and will not reduce the limits of insurance.
     following conditions are met:
                                                                   Our obligation to defend an insured s indemnitee
     a. The "suit" against the indemnitee seeks damages            and to pay for attorneys fees and necessary
         for which the insured has assumed the liability of        litigation expenses as Supplementary Payments
         the indemnitee in a contract or agreement that is         ends when we have used up the applicable limit of
         an "insured contract";                                    insurance in the payment of judgments or
     b. This insurance applies to such liability assumed           settlements or the conditions set forth above, or the
        by the insured;                                            terms of the agreement described in Paragraph f.
     c. The obligation to defend, or the cost of the               above, are no longer met.
        defense of, that indemnitee, has also been              SECTION II ---- WHO IS AN INSURED
        assumed by the insured in the same "insured             1. If you are designated in the Declarations as:
        contract";
                                                                   a. An individual, you and your spouse are insureds,
     d. The allegations in the "suit" and the information               but only with respect to the conduct of a
        we know about the "occurrence" are such that no                 business of which you are the sole owner.
        conflict appears to exist between the interests of
        the insured and the interests of the indemnitee;           b. A partnership or joint venture, you are an
                                                                      insured. Your members, your partners, and their
     e. The indemnitee and the insured ask us to                      spouses are also insureds, but only with respect
        conduct and control the defense of that                       to the conduct of your business.
        indemnitee against such "suit" and agree that we
        can assign the same counsel to defend the                  c. A limited liability company, you are an insured.
        insured and the indemnitee; and                               Your members are also insureds, but only with
                                                                      respect to the conduct of your business. Your
      f. The indemnitee:                                              managers are insureds, but only with respect to
         (1) Agrees in writing to:                                    their duties as your managers.
             (a) Cooperate with us in the investigation,           d. An organization other than a partnership, joint
                 settlement or defense of the "suit";                 venture or limited liability company, you are an
                                                                      insured. Your "executive officers" and directors
            (b) Immediately send us copies of any
                                                                      are insureds, but only with respect to their duties
                 demands, notices, summonses or legal
                                                                      as your officers or directors. Your stockholders
                 papers received in connection with the
                                                                      are also insureds, but only with respect to their
                 "suit";
                                                                      liability as stockholders.
           (c) Notify any other insurer whose coverage
               is available to the indemnitee; and                 e. A trust, you are an insured. Your trustees are
                                                                      also insureds, but only with respect to their
           (d) Cooperate with us with respect to                      duties as trustees.
               coordinating other applicable insurance
               available to the indemnitee; and
        (2) Provides us with written authorization to:
            (a) Obtain records and other information
                related to the "suit"; and
           (b) Conduct and control the defense of the
                indemnitee in such "suit".




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  2. Each of the following is also an insured:                    c. Any person or organization having proper
     a. Your "volunteer workers" only while performing                temporary custody of your property if you die,
         duties related to the conduct of your business,              but only:
         or your "employees", other than either your                 (1) With respect to liability arising out of the
         "executive officers" (if you are an organization                maintenance or use of that property; and
         other than a partnership, joint venture or limited          (2) Until your legal representative has been
         liability company) or your managers (if you are a               appointed.
         limited liability company), but only for acts within
         the scope of their employment by you or while            d.  Your   legal representative if you die, but only with
         performing duties related to the conduct of your             respect   to duties as such. That representative will
         business. However, none of these "employees"                 have all your rights and duties under this
         or "volunteer workers" are insureds for:                     Coverage Part.
        (1) "Bodily injury" or "personal and advertising 3. Any organization you newly acquire or form, other
             injury":                                             than a partnership, joint venture or limited liability
                                                                  company, and over which you maintain ownership
            (a) To you, to your partners or members (if           or majority interest, will qualify as a Named Insured if
                  you are a partnership or joint venture), to     there is no other similar insurance available to that
                  your members (if you are a limited liability    organization. However:
                  company), to a co-"employee" while in the
                  course of his or her employment or              a. Coverage under this provision is afforded only
                  performing duties related to the conduct            until the 90th day after you acquire or form the
                  of your business, or to your other                  organization or the end of the policy period,
                  "volunteer workers" while performing                whichever is earlier;
                  duties related to the conduct of your           b. Coverage A does not apply to "bodily injury" or
                  business;                                           "property damage" that occurred before you
            (b) To the spouse, child, parent, brother or              acquired or formed the organization; and
                  sister of that co-"employee" or "volunteer      c. Coverage B does not apply to "personal and
                  worker" as a consequence of Paragraph               advertising injury" arising out of an offense
                  (1)(a) above;                                       committed before you acquired or formed the
            (c) For which there is any obligation to share            organization.
                  damages with or repay someone else who No person or organization is an insured with respect to
                  must pay damages because of the injury the conduct of any current or past partnership, joint
                  described in Paragraph (1)(a) or (b) venture or limited liability company that is not shown as
                  above; or                                    a Named Insured in the Declarations.
            (d) Arising out of his or her providing or SECTION III ---- LIMITS OF INSURANCE
                  failing to provide professional health care 1. The Limits of Insurance shown in the Declarations
                  services.
                                                                  and the rules below fix the most we will pay
        (2) "Property damage" to property:                        regardless of the number of:
           (a) Owned, occupied or used by;                   a. Insureds;
           (b) Rented to, in the care, custody or control    b. Claims made or "suits" brought; or
                 of, or over which physical control is being
                                                             c. Persons or organizations making claims or
                 exercised for any purpose by;                   bringing "suits".
            you, any of your "employees", "volunteer 2. The General Aggregate Limit is the most we will pay
            workers", any partner or member (if you are a
                                                             for the sum of:
            partnership or joint venture), or any member
            (if you are a limited liability company).        a. Medical expenses under Coverage C;
     b. Any person (other than your "employee" or            b.  Damages under Coverage A, except damages
        "volunteer worker"), or any organization while           because of "bodily injury" or "property damage"
        acting as your real estate manager.                      included in the "products-completed operations
                                                                 hazard"; and
                                                             c. Damages under Coverage B.




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  3. The Products-Completed Operations Aggregate                      (3) The nature and location of any injury or
     Limit is the most we will pay under Coverage A for                   damage arising out of the "occurrence" or
     damages because of "bodily injury" and "property                     offense.
     damage" included in the "products-completed                 b. If a claim is made or "suit" is brought against any
     operations hazard".                                             insured, you must:
  4. Subject to Paragraph 2. above, the Personal And                (1) Immediately record the specifics of the claim
     Advertising Injury Limit is the most we will pay under              or "suit" and the date received; and
     Coverage B for the sum of all damages because of
     all "personal and advertising injury" sustained by any         (2) Notify us as soon as practicable.
     one person or organization.                                     You must see to it that we receive written notice
  5. Subject to Paragraph 2. or 3. above, whichever                  of the claim or "suit" as soon as practicable.
     applies, the Each Occurrence Limit is the most we           c. You and any other involved insured must:
     will pay for the sum of:
                                                                    (1) Immediately send us copies of any demands,
     a. Damages under Coverage A; and                                   notices, summonses or legal papers received
     b. Medical expenses under Coverage C                               in connection with the claim or "suit";
     because of all "bodily injury" and "property damage"           (2) Authorize us to obtain records and other
     arising out of any one "occurrence".                               information;
  6. Subject to Paragraph 5. above, the Damage To                   (3) Cooperate with us in the investigation or
     Premises Rented To You Limit is the most we will                    settlement of the claim or defense against the
     pay under Coverage A for damages because of                         "suit"; and
     "property damage" to any one premises, while rented            (4) Assist us, upon our request, in the
     to you, or in the case of damage by fire, while rented              enforcement of any right against any person
     to you or temporarily occupied by you with                          or organization which may be liable to the
     permission of the owner.                                            insured because of injury or damage to which
  7. Subject to Paragraph 5. above, the Medical Expense                  this insurance may also apply.
     Limit is the most we will pay under Coverage C for          d. No insured will, except at that insured s own
     all medical expenses because of "bodily injury"                 cost, voluntarily make a payment, assume any
     sustained by any one person.                                    obligation, or incur any expense, other than for
 The Limits of Insurance of this Coverage Part apply                 first aid, without our consent.
 separately to each consecutive annual period and to 3. Legal Action Against Us
 any remaining period of less than 12 months, starting       No person or organization has a right under this
 with the beginning of the policy period shown in the        Coverage Part:
 Declarations, unless the policy period is extended after
 issuance for an additional period of less than 12           a. To join us as a party or otherwise bring us into a
 months. In that case, the additional period will be             "suit" asking for damages from an insured; or
 deemed part of the last preceding period for purposes       b. To sue us on this Coverage Part unless all of its
 of determining the Limits of Insurance.                         terms have been fully complied with.
 SECTION IV ---- COMMERCIAL GENERAL LIABILITY                A person or organization may sue us to recover on
 CONDITIONS                                                  an agreed settlement or on a final judgment
  1. Bankruptcy                                              against an insured; but we will not be liable for
                                                             damages that are not payable under the terms of
     Bankruptcy or insolvency of the insured or of the       this Coverage Part or that are in excess of the
     insured s estate will not relieve us of our obligations
     under this Coverage Part.                               applicable   limit of insurance. An agreed settlement
                                                             means a settlement and release of liability signed
  2. Duties In The Event Of Occurrence, Offense, Claim       by us, the insured and the claimant or the
     Or Suit                                                 claimant s legal representative.
     a. You must see to it that we are notified as soon as
         practicable of an "occurrence" or an offense
         which may result in a claim. To the extent
         possible, notice should include:
       (1) How, when and where the "occurrence" or
           offense took place;
       (2) The names and addresses of any injured
           persons and witnesses; and


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  4. Other Insurance                                                 (3) When this insurance is excess over other
     If other valid and collectible insurance is available                insurance, we will pay only our share of the
     to the insured for a loss we cover under Coverages                   amount of the loss, if any, that exceeds the
     A or B of this Coverage Part, our obligations are                    sum of:
     limited as follows:                                                 (a) The total amount that all such other
     a. Primary Insurance                                                     insurance would pay for the loss in the
                                                                              absence of this insurance; and
        This insurance is primary except when
        Paragraph b. below applies. If this insurance is                (b) The total of all deductible and self-insured
        primary, our obligations are not affected unless                      amounts under all that other insurance.
        any of the other insurance is also primary. Then,            (4) We will share the remaining loss, if any, with
        we will share with all that other insurance by the                any other insurance that is not described in
        method described in Paragraph c. below.                           this Excess Insurance provision and was not
     b. Excess Insurance                                                  bought specifically to apply in excess of the
                                                                          Limits of Insurance shown in the Declarations
        (1) This insurance is excess over:                                of this Coverage Part.
            (a) Any of the other insurance, whether             c. Method Of Sharing
                primary, excess, contingent or on any
                other basis:                                       If all of the other insurance permits contribution
                                                                   by equal shares, we will follow this method also.
               (i) That is Fire, Extended Coverage,                Under this approach each insurer contributes
                   Builder s Risk, Installation Risk or            equal amounts until it has paid its applicable limit
                   similar coverage for "your work";               of insurance or none of the loss remains,
              (ii) That is Fire insurance for premises             whichever comes first.
                   rented to you or temporarily occupied           If any of the other insurance does not permit
                   by you with permission of the owner;            contribution by equal shares, we will contribute
             (iii) That is insurance purchased by you to           by limits. Under this method, each insurer s
                   cover your liability as a tenant for            share is based on the ratio of its applicable limit
                   "property damage" to premises rented            of insurance to the total applicable limits of
                   to you or temporarily occupied by you           insurance of all insurers.
                   with permission of the owner; or           5. Premium Audit
             (iv) If the loss arises out of the                  a. We will compute all premiums for this Coverage
                   maintenance or use of aircraft, "autos"          Part in accordance with our rules and rates.
                   or watercraft to the extent not subject
                   to Exclusion g. of Section I ----             b. Premium shown in this Coverage Part as
                   Coverage A ---- Bodily Injury And                advance premium is a deposit premium only. At
                   Property Damage Liability.                       the close of each audit period we will compute
                                                                    the earned premium for that period and send
          (b) Any other primary insurance available to              notice to the first Named Insured. The due date
               you covering liability for damages arising           for audit and retrospective premiums is the date
               out of the premises or operations, or the            shown as the due date on the bill. If the sum of
               products and completed operations, for               the advance and audit premiums paid for the
               which you have been added as an                      policy period is greater than the earned premium,
               additional insured.                                  we will return the excess to the first Named
       (2) When this insurance is excess, we will have              Insured.
           no duty under Coverages A or B to defend              c. The first Named Insured must keep records of
           the insured against any "suit" if any other              the information we need for premium
           insurer has a duty to defend the insured                 computation, and send us copies at such times
           against that "suit". If no other insurer defends,        as we may request.
           we will undertake to do so, but we will be
           entitled      to     the      insured s     rights 6. Representations
           against all those other insurers.                     By accepting this policy, you agree:
                                                                 a. The statements in the Declarations are
                                                                    accurate and complete;




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    b. Those        statements      are     based      upon      However, "auto" does not include "mobile
         representations you made to us; and                     equipment".
     c. We have issued this policy in reliance upon your 3. "Bodily injury" means bodily injury, sickness or
         representations.                                        disease sustained by a person, including death
 7. Separation Of Insureds                                       resulting from any of these at any time.
    Except with respect to the Limits of Insurance, and 4. "Coverage territory" means:
    any rights or duties specifically assigned in this           a. The United States of America (including its
    Coverage Part to the first Named Insured, this                    territories and possessions), Puerto Rico and
    insurance applies:                                                Canada;
    a. As if each Named Insured were the only Named              b. International waters or airspace, but only if the
         Insured; and                                                 injury or damage occurs in the course of travel
    b. Separately to each insured against whom claim is               or transportation between any places included in
         made or "suit" is brought.                                   Paragraph    a. above; or
 8. Transfer Of Rights Of Recovery Against Others To              c. All other parts of the world if the injury or
    Us                                                                damage arises out of:
    If the insured has rights to recover all or part of any          (1) Goods or products made or sold by you in
    payment we have made under this Coverage Part,                        the territory described in Paragraph a. above;
    those rights are transferred to us. The insured must             (2) The activities of a person whose home is in
    do nothing after loss to impair them. At our request,                 the territory described in Paragraph a. above,
    the insured will bring "suit" or transfer those rights to             but is away for a short time on your business;
    us and help us enforce them.                                          or
 9. When We Do Not Renew                                             (3) "Personal and advertising injury" offenses that
    If we decide not to renew this Coverage Part, we will                 take place through the Internet or similar
    mail or deliver to the first Named Insured shown in                   electronic means of communication;
    the Declarations written notice of the nonrenewal not        provided the insured s responsibility to pay
    less than 30 days before the expiration date.                damages is determined in a "suit" on the merits, in
    If notice is mailed, proof of mailing will be sufficient     the territory described in Paragraph a. above or in a
    proof of notice.                                             settlement    we agree to.
 SECTION V ---- DEFINITIONS                                   5. "Employee" includes a "leased worker". "Employee"
                                                                 does not include a "temporary worker".
 1. "Advertisement" means a notice that is broadcast or
    published to the general public or specific market        6. "Executive officer" means a person holding any of
    segments about your goods, products or services              the officer positions created by your charter,
    for the purpose of attracting customers or                   constitution, bylaws or any other similar governing
    supporters. For the purposes of this definition:             document.
    a. Notices that are published include material 7. "Hostile fire" means one which becomes
         placed on the Internet or on similar electronic         uncontrollable or breaks out from where it was
         means of communication; and                             intended to be.
    b. Regarding web sites, only that part of a web site 8. "Impaired property" means tangible property, other
         that is about your goods, products or services          than "your product" or "your work", that cannot be
         for the purposes of attracting customers or             used or is less useful because:
         supporters is considered an advertisement.              a. It incorporates "your product" or "your work" that
 2. "Auto" means:                                                     is known or thought to be defective, deficient,
                                                                      inadequate or dangerous; or
    a. A land motor vehicle, trailer or semitrailer
         designed for travel on public roads, including          b.   You   have failed to fulfill the terms of a contract or
         any attached machinery or equipment; or                      agreement;
    b. Any other land vehicle that is subject to a               if such property can be restored to use by the
         compulsory or financial responsibility law or           repair, replacement, adjustment or removal of "your
         other motor vehicle insurance law where it is           product" or "your work" or your fulfilling the
         licensed or principally garaged.                        terms   of the contract or agreement.




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  9. "Insured contract" means:                             10. "Leased worker" means a person leased to you by
     a. A contract for a lease of premises. However,           a labor leasing firm under an agreement between
         that portion of the contract for a lease of           you and the labor leasing firm, to perform duties
         premises that indemnifies any person or               related to the conduct of your business. "Leased
         organization for damage by fire to premises while     worker" does not include a "temporary worker".
         rented to you or temporarily occupied by you 11. "Loading or unloading" means the handling of
         with permission of the owner is not an "insured       property:
         contract";                                            a. After it is moved from the place where it is
     b. A sidetrack agreement;                                     accepted for movement into or onto an aircraft,
     c. Any easement or license agreement, except in               watercraft or "auto";
         connection with construction or demolition            b. While it is in or on an aircraft, watercraft or
         operations on or within 50 feet of a railroad;            "auto"; or
     d. An obligation, as required by ordinance, to             c. While it is being moved from an aircraft,
         indemnify a municipality, except in connection              watercraft or "auto" to the place where it is finally
         with work for a municipality;                               delivered;
     e. An elevator maintenance agreement;                      but "loading or unloading" does not include the
     f. That part of any other contract or agreement            movement       of property by means of a mechanical
         pertaining to your business (including an              device, other than a hand truck, that is not attached
         indemnification of a municipality in connection        to the aircraft, watercraft or "auto".
         with work performed for a municipality) under 12. "Mobile equipment" means any of the following types
         which you assume the tort liability of another         of land vehicles, including any attached machinery
         party to pay for "bodily injury" or "property          or equipment:
         damage" to a third person or organization. Tort        a. Bulldozers, farm machinery, forklifts and other
         liability means a liability that would be imposed           vehicles designed for use principally off public
         by law in the absence of any contract or                    roads;
         agreement.
                                                                b. Vehicles maintained for use solely on or next to
         Paragraph f. does not include that part of any              premises you own or rent;
         contract or agreement:
                                                                c. Vehicles that travel on crawler treads;
        (1) That indemnifies a railroad for "bodily injury"
             or "property damage" arising out of                d. Vehicles,        whether self-propelled or not,
             construction or demolition operations, within           maintained primarily to provide mobility to
             50 feet of any railroad property and affecting          permanently mounted:
             any railroad bridge or trestle, tracks, road-          (1) Power cranes, shovels, loaders, diggers or
             beds, tunnel, underpass or crossing;                        drills; or
        (2) That indemnifies an architect, engineer or              (2) Road construction or resurfacing equipment
             surveyor for injury or damage arising out of:               such as graders, scrapers or rollers;
            (a) Preparing, approving, or failing to prepare     e. Vehicles not described in Paragraph a., b., c. or
                  or approve, maps, shop drawings,                   d. above that are not self-propelled and are
                  opinions, reports, surveys, field orders,          maintained primarily to provide mobility to
                  change      orders or        drawings and          permanently attached equipment of the following
                  specifications; or                                 types:
            (b) Giving directions or instructions, or failing       (1) Air compressors, pumps and generators,
                  to give them, if that is the primary cause of          including     spraying,    welding,     building
                  the injury or damage; or                               cleaning, geophysical exploration, lighting
        (3) Under which the insured, if an architect,                    and well servicing equipment; or
             engineer or surveyor, assumes liability for an         (2) Cherry pickers and similar devices used to
             injury or damage arising out of the                         raise or lower workers;
             insured s rendering or failure to render
                                                                 f. Vehicles not described in Paragraph a., b., c. or
             professional services, including those listed           d. above maintained primarily for purposes other
             in (2) above and supervisory, inspection,
                                                                     than the transportation of persons or
             architectural or engineering activities.
                                                                     cargo.




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          However, self-propelled vehicles with the 16. "Products-completed operations hazard":
          following types of permanently attached                   a. Includes all "bodily injury" and             "property
          equipment are not "mobile equipment" but will be              damage" occurring away from premises you own
          considered "autos":                                           or rent and arising out of "your product" or "your
         (1) Equipment designed primarily for:                          work" except:
              (a) Snow removal;                                        (1) Products that are still in your physical
             (b) Road maintenance, but not construction                     possession; or
                   or resurfacing; or                                  (2) Work that has not yet been completed or
              (c) Street cleaning;                                          abandoned. However, "your work" will be
                                                                            deemed completed at the earliest of the
         (2) Cherry pickers and similar devices mounted                     following times:
               on automobile or truck chassis and used to
               raise or lower workers; and                                 (a) When all of the work called for in your
                                                                                contract has been completed.
         (3) Air compressors, pumps and generators,
               including     spraying,   welding,      building            (b) When all of the work to be done at the job
               cleaning, geophysical exploration, lighting                      site has been completed if your contract
               and well servicing equipment.                                    calls for work at more than one job site.
     However, "mobile equipment" does not include any                      (c) When that part of the work done at a job
     land vehicles that are subject to a compulsory or                          site has been put to its intended use by
     financial responsibility law or other motor vehicle                        any   person or organization other than
     insurance law where it is licensed or principally                          another     contractor or subcontractor
     garaged. Land vehicles subject to a compulsory or                          working on the same project.
     financial responsibility law or other motor vehicle                    Work that may need service, maintenance,
     insurance law are considered "autos".                                  correction, repair or replacement, but which
 13. "Occurrence" means an accident, including                              is otherwise complete, will be treated as
     continuous or repeated exposure to substantially the                   completed.
     same general harmful conditions.                               b. Does not include "bodily injury" or "property
 14. "Personal and advertising injury" means injury,                    damage" arising out of:
     including consequential "bodily injury", arising out of           (1) The transportation of property, unless the
     one or more of the following offenses:                                 injury or damage arises out of a condition in
     a. False arrest, detention or imprisonment;                            or  on a vehicle not owned or operated by
                                                                            you, and that condition was created by the
     b. Malicious prosecution;                                              "loading or unloading" of that vehicle by any
      c. The wrongful eviction from, wrongful entry into,                   insured;
          or invasion of the right of private occupancy of a           (2) The existence of tools, uninstalled equipment
          room, dwelling or premises that a person                          or abandoned or unused materials; or
          occupies, committed by or on behalf of its
          owner, landlord or lessor;                                   (3) Products or operations for which the
                                                                            classification, listed in the Declarations or in a
     d. Oral or written publication, in any manner, of                      policy Schedule, states that products-
          material that slanders or libels a person or                      completed operations are subject to the
          organization or disparages a person s or                          General Aggregate Limit.
          organization s goods, products or services;
                                                                17. "Property damage" means:
     e. Oral or written publication, in any manner, of
          material that violates a person s right of privacy;       a. Physical injury to tangible property, including all
                                                                        resulting loss of use of that property. All such
      f. The use of another s advertising idea in your                  loss of use shall be deemed to occur at the time
          "advertisement"; or                                           of the physical injury that caused it; or
     g. Infringing upon another s copyright, trade dress            b. Loss of use of tangible property that is not
          or slogan in your "advertisement".                            physically injured. All such loss of use shall be
 15. "Pollutants" mean any solid, liquid, gaseous or                    deemed to occur at the time of the "occurrence"
     thermal irritant or contaminant, including smoke,                  that caused it.
     vapor, soot, fumes, acids, alkalis, chemicals and              For the purposes of this insurance, electronic data
     waste. Waste includes materials to be recycled,                is not tangible property.
     reconditioned or reclaimed.




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     As used in this definition, electronic data means       b. Includes:
     information, facts or programs stored as or on,            (1) Warranties or representations made at any
     created or used on, or transmitted to or from                  time with respect to the fitness, quality,
     computer      software, including systems and                  durability, performance or use of "your
     applications software, hard or floppy disks, CD-               product"; and
     ROMs, tapes, drives, cells, data processing devices
     or any other media which are used with                     (2) The providing of or failure to provide
     electronically controlled equipment.                           warnings or instructions.
 18. "Suit" means a civil proceeding in which damages        c.  Does   not include vending machines or other
     because of "bodily injury", "property damage" or            property  rented to or located for the use of
     "personal and advertising injury" to which this             others but not sold.
     insurance applies are alleged. "Suit" includes:     22. "Your work":
     a. An arbitration proceeding in which such              a. Means:
         damages are claimed and to which the insured
                                                                (1) Work or operations performed by you or on
         must submit or does submit with our consent; or
                                                                    your behalf; and
     b. Any other alternative dispute resolution                (2) Materials, parts or equipment furnished in
         proceeding in which such damages are claimed               connection with such work or operations.
         and to which the insured submits with our
         consent.                                            b. Includes:
 19. "Temporary worker" means a person who is                   (1) Warranties or representations made at any
     furnished to you to substitute for a permanent                 time with respect to the fitness, quality,
     "employee" on leave or to meet seasonal or short-              durability, performance or use of "your work";
     term workload conditions.                                      and
 20. "Volunteer worker" means a person who is not your          (2) The providing of or failure to provide
     "employee", and who donates his or her work and                warnings or instructions.
     acts at the direction of and within the scope of
     duties determined by you, and is not paid a fee,
     salary or other compensation by you or anyone else
     for their work performed for you.
 21. "Your product":
    a. Means:
       (1) Any goods or products, other than real
            property, manufactured, sold, handled,
            distributed or disposed of by:
           (a) You;
          (b) Others trading under your name; or
           (c) A person or organization whose business
                or assets you have acquired; and
       (2) Containers (other than vehicles), materials,
           parts or equipment furnished in connection
           with such goods or products.




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                                                                                         COMMERCIAL GENERAL LIABILITY
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                      LIQUOR LIABILITY COVERAGE FORM
 Various provisions in this policy restrict coverage.                        (2) Prior to the policy period, no insured listed
 Read the entire policy carefully to determine rights,                            under Paragraph 1. of Section II --- Who Is
 duties and what is and is not covered.                                           An Insured and no "employee" authorized
 Throughout this policy the words "you" and "your"                                by you to give or receive notice of an
 refer to the Named Insured shown in the Declarations,                            "injury" or claim, knew that the "injury" had
 and any other person or organization qualifying as a                             occurred, in whole or in part. If such a listed
 Named Insured under this policy. The words "we", "us"                            insured or authorized "employee" knew,
 and "our" refer to the company providing this                                    prior to the policy period, that the "injury"
 insurance.                                                                       occurred, then any continuation, change or
                                                                                  resumption of such "injury" during or after
 The word "insured" means any person or organization                              the policy period will be deemed to have
 qualifying as such under Section II ---- Who Is An                               been known prior to the policy period.
 Insured.
                                                                          c. "Injury" which occurs during the policy period
 Other words and phrases that appear in quotation                             and was not, prior to the policy period, known
 marks have special meaning. Refer to Section V ----                          to have occurred by any insured listed under
 Definitions.                                                                 Paragraph 1. of Section II ---- Who Is An Insured
 SECTION I ---- LIQUOR LIABILITY COVERAGE                                     or any "employee" authorized by you to give or
                                                                              receive notice of an "injury" or claim, includes
 1. Insuring Agreement
                                                                              any continuation, change or resumption of that
    a. We will pay those sums that the insured                                "injury" after the end of the policy period.
        becomes legally obligated to pay as damages
                                                                          d. "Injury" will be deemed to have been known to
        because of "injury" to which this insurance
                                                                             have occurred at the earliest time when any
        applies if liability for such "injury" is imposed on
                                                                             insured listed under Paragraph 1. of Section II
        the insured by reason of the selling, serving or
                                                                             ---- Who Is An Insured or any "employee"
        furnishing of any alcoholic beverage. We will
                                                                             authorized by you to give or receive notice of
        have the right and duty to defend the insured
                                                                             an "injury" or claim:
        against any "suit" seeking those damages.
        However, we will have no duty to defend the                         (1) Reports all, or any part, of the "injury" to us
        insured against any "suit" seeking damages for                          or any other insurer;
        "injury" to which this insurance does not apply.                    (2) Receives a written or verbal demand or
        We may, at our discretion, investigate any                              claim for damages because of the "injury"; or
        "injury" and settle any claim or "suit" that may
        result. But:                                                    (3) Becomes aware by any other means that
                                                                            "injury" has occurred or has begun to occur.
       (1) The amount we will pay for damages is
            limited as described in Section III ---- Limits Of     2. Exclusions
            Insurance; and                                                This insurance does not apply to:
       (2) Our right and duty to defend ends when we                      a. Expected Or Intended Injury
            have used up the applicable limit of                             "Injury" expected or intended from the
            insurance in the payment of judgments or                         standpoint of the insured. This exclusion does
            settlements.
                                                                             not apply to "bodily injury" resulting from the
        No other obligation or liability to pay sums or                      use of reasonable force to protect persons or
        perform acts or services is covered unless                           property.
        explicitly provided for under Supplementary                       b. Workers Compensation And Similar Laws
        Payments.
                                                                             Any obligation of the insured under a workers
    b. This insurance applies to "injury" only if:                           compensation,       disability   benefits    or
       (1) The "injury" occurs during the policy period                      unemployment compensation law or any
           in the "coverage territory"; and                                  similar law.




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    c. Employer s Liability                                        (3) Insurrection, rebellion, revolution, usurped
        "Bodily injury" to:                                             power, or action taken by governmental
                                                                        authority in hindering or defending against
       (1) An "employee" of the insured arising out of                  any of these.
           and in the course of:
                                                            SUPPLEMENTARY PAYMENTS
         (a) Employment by the insured; or
                                                            We will pay, with respect to any claim we investigate or
         (b) Performing duties related to the conduct       settle, or any "suit" against an insured we defend:
             of the insured s business; or
                                                            1. All expenses we incur.
      (2) The spouse, child, parent, brother or sister
          of that "employee" as a consequence of            2. The cost of bonds to release attachments, but only
          Paragraph (1) above.                                  for bond amounts within the applicable limit of
                                                                insurance. We do not have to furnish these bonds.
       This exclusion applies whether the insured may
       be liable as an employer or in any other             3. All reasonable expenses incurred by the insured at
       capacity and to any obligation to share                 our request to assist us in the investigation or
       damages with or repay someone else who must             defense of the claim or "suit", including actual loss
       pay damages because of the "injury".                    of earnings up to $250 a day because of time off
                                                               from work.
    d. Liquor License Not In Effect
                                                            4. All court costs taxed against the insured in the
       "Injury" arising out of any alcoholic beverage          "suit". However, these payments do not include
       sold, served or furnished while any required            attorneys’ fees or attorneys’ expenses taxed
       license is not in effect.                               against the insured.
    e. Your Product                                         5. Prejudgment interest awarded against the insured
       "Injury" arising out of "your product". This            on that part of the judgment we pay. If we make an
       exclusion does not apply to "injury" for which          offer to pay the applicable limit of insurance, we
       the insured or the insured s indemnitees may            will not pay any prejudgment interest based on that
       be held liable by reason of:                            period of time after the offer.
      (1) Causing or contributing to the intoxication       6. All interest on the full amount of any judgment that
           of any person;                                      accrues after entry of the judgment and before we
                                                               have paid, offered to pay, or deposited in court the
      (2) The furnishing of alcoholic beverages to a
                                                               part of the judgment that is within the applicable
           person under the legal drinking age or
           under the influence of alcohol; or                  limit of insurance.
                                                            7. Expenses incurred by the insured for first aid
      (3) Any statute, ordinance or regulation relating
                                                               administered to others at the time of an event to
           to the sale, gift, distribution or use of
                                                               which this insurance applies.
           alcoholic beverages.
    f. Other Insurance                                      These payments will not reduce the limits of
                                                            insurance.
       Any "injury" with respect to which other
                                                            SECTION II ---- WHO IS AN INSURED
       insurance is afforded, or would be afforded but
       for the exhaustion of the limits of insurance.       1. If you are designated in the Declarations as:
       This exclusion does not apply if the other                  a. An individual, you and your spouse are
       insurance responds to liability for "injury"                   insureds.
       imposed on the insured by reason of the                     b. A partnership or joint venture, you are an
       selling, serving or furnishing of any alcoholic                insured. Your members, your partners, and
       beverage.                                                      their spouses are also insureds, but only with
    g. War                                                            respect to the conduct of your business.
       "Injury", however caused, arising, directly or              c. A limited liability company, you are an insured.
       indirectly, out of:                                            Your members are also insureds, but only with
      (1) War, including undeclared or civil war;                     respect to the conduct of your business. Your
                                                                      managers are insureds, but only with respect
      (2) Warlike action by a military force, including               to their duties as your managers.
           action in hindering or defending against an
           actual or expected attack, by any
           government, sovereign or other authority
           using military personnel or other agents; or




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     d. An organization other than a partnership, joint             c. Your legal representative if you die, but only
        venture or limited liability company, you are an               with respect to duties as such. That
        insured. Your "executive officers" and directors               representative will have all your rights and
        are insureds, but only with respect to their                   duties under this Coverage Part.
        duties as your officers or directors. Your              3. Any organization you newly acquire or form, other
        stockholders are also insureds, but only with              than a partnership, joint venture or limited liability
        respect to their liability as stockholders.                company, and over which you maintain ownership
     e. A trust, you are an insured. Your trustees are             or majority interest, will qualify as a Named Insured
         also insureds, but only with respect to their             if there is no other similar insurance available to
         duties as trustees.                                       that organization. However:
  2. Each of the following is also an insured:                     a. Coverage under this provision is afforded only
     a. Your "employees", other than either your                       until the 90th day after you acquire or form the
         "executive officers" (if you are an organization              organization or the end of the policy period,
         other than a partnership, joint venture or limited            whichever is earlier; and
         liability company) or your managers (if you are               b. Coverage does not apply to "injury" that
         a limited liability company), but only for acts                  occurred before you acquired or formed the
         within the scope of their employment by you or                   organization.
         while performing duties related to the conduct         No person or organization is an insured with respect
         of your business. However, none of these               to the conduct of any current or past partnership, joint
         "employees" is an insured for:                         venture or limited liability company that is not shown
        (1) "Injury":                                           as a Named Insured in the Declarations.
           (a) To you, to your partners or members (if          SECTION III ---- LIMITS OF INSURANCE
               you are a partnership or joint venture),         1. The Limits of Insurance shown in the Declarations
               to your members (if you are a limited               and the rules below fix the most we will pay
               liability company), or to a co-"employee"           regardless of the number of:
               while that co-"employee" is either in the
               course of his or her employment or                      a. Insureds;
               performing duties related to the conduct                b. Claims made or "suits" brought; or
               of your business;
                                                                   c. Persons or organizations making claims or
           (b) To the spouse, child, parent, brother or                bringing "suits".
               sister of that co-"employee" as a
               consequence of Paragraph (a) above; or           2. The Aggregate Limit is the most we will pay for all
                                                                   "injury" as the result of the selling, serving or
           (c) For which there is any obligation to                furnishing of alcoholic beverages.
               share damages with or repay someone
                                                                3. Subject to the Aggregate Limit, the Each Common
               else who must pay damages because of
                                                                   Cause Limit is the most we will pay for all "injury"
               the injury described in Paragraph (a) or
                                                                   sustained by one or more persons or
               (b) above.
                                                                   organizations as the result of the selling, serving
        (2) "Property damage" to property:                         or furnishing of any alcoholic beverage to any one
            (a) Owned or occupied by; or                           person.
           (b) Rented or loaned;                                The Limits of Insurance of this Coverage Part apply
                                                                separately to each consecutive annual period and to
            to that "employee", any of your other               any remaining period of less than 12 months, starting
            "employees", by any of your partners or             with the beginning of the policy period shown in the
            members (if you are a partnership or joint          Declarations, unless the policy period is extended
            venture), or by any of your members (if you         after issuance for an additional period of less than 12
            are a limited liability company).                   months. In that case, the additional period will be
     b. Any person or organization having proper                deemed part of the last preceding period for purposes
         temporary custody of your property if you die,         of determining the Limits of Insurance.
         but only:                                              SECTION IV ---- LIQUOR LIABILITY CONDITIONS
        (1) With respect to liability arising out of the        1. Bankruptcy
            maintenance or use of that property; and
                                                                    Bankruptcy or insolvency of the insured or of the
        (2) Until your legal representative has been                insured’s estate will not relieve us of our
            appointed.                                              obligations under this Coverage Part.



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  2. Duties In The Event Of Injury, Claim Or Suit                     A person or organization may sue us to recover on
     a. You must see to it that we are notified as soon               an agreed settlement or on a final judgment against
         as practicable of an "injury" which may result in            an insured; but we will not be liable for damages
         a claim. To the extent possible, notice should               that are not payable under the terms of this
         include:                                                     Coverage Part or that are in excess of the
                                                                      applicable limit of insurance. An agreed settlement
        (1) How, when and where the "injury" took                     means a settlement and release of liability signed
             place;                                                   by us, the insured and the claimant or the
        (2) The names and addresses of any injured                    claimant’s legal representative.
             persons and witnesses; and                        4. Other Insurance
        (3) The nature and location of any "injury".              If other valid and collectible insurance is available
     b. If a claim is made or "suit" is brought against           to the insured for a loss we cover under this
         any insured, you must:                                   Coverage Part, our obligations are limited as
                                                                  follows:
        (1) Immediately record the specifics of the claim
            or "suit" and the date received; and                      a. Primary Insurance
        (2) Notify us as soon as practicable.                            This insurance is primary. Our obligations are
                                                                         not affected unless any of the other insurance
         You must see to it that we receive written notice
         of the claim or "suit" as soon as practicable.                  is also primary. Then, we will share with all that
                                                                         other insurance by the method described in b.
     c. You and any other involved insured must:                         below.
        (1) Immediately send us copies of any                         b. Method Of Sharing
             demands, notices, summonses or legal
                                                                         If all of the other insurance permits contribution
             papers received in connection with the claim
                                                                         by equal shares, we will follow this method
             or "suit";
                                                                         also. Under this approach each insurer
        (2) Authorize us to obtain records and other                     contributes equal amounts until it has paid its
             information;                                                applicable limit of insurance or none of the loss
        (3) Cooperate with us in the investigation or                    remains, whichever comes first.
             settlement of the claim or defense against                  If any of the other insurance does not permit
             the "suit"; and                                             contribution by equal shares, we will contribute
        (4) Assist us, upon our request, in the                          by limits. Under this method, each insurer’s
             enforcement of any right against any person                 share is based on the ratio of its applicable limit
             or organization which may be liable to the                  of insurance to the total applicable limits of
             insured because of "injury" to which this                   insurance of all insurers.
             insurance may also apply.                         5. Premium Audit
     d. No insured will, except at that insured’s own             a. We will compute all premiums for this Coverage
         cost, voluntarily make a payment, assume any                Part in accordance with our rules and rates.
         obligation, or incur any expense, other than for
         first aid, without our consent.                              b. Premium shown in this Coverage Part as
                                                                         advance premium is a deposit premium only.
  3. Legal Action Against Us                                             At the close of each audit period we will
     No person or organization has a right under this                    compute the earned premium for that period
     Coverage Part:                                                      and send notice to the first Named Insured.
                                                                         The due date for audit and retrospective
     a. To join us as a party or otherwise bring us into                 premiums is the date shown as the due date on
        a "suit" asking for damages from an insured; or                  the bill. If the sum of the advance and audit
     b. To sue us on this Coverage Part unless all of                    premiums paid for the policy period is greater
        its terms have been fully complied with.                         than the earned premium, we will return the
                                                                         excess to the first Named Insured.




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     c. The first Named Insured must keep records of                   c. All other parts of the world if the "injury" arises
        the information we need for premium                                out of:
        computation, and send us copies at such times                     (1) Goods or products made or sold by you in
        as we may request.                                                     the territory described in Paragraph a.
  6. Representations                                                           above; or
     By accepting this policy, you agree:                                 (2) The activities of a person whose home is in
     a. The statements in the Declarations are accurate                        the territory described in Paragraph a.
        and complete;                                                          above, but is away for a short time on your
                                                                               business;
     b. Those     statements    are     based     upon
        representations you made to us; and                                provided the insured’s responsibility to pay
                                                                           damages is determined in a "suit" on the merits,
     c. We have issued this policy in reliance upon                        in the territory described in Paragraph a. above
        your representations.                                              or in a settlement we agree to.
  7. Separation Of Insureds                                     3. "Employee" includes a "leased worker". "Employee"
     Except with respect to the Limits of Insurance, and           does not include a "temporary worker".
     any rights or duties specifically assigned in this         4. "Executive officer" means a person holding any of
     Coverage Part to the first Named Insured, this                the officer positions created by your charter,
     insurance applies:                                            constitution, bylaws or any other similar governing
     a. As if each Named Insured were the only Named               document.
        Insured; and                                            5. "Injury" means damages because of "bodily injury"
     b. Separately to each insured against whom claim              and "property damage", including damages for
        is made or "suit" is brought.                              care, loss of services or loss of support.
  8. Transfer Of Rights Of Recovery Against Others To           6. "Leased worker" means a person leased to you by
     Us                                                            a labor leasing firm under an agreement between
                                                                   you and the labor leasing firm, to perform duties
     If the insured has rights to recover all or part of
                                                                   related to the conduct of your business. "Leased
     any payment we have made under this Coverage                  worker" does not include a "temporary worker".
     Part, those rights are transferred to us. The
     insured must do nothing after loss to impair them.         7. "Property damage" means:
     At our request, the insured will bring "suit" or              a. Physical injury to tangible property, including
     transfer those rights to us and help us enforce                  all resulting loss of use of that property. All
     them.                                                            such loss of use shall be deemed to occur at
  9. When We Do Not Renew                                              the time of the physical injury that caused it; or
   If we decide not to renew this Coverage Part, we                b. Loss of use of tangible property that is not
   will mail or deliver to the first Named Insured                     physically injured. All such loss of use shall be
   shown in the Declarations written notice of the                     deemed to occur at the time of the occurrence
   nonrenewal not less than 30 days before the                         that caused it.
   expiration date.                                             8. "Suit" means a civil proceeding in which damages
   If notice is mailed, proof of mailing will be sufficient        because of "injury" to which this insurance applies
   proof of notice.                                                are alleged. "Suit" includes:
 SECTION V ---- DEFINITIONS                                        a. An arbitration proceeding in which such
                                                                       damages are claimed and to which the insured
  1. "Bodily injury" means bodily injury, sickness or                 must submit or does submit with our consent;
     disease sustained by a person, including death                   or
     resulting from any of these at any time.
                                                                   b. Any other alternative dispute resolution
  2. "Coverage territory" means:
                                                                       proceeding in which such damages are claimed
     a. The United States of America (including its                   and to which the insured submits with our
        territories and possessions), Puerto Rico and                  consent.
        Canada;
                                                                9. "Temporary worker" means a person who is
     b. International waters or airspace, but only if the          furnished to you to substitute for a permanent
        "injury" occurs in the course of travel or                 "employee" on leave or to meet seasonal or short-
        transportation between any places included in              term workload conditions.
        Paragraph a. above; or




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 10. "Your product":                                               b. Includes:
     a. Means:                                                        (1) Warranties or representations made at any
        (1) Any goods or products, other than real                        time with respect to the fitness, quality,
             property, manufactured, sold, handled,                       durability, performance or use of "your
             distributed or disposed of by:                               product"; and
            (a) You;                                                  (2) The providing of or failure to provide
                                                                          warnings or instructions.
           (b) Others trading under your name; or
                                                                   c. Does not include vending machines or other
          (c) A person or organization whose                           property rented to or located for the use of
              business or assets you have acquired;                    others but not sold.
              and
      (2) Containers (other than vehicles), materials,
          parts or equipment furnished in connection
          with such goods or products.




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                                                                                                   EX03-141
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                                                                         COMMERCIAL GENERAL LIABILITY
                                                                                        CG 32 34 01 05

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                 CALIFORNIA CHANGES
 This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART
    ELECTRONIC DATA LIABILITY COVERAGE PART
    LIQUOR LIABILITY COVERAGE PART
    OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
    POLLUTION LIABILITY COVERAGE PART
    PRODUCT WITHDRAWAL COVERAGE PART
    PRODUCTS / COMPLETED OPERATIONS LIABILITY COVERAGE PART
    UNDERGROUND STORAGE TANK POLICY

 The term "spouse" is replaced by the following:
 Spouse or registered domestic partner under Califor-
 nia law.




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                                                                                         EX03-142
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 POLICY NUMBER: PKG3127372                                                     COMMERCIAL GENERAL LIABILITY
                                                                                              CG 04 35 12 07

         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

              EMPLOYEE BENEFITS LIABILITY COVERAGE
                          THIS ENDORSEMENT PROVIDES CLAIMS-MADE COVERAGE.
                           PLEASE READ THE ENTIRE ENDORSEMENT CAREFULLY.


 This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                     SCHEDULE

                                                                            Each Employee
       Coverage                       Limit Of Insurance                      Deductible            Premium
  Employee Benefits $     1,000,000                   each employee    $           1,000      $            300
  Programs          $     1,000,000                   aggregate
  Retroactive Date:    NONE
  Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


 A. The following is added to Section I --- Coverages:                   No other obligation or liability to pay sums
    COVERAGE ---- EMPLOYEE BENEFITS LIABILITY                            or perform acts or services is covered
                                                                         unless explicitly provided for under Supple-
    1. Insuring Agreement                                                mentary Payments.
       a. We will pay those sums that the insured                     b. This insurance applies to damages only if:
           becomes legally obligated to pay as dam-
           ages because of any act, error or omission,                  (1) The act, error or omission, is negligently
           of the insured, or of any other person for                       committed in the "administration" of your
           whose acts the insured is legally liable, to                     "employee benefit program";
           which this insurance applies. We will have                   (2) The act, error or omission, did not take
           the right and duty to defend the insured                         place before the Retroactive Date, if any,
           against any "suit" seeking those damages.                        shown in the Schedule nor after the end
           However, we will have no duty to defend the                      of the policy period; and
           insured against any "suit" seeking damages                   (3) A "claim" for damages, because of an act,
           to which this insurance does not apply. We
                                                                            error or omission, is first made against
           may, at our discretion, investigate any report
                                                                            any insured, in accordance with Para-
           of an act, error or omission and settle any                      graph c. below, during the policy period
           "claim" or "suit" that may result. But:                          or an Extended Reporting Period we pro-
          (1) The amount we will pay for damages is                         vide under Paragraph F. of this en-
               limited as described in Paragraph D.                         dorsement.
               (Section III ---- Limits Of Insurance); and            c. A "claim" seeking damages will be deemed to
          (2) Our right and duty to defend ends when                     have been made at the earlier of the follow-
              we have used up the applicable limit of                    ing times:
              insurance in the payment of judgments or                  (1) When notice of such "claim" is received
              settlements.                                                  and recorded by any insured or by us,
                                                                            whichever comes first; or




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                                                                                                   EX03-143
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          (2) When we make settlement in accordance                      f. Workers’ Compensation And Similar Laws
               with Paragraph a. above.                                        Any "claim" arising out of your failure to
           A "claim" received and recorded by the in-                          comply with the mandatory provisions of any
           sured within 60 days after the end of the pol-                      workers’     compensation,       unemployment
           icy period will be considered to have been                          compensation insurance, social security or
           received within the policy period, if no sub-                       disability benefits law or any similar law.
           sequent policy is available to cover the claim.               g.    ERISA
       d. All "claims" for damages made by an "em-                             Damages for which any insured is liable be-
           ployee" because of any act, error or omis-                          cause of liability imposed on a fiduciary by
           sion, or a series of related acts, errors or                        the Employee Retirement Income Security
           omissions, including damages claimed by                             Act of 1974, as now or hereafter amended,
           such "employee’s" dependents and benefici-                          or by any similar federal, state or local laws.
           aries, will be deemed to have been made at
           the time the first of those "claims" is made                  h.    Available Benefits
           against any insured.                                                Any "claim" for benefits to the extent that
    2. Exclusions                                                              such benefits are available, with reasonable
                                                                               effort and cooperation of the insured, from
       This insurance does not apply to:                                       the applicable funds accrued or other col-
       a. Dishonest, Fraudulent, Criminal Or Malicious                         lectible insurance.
           Act                                                            i.   Taxes, Fines Or Penalties
          Damages arising out of any intentional, dis-                         Taxes, fines or penalties, including those
          honest, fraudulent, criminal or malicious act,                       imposed under the Internal Revenue Code
          error or omission, committed by any in-                              or any similar state or local law.
          sured, including the willful or reckless viola-
          tion of any statute.                                            j.   Employment-Related Practices
       b. Bodily Injury, Property Damage, Or Personal                    Damages arising out of wrongful termination
          And Advertising Injury                                         of employment, discrimination, or other em-
                                                                          ployment-related practices.
          "Bodily injury", "property damage" or "per-
          sonal and advertising injury".                        B. For the purposes of the coverage provided by this
                                                                   endorsement:
       c. Failure To Perform A Contract
                                                                      1. All references to Supplementary Payments ----
          Damages arising out of failure of perform-                     Coverages A and B are replaced by Supplemen-
          ance of contract by any insurer.                               tary Payments ---- Coverages A, B and Employee
       d. Insufficiency Of Funds                                         Benefits Liability.
          Damages arising out of an insufficiency of                  2. Paragraphs 1.b. and 2. of the Supplementary
          funds to meet any obligations under any                        Payments provision do not apply.
          plan included in the "employee benefit pro-           C. For the purposes of the coverage provided by this
          gram".                                                   endorsement, Paragraphs 2. and 3. of Section II ----
       e. Inadequacy Of Performance Of                             Who Is An Insured are replaced by the following:
          Investment/ Advice Given With Respect To                    2. Each of the following is also an insured:
          Participation
                                                                         a. Each of your "employees" who is or was
          Any "claim" based upon:                                           authorized to administer your "employee
         (1) Failure of any investment to perform;                          benefit program".
         (2) Errors in providing information on past                     b. Any persons, organizations or "employees"
             performance of investment vehicles; or                         having proper temporary authorization to
         (3) Advice given to any person with respect                        administer your "employee benefit program"
             to that person’s decision to participate or                    if you die, but only until your legal represen-
             not to participate in any plan included in                     tative is appointed.
             the "employee benefit program".




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       c. Your legal representative if you die, but                     The Limits of Insurance of this endorsement ap-
          only with respect to duties as such. That                     ply separately to each consecutive annual pe-
          representative will have all your rights and                  riod and to any remaining period of less than 12
          duties under this Endorsement.                                months, starting with the beginning of the policy
    3. Any organization you newly acquire or form,                      period shown in the Declarations of the policy
       other than a partnership, joint venture or limited               to which this endorsement is attached, unless
       liability company, and over which you maintain                   the policy period is extended after issuance for
       ownership or majority interest, will qualify as a                an additional period of less than 12 months. In
       Named Insured if no other similar insurance ap-                  that case, the additional period will be deemed
       plies to that organization. However:                             part of the last preceding period for purposes of
                                                                        determining the Limits Of Insurance.
       a. Coverage under this provision is afforded
          only until the 90th day after you acquire or                2. Deductible
          form the organization or the end of the pol-                  a. Our obligation to pay damages on behalf of
          icy period, whichever is earlier.                                the insured applies only to the amount of
       b. Coverage under this provision does not                           damages in excess of the deductible amount
          apply to any act, error or omission that was                     stated in the Schedule as applicable to Each
          committed before you acquired or formed                          Employee. The limits of insurance shall not
          the organization.                                                be reduced by the amount of this deductible.
 D. For the purposes of the coverage provided by this                   b. The deductible amount stated in the Sched-
    endorsement, Section III ---- Limits Of Insurance is                   ule applies to all damages sustained by any
    replaced by the following:                                             one "employee", including such "employee’s"
                                                                           dependents and beneficiaries, because of all
    1. Limits Of Insurance                                                 acts, errors or omissions to which this in-
        a. The Limits of Insurance shown in the                            surance applies.
           Schedule and the rules below fix the most                    c. The terms of this insurance, including those
           we will pay regardless of the number of:                        with respect to:
          (1) Insureds;                                                    (1) Our right and duty to defend any "suits"
          (2) "Claims" made or "suits" brought;                                seeking those damages; and
          (3) Persons or organizations making "claims"                     (2) Your duties, and the duties of any other
              or bringing "suits";                                             involved insured, in the event of an act,
          (4) Acts, errors or omissions; or                                    error or omission, or "claim"
                                                                            apply irrespective of the application of the
          (5) Benefits included in your "employee
                                                                            deductible amount.
               benefit program".
       b. The Aggregate Limit is the most we will pay                 d. We may pay any part or all of the deductible
           for all damages because of acts, errors or                     amount to effect settlement of any "claim" or
           omissions negligently committed in the "ad-                    "suit" and, upon notification of the action
           ministration" of your "employee benefit pro-                   taken, you shall promptly reimburse us for
           gram".                                                         such part of the deductible amount as we
                                                                          have paid.
       c. Subject to the Aggregate Limit, the Each
                                                                E. For the purposes of the coverage provided by this
           Employee Limit is the most we will pay for all          endorsement, Conditions 2. and 4. of Section IV ----
           damages sustained by any one "employee",                Commercial General Liability Conditions are re-
           including damages sustained by such "em-                placed by the following:
           ployee’s" dependents and beneficiaries, as a
           result of:                                              2. Duties In The Event Of An Act, Error Or
          (1) An act, error or omission; or                            Omission, Or "Claim" Or "Suit"
          (2) A series of related acts, errors or omis-                a. You must see to it that we are notified as
               sions                                                      soon as practicable of an act, error or omis-
                                                                          sion which may result in a "claim". To the ex-
           negligently committed in the "administration"                  tent possible, notice should include:
           of your "employee benefit program".
                                                                         (1) What the act, error or omission was and
           However, the amount paid under this en-                            when it occurred; and
           dorsement shall not exceed, and will be sub-
           ject to, the limits and restrictions that apply
           to the payment of benefits in any plan in-
           cluded in the "employee benefit program".



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          (2) The names and addresses of anyone                        b. Excess Insurance
              who may suffer damages as a result of                      (1) This insurance is excess over any of the
              the act, error or omission.                                    other insurance, whether primary, ex-
       b. If a "claim" is made or "suit" is brought                          cess, contingent or on any other basis
           against any insured, you must:                                    that is effective prior to the beginning of
          (1) Immediately record the specifics of the                        the policy period shown in the Schedule
              "claim" or "suit" and the date received;                       of this insurance and that applies to an
              and                                                            act, error or omission on other than a
                                                                             claims-made basis, if:
          (2) Notify us as soon as practicable.
                                                                            (a) No Retroactive Date is shown in the
           You must see to it that we receive written no-                        Schedule of this insurance; or
           tice of the "claim" or "suit" as soon as practi-
           cable.                                                           (b) The other insurance has a policy
                                                                                 period which continues after the Ret-
       c. You and any other involved insured must:                               roactive Date shown in the Schedule
          (1) Immediately send us copies of any de-                              of this insurance.
              mands, notices, summonses or legal pa-                     (2) When this insurance is excess, we will
              pers received in connection with the                           have no duty to defend the insured
              "claim" or "suit";                                             against any "suit" if any other insurer has
          (2) Authorize us to obtain records and other                       a duty to defend the insured against that
              information;                                                   "suit". If no other insurer defends, we will
          (3) Cooperate with us in the investigation or                      undertake to do so, but we will be entitled
              settlement of the "claim" or defense                           to the insured’s rights against all those
              against the "suit"; and                                        other insurers.
                                                                         (3) When this insurance is excess over other
          (4) Assist us, upon our request, in the en-                        insurance, we will pay only our share of
              forcement of any right against any per-                        the amount of the loss, if any, that ex-
              son or organization which may be liable                        ceeds the sum of the total amount that all
              to the insured because of an act, error or                     such other insurance would pay for the
              omission to which this insurance may                           loss in absence of this insurance; and the
              also apply.
                                                                             total of all deductible and self-insured
       d. No insured will, except at that insured’s own                      amounts under all that other insurance.
           cost, voluntarily make a payment, assume
           any obligation or incur any expense without                   (4) We will share the remaining loss, if any,
           our consent.                                                      with any other insurance that is not de-
                                                                             scribed in this Excess Insurance provi-
    4. Other Insurance                                                       sion and was not bought specifically to
       If other valid and collectible insurance is avail-                    apply in excess of the Limits of Insurance
       able to the insured for a loss we cover under                         shown in the Schedule of this endorse-
       this endorsement, our obligations are limited as                      ment.
       follows:                                                        c. Method Of Sharing
       a. Primary Insurance                                               If all of the other insurance permits contribu-
          This insurance is primary except when Para-                     tion by equal shares, we will follow this
          graph b. below applies. If this insurance is                    method also. Under this approach each in-
          primary, our obligations are not affected                       surer contributes equal amounts until it has
          unless any of the other insurance is also                       paid its applicable limit of insurance or none
          primary. Then, we will share with all that                      of the loss remains, whichever comes first.
          other insurance by the method described in                      If any of the other insurance does not permit
          Paragraph c. below.                                             contribution by equal shares, we will con-
                                                                          tribute by limits. Under this method, each in-
                                                                          surer’s share is based on the ratio of its ap-
                                                                          plicable limits of insurance to the total
                                                                          applicable limits of insurance of all insurers.




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 F. For the purposes of the coverage provided by this                 The Extended Reporting Period endorsement
    endorsement, the following Extended Reporting Pe-                 applicable to this coverage shall set forth the
    riod provisions are added, or, if this endorsement is             terms, not inconsistent with this Section, appli-
    attached to a claims-made Coverage Part, replaces                 cable to the Extended Reporting Period, includ-
    any similar Section in that Coverage Part:                        ing a provision to the effect that the insurance
    EXTENDED REPORTING PERIOD                                         afforded for "claims" first received during such
                                                                       period is excess over any other valid and col-
    1. You will have the right to purchase an Extended                lectible insurance available under policies in
       Reporting Period, as described below, if:                      force after the Extended Reporting Period
       a. This endorsement is canceled or not re-                     starts.
           newed; or                                               4. If the Extended Reporting Period is in effect, we
       b. We renew or replace this endorsement with                   will provide an extended reporting period ag-
           insurance that:                                            gregate limit of insurance described below, but
          (1) Has a Retroactive Date later than the date              only for claims first received and recorded dur-
              shown in the Schedule of this endorse-                  ing the Extended Reporting Period.
              ment; or                                                The extended reporting period aggregate limit of
          (2) Does not apply to an act, error or omis-                insurance will be equal to the dollar amount
              sion on a claims-made basis.                            shown in the Schedule of this endorsement un-
                                                                      der Limits of Insurance.
    2. The Extended Reporting Period does not extend
       the policy period or change the scope of cover-                Paragraph D.1.b. of this endorsement will be
       age provided. It applies only to "claims" for acts,            amended accordingly. The Each Employee Limit
       errors or omissions that were first committed                  shown in the Schedule will then continue to ap-
       before the end of the policy period but not be-                 ply as set forth in Paragraph D.1.c.
       fore the Retroactive Date, if any, shown in the          G. For the purposes of the coverage provided by this
       Schedule. Once in effect, the Extended Report-              endorsement, the following definitions are added to
       ing Period may not be canceled.                             the Definitions Section:
    3. An Extended Reporting Period of five years is                  1. "Administration" means:
       available, but only by an endorsement and for                     a. Providing information to "employees", includ-
       an extra charge.                                                     ing their dependents and beneficiaries, with
       You must give us a written request for the en-                       respect to eligibility for or scope of "em-
       dorsement within 60 days after the end of the                        ployee benefit programs";
       policy period. The Extended Reporting Period                      b. Handling records in connection with the
       will not go into effect unless you pay the addi-                     "employee benefit program"; or
       tional premium promptly when due.
                                                                         c. Effecting, continuing or terminating any
       We will determine the additional premium in ac-                      "employee’s" participation in any benefit in-
       cordance with our rules and rates. In doing so,                      cluded in the "employee benefit program".
       we may take into account the following:
                                                                         However, "administration" does not include
       a. The "employee benefit programs" insured;                       handling payroll deductions.
       b. Previous types and amounts of insurance;                    2. "Cafeteria plans" means plans authorized by
        c. Limits of insurance available under this en-                  applicable law to allow employees to elect to pay
           dorsement for future payment of damages;                      for certain benefits with pre-tax dollars.
           and                                                        3. "Claim" means any demand, or "suit", made by
       d. Other related factors.                                         an "employee" or an "employee’s" dependents
       The additional premium will not exceed 100% of                    and beneficiaries, for damages as the result of
       the annual premium for this endorsement.                          an act, error or omission.




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                                                                                                       EX03-147
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    4. "Employee benefit program" means a program                        e. Any other similar benefits designated in the
       providing some or all of the following benefits to                   Schedule or added thereto by endorsement.
       "employees", whether provided through a "cafe-             H. For the purposes of the coverage provided by this
       teria plan" or otherwise:                                     endorsement, Definitions 5. and 18. in the Defini-
       a. Group life insurance, group accident or                    tions Section are replaced by the following:
          health insurance, dental, vision and hearing               5. "Employee" means a person actively employed,
          plans, and flexible spending accounts, pro-                    formerly employed, on leave of absence or dis-
          vided that no one other than an "employee"                     abled, or retired. "Employee" includes a "leased
          may subscribe to such benefits and such                        worker". "Employee" does not include a "tempo-
          benefits are made generally available to                       rary worker".
          those "employees" who satisfy the plan’s eli-
          gibility requirements;                                        18. "Suit" means a civil proceeding in which dam-
                                                                            ages because of an act, error or omission to
       b. Profit sharing plans, employee savings                            which this insurance applies are alleged. "Suit"
          plans, employee stock ownership plans,                            includes:
          pension plans and stock subscription plans,
          provided that no one other than an "em-                           a. An arbitration proceeding in which such
          ployee" may subscribe to such benefits and                            damages are claimed and to which the in-
          such benefits are made generally available to                         sured must submit or does submit with our
          all "employees" who are eligible under the                            consent; or
          plan for such benefits;                                           b. Any other alternative dispute resolution
       c. Unemployment insurance, social security                               proceeding in which such damages are
          benefits, workers’ compensation and disabil-                          claimed and to which the insured submits
          ity benefits;                                                         with our consent.
       d. Vacation plans, including buy and sell pro-
          grams; leave of absence programs, including
          military, maternity, family, and civil leave; tui-
          tion assistance plans; transportation and
          health club subsidies; and




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                                                                                                         EX03-148
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                                                                                COMMERCIAL GENERAL LIABILITY
                                                                                               CG 21 06 05 14

       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

          EXCLUSION – ACCESS OR DISCLOSURE OF
        CONFIDENTIAL OR PERSONAL INFORMATION AND
              DATA-RELATED LIABILITY – WITH
             LIMITED BODILY INJURY EXCEPTION
  This endorsement modifies insurance provided under the following:

     COMMERCIAL GENERAL LIABILITY COVERAGE PART

  A. Exclusion 2.p. of Section I – Coverage A –                         As used in this exclusion, electronic data
     Bodily Injury And Property Damage Liability is                     means information, facts or programs
     replaced by the following:                                         stored as or on, created or used on, or
     2. Exclusions                                                      transmitted to or from computer software,
                                                                        including    systems      and     applications
        This insurance does not apply to:                               software, hard or floppy disks, CD-ROMs,
        p. Access Or Disclosure Of Confidential Or                      tapes, drives, cells, data processing
           Personal Information And Data-related                        devices or any other media which are used
           Liability                                                    with electronically controlled equipment.
           Damages arising out of:                             B. The following is added to Paragraph 2.
                                                                  Exclusions of Section I – Coverage B –
          (1) Any access to or disclosure of any
                                                                  Personal And Advertising Injury Liability:
               person's or organization's confidential or
               personal information, including patents,              2. Exclusions
               trade secrets, processing methods,                       This insurance does not apply to:
               customer lists, financial information,
               credit      card    information,    health               Access Or Disclosure Of Confidential Or
               information or any other type of                         Personal Information
               nonpublic information; or                               "Personal and advertising injury" arising out of
          (2) The loss of, loss of use of, damage to,                  any access to or disclosure of any person's or
               corruption of, inability to access, or                  organization's     confidential   or    personal
               inability to manipulate electronic data.                information, including patents, trade secrets,
                                                                       processing methods, customer lists, financial
           This exclusion applies even if damages are                  information, credit card information, health
           claimed for notification costs, credit                      information or any other type of nonpublic
           monitoring expenses, forensic expenses,                     information.
           public relations expenses or any other loss,
           cost or expense incurred by you or others                   This exclusion applies even if damages are
           arising out of that which is described in                   claimed for notification costs, credit monitoring
           Paragraph (1) or (2) above.                                 expenses, forensic expenses, public relations
                                                                       expenses or any other loss, cost or expense
           However, unless Paragraph (1) above                         incurred by you or others arising out of any
           applies, this exclusion does not apply to                   access to or disclosure of any person's or
           damages because of "bodily injury".                         organization's     confidential   or    personal
                                                                       information.




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                                                                                                     EX03-149
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                                                                                 COMMERCIAL GENERAL LIABILITY
                                                                                                CG 21 47 12 07

         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        EMPLOYMENT-RELATED PRACTICES EXCLUSION
 This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART

 A. The following exclusion is added to Paragraph 2.,           B. The following exclusion is added to Paragraph 2.,
    Exclusions of Section I --- Coverage A ---- Bodily In-         Exclusions of Section I ---- Coverage B ---- Personal
    jury And Property Damage Liability:                            And Advertising Injury Liability:
    This insurance does not apply to:                              This insurance does not apply to:
    "Bodily injury" to:                                            "Personal and advertising injury" to:
   (1) A person arising out of any:                                (1) A person arising out of any:
       (a) Refusal to employ that person;                              (a) Refusal to employ that person;
       (b) Termination of that person’s employment;                    (b) Termination of that person’s employment;
           or                                                              or
       (c) Employment-related practices, policies, acts                (c) Employment-related practices, policies, acts
            or omissions, such as coercion, demotion,                       or omissions, such as coercion, demotion,
            evaluation, reassignment, discipline, defa-                     evaluation, reassignment, discipline, defa-
            mation, harassment, humiliation, discrimina-                    mation, harassment, humiliation, discrimina-
            tion or malicious prosecution directed at                       tion or malicious prosecution directed at
            that person; or                                                 that person; or
   (2) The spouse, child, parent, brother or sister of             (2) The spouse, child, parent, brother or sister of
        that person as a consequence of "bodily injury"                 that person as a consequence of "personal and
        to that person at whom any of the employment-                   advertising injury" to that person at whom any
        related practices described in Paragraphs (a),                  of the employment-related practices described
        (b), or (c) above is directed.                                  in Paragraphs (a), (b), or (c) above is directed.
    This exclusion applies:                                         This exclusion applies:
   (1) Whether the injury-causing event described in               (1) Whether the injury-causing event described in
       Paragraphs (a), (b) or (c) above occurs before                  Paragraphs (a), (b) or (c) above occurs before
       employment, during employment or after em-                      employment, during employment or after em-
       ployment of that person;                                        ployment of that person;
   (2) Whether the insured may be liable as an em-                 (2) Whether the insured may be liable as an em-
       ployer or in any other capacity; and                            ployer or in any other capacity; and
   (3) To any obligation to share damages with or                  (3) To any obligation to share damages with or
       repay someone else who must pay damages                         repay someone else who must pay damages
       because of the injury.                                          because of the injury.




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                                                                                                       EX03-150
Case 2:20-cv-03667-PA-PVC Document 1 Filed 04/21/20 Page 183 of 243 Page ID #:183
                                                                                      COMMERCIAL GENERAL LIABILITY
                                                                                                      CG 21 55 09 99

                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                       TOTAL POLLUTION EXCLUSION
                                      WITH A HOSTILE FIRE EXCEPTION

  This endorsement modifies insurance provided under the following:

       COMM ERCIAL GENERAL LIABILITY COVERAGE PART

  Exclusion f. under Paragraph 2., Exclusions of Section                         (b) At any premises, site or location on which
  I - Coverage A - Bodily Injury And Property Damage                                 any insured or any contractors or subcon-
  Liability is replaced by the following:                                            tractors working directly or indirectly on
                                                                                     any insured’s behalf are performing opera-
  This insurance does not apply to:                                                  tions to test for, monitor, clean up, remove,
                                                                                     contain, treat, detoxify, neutralize or in any
  f.   Pollution                                                                     way respond to, or assess the effects of,
                                                                                     "pollutants".
       (1) "Bodily injury" or "property damage" which
           would not have occurred in whole or part but                      (2) Any loss, cost or expense arising out of any:
           for the actual, alleged or threatened discharge,
           dispersal, seepage, migration, release or es-                         (a) Request, demand, order or statutory or
           cape of "pollutants" at any time.                                         regulatory requirement that any insured or
                                                                                     others test for, monitor, clean up, remove,
           This exclusion does not apply to "bodily injury"                          contain, treat, detoxify or neutralize, or in
           or "property damage" arising out of heat,                                 any way respond to, or assess the effects of
           smoke or fumes from a "hostile fire" unless that                          "pollutants"; or
           "hostile fire" occurred or originated:
                                                                                 (b) Claim or suit by or on behalf of a govern-
           (a) At any premises, site or location which is                            mental authority for damages because of
               or was at any time used by or for any in-                             testing for, monitoring, cleaning up, re-
               sured or others for the handling, storage,                            moving, containing, treating, detoxifying or
               disposal, processing or treatment of waste;                           neutralizing, or in any way responding to,
               or                                                                    or assessing the effects of, "pollutants".




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                                                                                                            EX03-151
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                                                                                 COMMERCIAL GENERAL LIABILITY
                                                                                                CG 21 73 01 15

       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

          EXCLUSION OF CERTIFIED ACTS OF TERRORISM
  This endorsement modifies insurance provided under the following:

     COMMERCIAL GENERAL LIABILITY COVERAGE PART
     LIQUOR LIABILITY COVERAGE PART
     OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
     POLLUTION LIABILITY COVERAGE PART
     PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
     RAILROAD PROTECTIVE LIABILITY COVERAGE PART
     UNDERGROUND STORAGE TANK POLICY


  A. The following exclusion is added:                                  b. The act is a violent act or an act that is
     This insurance does not apply to:                                      dangerous to human life, property or
                                                                            infrastructure and is committed by an
     TERRORISM                                                              individual or individuals as part of an effort
     "Any injury or damage" arising, directly or                            to coerce the civilian population of the
     indirectly, out of a "certified act of terrorism".                     United States or to influence the policy or
                                                                            affect the conduct of the United States
  B. The following definitions are added:
                                                                            Government by coercion.
     1. For the purposes of this endorsement, "any
                                                                 C. The terms and limitations of any terrorism
        injury or damage" means any injury or damage
                                                                    exclusion, or the inapplicability or omission of a
        covered under any Coverage Part to which this
                                                                    terrorism exclusion, do not serve to create
        endorsement is applicable, and includes but is
                                                                    coverage for injury or damage that is otherwise
        not limited to "bodily injury", "property
                                                                    excluded under this Coverage Part.
        damage", "personal and advertising injury",
        "injury" or "environmental damage" as may be
        defined in any applicable Coverage Part.
     2. "Certified act of terrorism" means an act that is
        certified by the Secretary of the Treasury, in
        accordance with the provisions of the federal
        Terrorism Risk Insurance Act, to be an act of
        terrorism pursuant to such Act. The criteria
        contained in the Terrorism Risk Insurance Act
        for a "certified act of terrorism" include the
        following:
        a. The act resulted in insured losses in excess
            of $5 million in the aggregate, attributable to
            all types of insurance subject to the
            Terrorism Risk Insurance Act; and




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                                                                                                       EX03-152
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                                                                                    COMMERCIAL GENERAL LIABILITY
                                                                                                   CG 21 96 03 05

         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

            SILICA OR SILICA-RELATED DUST EXCLUSION

 This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART



 A. The following exclusion is added to Paragraph 2.,            B. The following exclusion is added to Paragraph 2.,
    Exclusions of Section I --- Coverage A ---- Bodily In-          Exclusions of Section I ---- Coverage B ---- Personal
    jury And Property Damage Liability:                             And Advertising Injury Liability:
    2. Exclusions                                                   2. Exclusions
        This insurance does not apply to:                                  This insurance does not apply to:
        Silica Or Silica-Related Dust                                   Silica Or Silica-Related Dust
        a. "Bodily injury" arising, in whole or in part,                a. "Personal and advertising injury" arising, in
            out of the actual, alleged, threatened or                       whole or in part, out of the actual, alleged,
            suspected inhalation of, or ingestion of, "sil-                 threatened or suspected inhalation of, in-
            ica" or "silica-related dust".                                  gestion of, contact with, exposure to, exis-
        b. "Property damage" arising, in whole or in                        tence of, or presence of, "silica" or "silica-
           part, out of the actual, alleged, threatened                     related dust".
           or suspected contact with, exposure to, ex-                  b. Any loss, cost or expense arising, in whole
           istence of, or presence of, "silica" or "silica-                 or in part, out of the abating, testing for,
           related dust".                                                   monitoring, cleaning up, removing, contain-
        c. Any loss, cost or expense arising, in whole                      ing, treating, detoxifying, neutralizing,
           or in part, out of the abating, testing for,                     remediating or disposing of, or in any way
           monitoring, cleaning up, removing, contain-                      responding to or assessing the effects of,
           ing, treating, detoxifying, neutralizing,                        "silica" or "silica-related dust", by any in-
           remediating or disposing of, or in any way                       sured or by any other person or entity.
           responding to or assessing the effects of,            C. The following definitions are added to the Defini-
           "silica" or "silica-related dust", by any in-            tions Section:
           sured or by any other person or entity.
                                                                        1. "Silica" means silicon dioxide (occurring in
                                                                           crystalline, amorphous and impure forms), sil-
                                                                           ica particles, silica dust or silica compounds.
                                                                        2. "Silica-related dust" means a mixture or combi-
                                                                           nation of silica and other dust or particles.




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                                                                                                         EX03-153
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  POLICY NUMBER: PKG3127372                                                              COMMERCIAL GENERAL LIABILITY
                                                                                                         CG 24 07 01 96

                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                         PRODUCTS / COMPLETED OPERATIONS HAZARD
                                        REDEFINED


  This endorsement modifies insurance provided under the following:

       COMM ERCIAL GENERAL LIABILITY COVERAGE PART
       PRODUCTS/ COMPLET E D OPERATIONS LIABILITY COVERAGE PART


                                                            SCHEDULE

  Description of Premises and Operations:

  RESTAURANT




  (If no entry appears above, information required to complete this endorsement will be shown in the Declarations as
  applicable to this endorsement.)

  With respect to "bodily injury" or "property damage"                      Paragraph a. of the definition of "Products - completed
  arising out of "your products" manufactured, sold, han-                   operations hazard" in the DEFINITIONS Section is
  dled or distributed:                                                      replaced by the following:

  1.   On, from or in connection with the use of any                           "Products-completed operations hazard":
       premises described in the Schedule, or
                                                                                a.   Includes all "bodily injury" and "property dam-
  2.   In connection with the conduct of any operation                               age" that arises out of "your products" if the
                                                                                     "bodily injury" or "property damage" occurs
       described in the Schedule, when conducted by you
       or on your behalf,                                                            after you have relinquished possession of those
                                                                                     products.




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                                                                                                              EX03-154
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                 THIS ENDORSEMENT CHANGES YOUR POLICY. PLEASE READ IT CAREFULLY.



         EMPLOYERS LIABILITY EXCLUSION – CALIFORNIA

       This endorsement modifies insurance provided under the following:

               COMMERCIAL GENERAL LIABILITY COVERGE PART

       With respect to any claim for damages arising out of your California operations, the following
       endorsement to your policy is made:

       The Employer’s Liability exclusion of Paragraph 2. Exclusions of Section I – Coverages, Coverage A
       Bodily Injury And Property Damage Liability of the COMMERCIAL GENERAL LIABILITY
       COVERAGE FORM is replaced by the following:

       Employer’s Liability

       “Bodily injury”, “property damage” or “personal and advertising injury” to:

       (1) Any employee of the insured arising out of and in the course of employment by the insured;

       (2) An employee or former employee of any insured, whether or not arising out of or in the course of
           employment by any insured, or an applicant for employment with any insured, if the “bodily injury,”
           “property damage” or “personal and advertising injury” arises out of any:

           (a) Refusal to employ;
           (b) Termination of employment;
           (c) Breach of any express or implied covenants;
           (d) Coercion;
           (e) Demotion;
           (f) Evaluation;
           (g) Reassignment;
           (h) Discipline;
           (i) Defamation;
           (j) Harassment;
           (k) Humiliation
           (l) Discrimination; or
           (m) Other employment related practices, policies, acts, or omissions; or

       (3) The spouse, child, parent, brother or sister of that employee, former employee or any applicant for
           employment as consequence of Paragraphs (1) or (2) above.

       This exclusion applies whether the insured may be held liable as an employer or in any other capacity
       and to any obligation to share damages with or repay someone else who must pay damages because of
       the injury.

       But Paragraph 1. above does not apply to liability for “bodily injury” assumed by the insured under an
       “insured contract”.



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                                                                                                     EX03-155
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                THIS ENDORSEMENT CHANGES YOUR POLICY. PLEASE READ IT CAREFULLY.



           DEFENSE OF CLAIMS OR SUITS IN CALIFORNIA
                       ENDORSEMENT
      This endorsement modifies insurance provided under the following:

         COMMERCIAL GENERAL LIABILITY COVERAGE PART


      The following is added to Paragraph a. of 1.                             waiver of the privilege as to any other
      Insuring Agreement of Section I – Coverage                               party; and
      A – Bodily Injury And Property Damage
      Liability and Paragraph a. of 1. Insuring                            (3) Both the counsel provided by us and the
      Agreement of Section I – Coverage B –                                    counsel the insured has selected shall
      Personal And Advertising Injury Liability of                             be allowed to participate in all aspects of
      the COMMERCIAL GENERAL LIABILITY                                         the litigation. Counsel shall cooperate
      COVERAGE FORM:                                                           fully in the exchange of information
                                                                               consistent with each counsel’s ethical
      With respect to your California operations:                              and legal obligation to the insured.
                                                                               Nothing is this section shall relieve the
      a. If a conflict of interest arises which creates a                      insured of their duty to cooperate with
         duty on our part to provide the insured                               us under the terms of this insurance
         independent counsel, we will provide such                             policy.
         counsel unless, at the time we inform the
         insured of the possible conflict, the insured                c. Our obligation to pay fees to counsel
         expressly waives, in writing, the right to such                 selected by the insured is limited to the rates
         counsel.                                                        which we actually pay to counsel we retain
                                                                         in the ordinary course of business in the
      b. When the insured has selected independent                       defense of similar actions in the community
         counsel:                                                        where the claim is being defended. Any
                                                                         dispute concerning counsel fees shall be
          (1) We require that the selected counsel                       resolved by final and binding arbitration by a
              have at least five years of tort litigation                single neutral arbitrator selected by the
              practice which includes substantial                        parties to the dispute.
              defense experience in the subject at
              issue in the litigation and they must                   d. No conflict of interest shall be deemed to
              carry errors and omissions coverage.                       exist as to allegations of punitive damages
                                                                         or be deemed to exist solely because an
          (2) It shall be the duty of such counsel and                   insured is sued for an amount in excess of
              the insured to disclose to us all                          the insurance policy limits.
              information concerning the action,
              except privilege materials relevant to                  All other terms and conditions remain
              coverage disputes, and timely to inform                 unchanged.
              and consult with us on all matters
              relating to the action. Any claim of
              privilege asserted is subject to in
              camera review in the appropriate law
              and motion department of the Superior
              Court. Any information disclosed by the
              insured or by such counsel is not a

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                  THIS ENDORSEMENT CHANGES YOUR POLICY. PLEASE READ IT CAREFULLY.



                   BINDING ARBITRATION ENDORSEMENT –
                         CALIFORNIA OPERATIONS
        This endorsement modifies insurance provided under the following:

           COMMERCIAL GENERAL LIABILITY COVERAGE PART


        With respect to any claim for damages arising                When this demand is made, both parties may
        out of your California operations, the following             agree on a single arbitrator. If they cannot
        provision is added to this insurance:                        agree, then each party will select an arbitrator.
                                                                     The two arbitrators will select a third. If they
        We and the insured agree the sole remedy for                 cannot agree within 30 days, either may request
        resolving any coverage dispute will be binding               that selection be made by a judge of a court
        arbitrations.                                                having jurisdiction. Each party will:

        If we and the insured do not agree whether                   1. Pay the expenses it incurs; and
        coverage is provided under this insurance for a
        claim made against the insured, then either                  2. Share the expenses of a single arbitrator or
        party may make a written demand for arbitration.                a third arbitrator equally.

        Any written demand for arbitration must be                   Unless both parties agree otherwise, arbitration
        made within 60 days of the date on which we                  will take place in the county or parish in which
        notify the insured coverage does not apply. Any              the address shown in the Declarations is
        court action to enforce a demand for arbitration             located. Local rules of law as to procedure and
        must be started within 180 days from the time                evidence will apply. A decision rendered by a
        we notify the insured that coverage does not                 single arbitrator or agreed to by two arbitrators
        apply.                                                       of a panel will be binding and shall be
                                                                     enforceable in the same manner as a final
                                                                     judgment in any court of competent jurisdiction.

                                                                     All other terms and conditions remain
                                                                     unchanged.




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                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                    PRIMARY AND NON-CONTRIBUTORY
                  INSURANCE FOR ADDITIONAL INSUREDS
                        (REQUIRED BY CONTRACT)

      This endorsement modifies insurance provided under the following:

         COMMERCIAL GENERAL LIABILITY COVERAGE PART



                                                     SCHEDULE

      Name of Additional Insured(s):
      IF REQUIRED BY WRITTEN CONTRACT, AGREEMENT OR PERMIT.




      With respect to the Additional Insured(s) shown in the schedule:

      If a written contract with the Named Insured requires that the insurance provided for the Additional
      Insured(s) be primary concurrent and primary non-contributory, then the coverage provided to the
      Additional Insured(s) under this endorsement shall conform to the written contract.

      However, this insurance will conform to that written contract only to the extent that the written contract
      requires this insurance to be primary in comparison to the Additional Insured's own policy or policies and;

      1. In no event shall a written contract with the Named Insured operate to require this insurance to
         contribute with other additional insured coverage available to the Additional Insured(s); and

      2. This insurance shall be excess over any such other insurance, whether primary, excess, contingent
         or on any other basis.


      All other terms and conditions remain unchanged.




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                                                                   POLICY NUMBER: PKG3127372
                                                                                        CRIME AND FIDELITY
                                                                                             CR DS 01 08 13
  MITSUI SUMITOMO INSURANCE USA INC.
                           CRIME AND FIDELITY COVERAGE
                                PART DECLARATIONS
                              (COMMERCIAL ENTITIES)
  The Crime And Fidelity Coverage Part (Commercial Entities) consists of this Declarations form and the
  Commercial Crime Coverage Form.

   Coverage Is Written:

        X Primary                Excess                  Coindemnity                        Concurrent



  Employee Benefit Plan(s) Included As Insureds:




                                                                          Limit Of Insurance             Deductible Amount
                     Insuring Agreements                                   Per Occurrence                 Per Occurrence
  1.   Employee Theft                                                     $     50,000                   $       2,500
  2.   Forgery Or Alteration                                              $     50,000                   $       2,500
  3.   Inside The Premises ---- Theft Of Money And                        SEE CRIME SCHEDULE
       Securities
  4.   Inside The Premises ---- Robbery Or Safe Burglary Of               SEE CRIME SCHEDULE
       Other Property
  5.   Outside The Premises                                               SEE CRIME SCHEDULE
  6.   Computer And Funds Transfer Fraud                                  $     10,000                   $       2,500
  7.   Money Orders And Counterfeit Money                                 $     10,000                   $       2,500
  If "Not Covered" is inserted above opposite any specified Insuring Agreement, such Insuring Agreement and any
  other reference thereto in this Policy are deleted.


  If Added By Endorsement:

                                                                       Limit Of Insurance          Deductible Amount
                     Insuring Agreement(s)                              Per Occurrence              Per Occurrence




  Endorsements Forming Part Of This Coverage Part When Issued:

                                   SEE SCHEDULE OF FORMS AND ENDORSEMENTS




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  Cancellation Of Prior Insurance Issued By Us:
  By acceptance of this Coverage Part, you give us notice cancelling prior Policy Numbers

  the cancellation to be effective at the time this Coverage Part becomes effective.


                                      Countersignature Of Authorized Representative
   Name:

   Title:

   Signature:

   Date:




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                                                                         Policy Number
                                                                         PKG3127372

                                      COMMERCIAL CRIME COVERAGE SCHEDULE



    Named Insured     MUSSO & FRANK GRILL CO., INC.                        Effective Date: 06-30-19
                      KEEGAL IRREVOCABLE TRUST DATED                             12:01 A.M., Standard Time
    Agent Name        HUB INTERNATIONAL                                    Agent No.   0099580
  Location of Premises:
                                                                     Limit of              Deductible
  Loc. No. 001     Bldg. No. 001                                     Insurance             Amount
    X    ROBBERY OR SAFE BURGLARY OF OTHER PROPERTY                  $         10,000 $           2,500
    X    THEFT OF MONEY AND SECURITIES                               $         10,000 $           2,500
    X    OUTSIDE THE PREMISES                                        $         10,000 $           2,500




  Location of Premises:
                                                                     Limit of              Deductible
  Loc. No. 002     Bldg. No. 001                                     Insurance             Amount
    X    ROBBERY OR SAFE BURGLARY OF OTHER PROPERTY                  $         10,000 $           2,500
    X    THEFT OF MONEY AND SECURITIES                               $         10,000 $           2,500
    X    OUTSIDE THE PREMISES                                        $         10,000 $           2,500




  Location of Premises:
                                                                     Limit of              Deductible
  Loc. No.                Bldg. No.                                  Insurance             Amount




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                                                                                                 CRIME AND FIDELITY
                                                                                                       CR 00 21 11 15

                   COMMERCIAL CRIME COVERAGE FORM
                       (LOSS SUSTAINED FORM)
  Various provisions in this Policy restrict coverage.                 b. If you are sued for refusing to pay any
  Read the entire Policy carefully to determine rights,                    instrument covered in Paragraph 2.a., on
  duties and what is or is not covered.                                    the basis that it has been forged or altered,
  Throughout this Policy, the words "you" and "your"                       and you have our written consent to defend
  refer to the Named Insured shown in the Declarations.                    against the suit, we will pay for any
  The words "we", "us" and "our" refer to the company                      reasonable legal expenses that you incur
  providing this insurance.                                                and pay in that defense. The amount that
                                                                           we will pay for such legal expenses is in
  Other words and phrases that appear in quotation                         addition to the Limit of Insurance applicable
  marks have special meaning. Refer to Section F.                          to this Insuring Agreement.
  Definitions.
                                                                    3. Inside The Premises – Theft Of Money And
  A. Insuring Agreements                                               Securities
     Coverage is provided under the following Insuring                 We will pay for:
     Agreements for which a Limit Of Insurance is
     shown in the Declarations and applies to loss that                a. Loss of "money" and "securities" inside the
     you sustain resulting directly from an "occurrence"                   "premises"      or    "financial    institution
     taking place during the Policy Period shown in the                    premises":
     Declarations, except as provided in Condition                        (1) Resulting directly from "theft" committed
     E.1.k. or E.1.l., which is "discovered" by you                            by a person present inside such
     during the Policy Period shown in the Declarations                        "premises" or "financial institution
     or during the period of time provided in the                              premises"; or
     Extended Period To Discover Loss Condition                          (2) Resulting directly from disappearance or
     E.1.g.:                                                                  destruction.
     1. Employee Theft                                                 b. Loss from damage to the "premises" or its
        We will pay for loss of or damage to "money",                     exterior resulting directly from an actual or
        "securities" and "other property" resulting                       attempted      "theft"  of     "money"     and
        directly from "theft" committed by an                             "securities", if you are the owner of the
        "employee", whether identified or not, acting                     "premises" or are liable for damage to it.
        alone or in collusion with other persons.                      c. Loss of or damage to a locked safe, vault,
        For the purposes of this Insuring Agreement,                      cash register, cash box or cash drawer
        "theft" shall also include forgery.                               located inside the "premises" resulting
     2. Forgery Or Alteration                                             directly from an actual or attempted "theft"
                                                                          of, or unlawful entry into, those containers.
        a. We will pay for loss resulting directly from
            "forgery" or alteration of checks, drafts,              4. Inside The Premises – Robbery Or Safe
            promissory notes, or similar written                       Burglary Of Other Property
            promises, orders or directions to pay a sum                We will pay for:
            certain in "money" that are:                               a. Loss of or damage to "other property":
           (1) Made or drawn by or drawn upon you;                        (1) Inside the "premises" resulting directly
                or                                                            from an actual or attempted "robbery" of
           (2) Made or drawn by one acting as your                            a "custodian"; or
                agent;                                                    (2) Inside the "premises" in a safe or vault
            or that are purported to have been so made                        resulting directly from an actual or
            or drawn.                                                         attempted "safe burglary".
            For the purposes of this Insuring
            Agreement, a substitute check as defined in
            the Check Clearing for the 21st Century Act
            shall be treated the same as the original it
            replaced.



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        b. Loss from damage to the "premises" or its                 b. As used in Paragraph 6.a.(1), fraudulent
           exterior resulting directly from an actual or                entry or fraudulent change of "electronic
           attempted "robbery" or "safe burglary" of                    data" or "computer program" shall include
           "other property", if you are the owner of the                such entry or change made by an
           "premises" or are liable for damage to it.                   "employee" acting, in good faith, upon a
        c. Loss of or damage to a locked safe or vault                  "fraudulent instruction" received from a
           located inside the "premises" resulting                      computer software contractor who has a
           directly from an actual or attempted                         written agreement with you to design,
           "robbery" or "safe burglary".                                implement or service "computer programs"
                                                                        for a "computer system" covered under this
     5. Outside The Premises                                            Insuring Agreement.
        We will pay for:                                          7. Money Orders And Counterfeit Money
        a. Loss of "money" and "securities" outside                  We will pay for loss resulting directly from your
           the "premises" in the care and custody of a               having, in good faith, accepted in exchange for
           "messenger" or an armored motor vehicle                   merchandise, "money" or services:
           company resulting directly from "theft",
           disappearance or destruction.                             a. Money orders issued by any post office,
                                                                        express company or "financial institution"
        b. Loss of or damage to "other property"                        that are not paid upon presentation; or
           outside the "premises" in the care and
           custody of a "messenger" or an armored                    b. "Counterfeit money" that is acquired during
           motor vehicle company resulting directly                     the regular course of business.
           from an actual or attempted "robbery".              B. Limit Of Insurance
     6. Computer And Funds Transfer Fraud                            The most we will pay for all loss resulting directly
        a. We will pay for:                                          from an "occurrence" is the applicable Limit Of
                                                                     Insurance shown in the Declarations.
          (1) Loss resulting directly from a fraudulent:
                                                                  If any loss is covered under more than one
              (a) Entry of "electronic data"          or          Insuring Agreement or coverage, the most we will
                  "computer program" into; or                     pay for such loss shall not exceed the largest Limit
              (b) Change of "electronic data" or                  of Insurance available under any one of those
                   "computer program" within;                     Insuring Agreements or coverages.
               any "computer system" owned, leased             C. Deductible
               or operated by you, provided the                   We will not pay for loss resulting directly from an
               fraudulent entry or fraudulent change              "occurrence" unless the amount of loss exceeds
               causes, with regard to Paragraphs                  the Deductible Amount shown in the Declarations.
               6.a.(1)(a) and 6.a.(1)(b):                         We will then pay the amount of loss in excess of
                  (i) "Money", "securities" or "other             the Deductible Amount, up to the Limit of
                      property" to be transferred, paid           Insurance.
                      or delivered; or                         D. Exclusions
                 (ii) Your account at a "financial                1. This insurance does not cover:
                      institution" to be debited or
                      deleted.                                        a. Acts Committed By You, Your Partners
                                                                         Or Your Members
          (2) Loss resulting directly from a "fraudulent
              instruction"   directing    a    "financial                  Loss resulting from "theft" or any other
              institution" to debit your "transfer                         dishonest act committed by:
              account" and to transfer, pay or deliver                     (1) You; or
              "money" or "securities" from that                            (2) Any of your partners or "members";
              account.
                                                                           whether acting alone or in collusion with
                                                                           other persons.




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        b. Acts Committed By Your Employees                           f. Governmental Action
           Learned Of By You Prior To The Policy                         Loss resulting from seizure or destruction of
           Period                                                        property by order of governmental authority.
           Loss caused by an "employee" if the                        g. Indirect Loss
           "employee" had also committed "theft" or                      Loss that is an indirect result of an
           any other dishonest act prior to the effective                "occurrence" covered by this insurance
           date of this insurance and you or any of                      including, but not limited to, loss resulting
           your partners, "members", "managers",                         from:
           officers, directors or trustees, not in
           collusion with the "employee", learned of                    (1) Your inability to realize income that you
           such "theft" or dishonest act prior to the                        would have realized had there been no
           Policy Period shown in the Declarations.                          loss of or damage to "money",
                                                                             "securities" or "other property";
        c. Acts Committed By Your Employees,
           Managers, Directors, Trustees Or                             (2) Payment of damages of any type for
           Representatives                                                   which you are legally liable. But, we will
                                                                             pay compensatory damages arising
           Loss resulting from "theft" or any other                          directly from a loss covered under this
           dishonest act committed by any of your                            insurance; or
           "employees",      "managers",       directors,
           trustees or authorized representatives:                      (3) Payment of costs, fees or other
                                                                            expenses you incur in establishing
          (1) Whether acting alone or in collusion with                     either the existence or the amount of
              other persons; or                                             loss under this insurance.
          (2) While performing services for you or                    h. Legal Fees, Costs And Expenses
              otherwise;
                                                                         Fees, costs and expenses incurred by you
           except when covered under Insuring                            which are related to any legal action, except
           Agreement A.1.                                                when covered under Insuring Agreement
        d. Confidential Or Personal Information                          A.2.
           Loss resulting from:                                       i. Nuclear Hazard
          (1) The disclosure or use of another                           Loss or damage resulting from nuclear
               person's or organization's confidential or                reaction or radiation, or radioactive
               personal information; or                                  contamination, however caused.
          (2) The disclosure of your confidential or                  j. Pollution
               personal information. However, this                       Loss or damage caused by or resulting
               Paragraph 1.d.(2) does not apply to loss                  from pollution. Pollution means the
               otherwise covered under this insurance                    discharge, dispersal, seepage, migration,
               that results directly from the use of your                release or escape of any solid, liquid,
               confidential or personal information.                     gaseous or thermal irritant or contaminant,
           For the purposes of this exclusion,                           including smoke, vapor, soot, fumes, acids,
           confidential     or    personal    information                alkalis, chemicals and waste. Waste
           includes, but is not limited to, patents, trade               includes materials to be recycled,
           secrets, processing methods, customer                         reconditioned or reclaimed.
           lists, financial information, credit card                  k. Virtual Currency
           information, health information or any other
           type of nonpublic information.                                 Loss involving virtual currency of any kind,
                                                                          by whatever name known, whether actual
        e. Data Security Breach                                           or fictitious including, but not limited to,
           Fees, costs, fines, penalties and other                        digital currency, crypto currency or any
           expenses incurred by you which are related                     other type of electronic currency.
           to the access to or disclosure of another                   l. War And Military Action
           person's or organization's confidential or
           personal information including, but not                       Loss or damage resulting from:
           limited   to,     patents,  trade    secrets,                (1) War, including undeclared or civil war;
           processing methods, customer lists,
           financial     information,    credit    card
           information, health information or any other
           type of nonpublic information.


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          (2) Warlike action by a military force,                   d. Money Operated Devices
              including action in hindering or                         Loss of property contained in any money
              defending against an actual or expected                  operated device unless the amount of
              attack, by any government, sovereign or                  "money" deposited in it is recorded by a
              other authority using military personnel                 continuous recording instrument in the
              or other agents; or                                      device.
          (3) Insurrection,   rebellion,    revolution,             e. Motor Vehicles Or Equipment And
              usurped power, or action taken by                        Accessories
              governmental authority in hindering or
              defending against any of these.                          Loss of or damage to motor vehicles,
                                                                       trailers or semitrailers or equipment and
     2. Insuring Agreement A.1. does not cover:                        accessories attached to them.
        a. Inventory Shortages                                      f. Transfer Or Surrender Of Property
            Loss, or that part of any loss, the proof of              (1) Loss of or damage to property after it
            which as to its existence or amount is                         has been transferred or surrendered to
            dependent upon:                                                a person or place outside the "premises"
           (1) An inventory computation; or                                or "financial institution premises":
          (2) A profit and loss computation.                             (a) On the basis        of   unauthorized
           However, where you establish wholly apart                         instructions; or
           from such computations that you have                          (b) As a result of a threat including, but
           sustained a loss, then you may offer your                         not limited to:
           inventory records and actual physical count                       (i) A threat to do bodily harm to any
           of inventory in support of the amount of loss                         person;
           claimed.
                                                                             (ii) A threat to do damage to any
        b. Trading                                                                property;
           Loss resulting from trading, whether in your                     (iii) A threat to introduce a denial of
           name or in a genuine or fictitious account.                            service attack into any "computer
        c. Warehouse Receipts                                                     system";
           Loss resulting from the fraudulent or                            (iv) A threat to introduce a virus or
           dishonest signing, issuing, cancelling or                             other malicious instruction into
           failing to cancel, a warehouse receipt or                             any "computer system" which is
           any papers connected with it.                                         designed to damage, destroy or
     3. Insuring Agreements A.3., A.4. and A.5. do not                           corrupt "electronic data" or
        cover:                                                                   "computer     programs"    stored
                                                                                 within the "computer system";
        a. Accounting Or Arithmetical Errors Or
           Omissions                                                         (v) A threat to contaminate, pollute
                                                                                 or render substandard your
           Loss resulting from accounting            or                          products or goods; or
           arithmetical errors or omissions.
                                                                            (vi) A threat to disseminate, divulge
        b. Exchanges Or Purchases                                                or utilize:
           Loss resulting from the giving or                                      i. Your confidential information;
           surrendering of property in any exchange or
           purchase.                                                              ii. Confidential    or   personal
                                                                                      information of another person
        c. Fire                                                                       or organization; or
           Loss or damage resulting from fire,                                   iii. Weaknesses in the source
           however caused, except:                                                    code within any "computer
          (1) Loss of or damage to "money" and                                        system".
              "securities"; and
          (2) Loss from damage to a safe or vault.




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          (2) However, this exclusion does not apply                       (2) Debit or delete your account;
              under Insuring Agreement A.5. to loss of                      which instruction proves to be fraudulent,
              "money", "securities" or "other property"                     except when covered under Insuring
              while outside the "premises" in the care                      Agreement A.6.a.(2) or A.6.b.
              and custody of a "messenger" if you:
                                                                         e. Inventory Shortages
             (a) Had no knowledge of any threat at
                 the time the conveyance began; or                          Loss, or that part of any loss, the proof of
                                                                            which as to its existence or amount is
             (b) Had knowledge of a threat at the                           dependent upon:
                 time the conveyance began, but the
                 loss was not related to the threat.                       (1) An inventory computation; or
        g. Vandalism                                                       (2) A profit and loss computation.
           Loss from damage to the "premises" or its            E. Conditions
           exterior, or to any safe, vault, cash register,         The following conditions apply in addition to the
           cash box, cash drawer or "other property"               Common Policy Conditions:
           by vandalism or malicious mischief.
                                                                      1. Conditions Applicable To All Insuring
        h. Voluntary Parting Of Title To Or                              Agreements
           Possession Of Property
                                                                         a. Additional Premises Or Employees
           Loss resulting from your, or anyone else
                                                                            If, while this insurance is in force, you
           acting on your express or implied authority,
                                                                            establish any additional "premises" or hire
           being induced by any dishonest act to                            additional "employees", other than through
           voluntarily part with title to or possession of                  consolidation or merger with, or purchase
           any property.
                                                                            or acquisition of assets or liabilities of,
     4. Insuring Agreement A.6. does not cover:                             another entity, such "premises" and
        a. Authorized Access                                                "employees" shall automatically be covered
                                                                            under this insurance. Notice to us of an
           Loss resulting from a fraudulent:                                increase in the number of "premises" or
          (1) Entry of "electronic data" or "computer                       "employees" is not required, and no
              program" into; or                                             additional premium will be charged for the
          (2) Change of "electronic            data"   or                   remainder of the Policy Period shown in the
              "computer program" within;                                    Declarations.
           any "computer system" owned, leased or                       b. Concealment, Misrepresentation Or
           operated by you by a person or                                  Fraud
           organization with authorized access to that                      This insurance is void in any case of fraud
           "computer system", except when covered                           by you as it relates to this insurance at any
           under Insuring Agreement A.6.b.                                  time. It is also void if you or any other
        b. Credit Card Transactions                                         Insured, at any time, intentionally conceals
                                                                            or misrepresents a material fact concerning:
           Loss resulting from the use or purported
           use of credit, debit, charge, access,                           (1) This insurance;
           convenience, identification, stored-value or                    (2) The property covered under this
           other cards or the information contained on                         insurance;
           such cards.                                                     (3) Your interest in the property covered
        c. Exchanges Or Purchases                                              under this insurance; or
           Loss resulting from the giving or                               (4) A claim under this insurance.
           surrendering of property in any exchange or
           purchase.
        d. Fraudulent Instructions
           Loss resulting from an "employee" or
           "financial institution" acting upon any
           instruction to:
          (1) Transfer, pay or deliver "money",
              "securities" or "other property"; or




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        c. Consolidation – Merger Or Acquisition                         (6) Secure all of your rights of recovery
           If you consolidate or merge with, or                              against any person or organization
           purchase or acquire the assets or liabilities                     responsible for the loss and do nothing
           of, another entity:                                               to impair those rights.
          (1) You must give us written notice as soon                  f. Employee Benefit Plans
               as possible and obtain our written                        The "employee benefit plans" shown in the
               consent to extend the coverage                            Declarations (hereinafter referred to as
               provided by this insurance to such                        Plan) are included as Insureds under
               consolidated or merged entity or such                     Insuring Agreement A.1., subject to the
               purchased or acquired assets or                           following:
               liabilities. We may condition our consent                (1) If any Plan is insured jointly with any
               by requiring payment of an additional                        other entity under this insurance, you or
               premium; but                                                 the Plan Administrator is responsible for
          (2) For the first 90 days after the effective                     selecting a Limit of Insurance for
               date of such consolidation, merger or                        Insuring Agreement A.1. that is
               purchase or acquisition of assets or                         sufficient to provide a Limit of Insurance
               liabilities, the coverage provided by this                   for each Plan that is at least equal to
               insurance       shall   apply     to    such                 that required under ERISA as if each
               consolidated or merged entity or such                        Plan were separately insured.
               purchased or acquired assets or                          (2) With respect to loss sustained or
               liabilities, provided that all "occurrences"                 "discovered" by any such Plan, Insuring
               causing or contributing to a loss                            Agreement A.1. is replaced by the
               involving such consolidation, merger or                      following:
               purchase or acquisition of assets or
               liabilities, must take place after the                       We will pay for loss of or damage to
               effective date of such consolidation,                        "money",      "securities"    and   "other
               merger or purchase or acquisition of                         property"     resulting    directly  from
               assets or liabilities.                                       fraudulent or dishonest acts committed
                                                                            by an "employee", whether identified or
        d. Cooperation                                                      not, acting alone or in collusion with
           You must cooperate with us in all matters                        other persons.
           pertaining to this insurance as stated in its                (3) If the first Named Insured is an entity
           terms and conditions.                                            other than a Plan, any payment we
        e. Duties In The Event Of Loss                                      make for loss sustained by any Plan will
           After you "discover" a loss or a situation                       be made to the Plan sustaining the loss.
           that may result in loss of or damage to                      (4) If two or more Plans are insured under
           "money", "securities" or "other property",                       this insurance, any payment we make
           you must:                                                        for loss:
          (1) Notify us as soon as possible. If you                         (a) Sustained by two or more Plans; or
              have reason to believe that any loss                          (b) Of commingled "money", "securities"
              (except for loss covered under Insuring                           or "other property" of two or more
              Agreement A.1. or A.2.) involves a                                Plans;
              violation of law, you must also notify the
              local law enforcement authorities;                            resulting directly from an "occurrence",
                                                                            will be made to each Plan sustaining
          (2) Give us a detailed, sworn proof of loss                       loss in the proportion that the Limit of
              within 120 days;                                              Insurance required under ERISA for
          (3) Cooperate with us in the investigation                        each Plan bears to the total of those
              and settlement of any claim;                                  limits.
          (4) Produce for our examination all                           (5) The Deductible Amount applicable to
              pertinent records;                                            Insuring Agreement A.1. does not apply
          (5) Submit to examination under oath at our                       to loss sustained by any Plan.
              request and give us a signed statement
              of your answers; and




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        g. Extended Period To Discover Loss                             (5) We will not pay more for loss sustained
           We will pay for loss that you sustained prior                    by more than one Insured than the
           to the effective date of cancellation of this                    amount we would pay if all such loss
           insurance, which is "discovered" by you:                         had been sustained by one Insured.
          (1) No later than one year from the date of                   (6) Payment by us to the first Named
               that    cancellation.     However,     this                  Insured for loss sustained by any
               extended period to "discover" loss                           Insured, or payment by us to any
               terminates immediately upon the                              "employee benefit plan" for loss
               effective date of any other insurance                        sustained by that Plan, shall fully
               obtained by you, whether from us or                          release us on account of such loss.
               another insurer, replacing in whole or in              i. Legal Action Against Us
               part the coverage afforded under this                     You may not bring any legal action against
               insurance, whether or not such other                      us involving loss:
               insurance provides coverage for loss
               sustained prior to its effective date.                   (1) Unless you have complied with all the
                                                                             terms of this insurance;
          (2) No later than one year from the date of
               that cancellation with regard to any                     (2) Until 90 days after you have filed proof
               "employee benefit plan".                                      of loss with us; and
        h. Joint Insured                                                (3) Unless brought within two years from
                                                                            the date you "discovered" the loss.
          (1) If more than one Insured is named in the
              Declarations, the first Named Insured                      If any limitation in this condition is
              will act for itself and for every other                    prohibited by law, such limitation is
              Insured for all purposes of this                           amended so as to equal the minimum
              insurance. If the first Named Insured                      period of limitation provided by such law.
              ceases to be covered, then the next                     j. Liberalization
              Named Insured will become the first
                                                                         If we adopt any revision that would broaden
              Named Insured.                                             the coverage under this insurance without
          (2) If any Insured, or partner, "member",                      additional premium within 45 days prior to
              "manager", officer, director or trustee of                 or during the Policy Period shown in the
              that Insured has knowledge of any                          Declarations, the broadened coverage will
              information relevant to this insurance,                    immediately apply to this insurance.
              that knowledge is considered knowledge
                                                                      k. Loss Sustained During Prior Insurance
              of every Insured.
                                                                         Issued By Us Or Any Affiliate
          (3) An "employee" of any Insured is
                                                                        (1) Loss Sustained Partly During This
              considered to be an "employee" of every
                                                                             Insurance And Partly During Prior
              Insured.
                                                                             Insurance
          (4) If this insurance or any of its coverages
                                                                            If you "discover" loss during the Policy
              are cancelled as to any Insured, loss
                                                                            Period shown in the Declarations,
              sustained by that Insured is covered
                                                                            resulting directly from an "occurrence"
              only if it is "discovered" by you:
                                                                            taking place:
             (a) No later than one year from the date
                                                                           (a) Partly during the Policy Period
                   of that cancellation. However, this
                                                                                shown in the Declarations; and
                   extended period to "discover" loss
                   terminates immediately upon the                         (b) Partly during the policy period(s) of
                   effective date of any other insurance                        any prior cancelled insurance that
                   obtained by that Insured, whether                            we or any affiliate issued to you or
                   from us or another insurer, replacing                        any predecessor in interest;
                   in whole or in part the coverage                         and this insurance became effective at
                   afforded under this insurance,                           the time of cancellation of the prior
                   whether or not such other insurance                      insurance, we will first settle the amount
                   provides coverage for loss sustained                     of loss that you sustained during this
                   prior to its effective date.                             Policy Period. We will then settle the
             (b) No later than one year from the date                       remaining amount of loss that you
                   of that cancellation with regard to                      sustained during the policy period(s) of
                   any "employee benefit plan".                             the prior insurance.



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          (2) Loss Sustained Entirely During Prior                      (4) The following examples demonstrate
              Insurance                                                     how we will settle losses subject to this
              If you "discover" loss during the Policy                      condition:
              Period shown in the Declarations,                             Example Number 1
              resulting directly from an "occurrence"                       The Insured sustained a covered loss of
              taking place entirely during the policy                       $10,000 resulting directly from an
              period(s) of any prior cancelled                              "occurrence" taking place during the
              insurance that we or any affiliate issued                     terms of Policy A and Policy B.
              to you or any predecessor in interest, we
              will pay for the loss, provided:                                       Policy A
             (a) This insurance became effective at                         The current policy. Written at a Limit of
                 the time of cancellation of the prior                      Insurance of $50,000 and a Deductible
                 insurance; and                                             Amount of $5,000.
             (b) The loss would have been covered                                    Policy B
                 under this insurance had it been in                        Issued prior to Policy A. Written at a
                 effect at the time of the "occurrence".                    Limit of Insurance of $50,000 and a
                 We will first settle the amount of loss                    Deductible Amount of $5,000.
                 that you sustained during the most                             Settlement Of Loss
                 recent prior insurance. We will then                       The amount of loss sustained under
                 settle any remaining amount of loss that                   Policy A is $2,500 and under Policy B,
                 you sustained during the policy period(s)                  $7,500.
                 of any other prior insurance.
                                                                            The highest single Limit of Insurance
          (3) In settling loss under Paragraphs k.(1)                       applicable to this entire loss is $50,000
              and k.(2):
                                                                            written under Policy A. The Policy A
             (a) The most we will pay for the entire                        Deductible Amount of $5,000 applies.
                 loss is the highest single Limit of                        The loss is settled as follows:
                 Insurance applicable during the
                                                                           (a) The amount of loss sustained under
                 period of loss, whether such limit                            Policy A ($2,500) is settled first. The
                 was written under this insurance or                           amount we will pay is nil ($0.00)
                 was written under the prior insurance                         because the amount of loss is less
                 issued by us.                                                 than the Deductible Amount (i.e.,
             (b) We will apply the applicable                                  $2,500 loss - $5,000 deductible =
                 Deductible Amount shown in the                                $0.00).
                 Declarations to the amount of loss                        (b) The remaining amount of loss
                 sustained under this insurance. If no                         sustained under Policy B ($7,500) is
                 loss was sustained under this                                 settled    next.     The       amount
                 insurance, we will apply the                                  recoverable is $5,000 after the
                 Deductible Amount shown in the                                remaining Deductible Amount from
                 Declarations to the amount of loss                            Policy A of $2,500 is applied to the
                 sustained under the most recent                               loss (i.e., $7,500 loss - $2,500
                 prior insurance.                                              deductible = $5,000).
                    If the Deductible Amount is larger                      The most we will pay for this loss is
                    than the amount of loss sustained                       $5,000.
                    under this insurance, or the most
                    recent prior insurance, we will apply                   Example Number 2
                    the remaining Deductible Amount to                      The Insured sustained a covered loss of
                    the remaining amount of loss                            $250,000 resulting directly from an
                    sustained during the prior insurance.                   "occurrence" taking place during the
                    We will not apply any other                             terms of Policy A and Policy B.
                    Deductible Amount that may have                                 Policy A
                    been applicable to the loss.
                                                                            The current policy. Written at a Limit of
                                                                            Insurance of $125,000 and a Deductible
                                                                            Amount of $10,000.




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                      Policy B                                              Settlement Of Loss
             Issued prior to Policy A. Written at a                     The amount of loss sustained under
             Limit of Insurance of $150,000 and a                       Policy A is $350,000; under Policy B,
             Deductible Amount of $25,000.                              $250,000; under Policy C, $600,000;
                 Settlement Of Loss                                     and under Policy D, $800,000.
             The amount of loss sustained under                         The highest single Limit of Insurance
             Policy A is $175,000 and under Policy                      applicable to this entire loss is
             B, $75,000.                                                $1,000,000 written under Policy A. The
                                                                        Policy A Deductible Amount of $100,000
             The highest single Limit of Insurance                      applies. The loss is settled as follows:
             applicable to this entire loss is $150,000
             written under Policy B. The Policy A                       (a) The amount of loss sustained under
             Deductible Amount of $10,000 applies.                          Policy A ($350,000) is settled first.
             The loss is settled as follows:                                The amount we will pay is $250,000
                                                                            (i.e., $350,000 loss - $100,000
             (a) The amount of loss sustained under                         deductible = $250,000).
                 Policy A ($175,000) is settled first.
                 The amount we will pay is the Policy                   (b) The amount of loss sustained under
                 A Limit of $125,000 because                                Policy B ($250,000) is settled next.
                 $175,000 loss - $10,000 deductible =                       The amount we will pay is $250,000
                 $165,000, which is greater than the                        (no deductible is applied).
                 $125,000 policy limit.                                 (c) The amount of loss sustained under
             (b) The remaining amount of loss                               Policy C ($600,000) is settled next.
                 sustained under Policy B ($75,000)                         The amount we will pay is $500,000,
                 is settled next. The amount we will                        the policy limit (no deductible is
                 pay is $25,000 (i.e., $150,000 Policy                      applied).
                 B limit - $125,000 paid under Policy                   (d) We will not make any further
                 A = $25,000).                                               payment under Policy D, as the
             The most we will pay for this loss is                           maximum amount payable under the
             $150,000.                                                       highest single Limit of Insurance
                                                                             applying to the loss of $1,000,000
             Example Number 3                                                under Policy A has been satisfied.
             The Insured sustained a covered loss of                     The most we will pay for this loss is
             $2,000,000 resulting directly from an                       $1,000,000.
             "occurrence" taking place during the
             terms of Policies A, B, C and D.                      l. Loss Sustained During Prior Insurance
                                                                      Not Issued By Us Or Any Affiliate
                      Policy A
                                                                     (1) If you "discover" loss during the Policy
             The current policy. Written at a Limit of                   Period shown in the Declarations,
             Insurance of $1,000,000 and a                               resulting directly from an "occurrence"
             Deductible Amount of $100,000.                              taking place during the policy period of
                      Policy B                                           any prior cancelled insurance that was
                                                                         issued to you or a predecessor in
             Issued prior to Policy A. Written at    a
                                                                         interest by another company, and the
             Limit of Insurance of $750,000 and      a
                                                                         period of time to discover loss under
             Deductible Amount of $75,000.
                                                                         that insurance had expired, we will pay
                      Policy C                                           for the loss under this insurance,
             Issued prior to Policy B. Written at    a                   provided:
             Limit of Insurance of $500,000 and      a                  (a) This insurance became effective at
             Deductible Amount of $50,000.                                  the time of cancellation of the prior
                      Policy D                                              insurance; and
             Issued prior to Policy C. Written at a                     (b) The loss would have been covered
             Limit of Insurance of $500,000 and a                           under this insurance had it been in
             Deductible Amount of $50,000.                                  effect at the time of the "occurrence".




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          (2) In settling loss subject to this condition:                    (b) You have other insurance covering
             (a) The most we will pay for the entire                             the same loss other than that
                 loss is the lesser of the Limits of                             described in Paragraph m.(1)(a), we
                 Insurance applicable during the                                 will only pay for the amount of loss
                 period of loss, whether such limit                              that exceeds:
                 was written under this insurance or                             (i) The Limit of Insurance and
                 was written under the prior cancelled                               Deductible Amount of that other
                 insurance.                                                          insurance, whether you can
             (b) We will apply the applicable                                        collect on it or not; or
                 Deductible Amount shown in the                                 (ii) The Deductible Amount shown in
                 Declarations to the amount of loss                                  the Declarations;
                 sustained under the prior cancelled                             whichever is greater. Our payment
                 insurance.                                                      for loss is subject to the terms and
          (3) The insurance provided under this                                  conditions of this insurance.
              condition is subject to the following:                     (2) Excess Insurance
             (a) If loss covered under this condition is                    (a) When this insurance is written
                 also     partially     covered    under                        excess over other insurance, we will
                 Condition      E.1.k.,    the    amount                        only pay for the amount of loss that
                 recoverable under this condition is                            exceeds the Limit of Insurance and
                 part of, not in addition to, the amount                        Deductible Amount of that other
                 recoverable under Condition E.1.k.                             insurance, whether you can collect
            (b) For loss covered under this condition                           on it or not. Our payment for loss is
                that is not subject to Paragraph                                subject to the terms and conditions
                I.(3)(a), the amount recoverable                                of this insurance.
                under this condition is part of, not in                      (b) However, if loss covered under this
                addition to, the Limit of Insurance                               insurance is subject to a deductible,
                applicable to the loss covered under                              we will reduce the Deductible
                this insurance and is limited to the                              Amount shown in the Declarations
                lesser of the amount recoverable                                  by the sum total of all such other
                under:                                                            insurance plus any Deductible
                (i) This insurance as of its effective                            Amount applicable to that other
                    date; or                                                      insurance.
               (ii) The prior cancelled insurance                      n. Ownership Of Property; Interests
                    had it remained in effect.                            Covered
       m. Other Insurance                                                 The property covered under this insurance
           If other valid and collectible insurance is                    is limited to property:
           available to you for loss covered under this                  (1) That you own or lease;
           insurance, our obligations are limited as                     (2) That is held by you in any capacity; or
           follows:
                                                                         (3) For which you are legally liable,
          (1) Primary Insurance                                              provided you were liable for the property
              When this insurance is written as                              prior to the time the loss was sustained.
              primary insurance, and:                                     However, this insurance is for your benefit
             (a) You have other insurance subject to                      only. It provides no rights or benefits to any
                 the same terms and conditions as                         other person or organization. Any claim for
                 this insurance, we will pay our share                    loss that is covered under this insurance
                 of the covered loss. Our share is the                    must be presented by you.
                 proportion that the applicable Limit                  o. Records
                 Of     Insurance shown        in the
                 Declarations bears to the total limit of                 You must keep records of all property
                 all insurance covering the same loss.                    covered under this insurance so we can
                                                                          verify the amount of any loss.




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        p. Recoveries                                                   (b) In the United States of America
          (1) Any recoveries, whether effected before                       dollar equivalent, determined by the
              or after any payment under this                               rate of exchange published in The
              insurance, whether made by us or by                           Wall Street Journal on the day the
              you, shall be applied net of the expense                      loss was "discovered".
              of such recovery:                                      (2) Securities
             (a) First, to you in satisfaction of your                   Loss of "securities" but only up to and
                 covered loss in excess of the amount                    including their value at the close of
                 paid under this insurance;                              business on the day the loss was
             (b) Second, to us in satisfaction of                        "discovered". We may, at our option:
                 amounts paid in settlement of your                     (a) Pay the market value of such
                 claim;                                                     "securities" or replace them in kind,
             (c) Third, to you in satisfaction of any                       in which event you must assign to us
                 Deductible Amount; and                                     all your rights, title and interest in
                                                                            and to those "securities"; or
             (d) Fourth, to you in satisfaction of any
                 loss not covered under this                            (b) Pay the cost of any Lost Securities
                 insurance.                                                 Bond required in connection with
                                                                            issuing duplicates of the "securities".
          (2) Recoveries do not include any recovery:                       However, we will be liable only for
             (a) From       insurance,       suretyship,                    the payment of so much of the cost
                 reinsurance, security or indemnity                         of the bond as would be charged for
                 taken for our benefit; or                                  a bond having a penalty not
             (b) Of    original    "securities"    after                    exceeding the lesser of the:
                 duplicates of them have been                               (i) Market value of the "securities" at
                 issued.                                                        the close of business on the day
                                                                                the loss was "discovered"; or
        q. Territory
                                                                            (ii) Limit of Insurance applicable to
           This insurance covers loss that you sustain
                                                                                 the "securities".
           resulting directly from an "occurrence"
           taking place within the United States of                  (3) Property Other Than Money And
           America (including its territories and                        Securities
           possessions), Puerto Rico and Canada.                        (a) Loss of or damage to "other
        r. Transfer Of Your Rights Of Recovery                               property" or loss from damage to the
           Against Others To Us                                              "premises" or its exterior for the
           You must transfer to us all your rights of                        replacement cost of the property
                                                                             without deduction for depreciation.
           recovery against any person or organization
           for any loss you sustained and for which we                       However, we will not pay more than
                                                                             the least of the following:
           have paid or settled. You must also do
           everything necessary to secure those rights                       (i) The Limit of Insurance applicable
           and do nothing after loss to impair them.                             to the lost or damaged property;
        s. Valuation – Settlement                                           (ii) The cost to replace the lost or
                                                                                 damaged property with property
           The value of any loss for purposes of
           coverage under this insurance shall be                                of comparable material and
                                                                                 quality and used for the same
           determined as follows:
                                                                                 purpose; or
          (1) Money
                                                                           (iii) The amount you actually spend
              Loss of "money" but only up to and                                 that is necessary to repair or
              including its face value. We will, at your                         replace the lost or damaged
              option, pay for loss of "money" issued by                          property.
              any country other than the United States
              of America:
             (a) At face value in the "money" issued
                  by that country; or




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             (b) We will not pay on a replacement                        b. Territory
                 cost basis for any loss or damage to                       We will pay for loss caused by any
                 property covered under Paragraph                           "employee" while temporarily outside the
                 s.(3)(a):                                                  territory specified in Territory Condition
                 (i) Until the lost or damaged                              E.1.q. for a period of not more than 90
                      property is actually repaired or                      consecutive days.
                      replaced; and                                   3. Conditions Applicable To Insuring
                (ii) Unless the repair or replacement                    Agreement A.2.
                      is made as soon as reasonably                      a. Deductible Amount
                      possible after the loss or
                      damage.                                               The Deductible Amount does not apply to
                                                                            legal expenses paid under Insuring
                 If the lost or damaged property is not                     Agreement A.2.
                 repaired or replaced, we will pay on
                 an actual cash value basis.                             b. Electronic And Mechanical Signatures
             (c) We will, at your option, pay for loss                      We will treat signatures that are produced
                 or damage to such property:                                or reproduced electronically, mechanically
                                                                            or by other means the same as handwritten
                 (i) In the "money" of the country in                       signatures.
                     which the loss or damage was
                     sustained; or                                       c. Proof Of Loss
                  (ii) In the United States of America                      You must include with your proof of loss
                       dollar equivalent of the "money"                     any instrument involved in that loss or, if
                       of the country in which the loss or                  that is not possible, an affidavit setting forth
                       damage        was       sustained,                   the amount and cause of loss.
                       determined by the rate of                         d. Territory
                       exchange published in The Wall                       We will cover loss that you sustain resulting
                       Street Journal on the day the loss                   directly from an "occurrence" taking place
                       was "discovered".
                                                                            anywhere in the world. Territory Condition
             (d) Any property that we pay for or                            E.1.q. does not apply to Insuring
                 replace becomes our property.                              Agreement A.2.
     2. Conditions Applicable To Insuring                             4. Conditions Applicable To Insuring
        Agreement A.1.                                                   Agreements A.4. And A.5.
        a. Termination As To Any Employee                                a. Armored Motor Vehicle Companies
           This Insuring Agreement terminates as to                         Under Insuring Agreement A.5., we will only
           any "employee":                                                  pay for the amount of loss you cannot
          (1) As soon as:                                                   recover:
             (a) You; or                                                   (1) Under your contract with the armored
                                                                               motor vehicle company; and
             (b) Any of your partners, "members",
                   "managers", officers, directors or                      (2) From any insurance or indemnity carried
                   trustees not in collusion with the                          by, or for the benefit of customers of, the
                   "employee";                                                 armored motor vehicle company.
              learn of "theft" or any other dishonest                    b. Special Limit Of Insurance For Specified
              act committed by the "employee"                               Property
              whether before or after becoming                              We will only pay up to $5,000 for any one
              employed by you; or                                           "occurrence" of loss of or damage to:
          (2) On the date specified in a notice mailed                     (1) Precious      metals,    precious      or
              to the first Named Insured. That date will                       semiprecious stones, pearls, furs, or
              be at least 30 days after the date of                            completed or partially completed articles
              mailing.                                                         made of or containing such materials
              We will mail or deliver our notice to the                        that constitute the principal value of
              first Named Insured's last mailing                               such articles; or
              address known to us. If notice is mailed,
              proof of mailing will be sufficient proof of
              notice.


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          (2) Manuscripts, drawings, or records of                     "Discover" or "discovered" also means the time
              any kind, or the cost of reconstructing                  when you first receive notice of an actual or
              them or reproducing any information                      potential claim in which it is alleged that you
              contained in them.                                       are liable to a third party under circumstances
     5. Conditions Applicable To Insuring                              which, if true, would constitute a loss under this
        Agreement A.6.                                                 insurance.
        a. Special Limit Of Insurance For Specified                 6. "Electronic data" means information, facts,
           Property                                                    images or sounds stored as or on, created or
                                                                       used on, or transmitted to or from computer
           We will only pay up to $5,000 for any one                   software (including systems and applications
           "occurrence" of loss of or damage to                        software) on data storage devices, including
           manuscripts, drawings, or records of any                    hard or floppy disks, CD-ROMs, tapes, drives,
           kind, or the cost of reconstructing them or                 cells, data processing devices or any other
           reproducing any information contained in                    media which are used with electronically
           them.                                                       controlled equipment.
        b. Territory                                                7. "Employee":
           We will cover loss that you sustain resulting               a. Means:
           directly from an "occurrence" taking place
           anywhere in the world. Territory Condition                     (1) Any natural person:
           E.1.q. does not apply to Insuring                                 (a) While in your service and for the first
           Agreement A.6.                                                        30     days      immediately     after
  F. Definitions                                                                 termination of service, unless such
                                                                                 termination is due to "theft" or any
     1. "Computer program" means a set of related                                dishonest act committed by the
        electronic instructions, which direct the                                "employee";
        operation and function of a computer or
        devices connected to it, which enable the                            (b) Whom you compensate directly by
        computer or devices to receive, process, store                           salary, wages or commissions; and
        or send "electronic data".                                           (c) Whom you have the right to direct
     2. "Computer system" means:                                                 and    control    while performing
                                                                                 services for you;
        a. Computers, including Personal Digital
           Assistants (PDAs) and other transportable                      (2) Any natural person who is furnished
           or handheld devices, electronic storage                            temporarily to you:
           devices and related peripheral components;                        (a) To substitute for a permanent
        b. Systems and applications software; and                                 "employee", as defined in Paragraph
                                                                                  7.a.(1), who is on leave; or
        c. Related communications networks;
                                                                             (b) To meet seasonal or short-term work
        by which "electronic data" is collected,                                  load conditions;
        transmitted, processed, stored or retrieved.
                                                                              while that person is subject to your
     3. "Counterfeit money" means an imitation of                             direction and control and performing
        "money" which is intended to deceive and to be                        services for you;
        taken as genuine.
                                                                          (3) Any natural person who is leased to you
     4. "Custodian" means you, or any of your partners                        under a written agreement between you
        or "members", or any "employee" while having                          and a labor leasing firm, to perform
        care and custody of property inside the                               duties related to the conduct of your
        "premises", excluding any person while acting                         business, but does not mean a
        as a "watchperson" or janitor.                                        temporary "employee" as defined in
     5. "Discover" or "discovered" means the time                             Paragraph 7.a.(2);
        when you first become aware of facts which                        (4) Any natural person who is:
        would cause a reasonable person to assume
        that a loss of a type covered by this insurance                      (a) A      trustee,   officer,    employee,
        has been or will be incurred, regardless of                               administrator or manager, except an
        when the act or acts causing or contributing to                           administrator or manager who is an
        such loss occurred, even though the exact                                 independent contractor, of any
        amount or details of loss may not then be                                 "employee benefit plan"; or
        known.



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             (b) Your director or trustee while that               c. Other than Insuring Agreements A.3. and
                 person is engaged in handling                         A.6., any financial institution.
                 "money", "securities" or "other               10. "Financial institution premises" means the
                 property" of any "employee benefit                interior of that portion of any building occupied
                 plan";                                            by a "financial institution" as defined in
          (5) Any natural person who is a former                   Paragraph F.9.a.
              "employee",       partner,   "member",           11. "Forgery" means the signing of the name of
              "manager", director or trustee retained              another person or organization with intent to
              by you as a consultant while performing              deceive; it does not mean a signature which
              services for you;                                    consists in whole or in part of one's own name
          (6) Any natural person who is a guest                    signed with or without authority, in any
              student or intern pursuing studies or                capacity, for any purpose.
              duties;                                          12. "Fraudulent instruction" means:
          (7) Any natural person employed by an                    a. With regard to Insuring Agreement
              entity merged or consolidated with you                   A.6.a.(2):
              prior to the effective date of this
              insurance; and                                          (1) A computer, telefacsimile, telephone or
                                                                          other electronic instruction directing a
          (8) Any natural person who is your                              "financial institution" to debit your
              "manager", director or trustee while:                       "transfer account" and to transfer, pay or
             (a) Performing acts within the scope of                      deliver "money" or "securities" from that
                 the usual duties of an "employee"; or                    "transfer account", which instruction
             (b) Acting as a member of any                                purports to have been issued by you,
                 committee duly elected or appointed                      but which in fact was fraudulently issued
                 by resolution of your board of                           by someone else without your
                 directors or board of trustees to                        knowledge or consent; or
                 perform specific, as distinguished                   (2) A written instruction (other than those
                 from general, directorial acts on your                   covered under Insuring Agreement A.2.)
                 behalf.                                                  issued to a "financial institution"
        b. Does not mean:                                                 directing the "financial institution" to
                                                                          debit your "transfer account" and to
            Any agent, broker, factor, commission                         transfer, pay or deliver "money" or
            merchant,        consignee,   independent                     "securities" from that "transfer account",
            contractor or representative of the same                      through an electronic funds transfer
            general character not specified in                            system at specified times or under
            Paragraph 7.a.                                                specified conditions, which instruction
     8. "Employee benefit plan" means any welfare or                      purports to have been issued by you,
        pension benefit plan shown in the Declarations                    but which in fact was issued, forged or
        that you sponsor and that is subject to the                       altered by someone else without your
        Employee Retirement Income Security Act of                        knowledge or consent.
        1974 (ERISA) and any amendments thereto.                   b. With regard to Insuring Agreement A.6.b.:
     9. "Financial institution" means:                                A computer, telefacsimile, telephone or
        a. With regard to Insuring Agreement A.3.:                    other electronic, written or voice instruction
                                                                      directing an "employee" to enter or change
          (1) A bank, savings bank, savings and loan
              association, trust company, credit union                "electronic data" or "computer programs"
              or similar depository institution; or                   within a "computer system" covered under
                                                                      the Insuring Agreement, which instruction in
          (2) An insurance company.                                   fact was fraudulently issued by your
        b. With regard to Insuring Agreement A.6.:                    computer software contractor.
          (1) A bank, savings bank, savings and loan           13. "Manager" means a natural person serving in a
              association, trust company, credit union             directorial capacity for a limited liability
              or similar depository institution;                   company.
          (2) An insurance company; or                         14. "Member" means an owner of a limited liability
                                                                   company represented by its membership
          (3) A stock brokerage firm or investment
                                                                   interest who, if a natural person, may also
              company.
                                                                   serve as a "manager".



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    15. "Messenger" means you, or your relative, or            18. "Other property" means any tangible property
        any of your partners or "members", or any                  other than "money" and "securities" that has
        "employee" while having care and custody of                intrinsic value. "Other property" does not
        property outside the "premises".                           include "computer programs", "electronic data"
    16. "Money" means:                                             or any property specifically excluded under this
                                                                   insurance.
        a. Currency, coins and bank notes in current
           use and having a face value;                        19. "Premises" means the interior of that portion of
                                                                   any building you occupy in conducting your
        b. Traveler's checks and money orders held                 business.
           for sale to the public; and
                                                               20. "Robbery" means the unlawful taking of
        c. In addition, includes:                                  property from the care and custody of a person
          (1) Under Insuring Agreements A.1. and                   by one who has:
              A.2., deposits in your account at any                a. Caused or threatened to cause that person
              "financial institution"; and                            bodily harm; or
          (2) Under      Insuring  Agreement     A.6.,             b. Committed an obviously unlawful act
              deposits in your account at a "financial                witnessed by that person.
              institution" as defined in Paragraph
              F.9.b.                                           21. "Safe burglary" means the unlawful taking of:
    17. "Occurrence" means:                                        a. Property from within a locked safe or vault
                                                                      by a person unlawfully entering the safe or
        a. Under Insuring Agreement A.1.:                             vault as evidenced by marks of forcible
          (1) An individual act;                                      entry upon its exterior; or
          (2) The combined total of all separate acts              b. A safe or vault from inside the "premises".
              whether or not related; or                       22. "Securities"    means      negotiable     and
          (3) A series of acts whether or not related;             nonnegotiable    instruments   or    contracts
           committed by an "employee" acting alone                 representing either "money" or property and
           or in collusion with other persons, during              includes:
           the Policy Period shown in the                          a. Tokens, tickets, revenue and other stamps
           Declarations, except as provided under                     (whether represented by actual stamps or
           Condition E.1.k. or E.1.l.                                 unused value in a meter) in current use;
        b. Under Insuring Agreement A.2.:                             and
          (1) An individual act;                                   b. Evidences of debt issued in connection with
                                                                      credit or charge cards, which cards are not
          (2) The combined total of all separate acts                 issued by you;
              whether or not related; or
                                                                   but does not include "money".
          (3) A series of acts whether or not related;
                                                               23. "Theft" means the unlawful taking of property to
           committed by a person acting alone or in                the deprivation of the Insured.
           collusion with other persons, involving one
                                                               24. "Transfer account" means an account
           or more instruments, during the Policy
                                                                   maintained by you at a "financial institution"
           Period shown in the Declarations, except as
           provided under Condition E.1.k. or E.1.l.               from which you can initiate the transfer,
                                                                   payment or delivery of "money" or "securities":
        c. Under all other Insuring Agreements:
                                                                   a. By means of computer, telefacsimile,
          (1) An individual act or event;                             telephone or other electronic instructions; or
          (2) The combined total of all separate acts              b. By means of written instructions (other than
              or events whether or not related; or                    those covered under Insuring Agreement
          (3) A series of acts or events whether or not               A.2.) establishing the conditions under
              related;                                                which such transfers are to be initiated by
                                                                      such "financial institution" through an
           committed by a person acting alone or in                   electronic funds transfer system.
           collusion with other persons, or not
           committed by any person, during the Policy          25. "Watchperson" means any person you retain
           Period shown in the Declarations, except as             specifically to have care and custody of
           provided under Condition E.1.k. or E.1.l.               property inside the "premises" and who has no
                                                                   other duties.



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                                                                                                  EX03-176
Case 2:20-cv-03667-PA-PVC Document 1 Filed 04/21/20 Page 209 of 243 Page ID #:209
  POLICY NUMBER: PKG3127372                                                           CRIME AND FIDELITY
                                                                                            CR 03 10 08 17

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                        CALIFORNIA CHANGES – PREMIUM
  This endorsement modifies insurance provided under the following:

     COMMERCIAL CRIME COVERAGE FORM
     COMMERCIAL CRIME POLICY
     EMPLOYEE THEFT AND FORGERY POLICY
     GOVERNMENT CRIME COVERAGE FORM
     GOVERNMENT CRIME POLICY
     GOVERNMENT EMPLOYEE THEFT AND FORGERY POLICY
     KIDNAP/RANSOM AND EXTORTION COVERAGE FORM
     KIDNAP/RANSOM AND EXTORTION POLICY

                                                     SCHEDULE

                                 Policy Period                                             Premium

  From: 06-30-2019                       To: 06-30-2020                       $ 440.00

  Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


  To comply with the ruling of the Commissioner of
  Insurance of the state of California and the opinion of
  the Attorney General of that state requiring that the
  premium for all policies be endorsed thereon, the
  premium charged for the attached policy for the policy
  period is shown in the Schedule.




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                                                                                                  EX03-177
Case 2:20-cv-03667-PA-PVC Document 1 Filed 04/21/20 Page 210 of 243 Page ID #:210
                                                                                                 CRIME AND FIDELITY
                                                                                                       CR 07 30 03 06

         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                             EXCLUSION OF TERRORISM
 This endorsement modifies insurance provided under the following:

    COMMERCIAL CRIME POLICY
    EMPLOYEE THEFT AND FORGERY POLICY
    GOVERNMENT CRIME POLICY

 A. The following definition is added and applies under       B. The following exclusion is added:
    this endorsement wherever the term terrorism is              EXCLUSION OF TERRORISM
    enclosed in quotation marks.
                                                                     We will not pay for loss or damage caused directly
    "Terrorism" means activities against persons, or-                or indirectly by "terrorism", including action in hin-
    ganizations or property of any nature:                           dering or defending against an actual or expected
    1. That involve the following or preparation for the             incident of "terrorism". Such loss or damage is ex-
       following:                                                    cluded regardless of any other cause or event that
                                                                     contributes concurrently or in any sequence to the
       a. Use or threat of force or violence; or
                                                                     loss. But this exclusion applies only when one or
       b. Commission or threat of a dangerous act;                   more of the following are attributed to an incident
          or                                                         of "terrorism":
       c. Commission or threat of an act that inter-                  1. The "terrorism" is carried out by means of the
          feres with or disrupts an electronic, com-                     dispersal or application of radioactive material,
          munication, information, or mechanical sys-                    or through the use of a nuclear weapon or de-
          tem; and                                                       vice that involves or produces a nuclear reac-
    2. When one or both of the following applies:                        tion, nuclear radiation or radioactive contamina-
                                                                         tion; or
       a. The effect is to intimidate or coerce a gov-
          ernment or the civilian population or any                  2. Radioactive material is released, and it appears
          segment thereof, or to disrupt any segment                    that one purpose of the "terrorism" was to re-
          of the economy; or                                            lease such material; or
       b. It appears that the intent is to intimidate or             3. The "terrorism" is carried out by means of the
          coerce a government, or to further political,                 dispersal or application of pathogenic or poi-
          ideological, religious, social or economic                    sonous biological or chemical materials; or
          objectives or to express (or express opposi-               4. Pathogenic or poisonous biological or chemical
          tion to) a philosophy or ideology.                            materials are released, and it appears that one
                                                                        purpose of the "terrorism" was to release such
                                                                        materials; or




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                                                                                                         EX03-178
Case 2:20-cv-03667-PA-PVC Document 1 Filed 04/21/20 Page 211 of 243 Page ID #:211
    5. The total of insured damage to all types of             C. Application Of Other Exclusions
       property in the United States, its territories and             1. When the Exclusion Of Terrorism applies in
       possessions, Puerto Rico and Canada exceeds                       accordance with the terms of Paragraph B.1. or
       $25,000,000. In determining whether the                           B.2., such exclusion applies without regard to
       $25,000,000 threshold is exceeded, we will in-                    the Nuclear Hazard Exclusion in this Policy.
       clude all insured damage sustained by property
       of all persons and entities affected by the "ter-              2. The terms and limitations of any terrorism ex-
       rorism" and business interruption losses sus-                     clusion, or the inapplicability or omission of a
       tained by owners or occupants of the damaged                      terrorism exclusion, do not serve to create cov-
       property. For the purpose of this provision, in-                  erage for any loss or damage which would oth-
       sured damage means damage that is covered                         erwise be excluded under this Policy, such as
       by any insurance plus damage that would be                        losses excluded by the Nuclear Hazard Exclu-
       covered by any insurance but for the applica-                     sion or the War And Military Action Exclusion.
       tion of any terrorism exclusions. Multiple inci-
       dents of "terrorism" which occur within a 72-
       hour period and appear to be carried out in
       concert or to have a related purpose or com-
       mon leadership will be deemed to be one inci-
       dent, for the purpose of determining whether
       the threshold is exceeded.
       With respect to this Item B.5., the immediately
       preceding paragraph describes the threshold
       used to measure the magnitude of an incident
       of "terrorism" and the circumstances in which
       the threshold will apply, for the purpose of de-
       termining whether this Exclusion will apply to
       that incident. When the Exclusion applies to an
       incident of "terrorism", there is no coverage
       under this Policy.




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                                                                                                       EX03-179
Case 2:20-cv-03667-PA-PVC Document 1 Filed 04/21/20 Page 212 of 243 Page ID #:212
                                                                            COMMERCIAL CRIME
                                                                                CR 20 20 07 02

          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                              CALCULATION OF PREMIUM
  This endorsement modifies insurance provided under the following:

     COMMERCIAL CRIME POLICY
     EMPLOYEE THEFT AND FORGERY POLICY
     GOVERNMENT CRIME POLICY
     KIDNAP/RANSOM AND EXTORTION COVERAGE FORM
     KIDNAP/RANSOM AND EXTORTION POLICY

  The following is added:
  The premium shown in the Declarations was com-
  puted based on rates in effect at the time the policy
  was issued. On each renewal, continuation, or anni-
  versary of the effective date of this policy, we will
  compute the premium in accordance with our rates
  and rules then in effect.




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                                                                                EX03-180
Case 2:20-cv-03667-PA-PVC Document 1 Filed 04/21/20 Page 213 of 243 Page ID #:213
                                                                                                         COMMERCIAL CRIME
                                                                                                              CR 01 50 03 00

                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                               CALIFORNIA CHANGES - ESCROW AGENT

  This endorsement modifies insurance provided under the following:

      COMM ERCIAL CRIM E COVERAGE FORM
      COMM ERCIAL CRIM E POLICY
      EMPLOYE E THEFT AND FORGERY POLICY

  A. The following is added to Section F. Definitions:                 B. The following is added to the Cancellation Of Policy
                                                                          Condition:
      1. "Employee" also includes any:
                                                                            NOTICE OF CANCELLATION
          a.   Officer, director or employee of yours who is
               not compensated when performing acts com-                    No cancellation of this policy, whether at your request
               ing within the scope of the usual duties of an               or our request, shall take effect prior to the expiration
               officer or employee of yours; and                            of 30 days after written notice of such cancellation has
                                                                            been filed with the Commissioner of Corporations.
          b.   Member of any of your committees duly
               elected or appointed to examine or audit or             C. Exclusion D.1.a. Acts Committed By You, Your Part-
               have custody of your property.                             ners Or Your Members is deleted if you are licensed
                                                                          as an escrow agent by the Commissioner of Corpora-
          The ownership of all or a portion of the shares of              tions of the State of California.
          the Named Insured by any "employee" shall not
          be a defense to any suit, action or other legal pro-
          ceeding against us.




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                                                                                                              EX03-181
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        EXHIBIT 4
Case 2:20-cv-03667-PA-PVC Document 1 Filed 04/21/20 Page 215 of 243 Page ID #:215




         Public Order Under City of Los Angeles Emergency Authority

                            Issue Date: March 19, 2020

  Subject:     SAFER AT HOME

  The novel coronavirus pandemic is a global emergency that is unprecedented in
  modern history. Profoundly impacting our daily lives, it has inspired Angelenos to
  respond with courage, compassion, wisdom and resolve to overcome this crisis and
  help each other.

  In a short period of time and at an unprecedented scale, residents in every community
  have embraced urgent social distancing best practices and aggressive hygienic
  precaution, not just to protect themselves, but to protect others. Angelenos understand
  with exceptional clarity that there is only one way to get through this difficult moment:
  together.

  The City’s recent emergency orders — curtailing large public gatherings; temporarily
  closing many government facilities; closing theaters, bars and entertainment venues;
  prohibiting restaurants from serving to dine-in customers while permitting take-out,
  delivery and drive-thru; and a moratorium on evictions of residential and commercial
  tenants — have been followed with a willing and generous spirit.

  While we have previously taken strong action, now the City must adopt additional
  emergency measures to further limit the spread of COVID-19.

  With this virus, we are safer at home.

  Wherever feasible, City residents must isolate themselves in their residences, subject to
  certain exceptions provided below.

  Under the provisions of ​Section 231(i) of the Los Angeles City Charter and Chapter 3,
  Section 8.27 of the Los Angeles Administrative Code, I hereby declare the following
Case 2:20-cv-03667-PA-PVC Document 1 Filed 04/21/20 Page 216 of 243 Page ID #:216



  orders to be necessary for the protection of life and property in the City of Los Angeles,
  effective on Thursday, March 19, 2020 at 11:59 PM:

  1.      Subject only to the exceptions outlined in this Paragraph and Paragraph 5 below,
  all persons living within the City of Los Angeles are hereby ordered to remain in their
  homes. Residents of the City of Los Angeles who are experiencing homelessness are
  exempt from this requirement. The City is working, along with partner government
  agencies and non-governmental organizations, to make more emergency shelters
  available for the unhoused residents of our City. City of Los Angeles officials and
  contracted partners responsible for homelessness outreach shall make every
  reasonable effort to persuade such residents to accept, if offered, temporary housing or
  shelter​, as the Health Officer of the County of Los Angeles recommends that sheltering
  individuals will assist in reducing the spread of the virus and will protect the individual
  from potential exposure by allowing the individual access to sanitation tools.​ ​ People at
  high risk of severe illness from COVID-19 and people who are sick are urged to stay in
  their residence to the extent possible except as necessary to seek medical care.

  2.     Subject only to the exceptions outlined in this Paragraph and Paragraph 5 below,
  all businesses within the City of Los Angeles are ordered to cease operations that
  require in-person attendance by workers at a workplace (including, without limitation,
  indoor malls and indoor shopping centers, including all stores except for those stores
  considered essential activities or infrastructure under this Order which are directly
  accessible to the public from the exterior of the mall or shopping center - the interior of
  the indoor mall or indoor shopping center shall remain closed to the public). To the
  extent that business operations may be maintained by telecommuting or other remote
  means, while allowing all individuals to maintain shelter in their residences, this order
  shall not apply to limit such business activities.

  3.    All public and private gatherings of any number of people occurring outside a
  residence are prohibited, except as to those exempted activities described in this
  Paragraph and Paragraph 5. This provision does not apply to gatherings within a single
  household or living unit.

  4.   All travel, including, without limitation, travel on foot, bicycle, scooter, motorcycle,
  automobile, or public transit is prohibited, subject to the exceptions in Paragraph 5.

  5.     Exceptions​. People may lawfully leave their residence while this Order is in
  effect only to engage in the following activities:

          (i) ​First 24 hour allowance​. This Order shall not apply, for a 24-hour period
  following the effective date above, to allow employees and business owners to access
  to their workplaces to gather belongings or​ address other administrative needs, ​so long
  as social distancing requirements are followed. Such workplaces shall remain closed to
  the public in accordance with this Order.
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          (ii) ​Essential Activities​. To engage in certain essential activities, including,
  without limitation, visiting a health or veterinary care professional, obtaining medical
  supplies or medication, obtaining grocery items (including, without limitation, canned
  food, dry goods, fresh fruits and vegetables, pet supplies, fresh or frozen meats, fish,
  and poultry, any other household consumer products and products necessary to
  maintain the safety and sanitation of residences and other buildings) for their household
  or to deliver to others, or for legally mandated government purposes. In addition, any
  travel related to (a) providing care for minors, the elderly, dependents, persons with
  disabilities, or other vulnerable persons; (b) returning to one’s place of residence from
  outside the City; (c) travelling to one’s place of residence located outside the City; (d)
  compliance with an order of law enforcement or court shall be exempt from this Order;
  or (e) legally mandated government purposes. Persons engaging in these essential
  activities shall maintain reasonable social distancing practices. This includes
  maintaining a distance of at least six-feet away from others, frequently washing hands
  with soap and water for at least twenty seconds or using hand sanitizer, covering
  coughs or sneezes (into the sleeve or elbow, not hands), regularly cleaning high-touch
  surfaces, and not shaking hands.

          (iii) ​Outdoor Activities​. To engage in outdoor activity and recreation, provided
  that the individuals comply with social distancing requirements, including, without
  limitation, walking, hiking, running, cycling; use of scooters, roller skates, skateboards,
  or other personal mobility devices; or travel in a vehicle with household members to a
  location where it is possible to walk, hike, run or ride a bike, or operate personal mobility
  devices, while maintaining social distancing practices. Indoor and outdoor playgrounds
  for children, except those located within childcare centers, shall be closed for all
  purposes.

         (iv) ​Work in Support of Essential Activities​. To perform work providing essential
  products and services or to otherwise carry out activities specifically permitted in this
  Order.

         (v) To care for or support a friend, family member, or pet in another household.

         (vi) ​Emergency Personnel​. All first responders, gang and crisis intervention
  workers, public health workers, emergency management personnel, emergency
  dispatchers, law enforcement personnel, and related contractors and others working for
  emergency services providers are categorically exempt from this Order.

         (vii) ​Essential Activities Exempt​. Certain business operations and activities are
  exempt from the provisions of this Order, on the grounds that they provide services that
  are recognized to be critical to the health and well-being of the City. These include:
                  (a)    All healthcare operations, including hospitals, clinics, dentists,
  pharmacies, pharmaceutical and biotechnology companies, medical and scientific
  research, laboratories, healthcare suppliers, home healthcare services providers,
  veterinary care providers, mental and behavioral health providers, substance use
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  providers, physical therapists and chiropractors, cannabis dispensaries, or any related
  and/or ancillary healthcare services, manufacturers and suppliers. Healthcare
  operations does not include fitness and exercise gyms and similar facilities.
                 (b)    Grocery stores, water retailers, certified farmers’ markets, farm and
  produce stands, supermarkets, convenience stores, warehouse stores, food banks,
  convenience stores, and other establishments engaged in the retail sale of canned food,
  dry goods, fresh fruits and vegetables, pet supply, fresh or frozen meats, fish, and
  poultry, any other household consumer products (such as construction supplies,
  cleaning and personal care products). This includes stores that sell groceries and sell
  other non-grocery products, and products necessary to maintaining the safety,
  sanitation, and essential operation of residences.
                 (c)    Food cultivation, including farming, livestock, and fishing.
                 (d)    Organizations and businesses that provide food, shelter, and social
  services, and other necessities of life for economically disadvantaged or otherwise
  needy individuals (including gang prevention and intervention, domestic violence, and
  homeless services agencies).
                 (e)    Newspapers, television, radio, magazine, podcast and other media
  services.
                 (f)    Gas service stations, auto supply, mobile auto repair operations,
  auto repair shops (including, without limitation, auto repair shops that operate adjacent
  to or otherwise in connection with an used or retail auto dealership), bicycle repair
  shops and related facilities.
                 (g)    Banks, credit unions, financial institutions and insurance
  companies.
                 (h)    Hardware and building supply stores, and nurseries.
                 (i)    Plumbers, electricians, exterminators, custodial/janitorial workers,
  handyman services, funeral home workers and morticians, moving services, HVAC
  installers, carpenters, landscapers, gardeners, property managers, private security
  personnel and other service providers who provide services to maintain the safety,
  sanitation, and essential operation to properties and other essential activities discussed
  in this subsection.
                 (j)    Businesses providing mailing and shipping services, including post
  office boxes.
                 (k)    Educational institutions -- including public and private K-12 schools,
  colleges, and universities -- for purposes of facilitating distance learning or performing
  essential functions provided that social distancing of six-feet per person is maintained to
  the greatest extent possible.
                 (l)    Laundromats, dry cleaners, and laundry service providers.
                 (m)    Restaurants and retail food facilities that prepare and offer food to
  customers, but only via delivery service, to be picked up, or drive-thru. For those
  establishments offering food pick-up options, proprietors are directed to establish social
  distancing practices for those patrons in the queue for pick-up. This includes
  maintaining a distance of at least six-feet away from others. Schools and other entities
  that typically provide free food services to students or members of the public may
  continue to do so under this Order on the condition that the food is provided to students
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  or members of the public on a pick-up and carry out basis only. Schools and other
  entities that provide food services under this exemption shall not permit the food to be
  eaten at the site where it is provided, or any other gathering site. Cafeterias,
  commissaries, and restaurants located within hospitals, nursing homes, or similar
  facilities are also exempt from this Order. Social distancing shall be maintained at a
  distance of at least six-feet away from others
                  (n)      Businesses that supply products needed for people to work from
  home.
                  (o)      Businesses that supply other essential businesses with the support,
  services, or supplies necessary to operate, provided that strict social distancing is
  maintained. This section includes, without limitation, utility companies.
                  (p)      Individuals and businesses that ship or deliver groceries, food,
  beverages or goods directly to residences or businesses, including rail and trucking.
                  (q)      Airlines, taxis, ride sharing services, and other private
  transportation services providing transportation services necessary for essential
  activities and other purposes expressly authorized in this Order.
                  (r)      Home-based care for disabled persons, seniors, adults, or children.
                  (s)      Residential facilities and shelters for homeless residents, disabled
  persons, seniors, adults, children and animals.
                  (t)      Professional services, such as legal, payroll or accounting services,
  when necessary to assist in compliance with legally mandated activities.
                  (u)      Childcare facilities providing services that enable employees
  exempted in this Order to work as permitted. To the extent possible, childcare facilities
  must operate under the following mandatory conditions:
                       (1) Childcare must be carried out in stable groups of 12 or fewer
                           (“stable” means that the same 12 or fewer children are in the same
                           group each day).
                       (2) Children shall not change from one group to another.
                       (3) If more than one group of children is cared for at one facility, each
                           group shall be in a separate room. Groups shall not mix with each
                           other.
                       (4) Childcare providers shall remain solely with one group of children.
                  (v) Hotels, motels, shared rental units and similar facilities.
                  (w) Military/Defense Contractors/FFRDC (Federally Funded Research
           and Development Centers). For purposes of this Order, essential personnel may
           leave their residence to provide any service or perform any work deemed
           essential for national security including, without limitation, defense, intelligence,
           and aerospace development and manufacturing for the Department of Defense,
           the Intelligence Community, and NASA and other federal government, and or
           United States Government departments and agencies. Essential personnel
           include prime, sub-prime, and supplier contractor employees, at both the prime
           contract level and any supplier level at any tier, working on federal United States
           Government contracts, such as contracts for national intelligence and national
           security requirements.
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          (viii) ​Government Employees​. This Order does not apply to employees of
  government agencies working within the course and scope of their public service
  employment. Employees of the City of Los Angeles shall follow any current or future
  directives issued by the Mayor.

         (ix)   Essential Infrastructure​. Individuals may leave their residences to provide
  any services or goods or perform any work necessary to to build, operate, maintain or
  manufacture essential infrastructure, including without limitation construction of
  commercial, office and institutional buildings, residential buildings and housing; airport
  operations, food supply, concessions, and construction; port operations and
  construction; water, sewer, gas, electrical, oil extraction and refining; roads and
  highways, public transportation and rail; solid waste collection and removal; flood
  control and watershed protection; internet and telecommunications systems (including
  the provision of essential global, national, and local infrastructure for computing
  services, business infrastructure, communications, and web-based services); and
  manufacturing and distribution companies deemed essential to the supply chains of the
  industries referenced in this Paragraph, provided that they carry out those services and
  that work in compliance with social distancing practices as prescribed by the Centers for
  Disease Control and Prevention and the Los Angeles County Department of Public
  Health, to the extent possible.

  6.     To the extent that this Order is in conflict with earlier Orders, this Order
  shall supersede the others.

  7.     Failure to comply with this Order shall constitute a misdemeanor subject to
  fines and imprisonment. I hereby urge the Los Angeles Police Department and
  the City Attorney to vigorously enforce this Order via Sections 8.77 and 8.78 of the
  Los Angeles Administrative Code.

  8      If any subsection, sentence, clause, phrase, or word of this Order or any
  application of it to any person, structure, or circumstance is held to be invalid or
  unconstitutional by a decision of a court of competent jurisdiction, then such
  decision shall not affect the validity of the remaining portions or applications of this
  Order.

  This order shall be in place until April 19, 2020, and it may be extended prior to that
  time.
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        EXHIBIT 5
Case 2:20-cv-03667-PA-PVC Document 1 Filed 04/21/20 Page 222 of 243 Page ID #:222




         Public Order Under City of Los Angeles Emergency Authority

              Issue Date: March 19, 2020 (Revised April 10, 2020)

  Subject:     SAFER AT HOME

  The novel coronavirus pandemic is a global emergency that is unprecedented in
  modern history. Profoundly impacting our daily lives, it has inspired Angelenos to
  respond with courage, compassion, wisdom and resolve to overcome this crisis and
  help each other.

  In a short period of time and at an unprecedented scale, residents in every community
  have embraced urgent social distancing best practices and aggressive hygienic
  precaution, not just to protect themselves, but to protect others. Angelenos understand
  with exceptional clarity that there is only one way to get through this difficult moment:
  together.

  The City’s recent emergency orders — curtailing large public gatherings; temporarily
  closing many government facilities; closing theaters, bars and entertainment venues;
  prohibiting restaurants from serving to dine-in customers while permitting take-out,
  delivery and drive-thru; and a ban on evictions of residential and commercial tenants
  who cannot pay rent due to financial impacts caused by COVID-19 — have been
  followed with a willing and generous spirit.

  While we have previously taken strong action, now the City must adopt additional
  emergency measures to further limit the spread of COVID-19.

  With this virus, we are safer at home.

  Wherever feasible, City residents must isolate themselves in their residences, subject to
  certain exceptions provided below. This Order is given because, among other reasons,
  the COVID-19 virus can spread easily from person to person and it is physically causing
  property loss or damage due to its tendency to attach to surfaces for prolonged periods
  of time
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  Under the provisions of ​Section 231(i) of the Los Angeles City Charter and Chapter 3,
  Section 8.27 of the Los Angeles Administrative Code, I hereby declare the following
  orders to be necessary for the protection of life and property in the City of Los Angeles,
  effective on Friday, April, 10, 2020 at 11:59 PM:

  1.      Subject only to the exceptions outlined in this Paragraph and Paragraph 5 below,
  all persons living within the City of Los Angeles are hereby ordered to remain in their
  homes. Residents of the City of Los Angeles who are experiencing homelessness are
  exempt from this requirement. The City is working, along with partner government
  agencies and non-governmental organizations, to make more emergency shelters
  available for the unhoused residents of our City. City of Los Angeles officials and
  contracted partners responsible for homelessness outreach shall make every
  reasonable effort to persuade such residents to accept, if offered, temporary housing or
  shelter​, as the Health Officer of the County of Los Angeles recommends that sheltering
  individuals will assist in reducing the spread of the virus and will protect the individual
  from potential exposure by allowing the individual access to sanitation tools.​ ​ People at
  high risk of severe illness from COVID-19 and people who are sick are urged to stay in
  their residence to the extent possible except as necessary to seek medical care.

  2.      Subject only to the exceptions outlined in this Paragraph and Paragraph 5 below,
  all businesses within the City of Los Angeles are ordered to cease operations that
  require in-person attendance by workers at a workplace (including, without limitation,
  indoor malls and indoor shopping centers, including all stores except for those stores
  considered essential activities or infrastructure under this Order which are directly
  accessible to the public from the exterior of the mall or shopping center - the interior of
  the indoor mall or indoor shopping center shall remain closed to the public). To the
  extent that business operations may be maintained by telecommuting or other remote
  means, while allowing all individuals to maintain shelter in their residences, this Order
  shall not apply to limit such business activities. A business that fails to cease operation
  despite not meeting an exception in this Paragraph or Paragraph 5 may be subject to
  having its water and power services shut off by the Department of Water and Power for
  not being in compliance with the Order. The Deputy Mayor of Public Safety, or his
  written designee, may, after engagement with and a written warning issued to a
  noncompliant business, refer that business in writing to the Department of Water and
  Power to shut off water and power services pursuant to this order. Upon receiving such
  a written referral, the Department of Water & Power is authorized to shut off water and
  power services to the noncompliant business operating in violation of the Order

  3.    All public and private gatherings of any number of people occurring outside a
  residence are prohibited, except as to those exempted activities described in this
  Paragraph and Paragraph 5. This provision does not apply to gatherings within a single
  household or living unit.
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  4.   All travel, including, without limitation, travel on foot, bicycle, scooter, motorcycle,
  automobile, or public transit is prohibited, subject to the exceptions in Paragraph 5.

  5.     Exceptions​. People may lawfully leave their residence while this Order is in
  effect only to engage in the following activities:

          (i) ​First 24 hour allowance​. This Order shall not apply, for a 24-hour period
  following the effective date above, to allow employees and business owners to access
  to their workplaces to gather belongings or​ address other administrative needs, ​so long
  as social distancing requirements are followed. Such workplaces shall remain closed to
  the public in accordance with this Order.

          (ii) ​Essential Activities​. To engage in certain essential activities, including,
  without limitation, visiting a health or veterinary care professional, obtaining medical
  supplies or medication, obtaining grocery items (including, without limitation, canned
  food, dry goods, fresh fruits and vegetables, pet supplies, fresh or frozen meats, fish,
  and poultry, any other household consumer products and products necessary to
  maintain the safety and sanitation of residences and other buildings) for their household
  or to deliver to others, or for legally mandated government purposes. In addition, any
  travel related to (a) providing care for minors, the elderly, dependents, persons with
  disabilities, or other vulnerable persons; (b) returning to one’s place of residence from
  outside the City; (c) travelling to one’s place of residence located outside the City; (d)
  compliance with an order of law enforcement or court shall be exempt from this Order;
  or (e) legally mandated government purposes. Persons engaging in these essential
  activities are required to maintain reasonable social distancing practices. This includes
  maintaining a distance of at least six-feet away from others, frequently washing hands
  with soap and water for at least twenty seconds or using hand sanitizer, covering
  coughs or sneezes (into the sleeve or elbow, not hands), regularly cleaning high-touch
  surfaces, and not shaking hands.

          (iii) ​Outdoor Activities​. Travel for purposes of or to engage in passive outdoor
  activity and recreation, provided that the individuals comply with social distancing
  requirements, including, without limitation, walking, running, cycling; use of scooters,
  roller skates, skateboards, or other personal mobility devices; or travel in a vehicle with
  household members to a location where it is possible to walk, run or ride a bike,
  horseback ride or operate personal mobility devices, while maintaining social distancing
  practices. Indoor and outdoor playgrounds for children, except those located within
  childcare centers, shall be closed for all purposes. The City of Los Angeles, following
  the recommendations and directives of the County Department of Public Health, shall
  cancel its recreational and cultural programming and close its beaches, public beach
  parking lots, beach access points, piers, park trails, trail heads, and park facilities.
  Parks shall remain open for passive recreational activities while practicing social
  distancing. “Recreation and cultural programming” refers to recreational and cultural
  activities, indoor and outdoor sports leagues, aquatics classes, instructional courses,
  and group sessions on City-owned and operated park land. “Park facilities,” which shall
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  be closed to the public, refers to the City’s Department of Recreation and Parks
  facilities, including: skate parks, basketball courts, tennis courts, volleyball courts,
  baseball fields, Venice Boardwalk (except as necessary to travel to an essential
  business), Griffith Observatory, Travel Town, Griffith Park train rides and pony rides, the
  Cabrillo Marine Museum, Sherman Oaks Castle, EXPO Center, and aquatics facilities.
  Census Centers located at Recreation and Parks facilities may remain open, provided
  strict adherence to social distancing practices.

         (iv) ​Work in Support of Essential Activities​. To perform work providing essential
  products and services or to otherwise carry out activities specifically permitted in this
  Order.

         (v) To care for or support a friend, family member, or pet in another household.

         (vi) ​Emergency Personnel​. All first responders, gang and crisis intervention
  workers, public health workers, emergency management personnel, emergency
  dispatchers, law enforcement personnel, and related contractors and others working for
  emergency services providers are categorically exempt from this Order.

          (vii) ​Essential Activities Exempt​. Certain business operations and activities are
  exempt from the provisions of this Order, on the grounds that they provide services that
  are recognized to be critical to the health and well-being of the City. These include:
                   (a)    All healthcare operations, including hospitals, clinics, dentists,
  pharmacies, pharmaceutical and biotechnology companies, medical and scientific
  research, laboratories, healthcare suppliers, home healthcare services providers,
  veterinary care and pet day care providers (excluding pet grooming and training),
  mental and behavioral health providers, substance use providers, physical therapists
  and chiropractors, cannabis dispensaries, or any related and/or ancillary healthcare
  services, manufacturers and suppliers. Healthcare operations does not include fitness
  and exercise gyms and similar facilities.
                   (b)    Grocery stores, water retailers, farm and produce stands,
  supermarkets, convenience stores, warehouse stores, food banks, and other
  establishments engaged in the retail sale of canned food, dry goods, fresh fruits and
  vegetables, pet food and medication supply (but not grooming or training), fresh or
  frozen meats, fish, and poultry, any other household consumer products (such as
  construction supplies, cleaning and personal care products). This includes stores that
  sell beer, wine, and liquor, groceries and other non-grocery products, and products
  necessary to maintaining the safety, sanitation, and essential operation of residences.
  The portions of wineries, breweries and tap rooms that provide tastings to the public are
  closed. Certified farmers markets may operate only if they are able to obtain written
  approval from the Bureau of Street Services (BSS) and only according to the guidelines
  set forth by BSS.
                   (c)    Food cultivation, including farming, livestock, and fishing.
                   (d)    Organizations and businesses that provide food, shelter, and social
  services, and other necessities of life for economically disadvantaged or otherwise
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  needy individuals (including gang prevention and intervention, domestic violence, and
  homeless services agencies).
                  (e)   Newspapers, television news, radio, magazine, podcast and
  journalism.
                  (f)   Gas service stations, auto part supply, mobile auto repair
  operations, auto repair shops (including, without limitation, auto repair shops that
  operate adjacent to or otherwise in connection with an used or retail auto dealership),
  bicycle repair shops and related facilities. No auto dealership may operate, with the
  exception of its auto service and part stores. Fully automated or self-service car
  washes are permitted to operate; car washes that require personnel are not permitted to
  operate.
                  (g)   Banks, credit unions, financial institutions and insurance
  companies, and pawn shops.
                  (h)   Hardware and building supply stores, day labor centers, and
  nurseries.
                  (i)   Plumbers, electricians, custodial/janitorial workers, handyman
  services, funeral home workers and morticians, moving services, HVAC installers,
  carpenters, day laborers, landscapers, gardeners, exterminators, property managers
  and leasing agents, private security personnel and other service providers who provide
  services to maintain the safety, sanitation, and essential operation to properties and
  other essential activities discussed in this subsection.
                  (j)   Businesses providing mailing and shipping services, boxes and
  packaging, and post office boxes.
                  (k)   Educational institutions -- including public and private K-12 schools,
  colleges, and universities -- for purposes of facilitating distance learning or performing
  essential functions provided that social distancing of six-feet per person is maintained.
                  (l)   Laundromats, dry cleaners, and laundry service providers.
                  (m)   Restaurants and retail food facilities that prepare and offer food to
  customers, but only via delivery service, to be picked up, or drive-thru. For those
  establishments offering food pick-up options, proprietors are directed to establish social
  distancing practices for those patrons in the queue for pick-up. This includes
  maintaining a distance of at least six-feet away from others. Schools and other entities
  that typically provide free food services to students or members of the public may
  continue to do so under this Order on the condition that the food is provided to students
  or members of the public on a pick-up and carry out basis only. Schools and other
  entities that provide food services under this exemption shall not permit the food to be
  eaten at the site where it is provided, or any other gathering site. Cafeterias,
  commissaries, and restaurants located within hospitals, nursing homes, or similar
  facilities are also exempt from this Order. Social distancing shall be maintained at a
  distance of at least six-feet away from others
                  (n)   Businesses that supply or provide storage for products needed for
  people to work from home.
                  (o)   Businesses that supply other essential businesses with the support,
  services, or supplies necessary to operate, provided that strict social distancing is
  maintained. This section includes, without limitation, utility companies.
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                 (p)      Individuals and businesses that ship, truck, transport, or provide
  logistical support to deliver groceries, food, goods, or services directly to residences, or
  businesses engaged in essential activities or essential infrastructure.
                 (q)      Airlines, taxis, ride sharing services, car rental companies, and
  other private transportation services providing transportation services necessary for
  essential activities and other purposes expressly authorized in this Order.
                 (r)      Home-based care for disabled persons, seniors, adults, or children.
                 (s)      Residential facilities and shelters for homeless residents, disabled
  persons, seniors, adults, children and animals.
                 (t)      Professional services, such as legal, leasing and real estate
  transactions, payroll or accounting services, when necessary to assist in the permitting,
  inspection, construction, transfer and recording of ownership of housing, and when
  necessary to achieve compliance with legally mandated activities. Vacant units and real
  property may be shown, provided that appointments and other residential viewings must
  occur virtually or, if a virtual viewing is not feasible, by appointment with no more than
  two visitors at a time residing within the same household or living unit and one individual
  showing the unit (except that in-person visits are not allowed when the occupant is still
  residing in the residence);
                 (u)      Childcare facilities providing services that enable employees
  exempted in this Order to work as permitted. To the extent possible, childcare facilities
  must operate under the following mandatory conditions:
                      (1) Childcare must be carried out in stable groups of 12 or fewer
                          (“stable” means that the same 12 or fewer children are in the same
                          group each day).
                      (2) Children shall not change from one group to another.
                      (3) If more than one group of children is cared for at one facility, each
                          group shall be in a separate room. Groups shall not mix with each
                          other.
                      (4) Childcare providers shall remain solely with one group of children.
                 (v) Hotels, motels, shared rental units and similar facilities.
                 (w) Military/Defense Contractors/FFRDC (Federally Funded Research
          and Development Centers). For purposes of this Order, essential personnel may
          leave their residence to provide any service or perform any work deemed
          essential for national security including, without limitation, defense, intelligence,
          and aerospace development and manufacturing for the Department of Defense,
          the Intelligence Community, and NASA and other federal government, and or
          United States Government departments and agencies. Essential personnel
          include prime, sub-prime, and supplier contractor employees, at both the prime
          contract level and any supplier level at any tier, working on federal United States
          Government contracts, such as contracts for national intelligence and national
          security requirements.
                 (x)      Businesses that manufacture or sell personal protective equipment
          or cloth or fabric face coverings, and businesses that sell materials for purposes
          of assembling such face coverings, subject to the following conditions: for
          manufacturers, at least 50% of daily production must consist of personal
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         protective equipment, cloth or fabric face covering or other essential products; for
         retail businesses, their products may be available to purchasers by delivery or
         pick-up but may not be open to the public. Nothing in this subsection shall be
         construed to allow otherwise non-essential businesses to render themselves
         essential for purposes of this Order by adopting similar sales protocols.

          (viii) ​Government Employees​. This Order does not apply to employees of
  government agencies working within the course and scope of their public service
  employment. Employees of the City of Los Angeles shall follow any current or future
  directives issued by the Mayor.

         (ix)    Essential Infrastructure​. Individuals may leave their residences to provide
  any services or goods or perform any work necessary to to build, operate, maintain or
  manufacture essential infrastructure, including without limitation construction of public
  health operations, commercial, office and institutional buildings, residential buildings
  and housing; airport operations, food supply, concessions, and construction; port
  operations and construction; water, sewer, gas, electrical, oil extraction and refining;
  roads and highways, public transportation and rail; solid waste collection, removal, and
  recycling; flood control and watershed protection; internet and telecommunications
  systems (including the provision of essential global, national, and local infrastructure for
  computing services, business infrastructure, communications, phone retail sales and
  servicing, and web-based services); and manufacturing and distribution companies
  deemed essential to the supply chains of the industries referenced in this Paragraph,
  provided that they carry out those services and that work in compliance with social
  distancing practices as prescribed by the Centers for Disease Control and Prevention
  and the Los Angeles County Department of Public Health, to the extent possible.

         (x)    Non-Essential Businesses. Businesses regarded under this Order as
  “non-essential” may be permitted to conduct minimum basic operations including
  inventory, security, custodial services, payroll and employee benefits processing, and
  any reasonable activity designed to maximize the ability for its employees to work
  remotely from their homes.

  6.     Public Notice of Social Distancing Protocols​. The owner, manager, or operator of
  any business engaged in Essential Activities or Essential Infrastructure under
  Paragraph 5, shall prepare and post by no later than 11:59 p.m. on April 15, 2020, a
  Social Distancing Protocol for each of their facilities within the City of Los Angeles. The
  Social Distancing Protocol must be (i) substantially in the form attached to this Order as
  Appendix A; (ii) posted at or near the entrance to the facility so that it is easily viewable
  by the public and employees; and (iii) provided to each employee performing work at
  the facility. All such businesses shall implement the Social Distancing Protocol and
  provide evidence of its implementation to any authority enforcing this Order upon
  demand.
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  The City of Los Angeles has adopted the County of Los Angeles Department of Public
  Health Social Distancing Protocol, available for download at
  http://coronavirus.lacity.org/socialdistancingprotocol

         Social Distancing Protocols must observe the following safety guidelines:

          a)    limit the number of people who may enter into the facility at any one time
  to ensure that people in the facility can easily maintain, at all times, a minimum six (6)
  foot distance from others;

        b)     designate where lines may form at a facility, marking six (6) foot
  increments at a minimum, establishing where individuals should stand to maintain
  adequate social distancing;

         c)    provide hand sanitizer, soap and water, or effective disinfectant at or near
  the entrance of the facility and in other appropriate areas for use by the public and
  employees;

          d)     post a sign in a conspicuous place at all public entries that instructs
  members of the public to not enter if they are experiencing symptoms of respiratory
  illness, including fever or cough, and to maintain social distancing from one another;

          e)     regularly disinfect high-touch surfaces, including, without limitation all
  payment portals, pens, and styluses after each use. Businesses engaged in essential
  activities and essential infrastructure are encouraged to offer touch-less payment
  mechanisms, if feasible;

         f)     provide employees and contracted workers whose duties require close
  contact (within 6 feet for 10 minutes or more) with other employees and/or the public
  with cloth face coverings;

         g)    require that members of the public who enter the facility wear a face
  covering during their time in the facility; and

         h)     adhere to communicable disease control recommendations provided by
  the Los Angeles County Department of Public Health, including guidance for cleaning
  and disinfecting the site. See guidance posted at
  www.publichealth.lacounty.gov/media/Coronavirus/.

  7.     To the extent that this Order is in conflict with earlier Orders, this Order
  shall supersede the others.

  8.     Failure to comply with this Order shall constitute a misdemeanor subject to
  fines and imprisonment. I hereby urge the Los Angeles Police Department and
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  the City Attorney to vigorously enforce this Order via Sections 8.77 and 8.78 of the
  Los Angeles Administrative Code.

  9.      If any subsection, sentence, clause, phrase, or word of this Order or any
  application of it to any person, structure, or circumstance is held to be invalid or
  unconstitutional by a decision of a court of competent jurisdiction, then such
  decision shall not affect the validity of the remaining portions or applications of this
  Order.


  This order shall be in place until May 15, 2020, and it may be extended prior to that
  time.


  Dated: ​April 10, 2020​ at Los Angeles, California
  Time: _____________



  Filed with the City Clerk
  Date: _____________________
  Time: _____________________
  By: _______________________
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        EXHIBIT 6
           Case 2:20-cv-03667-PA-PVC Document 1 Filed 04/21/20 Page 232 of 243 Page ID #:232
                                                                                           LWINNERT
                                                                                                                                                                    DATE (MM/DD/YYYY)
                                                                  PROPERTY LOSS NOTICE                                                                                3/19/2020
AGENCY                                                                                             INSURED LOCATION CODE                               DATE OF LOSS AND TIME            AM
Westlake Village, CA - PMI - HUB International Insurance Services Inc.
PO Box 3310                                                                                                                                        03/17/2020                           PM
Santa Barbara, CA 93130-3310                                                                                                      PROPERTY / HOME POLICY

                                                                                                   CARRIER                                                                 NAIC CODE

                                                                                                   Mitsui Sumitomo Insurance Company of America                                20362
CONTACT                                                                                            POLICY NUMBER
NAME:
PHONE
(A/C, No, Ext): (805)   682-2571                                                                   PKG3127372
FAX                                                                                                                                     FLOOD POLICY
(A/C, No):
E-MAIL                                                                                             CARRIER                                                                 NAIC CODE
ADDRESS:
CODE:                                             SUBCODE:

AGENCY CUSTOMER ID:MUSS&FR-01                     License # 0757776                                POLICY NUMBER



                                                                                                                                         WIND POLICY

                                                                                                   CARRIER                                                                 NAIC CODE


                                                                                                   POLICY NUMBER



INSURED
NAME OF INSURED (First, Middle, Last)                                                              INSURED'S MAILING ADDRESS
                                                                                                   6715 Hollywood Blvd.
Musso & Frank Grill Co., Inc.
                                                                                                   Los Angeles, CA 90028
     DATE OF BIRTH                    FEIN (if applicable)              MARITAL STATUS /
                                                                     CIVIL UNION (if applicable)


PRIMARY             HOME      BUS       CELL      SECONDARY         HOME       BUS       CELL
PHONE #                                           PHONE #                                          PRIMARY E-MAIL ADDRESS:

                                                                                                   SECONDARY E-MAIL ADDRESS:
NAME OF SPOUSE (First, Middle, Last) (if applicable)                                               SPOUSE'S MAILING ADDRESS (if applicable)



     DATE OF BIRTH                    FEIN (if applicable)              MARITAL STATUS /
                                                                     CIVIL UNION (if applicable)


PRIMARY             HOME      BUS       CELL      SECONDARY         HOME       BUS       CELL
PHONE #                                           PHONE #                                          PRIMARY E-MAIL ADDRESS:

                                                                                                   SECONDARY E-MAIL ADDRESS:
CONTACT                             CONTACT INSURED
NAME OF CONTACT (First, Middle, Last)                                                              CONTACT'S MAILING ADDRESS
                                                                                                   6715 Hollywood Blvd. #201
Mark Echeverria
PRIMARY                                           SECONDARY
                                                                                                   Los Angeles, CA 90028
PHONE #             HOME      BUS    X CELL       PHONE #           HOME       BUS       CELL

(916) 690-0940
                                                                                                   PRIMARY E-MAIL ADDRESS: mecheverria@mussoandfrank.com
WHEN TO CONTACT

                                                                                                   SECONDARY E-MAIL ADDRESS:
LOSS
LOCATION OF LOSS                                                                                                        POLICE OR FIRE DEPARTMENT CONTACTED

STREET:

CITY, STATE, ZIP:                                                                                                       REPORT NUMBER

COUNTRY:

DESCRIBE LOCATION OF LOSS IF NOT AT SPECIFIC STREET ADDRESS:

                FIRE             LIGHTNING             FLOOD                                                                                  PROBABLE AMOUNT ENTIRE LOSS
KIND OF
 LOSS
                THEFT            HAIL                  WIND
DESCRIPTION OF LOSS & DAMAGE (ACORD 101, Additional Remarks Schedule, may be attached if more space is required)
Business Income Loss/Civil Authority




REPORTED BY                                                                                        REPORTED TO

Corbin Wade                                                                                        Lisa Winnert
ACORD 1 (2013/01)                                                                 Page 1 of 3     © 1988-2013 ACORD CORPORATION. All rights reserved.
                                                             The ACORD name and logo are registered marks of ACORD
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                                                                          AGENCY CUSTOMER ID: MUSS&FR-01                            LWINNERT
REMARKS (ACORD 101, Additional Remarks Schedule, may be attached if more space is required)




                                                        APPLICABLE IN ALABAMA
   Any person who knowingly presents a false or fraudulent claim for payment of a loss or benefit or who knowingly presents false
   information in an application for insurance is guilty of a crime and may be subject to restitution fines or confinement in prison, or any
   combination thereof.

                                                       APPLICABLE IN ALASKA
   A person who knowingly and with intent to injure, defraud, or deceive an insurance company files a claim containing false, incomplete,
   or misleading information may be prosecuted under state law.

                                                           APPLICABLE IN ARIZONA
   For your protection, Arizona law requires the following statement to appear on this form. Any person who knowingly presents a false or
   fraudulent claim for payment of a loss is subject to criminal and civil penalties.

               APPLICABLE IN ARKANSAS, DELAWARE, KENTUCKY, LOUISIANA, MAINE, MICHIGAN, NEW JERSEY,
                 NEW MEXICO, NEW YORK, NORTH DAKOTA, PENNSYLVANIA, RHODE ISLAND, SOUTH DAKOTA,
                                  TENNESSEE, TEXAS, VIRGINIA, AND WEST VIRGINIA
   Any person who knowingly and with intent to defraud any insurance company or another person, files a statement of claim containing
   any materially false information, or conceals for the purpose of misleading, information concerning any fact, material thereto, commits
   a fraudulent insurance act, which is a crime, subject to criminal prosecution and [NY: substantial] civil penalties. In LA, ME, TN, and
   VA, insurance benefits may also be denied.

                                                          APPLICABLE IN CALIFORNIA
   For your protection, California law requires the following to appear on this form: Any person who knowingly presents a false or
   fraudulent claim for payment of a loss is guilty of a crime and may be subject to fines and confinement in state prison.

                                                       APPLICABLE IN COLORADO
   It is unlawful to knowingly provide false, incomplete, or misleading facts or information to an insurance company for the purpose of
   defrauding or attempting to defraud the company. Penalties may include imprisonment, fines, denial of insurance, and civil damages.
   Any insurance company or agent of an insurance company who knowingly provides false, incomplete, or misleading facts or
   information to a policy holder or claimant for the purpose of defrauding or attempting to defraud the policy holder or claimant with
   regard to a settlement or award payable from insurance proceeds shall be reported to the Colorado Division of Insurance within the
   Department of Regulatory Agencies.


ACORD 1 (2013/01)                                                Page 2 of 3
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                                                                            AGENCY CUSTOMER ID: MUSS&FR-01                            LWINNERT


                                               APPLICABLE IN THE DISTRICT OF COLUMBIA
   Warning: It is a crime to provide false or misleading information to an insurer for the purpose of defrauding the insurer or any other
   person. Penalties include imprisonment and/or fines. In addition, an insurer may deny insurance benefits, if false information
   materially related to a claim was provided by the applicant.

                                                          APPLICABLE IN FLORIDA
   Pursuant to S. 817.234, Florida Statutes, any person who, with the intent to injure, defraud, or deceive any insurer or insured,
   prepares, presents, or causes to be presented a proof of loss or estimate of cost or repair of damaged property in support of a claim
   under an insurance policy knowing that the proof of loss or estimate of claim or repairs contains any false, incomplete, or misleading
   information concerning any fact or thing material to the claim commits a felony of the third degree, punishable as provided in
   S. 775.082, S. 775.083, or S. 775.084, Florida Statutes.


                                                       APPLICABLE IN HAWAII
   For your protection, Hawaii law requires you to be informed that presenting a fraudulent claim for payment of a loss or benefit is a
   crime punishable by fines or imprisonment, or both.

                                                          APPLICABLE IN IDAHO
   Any person who knowingly and with the intent to injure, defraud, or deceive any insurance company files a statement of claim
   containing any false, incomplete or misleading information is guilty of a felony.

                                                      APPLICABLE IN INDIANA
   A person who knowingly and with intent to defraud an insurer files a statement of claim containing any false, incomplete, or misleading
   information commits a felony.

                                                           APPLICABLE IN KANSAS
   Any person who, knowingly and with intent to defraud, presents, causes to be presented or prepares with knowledge or belief that it
   will be presented to or by an insurer, purported insurer, broker or any agent thereof, any written statement as part of, or in support of,
   an application for the issuance of, or the rating of an insurance policy for personal or commercial insurance, or a claim for payment or
   other benefit pursuant to an insurance policy for commercial or personal insurance which such person knows to contain materially
   false information concerning any fact material thereto; or conceals, for the purpose of misleading, information concerning any fact
   material thereto commits a fraudulent insurance act.


                                                          APPLICABLE IN MARYLAND
   Any person who knowingly or willfully presents a false or fraudulent claim for payment of a loss or benefit or who knowingly or willfully
   presents false information in an application for insurance is guilty of a crime and may be subject to fines and confinement in prison.

                                                         APPLICABLE IN MINNESOTA
   A person who files a claim with intent to defraud or helps commit a fraud against an insurer is guilty of a crime.

                                                          APPLICABLE IN NEVADA
   Pursuant to NRS 686A.291, any person who knowingly and willfully files a statement of claim that contains any false, incomplete or
   misleading information concerning a material fact is guilty of a felony.

                                                     APPLICABLE IN NEW HAMPSHIRE
   Any person who, with purpose to injure, defraud or deceive any insurance company, files a statement of claim containing any false,
   incomplete or misleading information is subject to prosecution and punishment for insurance fraud, as provided in RSA 638:20.

                                                             APPLICABLE IN OHIO
   Any person who, with intent to defraud or knowing that he/she is facilitating a fraud against an insurer, submits an application or files a
   claim containing a false or deceptive statement is guilty of insurance fraud.

                                                       APPLICABLE IN OKLAHOMA
   WARNING: Any person who knowingly and with intent to injure, defraud or deceive any insurer, makes any claim for the proceeds of
   an insurance policy containing any false, incomplete or misleading information is guilty of a felony.

                                                     APPLICABLE IN WASHINGTON
   It is a crime to knowingly provide false, incomplete, or misleading information to an insurance company for the purpose of defrauding
   the company. Penalties include imprisonment, fines and denial of insurance benefits.

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        EXHIBIT 7
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  From: Kinkead, Jeffrey
  Sent: Friday, March 20, 2020 9:36 PM
  To: 'mecheverria@mussoandfrank.com' <mecheverria@mussoandfrank.com>
  Cc: 'vanessa.ayres@dibu.com' <vanessa.ayres@dibu.com>
  Subject: Claim number CA200753 MUSSO & FRANK GRILL CO., INC PKG3127372 DOL 03/17/2020

  Dear Mr. Echeverria,

  As discuss, we are opening our investigation into a loss of business at one restaurant located on
  Hollywood Boulevard in Los Angeles, CA, regarding the subject loss. We will be reserving our rights
  while we investigate, this is not a denial of your claim, and your rights are also protected under the
  policy.

  We have assigned the independent adjusting firm of Engle Martin and Associates to contact you to
  begin our investigation into this matter. Someone from Engle Martin will contact you shortly.

  Please provide us with the following:
       A brief description of what happened and or loss or damage, if any.
       What was the location : 6663‐6667 Hollywood Blvd., Los Angeles,CA or 6715 Hollywood Blvd, Ste
          201, Los Angeles CA.
       A brief description of the nature of your business at the above locaton.
       Are there any other locations involved.
       A copy of any supporting documents for the business loss related to COVID‐19.
       The total amount for which you are making claim.

  The above should not be considered totally inclusive as we may request additional information once we
  review the above.

  We look forward to working with you to settle this loss.

  Sincerely,
  Jeff

  Jeff Kinkead
  Property Claims Specialist
  Mitsui Sumitomo Marine Management (USA),Inc.
  15 Independence Blvd.
  Warren, NJ 07059‐0602
  Mailing Address: P.O.Box 61000, Newark, NJ 07101
  Tel.: 908.647.8936 Fax.: 419.730.4930
  Email: JKinkead@msigusa.com
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        EXHIBIT 8
Case 2:20-cv-03667-PA-PVC Document 1 Filed 04/21/20 Page 238 of 243 Page ID #:238



  From: "Kinkead, Jeffrey" <JKinkead@msigusa.com>
  Subject: RE: CA200753 MUSSO & FRANK GRILL CO., INC PKG3127372 DOL
  03/17/2020
  Date: March 27, 2020 at 9:49:05 AM PDT
  To: "'mecheverria@mussoandfrank.com'" <mecheverria@mussoandfrank.com>
  Cc: "'lisa.winnert@hubinternational.com'" <lisa.winnert@hubinternational.com>

  Dear Mr. Echeverria,

  I called you today and left a voicemail message in follow‐up to my email below. I will be investigating
  this loss and Engle Martin will not be contacting you.

  Please call me back as soon as possible.

  Sincerely,
  Jeff

  Jeff Kinkead
  Property Claims Specialist
  Mitsui Sumitomo Marine Management (USA),Inc.
  15 Independence Blvd.
  Warren, NJ 07059‐0602
  Mailing Address: P.O.Box 61000, Newark, NJ 07101
  Tel.: 908.647.8936 Fax.: 419.730.4930
  Email: JKinkead@msigusa.com


  At Mitsui Sumitomo Marine Management (U.S.A.), Inc. we are looking to improve our Customer Service to better
  meet your needs. Please take a moment and provide feedback using the following
  email: CustomerService@msigusa.com

  ***Mitsui Sumitomo Corporate Email Disclaimer****
  This message (which includes any attachments) is intended to be read only by the person(s) to whom it is
  addressed. The information contained herein is intended for the sole use of such person(s). The message may
  contain information that is privileged, confidential and exempt from disclosure under applicable law, including but
  not limited to the law applicable to attorney/client privilege. Any unauthorized use or dissemination of this
  message in whole or in part is strictly prohibited. If you are not the addressee, you are hereby notified that you
  may not use, copy, disclose, or distribute to anyone the message or any information contained in the message. If
  you received this message in error, please immediately advise the sender by reply E‐Mail and delete this message
  and the reply from your system. Thank you for your cooperation.
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        EXHIBIT 9
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                                                                    Jeff Kinkead
                                                                    Property Claims Specialist
                                                                    Phone: 908.647.8936 Fax: 419.730.4930
                                                                    E-mail: JKinkead@msigusa.com




   April 1, 2020


   VIA EMAIL AND CERTIFIED MAIL, R.R.R. (Article #9314 8699 0430 0070 4239 01)

   Mark Echeverria
   Musso & Frank Grill Co., Inc.
   6715 Hollywood Blvd. #201
   Los Angeles, CA 90028
   mecheverria@mussoandfrank.com

   Re:    Policyholder:           Musso & Frank Grill Co., Inc.
          Insurer:                Mitsui Sumitomo Insurance USA Inc.
          Policy:                 PKG3127372 (eff. 6/30/2019 – 6/30/2020)
          Our Claim No.:          CA200753

   Dear Mr. Echeverria:

          I write on behalf of Mitsui Sumitomo Marine Management (USA), Inc. as claims
   administrator for Mitsui Sumitomo Insurance USA Inc. (“MSI”), which issued the captioned
   package policy (the “MSI Policy”) to Musso & Frank Grill Co., Inc. (the “Policyholder”).

            MSI has received the referenced claim (the “Claim”) for certain business interruption
   losses purportedly sustained by the Policyholder as the result of the outbreak of the novel
   coronavirus (“COVID-19”) and related government orders prohibiting restaurants and retail food
   facilities from serving food to dine-in customers.

          MSI understands that our global community is facing unprecedented challenges, and we
   extend our support to all of our policyholders as you continue to navigate this difficult situation.
   For the reasons discussed below, however, it does not appear that the Policyholder’s Claim is
   covered under the MSI Policy. We have endeavored to provide you with this coverage
   assessment as quickly as possible in light of the significant impact insurance coverage may have

                           Mitsui Sumitomo Marine Management (U.S.A.), Inc., for
                                   Mitsui Sumitomo Insurance USA Inc.
                               Mitsui Sumitomo Insurance Company of America
                                      MSIG Specialty Insurance USA Inc.
                               Mailing Address: PO Box 61000, Newark, NJ 07101
               Office Address: 15 Independence Boulevard, P.O. Box 4602, Warren, NJ 07059-0602
                                               www.msigusa.com
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   Musso & Frank Grill Co., Inc.
   April 1, 2020
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   on your financial planning and the ability to secure loans or other emergency relief during this
   challenging time. Of course, if you have additional information that you believe may be relevant
   to MSI’s coverage analysis, or the circumstances surrounding your Claim change, please
   promptly let us know and we will reevaluate our determination at that time.

                                            COVERAGE DETERMINATION

           The MSI Policy does not provide coverage for the Policyholder’s Claim because COVID-
   19 is not a covered cause of loss. In order to trigger business interruption coverage under the
   MSI Policy, the Policyholder must sustain “direct physical loss of or damage to property” at
   insured premises that is “caused by or result[s] from a Covered Cause of Loss.” (Form CP 00 30
   10 12, ¶ A.1). A “covered cause of loss” is defined as “direct physical loss unless the loss is
   excluded or limited in this policy.” (Form MS 5202 12 12, ¶ A). Here, the MSI Policy
   specifically excludes coverage for “loss or damage caused by or resulting from any virus,
   bacterium or other microorganism that induces or is capable of inducing physical distress, illness
   or disease” (the “Virus Exclusion”). (Form CP 01 40 07 06 - Exclusion Of Loss Due To Virus
   Or Bacteria) (emphasis added).1 Based on the information provided to date, it appears that the
   Policyholder’s Claim arises out of a virus – COVID-19 – and thus is excluded under the Policy.
   MSI, therefore, respectfully declines coverage for the Claim under the Virus Exclusion.

           In addition, we note that certain other Policy provisions appear to bar coverage for the
   Policyholder’s Claim. In particular, the MSI Policy only provides business income coverage for
   the “actual loss of Business Income you sustain due to the necessary ‘suspension’ of your
   ‘operations,’” if the “suspension” is “caused by direct physical loss of or damage to property” at
   insured premises. (Form CP 00 30 10 12, ¶ A.1) (emphasis added). Based on the information
   provided to date, it does not appear that COVID-19 caused “direct physical loss of or damage” to
   insured property. MSI, therefore, respectfully reserves the right to deny coverage for the Claim
   on this basis.

          Finally, the MSI Policy provides “civil authority” coverage for the actual loss of business
   income that the Policyholder sustains, but only when a covered cause of loss causes “damage to
   property other than property at the described premises” and:

                (1) “[a]ccess to the area immediately surrounding the damaged property is prohibited
                    by civil authority as a result of the damage, and the described premises are within
                    that area but are not more than one mile from the damaged property”; and

   1
     A copy of the Exclusion Of Loss Due To Virus Or Bacteria endorsement, which is part of the MSI Policy, is
   enclosed with this letter for your convenience. Please review your copy of the MSI Policy in its entirety for all other
   terms, conditions, exclusions, and/or endorsements. Please also note that the portions of the MSI Policy referenced
   in this correspondence or in the attached document are not meant to be representative of all portions of the Policy
   that may apply to your Claim. Failure to cite a particular agreement, provision, exclusion, condition, or any other
   part of the Policy does not waive MSI’s rights to invoke any portion of the Policy that potentially applies to this
   Claim.


                                                             2
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                (2) “[t]he action of civil authority is taken in response to dangerous physical
                    conditions resulting from the damage or continuation of the Covered Cause of
                    Loss that caused the damage, or the action is taken to enable a civil authority to
                    have unimpeded access to the damaged property.”

   (Form MS 5402 12 12, at p. 2 of 6) (emphasis added). Based on the information provided to
   date, it does not appear that a covered cause of loss caused “damage to property” within one mile
   of the insured premises.2 MSI thus respectfully reserves the right to deny coverage for the Claim
   on this basis.
                                             *       *      *

           In sum, MSI respectfully declines coverage for the Claim under the Virus Exclusion
   contained in the MSI Policy. MSI further reserves the right to deny coverage for the Claim
   based on the absence of any direct physical loss of or damage to insured property or property
   within one mile of the insured premises. The analyses and conclusions set forth herein are based
   upon the information provided to MSI to date. If you have any additional information, or
   circumstances change such that you believe MSI should alter its coverage determination, please
   let me know at your earliest convenience.

           In accordance with section 2695.7(b)(3) of California’s Unfair Claims Settlement
   Practices Regulations, we are required to advise you that if you believe all or a part of your claim
   has been wrongfully denied or rejected, you may have the matter reviewed by the California
   Department of Insurance, Consumer Communications Bureau, 300 South Spring Street, South
   Tower, Los Angeles, California 90013, 1-800-927-HELP (4357) or 213-897-8921.

            If you have any questions concerning this matter, please do not hesitate to contact me.

   Sincerely,




   Jeff Kinkead
   Property Claims Specialist
   Mitsui Sumitomo Marine Management (U.S.A.), Inc.
   for Mitsui Sumitomo Insurance USA Inc.

   2
     Please note that the MSI Policy contains a 24-hour waiting period for both business interruption and civil authority
   coverage. See Form CP 15 55 06 95, CP 15 56 06 07, and MS 5003 12 12 (changing 72-hour waiting period to 24-
   hour waiting period). Subject to all applicable policy provisions, business income coverage begins 24 hours after
   the time of direct physical loss or damage, and ends on the earlier of: (1) the date when the property should be
   repaired, rebuilt, or replaced with reasonable speed and similar quality; or (2) the date when business is resumed at a
   new permanent location. (Form CP 00 30 10 12, ¶ F.3, CP 15 55 06 95, ¶ 1, and CP 15 56 06 07, ¶ A.1). Civil
   authority coverage likewise starts 24 hours after the time of the civil authority’s first action, and is limited to 30
   consecutive days after coverage begins. (Form MS 5402 12 12, CP 15 55 06 95, ¶ 2, and CP 15 56 06 07, ¶ A.2).

                                                             3
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   Musso & Frank Grill Co., Inc.
   April 1, 2020
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   cc: Lisa Winnert
       HUB International Insurance Services Inc.
       PO Box 3310
       Santa Barbara, CA 93130
       lisa.winnert@hubinternational.com
       calclaims@hubinternational.com

      Corby Schmautz
      Executive General Adjuster
      Engle Martin & Associates
      CSchmautz@englemartin.com




                                                   4
